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               Nos. 24-11076, 24-11300, 24-11366, 24-11367,
                24-11428, 24-11444, 24-11445 & 24-12003


            IN THE UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT

              FLORIDA EAST COAST RAILWAY LLC, et al.,


                                                                      Petitioners,
                                     v.

             FEDERAL RAILROAD ADMINISTRATION, et al.,
                                                                    Respondents.


On Petition For Review Of A Final Rule Of The Federal Railroad Administration

    OPENING BRIEF FOR PETITIONERS FLORIDA EAST COAST
RAILWAY LLC, ASSOCIATION OF AMERICAN RAILROADS, INDIANA
RAIL ROAD COMPANY, UNION PACIFIC RAILROAD COMPANY, AND
                 BNSF RAILWAY COMPANY



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                   Florida East Coast Railway et al., 24-11076

        CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                     DISCLOSURE STATEMENT

   Pursuant to Federal Rule of Appellate Procedure 26.1 and this Court’s Rule 26.1-

2(c), the Petitioners joining in this brief submit the following list of persons and

entities that, to their knowledge, have an interest in the outcome of these

consolidated petitions:

   1.        American Short Line and Regional Railroad Association

   2.        Association of American Railroads

   3.        Behravesh, Rebecca S.

   4.        Berkshire Hathaway Inc. (ticker symbol: BRK)

   5.        BNSF Railway Co.

   6.        Bose, Amit (official capacity)

   7.        Boynton, Brian

   8.        Burlington Northern Santa Fe, LLC

   9.        CSX Corporation (ticker symbol: CSX)

   10.       CSX Transportation, Inc.

   11.       Dupree Jr., Thomas H.

   12.       Federal Railroad Administration

   13.       Florida East Coast Holdings Corp.

   14.       Florida East Coast Railway Corp.



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  15.     Florida East Coast Railway LLC

  16.     FTAI Infrastructure Inc. (ticker symbol: FIP)

  17.     Geier, Paul M.

  18.     Gibson, Dunn & Crutcher, LLP

  19.     Gilbert, Samuel

  20.     GMXT US, Inc.

  21.     Gordon, Stephen

  22.     Grupo Mexico Transportes S.A. of C.V. (ticker symbol: GMXT)

  23.     Grupo México, S.A.B. de C.V. (ticker symbol: GMBXF)

  24.     Indiana Rail Road Co.

  25.     International Association of Sheet Metal, Air, Rail and Transportation
          Workers-Transportation Division

  26.     Ishihara Fultz, Allison

  27.     Iyer, Subash

  28.     Kirmayer, Kathryn D.

  29.     Lee, Paula

  30.     Midland United Corp.

  31.     Nagler, Alan

  32.     Nebraska Central Railroad Company

  33.     Percy Acquisition LLC

  34.     Rifkind, David

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   35.       Rio Grande Pacific Corporation

   36.       Schnitzer, David A.

   37.       Smith, Betsy

   38.       Spencer, Jacob T.

   39.       Stinson LLP

   40.       Texas & Northern Railway Company

   41.       Totaro, Martin

   42.       Transtar, LLC

   43.       U.S. Department of Transportation

   44.       Union Pacific Corporation (ticker symbol: UNP)

   45.       Union Pacific Railroad Company

   46.       Van Nostrand, Christopher F.

   47.       Wright, Abby C.

   48.       Yurasko, Sarah



Pursuant to Circuit Rule 26.1-2(c), Petitioners submitting this brief certify that the

CIP contained herein is complete to the best of their knowledge.

Dated: July 26, 2024                    /s/ Thomas H. Dupree Jr.__________
                                        Thomas H. Dupree Jr.




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               STATEMENT REGARDING ORAL ARGUMENT

      Petitioners respectfully request oral argument.         This is a consolidated

challenge to one of the most consequential rulemakings in the history of American

railroading.   Never before—since the advent of the railroad in the nineteenth

century—has the United States government required railroads to employ a specified

number of crew members on a train.              In this case, the Federal Railroad

Administration (FRA) broke with more than a century of precedent by mandating a

minimum of two-person crews. The consequences of this rule for the nation’s rail

industry—and the millions of shippers and consumers who depend on freight rail—

cannot be overstated. At a time when governments around the world are realizing

the promise of technology in delivering more efficient transportation services, FRA

is locking the American rail industry into the past. This case raises important issues

concerning the agency’s statutory authority to issue the crew-size rule and oral

argument would assist the Court in resolving the substantial questions presented.




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                          PRELIMINARY STATEMENT

      In 2019, the Federal Railroad Administration (FRA) determined that a crew-

size rule—a regulation generally prohibiting one-person crews and mandating at

least two crew members on freight and passenger trains—was unwarranted. One-

person crews have been widely and safely used for years by passenger railroads and

smaller freight railroads in the United States, as well as by large freight railroads in

Europe and Australia. In light of the long record of safe one-person operations, and

the absence of any data suggesting that a two-person crew is necessary for railroad

safety, FRA closed its rulemaking and withdrew its proposed crew-size rule. See

Proposed Rule—Train Crew Staffing, 84 Fed. Reg. 24735, 24737 (May 29, 2019)

(“Withdrawal Order”) (finding no “reliable or conclusive statistical data to suggest

whether one-person crew operations are generally safer or less safe than multiple-

person crew operations”) (quotation marks omitted).

      In 2022, FRA reversed its position and re-proposed a crew-size rule. The

agency stated it still “lack[ed] information on the safety of different-sized crews,”

JPA Doc.368 at 4, and conceded that its “lack of safety data . . . does not support

any conclusions about the safety of single-person crews,” Notice of Proposed

Rulemaking—Train Crew Size Safety Requirements, 87 Fed. Reg. 45564, 45571

(July 28, 2022) (emphasis added). But even though the agency admitted it had no

data suggesting that one-person crews are less safe than two-person crews—and



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even though the agency had acknowledged that “it is possible that one-person crews

have contributed to the [industry’s] improving safety record,” Proposed Rule—

Train Crew Staffing, 81 Fed. Reg. 13918, 13932 (Mar. 15, 2016) (emphasis

added)—FRA announced a general prohibition on one-person crews. See Final

Rule—Train Crew Size Safety Requirements, 89 Fed. Reg. 25052 (April 9, 2024).

      What changed? The evidence did not change. FRA again acknowledged the

“absence” of data suggesting that two-person crews were necessary for railroad

safety. 87 Fed. Reg. at 45571. Rather, what changed was the political leadership at

the agency. President Biden campaigned for office by pledging his support for

railroad unions and organized labor, specifically promising that if he won the

election, his administration would issue a two-person-crew rule. See Vice President

Joe Biden Addresses SMART Member Issues, SMARTUnion, YouTube (June 19,

2020), https://tinyurl.com/3ks5jecs (asserting in video message to labor unions that

“I’ve stood with labor my whole life,” and promising to “keep fighting for [railroad]

crews” by “requiring two-person crews on freight trains”). In announcing the crew-

size rule, the Secretary of Transportation was flanked at the podium by the leadership

of the railroad unions, making clear that the purpose of the rule was to generate

political support in an election year by rewarding a favored constituency. See

Transportation Secretary Buttigieg Announces New Rail Safety Measures,

GettyImages (Apr. 2, 2024), https://tinyurl.com/4utufksj.



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      Regardless of whatever political pressures FRA may have been facing, if the

agency lacked evidence that one-person crews are less safe than two-person crews,

it had no basis for mandating two-person crews. Congress delegated to FRA the

authority to issue regulations “necessary” for “railroad safety.”           49 U.S.C.

§ 20103(a). It is not a permissible exercise of that authority to issue a regulation as

necessary for railroad safety while simultaneously admitting there is no evidence

that the regulation is necessary for railroad safety.

      In promulgating the final rule, FRA asserted that “[w]ithout a crew size

requirement, railroads would have been able to reduce the number of crewmembers

on any train operation to a single person without performing a risk assessment or

notifying FRA.” JPA Doc.13201 at 2. Not so. Congress has already enacted a

statute and FRA has issued regulations giving railroads a pathway to reduce crew

size. Under this pre-existing and completely separate scheme, a railroad may

implement reductions in crew size provided it prepares—and FRA approves—a risk

assessment that may specify precisely how the railroad will ensure safety if it moves

from two-person to one-person or fully autonomous operations. In fact, in 2019,

FRA explained that proposed “changes in train crew staffing” must be addressed

through this “comprehensive, system-oriented approach to safety” rather than

through a crew-size rule. 84 Fed. Reg. at 24739. Although the crew-size rule in

theory allows railroads to move to one-person operations if they obtain “special



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approval” from FRA, the standard for “special approval” is virtually impossible to

satisfy. The rule is designed and intended to prevent railroads from reducing crew

size.

        Agencies are of course permitted to change position and implement the

political preferences of a new administration. But their authority is limited by the

familiar standards of the Administrative Procedure Act. A federal agency must act

within the authority Congress has delegated to it; the agency must provide a reasoned

explanation for rejecting the facts and circumstances that underlay its prior position;

and the agency must consider all important aspects of the issue it is addressing.

Because FRA did not do any of those things here, this Court should vacate the final

rule.

        First, a crew-size rule is not “necessary” for railroad safety. 49 U.S.C.

§ 20103(a). FRA stated that it still “lacks information on the safety of different-size

crews” and that the absence of data “precludes FRA from making meaningful data

comparisons of the safety of one-person train crew operations to multiple-person

operations.” JPA Doc.368 at 4; 87 Fed. Reg. at 45580. Because FRA admittedly

has no evidence that one-person crews are unsafe, or that two-person crews are safer

than one-person crews, a two-person crew mandate cannot be “necessary” for

railroad safety. The rule therefore exceeds the agency’s statutory authority. At a

minimum, FRA should have collected the relevant safety information before issuing



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a rule—precisely as the National Transportation Safety Board and many others had

urged it to do.

      Second, the crew-size rule conflicts with the federal statute—and the pre-

existing FRA regulation—that already establish the process through which railroads

may reduce crew size. See 49 U.S.C. § 20156(a); Final Rule—Risk Reduction

Program, 85 Fed. Reg. 9262 (Feb. 18, 2020). The risk-reduction statute and

regulation give railroads a pathway to begin one-person operations, by identifying

the precise measures they will take to mitigate any risks and ensure that one-person

operations are conducted safely.     By requiring railroads to follow a different

process—and satisfy a far more onerous standard—the crew-size rule is contrary to

law because it would override and displace the congressionally-designed scheme

that FRA has already implemented through regulations.

      Third, FRA failed to adequately explain why it rejected the facts and

circumstances underlying its prior policy that a crew-size regulation is not necessary

for railroad safety. See 84 Fed. Reg. 24735. Merely acknowledging the change in

position is not enough. The law requires a “further justification”—an explanation

of why the “facts and circumstances” the agency previously relied upon no longer

compel the same conclusion. FCC v. Fox Television Stations, Inc., 556 U.S. 502,

515-16 (2009). FRA failed to provide that explanation here.




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      Fourth, FRA arbitrarily ignored a critically important aspect of the issue

when, in purporting to conduct a cost/benefit analysis, it refused to consider the

additional labor costs its crew-size rule will impose.          In its prior crew-size

rulemaking, the agency took the increased labor costs into account and found they

would be substantial. See 81 Fed. Reg. at 13958. This time around, however, the

agency turned a blind eye to the true cost of its crushing regulatory mandate by

disregarding the largest cost its rule will impose.

      Fifth, the crew-size rule is untimely because it was issued long after the 12-

month statutory and regulatory deadline governing FRA rulemakings had passed.

See 49 U.S.C. § 20103(b); 49 C.F.R. § 211.13. Those deadlines are best understood

as limits on an agency’s rulemaking power. FRA lacked the authority to issue its

crew-size rule when it failed to do so within 12 months after commencing the

rulemaking.

      FRA acknowledges that “crew size has never been regulated on the Federal

level,” JPA Doc.13201 at 7, and that a crew-size rule “depart[s] from FRA’s long-

standing regulatory approach of not endorsing any particular crew staffing

arrangement,” 84 Fed. Reg. at 24740. This Court should vacate the crew-size rule

because it is contrary to law, exceeds the agency’s statutory authority, and is

arbitrary and capricious.




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                        STATEMENT OF JURISDICTION

       This Court has jurisdiction to review the final rule of the Federal Railroad

Administration pursuant to 28 U.S.C. § 2344. Venue is proper because the Judicial

Panel on Multidistrict Litigation consolidated all petitions seeking review of the final

rule in this Court pursuant to 28 U.S.C. § 2112. All petitions are timely because they

were filed within 60 days of issuance of the final rule.

                         STATEMENT OF THE ISSUES

I.     Whether the final rule exceeds FRA’s statutory authority because it is not

       “necessary” for railroad safety.

II.    Whether the final rule conflicts with the risk assessment statute and

       regulations, which prescribe a different process for reductions in crew size.

III.   Whether FRA failed to offer a reasoned explanation for disregarding the facts

       and circumstances that underpinned its prior policy.

IV.    Whether FRA failed to consider an important aspect of the problem by

       ignoring the substantial labor costs the final rule will impose.

V.     Whether the final rule must be vacated because it was not issued within 12

       months of the commencement of the rulemaking.

                           STATEMENT OF THE CASE

       This is a challenge to a final rule of the Federal Railroad Administration

generally requiring railroads to operate with a minimum of two crew members.



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      A.     Course of Proceedings

      FRA issued its Notice of Proposed Rulemaking on July 28, 2022. See 87 Fed.

Reg. 45564. The agency held a public hearing on the proposed rule on December

14, 2022. FRA issued its final rule on April 9, 2024. See 89 Fed. Reg. 25052.

      B.     Statement of Facts

      Petitioner Association of American Railroads (AAR) is an incorporated,

nonprofit trade association representing the nation’s major freight railroads, Amtrak,

and some smaller freight railroads and commuter authorities. Its members account

for the vast majority of the rail industry’s line haul mileage, freight revenues, and

employment. See JPA Doc.13056 at 1. Petitioners Union Pacific Railroad Company

and BNSF Railway Company are Class I freight railroads that operate throughout

the western half of the United States. See JPA Doc.13012 at 15; JPA Doc.12996.

Petitioners Florida East Coast Railway LLC and Indiana Rail Road Company are

Class II freight railroads that operate, respectively, in Florida and Indiana/Illinois.

See JPA Doc.13184 at 45-46, 92. All petitioners participated in the rulemaking

process by submitting written comments and/or testifying at the public hearing on

the proposed rule, and all are directly regulated by the final rule.

      1.     The Overwhelming Evidence That One-Person Crews Are Safe.

      Most freight trains—including all mainline operations of Class I railroads—

currently operate with at least two-person crews, usually consisting of an engineer



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and a conductor. However, as technology advances, the justification for multiple-

person crews is waning. This is consistent with historical trends, as “technology has

enabled a gradual reduction in the number of train crewmembers from about five in

the 1960s to two in 2014.” 81 Fed. Reg. at 13937. The advent of diesel locomotives

eliminated the need for firemen, for example, and end-of-train devices eliminated

the need for a caboose and personnel at the end of the train.

      In 2008, Congress passed the Rail Safety Improvement Act, requiring

railroads to install Positive Train Control (“PTC”) on most of the Class I national

rail network. See Pub. L. No. 110-432, Div. A, 122 Stat. 4848-4906 (Oct. 16, 2008).

PTC is a computerized system that delivers real-time information to the train crew

and monitors train location, speed and direction and, if necessary, stops a train

automatically if the crew fails to take necessary actions. JPA Doc.13056 at 2, 6.

PTC protects against human error by automating safety-related functions historically

performed by crewmembers when they fail to act. Id. Utilizing all the functionality

of the PTC system would make it unnecessary for a conductor to perform onboard

functions such as observing wayside signal information and recording dispatching

orders, thus eliminating one of the key rationales for a multiple-person crew. Id.

      Railroad safety has improved as crew size has decreased. FRA recognizes

that “railroads have achieved a continually improving safety record” over the same

time period that average crew size has been reduced. 81 Fed. Reg. at 13919.



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Accident rates, rail employee injury rates, and grade crossing collision rates have all

fallen dramatically over the last four decades. FRA has acknowledged the “strong

safety record” of the railroad industry, 87 Fed. Reg. at 45567, and praised railroads

for “the past two decades general trend of improved safety in rail operations.” 89

Fed. Reg. at 25083.

      Many railroads in the United States have safely used one-person crews in a

wide variety of operating contexts for years. FRA acknowledged this in its prior

NPRM, where it recognized that existing one-person operations “have not yet raised

serious safety concerns,” 81 Fed. Reg. at 13950, and admitted “it is possible that

one-person crews have contributed to the [industry’s] improving safety record,” id.

at 13932 (emphasis added). There are multiple studies finding that one-person crews

are just as safe as two-person crews. See JPA Doc.13056 Exs. 4, 6. Comparing

equipment incidents and casualty incidents for operators using one-person crews

versus operators using multiple-person crews, for example, reveals that “single-

person crew operations are at least as safe as multiple-person crew operations.” See

JPA Doc.13056 Ex. 4 at 24. Rail operations involve large, moving equipment, so

reducing the number of people working on or in close proximity to trains means

exposing fewer people to risk. Moreover, because many accidents are attributable

to human factors, reducing crew size can reduce the likelihood of an accident caused

by human error. See 81 Fed. Reg. at 13920 (noting possibility of “additional



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accidents caused by non-engineer crew distracting the engineer or additional deaths

and serious injuries from having more people on board trains involved in

accidents”).

      Many short line railroads routinely operate with one-person crews. For

example, petitioner Indiana Rail Road Company is a 250-mile regional railroad

operating in Indiana and Illinois. Since 1997, it has been safely and effectively

operating with one-person crews, and FRA acknowledges that the railroad has a

“positive safety record.” 87 Fed. Reg. at 45568; see also JPA Doc.13056 (describing

the railroad’s long history of safe one-person operations). Petitioner Florida East

Coast Railway has been using a one-person crew for its short-distance intermodal

trains safely and effectively for years. See JPA Doc.13184 at 44-45.

      U.S. passenger trains, which have been operated for many years with only one

crewmember in the cab, provide an additional data source and record of experience.

These operations are widely viewed as safe. As FRA recognized long ago: “Many

passenger trains have been operated for years with only one person in the control

compartment. Some of these operations have been in place for over 50 years and

they have compiled an outstanding safety record.”              Response to NTSB

Recommendation R-85-051 (May 20, 1986), https://data.ntsb.gov/carol-main-

public/sr-details/R-85-051. The trend toward one-person crews for passenger trains




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has only increased since that time. Operating with a single crewmember in the cab

is now the standard for commuter trains and Amtrak. JPA Doc.13056 at 16.

      One-person crews are commonly used in other nations—and there too the data

confirm that they are safe. In FRA’s view, the “evidence . . . indicates that the safety

records of these foreign operations are acceptable.”         81 Fed. Reg. at 13932.

European safety regulators agree. In the United Kingdom, for example, where one-

person freight operations are common, the Rail Safety and Standards Board found

that “one-person crews were at least as safe as multiple crew operations.” 2016

Regulatory Impact Analysis, Train Crew Staffing, https://www.regulations.gov/

document/FRA-2014-0033-0002; see also JPA Doc.13056 at 3 (2021 study of

European safety data finding “no evidence that railroads operating with two-person

crews are statistically safer than railroads operating with one-person crews”).

      2.     The Prior Crew-Size Rulemaking.

      “Historically, crew size has been an issue for labor relations.” 81 Fed. Reg.

at 13937. “Collective bargaining agreements typically govern crew size on Class I

railroads,” the nation’s largest freight railroads. JPA Doc.368 at 10; see also Report

to the President by Emergency Board No. 250 (August 16, 2022) at 42 (“Both Parties

further recognize that the merits of the dispute over Crew Consist (i.e., whether trains

would be operated with both an Engineer and a Conductor on board or only with an




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Engineer on board) is being addressed in local handling and appropriately belongs

in that process, not in national handling.”).

      FRA has never mandated a minimum crew size. In 2009, FRA denied a

petition from rail labor unions to require multiple-person crews, explaining that it

“has no factual evidence” that would justify such a mandate. See Denial of BLET

Petition on RCO and Other Single-Person Operations (Nov. 10, 2009).

      In 2013, FRA tasked the Railroad Safety Advisory Committee (“RSAC”), a

federal advisory committee that includes representatives from FRA’s major

stakeholder groups, with considering crew size. FRA lacked “reliable or conclusive

statistical data to suggest whether one-person crew operations are safer or less safe

than multiple-person crew operations” and hoped the RSAC could locate such data.

84 Fed. Reg. at 24735. But the RSAC came up empty. It could not “identify

conclusive, statistical data to suggest whether there is a safety benefit or detriment

from crew redundancy.” Id. at 24736. FRA thus “was unable to identify data

necessary to determine whether a regulation was needed to address train crew

staffing.” Id.

      In 2016, FRA issued an NPRM proposing a minimum crew-size rule. See 81

Fed. Reg. 13918. The proposed rule would have imposed a minimum two-person

crew mandate with a “special approval procedure” allowing railroads to begin or

continue one-person operations while a request for approval was pending. Id. at



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13919-20. In proposing its rule, FRA openly questioned whether mandating two-

person crews would deliver any safety benefits. The agency acknowledged that it

lacked “reliable or conclusive statistical data to suggest whether one-person crew

operations are generally safer or less safe than multiple-person crew operations.” Id.

at 13919. It admitted that “FRA does not have data to prove a direct correlation

between higher rates of safety and multiple person crews.” Id. And it recognized

that existing one-person operations had “not yet raised serious safety concerns,” id.

at 13950, and may even have “contributed to the [railroads’] improving safety

record,” id. at 13932. The NPRM discussed derailments in Lac-Mégantic, Quebec

and Casselton, North Dakota, as well as six research reports discussing the general

benefits of teamwork, as possibly providing justification for a crew-size rule. See

id. at 13921-30.

      In 2019, FRA withdrew the NPRM.              See Proposed Rule—Train Crew

Staffing, 84 Fed. Reg. 24735 (May 29, 2019) (“Withdrawal Order”). The agency

determined that “no regulation of train crew staffing is necessary or appropriate for

railroad operations to be conducted safely at this time.” Id. at 24735. It explained

that “FRA’s accident/incident safety data does not establish that one-person

operations are less safe than multi-person train crews.” Id. at 24739. In short, the

agency concluded, “despite studying this issue in-depth and performing extensive

outreach to industry stakeholders and the general public,” FRA still could not



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“provide reliable or conclusive statistical data to suggest whether one-person crew

operations are generally safer or less safe than multiple-person crew operations.” Id.

at 24737 (quotation marks omitted). It found that “the connections between train

crew staffing and railroad safety with respect to the Lac-Mégantic and Casselton

accidents . . . are tangential at best and do not provide a sufficient basis for FRA

regulation of train crew staffing requirements.” Id. at 24738. And with regard to

the six research reports, it concluded that “[w]hile these reports identify safety issues

that railroads should consider when evaluating any reduction in the number of train

crewmembers or a shift in responsibilities among those crewmembers, the reports

do not indicate that one-person crew operations are less safe and therefore do not

form a sufficient basis for a final rule on crew staffing.” Id. at 24740.

      FRA also determined that even though the purported safety benefits were

uncertain and possibly nonexistent, a crew-size mandate would impose substantial

costs on railroads, shippers, and the public by impeding the innovation and

automation that brought with it the promise of “increas[ing] the safety, reliability,

and capacity of the nation’s railroad system.” Id. at 24740. Having “determined

that no regulation of train crew staffing is necessary or appropriate at this time,”

FRA closed the rulemaking. Id. at 24741. It noted that it was “in the process of

developing regulations” that would establish the pathway railroads must use to make

“changes in train crew staffing.” Id. at 24739.



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      In 2020, FRA issued those regulations. See 85 Fed. Reg. at 9296 (specifying

the procedure through which railroads may make “a reduction in crew staffing

levels”). The regulations implemented 49 U.S.C. § 20156, which directed Class I

and other railroads to design and adopt a “railroad safety risk reduction program,”

which may include the specific measures the railroads would take to ensure safety

when reducing crew size.      Specifically, the regulations “require a railroad to

proactively identify hazards and risks associated with a reduction in crew size before

making the operational change, in addition to monitoring operational safety

following implementation of the new crew size.” 87 Fed. Reg. at 45582 n.174.

      In 2021, a panel of the U.S. Court of Appeals for the Ninth Circuit vacated

the Withdrawal Order. See Transp. Div. of the Int’l Ass’n of Sheet Metal, Air, Rail

& Transp. Workers v. FRA, 988 F.3d 1170 (9th Cir. 2021). The court stated “[t]here

is no doubt that the FRA could withdraw the NPRM.” Id. at 1178. But it concluded

that “the Order does much more than withdraw the NPRM; it appears to adopt a one-

person train crew rule and purports to preempt any state safety laws concerning train

crew staffing.” Id. The court “conclude[d] that the issuance of the Order violated

the APA’s notice-and-comment requirements and that the Order is arbitrary and

capricious.” Id. at 1179. But the court did not conclude that a crew-size rule was

warranted or that the data showed two-person crews would increase safety. To the




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contrary, the court emphasized that the agency’s “lack of data does not support the

promulgation of a one-person train crew rule.” Id. at 1182 (emphasis added).

      3.     The Rulemaking Under Review.

      During the 2020 campaign, then-candidate Joe Biden recorded a video

message to railroad labor unions in which he stated that “I’ve stood with labor my

whole life,” and promised to “keep fighting for [railroad] crews” by “requiring two-

person crews on freight trains.” See https://tinyurl.com/3ks5jecs.

      Thus, in July 2022, FRA dusted off and re-proposed its crew-size rule,

repackaging it as a train-crew-size “safety” rule instead of a train-crew-size

“staffing” rule. See 87 Fed. Reg. 45564. Just as in the prior rulemaking, the NPRM

did not identify any data suggesting that one-person crews are unsafe, or less safe

than two-person crews. It admitted that FRA still “lacks information on the safety

of different-sized crews,” JPA Doc.368 at 4, and conceded that its “lack of safety

data . . . does not support any conclusions about the safety of single-person crews,”

87 Fed. Reg. at 45571. And just as in the prior rulemaking, the NPRM cited the Lac-

Mégantic and Casselton derailments and the same six research reports touting the

benefits of “teamwork.” Id. at 45572-73. But even though FRA had just determined

in 2019—based on a virtually identical administrative record—that a crew-size rule

was not necessary for safe operations, the agency now reached the opposite

conclusion and declared that a crew-size rule was necessary. Id. at 45564.



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      The notice-and-comment period had the feel of a political campaign. Rail

labor union leaders urged their membership to flood the agency with text messages

in support of the proposed rule:




JPA Doc.13056 at 12. The unions’ call for their members to weigh in was an

openly partisan appeal:




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JPA Doc.13056 at 13.

      FRA issued its final rule nearly two years after it commenced the rulemaking.

See 89 Fed. Reg. 25052. The final rule generally requires that trains have a minimum

of two crewmembers, with a “special approval” process for railroads wishing to

begin one-person operations. Id. “[T]he final rule requires railroads to staff every

train operation with a minimum of two crewmembers (including a locomotive

engineer and an additional crewmember who will typically be a conductor) that

travel with the train and can directly communicate with each other even if one




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crewmember is not in the locomotive cab, with certain one-person train crew

exceptions permitted under specified circumstances.” Id. at 25054.

      FRA had previously proposed allowing Class I railroads (and other railroads

that are not currently conducting one-person operations) to begin one-person

operations while a request for approval was pending. Under the final rule, however,

railroads may not begin one-person operations unless and until FRA approves the

railroad’s “petition for special approval.” Petitions must address 15 specified factors

and be accompanied by a “risk assessment” that determines “the level of risk

associated with a proposed train operation staffed with a one-person train crew,

including mitigating the risks to an acceptable level.” Id. at 25055; see 49 C.F.R.

§§ 218.131 & 218.133. Although Class I railroads currently conduct mainline

operations with two-person crews, “FRA estimate[d] that all Class I railroads will

submit a petition for special approval” for one-person operations within one year of

issuance of the final rule. JPA Doc.13201 at 13.

      In issuing the final rule, FRA did not cite any data showing that two-person

crews are safer than one-person crews. FRA again admitted that it “currently has

little . . . data on the safety impacts of [one-person] operations.” JPA Doc.13201 at

14. And the preamble even quoted a labor official’s acknowledgment that “there is

no data to support a two-person crew being safer than a one-person crew.” 89 Fed.

Reg. at 25062 (quotation marks omitted). Although commenters had urged FRA to



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follow the NTSB’s recommendation to collect this data before regulating, see, e.g.,

JPA Doc.13056 at 29-30, the agency ignored those comments and made no mention

of the recommendation.

      FRA attempted to perform a cost/benefit analysis. See 89 Fed. Reg. at 25057-

25058. But the agency admitted that it was unable to “quantify [any] benefits” from

its rule because it “does not have sufficient data” to do so. Id. at 25057. And in

determining the costs of the rule, the agency refused to take into account what

commenters had identified as the single largest cost the rule would impose—the

additional labor costs borne by railroads that would otherwise have moved from two-

person to one-person crews. FRA stated: “The requirements of this rule do not

affect railroads operating trains with two-person crews; therefore, they will not incur

any costs.” JPA Doc.13201 at 5-6.

      C.     Standard of Review

      Under the Administrative Procedure Act (APA), a court must vacate a final

rule when the agency has acted “in excess of statutory jurisdiction, authority, or

limitations.” 5 U.S.C. § 706(2)(C). In addition, a court “shall . . . hold unlawful and

set aside agency action, findings, and conclusions found to be . . . arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.”

5 U.S.C. § 706(2)(A).




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                          SUMMARY OF ARGUMENT

      This Court should vacate the final rule because it exceeds the agency’s

statutory authority, is contrary to law, and is arbitrary and capricious.

      I.     FRA’s crew-size rule is not “necessary” for railroad safety and

therefore exceeds the agency’s rulemaking authority under 49 U.S.C. § 20103(a).

FRA admits it has no data showing that one-person crews are unsafe or less safe than

two-person crews, and has “insufficient” data “to demonstrate the potential impacts

of crew size on rail safety generally.” 87 Fed. Reg. at 45580, 45583. FRA relies on

reports about “teamwork” and anecdotes from prior derailments, but the agency

exhaustively analyzed the same reports and the same anecdotes in its prior

rulemaking and determined that none of it supported a crew-size rule.             At a

minimum, FRA should have heeded (or at least acknowledged) the NTSB’s

recommendation to collect the necessary data before it regulates.

      II.    The crew-size rule conflicts with the process Congress and FRA have

already established for reducing crew size. Railroads must prepare a risk-reduction

plan for FRA approval, along with a hazard management program that specifies the

precise safety measures they will implement when moving from two-person to one-

person operations. See 49 U.S.C. § 20156; 85 Fed. Reg. 9262. The crew-size rule—

which requires a completely different and far more onerous process for railroads to

reduce crew size—conflicts with the statute and regulation, purports to override the



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statutory mandate, and would erase the pathway Congress and FRA have already

established.

      III.     FRA reversed its prior policy that a two-person crew was not necessary

for railroad safety but failed to provide “a reasoned explanation . . . for disregarding

facts and circumstances that underlay . . . the prior policy.” Fox Television, 556 U.S.

at 516. Among other things, FRA has not adequately explained why it has reversed

its position on the absence of data showing that one-person crews are less safe than

two-person crews; the lessons of the Lac-Mégantic and Casselton derailments; the

strong safety record of one-person operations; the threat to innovation; and the six

reports about teamwork.

      IV.      FRA failed to take into account labor costs—the largest cost its rule

will impose. Railroads that would otherwise have moved to one-person operations

will be forced to employ a second crew member. By refusing to consider labor costs,

FRA failed to consider an important aspect of the problem, rendering its rule

arbitrary and capricious. In its prior crew-size rulemaking, FRA did consider labor

costs, but it inexplicably declined to do so here—resulting in the total projected cost

of its rule dropping by 75 percent.

      V.       The crew-size rule should be vacated as untimely because FRA issued

the rule more than 12 months after opening the rulemaking proceeding. This

deadline is both statutory, see 49 U.S.C. § 20103(b), and regulatory, see 49 C.F.R.



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§ 211.13. This Court should distinguish Barnhart v. Peabody Coal Co., 537 U.S.

149 (2003), which has been undermined by recent Supreme Court decisions, and

hold that FRA exceeded an express limit on its rulemaking authority.

                                  ARGUMENT

I.    A Crew-Size Rule Is Not “Necessary” For Railroad Safety.

      “Courts must exercise their independent judgment in deciding whether an

agency has acted within its statutory authority, as the APA requires.” Loper Bright

Enters. v. Raimondo, 144 S. Ct. 2244, 2273 (2024). Here, Congress granted FRA

statutory authority to issue regulations “necessary” for “railroad safety.” 49 U.S.C.

§ 20103(a). Because the administrative record does not show that a two-person crew

is necessary for railroad safety, FRA exceeded its statutory authority and the final

rule must be vacated. At a minimum, FRA’s decision to ignore the NTSB’s

recommendation that it collect the relevant safety data before regulating was

arbitrary and capricious.

      A.     FRA Exceeded Its Statutory Authority In Issuing The Rule.

      1.     “Administrative agencies are creatures of statute [and] possess only the

authority that Congress has provided.” Nat’l Fed’n of Indep. Bus. v. OSHA, 595

U.S. 109, 117 (2022) (per curiam). “It is axiomatic that an administrative agency’s

power to promulgate legislative regulations is limited to the authority delegated by

Congress.” Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 208 (1988). FRA,



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like all other federal agencies, “has no constitutional or common law existence or

authority, but only those authorities conferred upon it by Congress.” Michigan v.

EPA, 268 F.3d 1075, 1081 (D.C. Cir. 2001). For that reason, “[a]gency action taken

without statutory authority must be set aside.” Union Pac. R.R. Co. v. Surface

Transp. Bd., 863 F.3d 816, 822 (8th Cir. 2017).

      FRA issued the crew-size rule based on its statutory authority to issue

regulations that are “necessary” for railroad safety. See 49 U.S.C. § 20103(a) (“The

Secretary of Transportation, as necessary, shall prescribe regulations and issue

orders for every area of railroad safety . . . .”); 89 Fed. Reg. at 25058 (citing

§ 20103(a) as legal authority for the rulemaking).

      A regulation is “necessary” for railroad safety if it is essential to railroad

safety. Section 20103(a) was enacted through the Federal Rail Safety Act of 1970

(FRSA). Contemporaneous dictionaries defined “necessary” as “[n]eeded for the

continuing existence or function of something; essential,” The American Heritage

Dictionary of the English Language 877 (1969), or as “being essential,

indispensable, or requisite,” The Random House Dictionary of the English Language

955 (1967); see also The American College Dictionary 811 (1970) (“that cannot be

dispensed with; a necessary law”).

      The Supreme Court interpreted a remarkably similar statute—the OSH Act of

1970, enacted by the same Congress just a few months after FRSA—in Industrial



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Union Department, AFL-CIO v. American Petroleum Institute, 448 U.S. 607 (1980)

(the “Benzene” case). The OSH Act authorized the Secretary of Labor to promulgate

an “occupational safety and health standard,” which the Act defined as one

“reasonably necessary or appropriate to provide safe or healthful employment and

places of employment.” Id. at 611-12, 614 (plurality opinion); cf. FRSA, Pub. L.

No. 91-458, 84 Stat. 971, § 202(a) (Oct. 16, 1970) (“The Secretary of Transportation

… shall (1) prescribe, as necessary, appropriate rules … for all areas of railroad

safety.”).   The Court explained that the OSH Act’s “reasonably necessary or

appropriate” language required “at a bare minimum, that the Secretary find a

significant risk of harm and therefore a probability of significant benefits before

establishing a new standard.”      Benzene, 448 U.S. at 644 (plurality opinion)

(emphasis added). And the Court concluded that the Secretary “exceeded his power”

by “impos[ing] the burden on industry of proving the existence of a safe level of

exposure” to benzene, “thereby avoiding the Secretary’s threshold responsibility of

establishing the need for more stringent standards.” Id. at 659; see also Am. Fed’n

of Lab. & Cong. of Indus. Orgs. v. OSHA, 965 F.2d 962, 980 (11th Cir. 1992)

(vacating OSHA regulations because agency “failed to establish that existing

exposure levels in the workplace present a significant risk of material health

impairment or that the new standards eliminate or substantially lessen the risk”).




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      More recently, the Supreme Court held it “virtually certain” that the Center

for Disease Control exceeded its statutory authority by imposing an eviction

moratorium under a statute authorizing it “to make and enforce such regulations as

in [its] judgment are necessary to prevent” the spread of disease. Ala. Ass’n of

Realtors v. Dep’t of Health and Human Serv’s, 594 U.S. 758, 761 (2021). The Court

noted that Congress had not “specifically authorized” the regulation, and that while

the power to issue “necessary” regulations might authorize “measures [that] directly

relate to preventing the interstate spread of disease,” it did not authorize a regulation

that “relates to interstate infection far more indirectly.” Id. at 764. Even the dissent

acknowledged that the “necessary” provision “grants the [agency] authority to

design measures that, in the agency’s judgment, are essential to contain disease

outbreaks.” Id. at 768 (Breyer, J., dissenting) (emphasis added); see also CSX

Transp. v. Easterwood, 507 U.S. 658, 675 (1993) (holding that state law was not

“necessary” for rail safety under FRSA when Congress had already spoken to the

issue).1




1 Notably, the statute in Alabama Association contained discretion-conferring
  language giving the Surgeon General authority to issue “such regulations as in
  his judgment are necessary” to prevent disease. See 42 U.S.C. § 264(a) (emphasis
  added). In contrast, the statutory authority that provided the basis for FRA’s
  rulemaking, 49 U.S.C. § 20103(a), contains no such language. Tellingly, when
  Congress intended to give FRA discretion to determine what is “necessary” in
  FRSA, it used different language. For example, with regard to “conduct[ing]

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      2.     The crew-size rule is not “necessary” for railroad safety and thus

exceeds FRA’s statutory authority. The agency admitted in the final rule that it still

does not have any data or evidence showing that one-person crews are unsafe or less

safe than two-person crews. In fact, the data and evidence that is in the record

establish that one-person crews are just as safe as—and possibly even safer than—

two-person crews. See pp. 8-12 supra.

      In its NPRM, FRA repeatedly acknowledged the “lack of safety data,” the

“paucity of data,” and “the absence of single-person crew safety data.” 87 Fed. Reg.

at 45571. It stated that the lack of safety data “precludes FRA from making

meaningful data comparisons of the safety of one-person train crew operations to

multiple-person operations.” Id. at 45580. And it acknowledged that “insufficient

historical accident and incident data exists to demonstrate the potential impacts of

crew size on rail safety generally, and insufficient historical data exists on the

impacts of crew size under specific operating scenarios.” Id. at 45583. Then, in

issuing the final rule, FRA admitted that it still “lacks information on the safety of

different-sized crews,” JPA Doc.368 at 4, and “has little . . . data on the safety

impacts of [one-person] operations,” JPA Doc.13201 at 14. Remarkably, the agency

even conceded that its “lack of safety data . . . does not support any conclusions



   investigations, mak[ing] reports, [and] issu[ing] subpoenas,” FRA may act as it
   “considers necessary.” 49 U.S.C. § 20107(a) (emphasis added).

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about the safety of single-person crews.” 87 Fed. Reg. at 45571 (emphasis added).

In fact, FRA attributed its failure to quantify any safety benefits of its rule to its lack

of data suggesting that two-person crews have any impact on safety at all. See JPA

Doc.13201 at 36 (“FRA . . . does not have sufficient data to monetize [the safety]

benefits” of a crew-size rule).

       FRA’s admissions in the final rule mirror its admissions in the prior

rulemaking: It still has no evidence or data showing that two-person crews will

result in greater safety. In its prior NPRM, FRA admitted that it “cannot provide

reliable or conclusive statistical data to suggest whether one-person crew operations

are generally safer or less safe than multiple-person crew operations.” 81 Fed. Reg.

at 13919. And in its Withdrawal Order, FRA stated that “despite studying this issue

in-depth and performing extensive outreach to industry stakeholders and the general

public,” the agency’s conclusion that there is no evidence demonstrating that two-

person crews are necessary for safety “still holds true.” 84 Fed. Reg. at 24737.

       Nothing has changed. The crew-size rule cannot be “necessary” for “railroad

safety” in the admitted absence of any data showing that one-person crews are unsafe

or any less safe than two-person crews. Courts and FRA alike have long recognized

that a safety regulation cannot be “necessary” when there is insufficient evidence the

requirement in question will improve safety. In Marshall v. Burlington Northern,

Inc., then-Circuit Judge Kennedy, writing for the court, explained that FRA “has



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concluded that the information in the docket does not support the proposition that

alerting lights are effective in reducing the incidents of grade-crossing accidents.

Without that support, a Federal regulatory requirement that railroads equip their

locomotives with an alerting light is not justified.” 720 F.2d 1149, 1153-54 (9th Cir.

1983) (quotation marks omitted).

      Nor is a crew-size rule justified when the agency admits it has “insufficient

historical accident and incident data [ ] to demonstrate the potential impacts of crew

size on rail safety,” and that this paucity of data does not allow it to draw “any

conclusions about the safety of single-person crews.” 87 Fed. Reg. at 45571, 45583

(emphasis added). Agnosticism defeats any claim of necessity. In vacating FRA’s

withdrawal order, the Ninth Circuit noted the absence of any “reliable or conclusive

statistical data to suggest whether one-person crew operations are generally safer or

less safe than multiple-person crew operations” and concluded: “Critically, this lack

of data does not support the promulgation of a one-person train crew rule.” Transp.

Div., 988 F.3d at 1182 (quotations omitted). Of course, the same lack of data does

not support the promulgation of a two-person train crew rule either.

      FRA’s speculation that a crew-size rule might result in safety benefits cannot

establish that such a rule is necessary. Indeed, Congress has directed FRA to

determine whether a safety regulation is “necessary” based on actual data rather than

speculation. See 49 U.S.C. § 20103(c) (“In prescribing regulations and issuing



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orders under this section, the Secretary shall consider existing relevant safety

information.”) (emphasis added); see also FRSA, Pub. L. 91-458, 84 Stat. 971,

§ 202(e) (requiring Secretary of Transportation to “issue initial railroad safety rules,

regulations, orders, and standards under this title based upon existing safety data and

standards.” (emphasis added)). Congress thus instructed FRA to determine whether

regulations are “necessary” based on actual, existing safety data.

      3.     Because it lacks data supporting a crew-size rule, FRA relies on a small

collection of reports touting the benefits of “teamwork.” 87 Fed. Reg. at 45572.

Virtually all these reports are recycled from the prior rulemaking, where FRA

concluded, after studying them for three years, that “[w]hile these reports identify

safety issues that railroads should consider when evaluating any reduction in the

number of train crewmembers or a shift in responsibilities among those

crewmembers, the reports do not indicate that one-person crew operations are less

safe and therefore do not form a sufficient basis for a final rule on crew staffing.”

84 Fed. Reg. at 24740 (emphasis added). FRA is correct: None of these reports

supports a conclusion that one-person operations are unsafe or that a crew-size rule

is necessary for railroad safety.     FRA claims that after spending some time

“revisit[ing] the research,” 87 Fed. Reg. at 45572, the agency now believes that it

grossly misread all six reports and that every one actually means the opposite of

what FRA initially thought. But even if one were to credit this claim at face value,



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any support FRA can muster from generalized thoughts about teamwork cannot

overcome the complete absence of data or evidence suggesting that a crew-size rule

is necessary for railroad safety.

      The NPRM also discussed the derailments in Lac-Mégantic and Casselton as

illustrating the supposed value of having multiple crewmembers. 87 Fed. Reg. at

45568-70. But neither of those derailments had anything to do with the size of the

train crew—as FRA itself has repeatedly acknowledged. See id. at 45570 (“the

connections between train crew staffing and railroad safety with respect to the Lac-

Mégantic and Casselton accidents are tangential at best and do not provide a

sufficient basis for FRA regulation of train crew staffing requirements”); 81 Fed.

Reg. at 13921 (“FRA does not have information that suggests that there have been

any previous accidents involving one-person crew operations that could have been

avoided by adding a second crewmember.”); JPA Doc.13201 at 36 (“FRA has not

identified accidents that previously occurred that would be avoided by this new

rulemaking.”).    As to Lac-Mégantic, Canada’s Transportation Safety Board

exhaustively investigated the cause of the accident and could not “conclude[ ] that a

one-person crew contributed to the accident.” 87 Fed. Reg. at 45569. And as to

Casselton, FRA has acknowledged that the accident “do[es] not provide a sufficient

basis for FRA regulation of train crew staffing” because “the same type of positive

post-accident mitigating actions were achievable with . . . [f]ewer than two



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crewmembers . . . [and] a well-planned, post-accident protocol that quickly brings

railroad employees to the scene of an accident.” 84 Fed. Reg. at 24738.

      FRA’s remaining justifications for a crew-size rule fall short. The agency

contends there is a connection between crew size and the sufficiency of post-accident

response. See 87 Fed. Reg. at 45571. But FRA previously studied this exact issue

and determined that “those indirect connections do not provide a sufficient basis for

FRA regulation of train crew staffing requirements.” 84 Fed. Reg. at 24740. FRA

notes that “freight train length has increased in recent years,” which “may make it

challenging for the industry to continue the past two decades general trend of

improved safety in rail operations.” 89 Fed. Reg. at 25083. But the agency cites

nothing that links the length of freight trains to any safety issues arising from crew

size. Similarly, FRA asserts that “the latest rail safety data reflects some troubling

industry trends,” including an increased rate of “human factor caused accidents.” Id.

But here too, FRA fails to identify any data or evidence that links any of these

“trends” to crew size. Indeed, as FRA has previously recognized, the data shows

that one-person crews may reduce accidents caused by human factors, see 81 Fed.

Reg. at 13932, thus contributing to the “past two decades general trend of improved

safety in rail operations,” 89 Fed. Reg. at 25083.

      In the last two years, the Fifth Circuit has twice vacated FRA orders because

the agency did exactly what it did here: it prioritized political objectives over its



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statutory mandate to regulate in the interest of rail safety. In BNSF Railway Co. v.

FRA, 62 F.4th 905, 911 (5th Cir. 2023), the court held that the agency had ignored

“evidence-based” arguments that the rail operations at issue would deliver safety

benefits, noting that FRA’s “paucity of reasoning is especially glaring in the face of

the agency’s statutory mandate to prioritize safety.” Then, in BNSF Railway Co. v.

FRA, 105 F.4th 691, 698 (5th Cir. 2024), the court again found FRA had made a

politically-driven decision that was directly contrary to the relevant rail-safety data,

explaining that “FRA fails to provide even one rationale that survives our review.”

      Tellingly, when FRA sent its crew-size rule to the Office of Management and

Budget (OMB) for review before publication in the Federal Register, the preamble

included the following:      “Currently, the majority of trains operate with two

crewmembers. The safety of these trains could be eroded if railroads reduce crew

sizes without adequately evaluating the potential risks.” OMB, recognizing that the

government could not credibly claim that railroad safety might be threatened if

railroads moved to one-person crews, ordered FRA to delete the second sentence.

See JPA Doc.2 at 170. The second sentence does not appear in the final rule.

      B.     FRA Ignored The NTSB’s Recommendation To Collect The
             Relevant Data Before It Regulates.

      The National Transportation Safety Board has explicitly recommended that

FRA collect data on crew-size safety before it regulates crew size. Congress has

implicitly recommended the same by passing a law directing the agency to start


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collecting data on crew size. FRA’s failure to acknowledge these recommendations,

even though they were discussed at length by commenters, renders its rule arbitrary

and capricious. See Hewitt v. Comm’r, 21 F.4th 1336, 1351 (11th Cir. 2021)

(agency’s “fail[ure] to respond to [a] relevant and significant comment” is arbitrary

and capricious).2

      1.     In the prior rulemaking, the NTSB submitted comments stating that it

would address the crew-size issue in a forthcoming report. See 84 Fed. Reg. at

24737. In that report, the NTSB concluded that “[t]here is insufficient data to

demonstrate that accidents are avoided by having a second qualified person in the

cab. In fact, the NTSB has investigated numerous accidents in which both qualified

individuals in a two-person crew made mistakes and failed to avoid an accident.”

Id. at 24739 (quotation marks omitted). The NTSB instead urged FRA to collect

data before it regulates. It recommended that FRA first modify its accident report

form to include the number of crewmembers in the controlling cab at the time of an

accident—and then use the data it gathers to evaluate the safety adequacy of current

crew-size regulations. See id. at 24737 n.9 (acknowledging that “the NTSB made

new recommendations to FRA to capture crewmember data” before regulating crew




2 Of course, to the extent FRA already has data, it establishes the safety of one-
  person crews over many years and in many different types of operations. The
  only “absent” data is any evidence that one-person crews are unsafe.

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size). In response, the RSAC accepted a task to “[m]odify Form 6180.54 (Rail

Equipment Accident/Incident Report) to include the number of crewmembers in the

controlling cab of the train at the time of the accident.” See Task No. 19-01, RSAC

Task Statement: Part 225 Accident Reporting (Apr. 24, 2019). But FRA terminated

the RSAC working group before it could present a recommendation. And FRA did

not modify the report form as the NTSB urged it to do.

      In 2020, the Ninth Circuit criticized FRA for failing to collect any “reliable or

conclusive statistical data” linking crew-size to safety. Transp. Div., 988 F.3d at

1182 (quotation marks omitted). The court held that the agency’s proposed crew-

size rule could not be justified in light of the “lack of data.” Id. Still FRA did not

act. Even though the NTSB and the Ninth Circuit had told FRA in no uncertain

terms that it should not issue a crew-size rule until it had collected the relevant data,

FRA still refused to modify its accident reporting form.

      By November 2021, Congress had enough. It passed a law directing FRA to

modify its form and begin collecting the data within a year. See Pub. L. 117-58, div.

B, title II, § 22421(b), Nov. 15, 2021, 135 Stat. 750, codified at 49 U.S.C. § 20901

note (“Not later than 1 year after the date of enactment of this Act, and annually

thereafter for the following 4 years, the Secretary shall update Special Study Block

49 on Form FRA F 6180.54 (Rail Equipment Accident/Incident Report) to collect,

with respect to trains involved in accidents required to be reported to the Federal



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Railroad Administration . . . the number of crew members who were aboard a

controlling locomotive involved in an accident at the time of such accident.”). This

law is the clearest possible indication of congressional intent that FRA collect the

necessary data before mandating a particular crew size.

        FRA did not modify its form by the congressionally-required deadline.

Instead, in July 2022, it issued its NPRM and proposed a crew-size rule without

having begun collecting any data. See 87 Fed. Reg. 45564; see also JPA Doc.368 at

6 (“FRA does not currently collect data regarding the size of train crews.”). The

November 2022 deadline came and went.            In April 2023, FRA published an

information collection request to begin the process of making the required

modifications to its accident form. See Proposed Agency Information Collection

Activities, 88 Fed. Reg. 24657 (Apr. 21, 2023). That request became final later in

the year, and FRA finally began collecting the data in January 2024—more than a

year after the statutory deadline, and one month before it issued its final crew-size

rule.

        2.   FRA’s actions were arbitrary and capricious. During the notice-and-

comment period, numerous commenters urged the agency to follow the NTSB’s

recommendations, and to gather and consider the data Congress had directed it to

collect, before regulating crew size. See, e.g., JPA Doc.13056 at 29-30 (“FRA does

not explain why it cannot proceed as the NTSB recommends, by collecting the



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necessary evidence and then deciding whether to regulate”); JPA Doc.12313 at 9

(“A final important frame for review is what has not happened . . . . [T]he agency

has yet to act on NTSB recommendations . . . to modify accident reporting forms”);

JPA Doc.13018 at 3 (“[T]he NPRM ignores the recommendation of the [NTSB] to

capture crewmember data and use that data to evaluate the adequacy of current crew

size regulations.”). Even rail labor—the most fervent supporters of the crew-size

rule—expressed regret that FRA had failed to collect the data, noting that if the

agency had done so, “FRA would have the data to support a two-person train crew”

because “we would know how often and how many times two-person train crews

help avoid accidents.” JPA Doc.2 at 2. Instead, the agency pushed its rule out the

door, making good on the President’s campaign promise during an election year.

      Neither the NPRM nor the final rule acknowledged the near-universal view of

all interested parties that FRA must collect the necessary data before regulating.

Neither the NPRM nor the final rule acknowledged the NTSB’s recommendation.

Neither the NPRM nor the final rule acknowledged the new statute or even noted

that FRA had at long last begun to comply with Congress’s data-collection mandate.

And neither the NPRM nor the final rule responded to the many comments the

agency received imploring it to heed the flood of collect-the-data-before-you-

regulate recommendations before moving ahead with a crew-size rule. FRA never

explained why the agency deemed it imperative to regulate now, in the absence of



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the very data that would show whether two-person crews are in fact necessary for

safe operations.

      The Supreme Court recently held that the Environmental Protection Agency

made the same error, finding that “[a]lthough commenters posed [a] concern to EPA

during the notice and comment period, EPA offered no reasoned response.” Ohio v.

EPA, 144 S. Ct. 2040, 2054 (2024) (citation omitted). The Court concluded: “As a

result, the applicants are likely to prevail on their argument that EPA’s final rule was

not reasonably explained, that the agency failed to supply a satisfactory explanation

for its action, and that it instead ignored an important aspect of the problem before

it.” Id. (cleaned up). Here too, FRA ignored the NTSB’s recommendation, the Ninth

Circuit’s admonition, Congress’ data-collection requirement, and a vast number of

comments urging the agency to collect the necessary data before imposing a crew-

size mandate.

II.   The Rule Conflicts With The Existing Statute And Regulation
      Establishing The Process For Reducing Crew Size.

      Congress and FRA have already established the pathway through which

railroads may reduce crew size. Railroads must prepare and submit for FRA

approval a risk-reduction plan, including a risk-based hazard management program

that identifies the methods the railroad will use to mitigate risk arising from

operational changes. In its submission, the railroad may specify the precise safety

measures it will implement when moving to one-person operations. FRA reviews


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the plan and, if the agency approves the plan, the railroad must implement it. See 49

U.S.C. § 20156; 85 Fed. Reg. 9262.          The crew-size rule—which requires a

completely different and far more onerous process for railroads looking to reduce

crew size—conflicts with the statute and regulation, and is contrary to law and not

“necessary” for this reason too. See Ragsdale v. Wolverine World Wide, Inc., 535

U.S. 81, 96 (2002) (When a regulation “effects an impermissible alteration of the

statutory framework,” it is not “within the Secretary’s power to issue” because it is

not “necessary”).

      A.      Congress And FRA Already Established The Pathway For
              Railroads To Reduce Crew Size.

      As part of the Rail Safety Improvement Act, Congress established the process

for railroads to reduce crew size. Congress required Class I and other railroads to

develop and implement a “railroad safety risk reduction program,” 49 U.S.C.

§ 20156(a). A railroad must identify and analyze the specific measures it will take

to ensure safety if it reduces the “employee levels” involved in operating a train. Id.

§ 20156(c).

      Congress directed the railroads to consult with rail labor organizations and

make best efforts to agree on the safety measures accompanying any potential

reductions in crew size. See 49 U.S.C. § 20156(g)(1) (“Each railroad carrier . . .

shall consult with, employ good faith, and use its best efforts to reach agreement

with, all of its directly affected employees, including any nonprofit employee labor


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organization representing a class or craft of directly affected employees of the

railroad carrier, on the contents of the safety risk reduction program.”). If the rail

carrier and the union “cannot reach consensus,” the “directly affected employees and

[the union] may file a statement with [FRA] explaining their views on the plan.” Id.

§ 20156(g)(2).

      Once it has consulted with the union, the railroad must “submit its program,

including any required plans, to [FRA] for review and approval” and must then

“implement the program and plans approved by the Secretary.”                       Id.

§ 20156(a)(1)(B)-(C). FRA “shall annually conduct a review to ensure that the

railroad carriers are complying with their plans.” Id. § 20156(a)(3).

      FRA implemented this provision of the Rail Safety Improvement Act through

regulations specifying how railroads must evaluate and reduce risk when making “a

reduction in crew staffing levels.” 85 Fed. Reg. at 9296; see also 87 Fed. Reg. at

45582 n.174 (explaining that the regulations “require a railroad to identify and

analyze ‘employee levels’ as part of [its] risk-based hazard management program”).

Specifically, FRA’s regulations “require a railroad to proactively identify hazards

and risks associated with a reduction in crew size before making the operational

change, in addition to monitoring operational safety following implementation of

the new crew size.” Id. Railroads must identify the precise steps they will take to

mitigate any risks arising from a one-person crew. For example, railroads must



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specify the protocol their employees would follow in the event a train becomes

disabled or is involved in an accident. See 84 Fed. Reg. at 24740 (“FRA expects

railroads would consider these protocols as mitigation options under their [risk-

reduction plans] when evaluating any changes to train crew staffing levels.”).

      Thus, both the Rail Safety Improvement Act and FRA’s implementing

regulations establish the process through which railroads may reduce crew size while

maintaining the safety of their operations. When FRA asserts that its crew-size rule

“is necessary to ensure that railroads fully consider the potential impacts on the

safety of railroad employees, passengers, and the general public before initiating a

train operation with a one-person crew,” JPA Doc.13201 at 37, it is wrong. The risk-

reduction statute and regulations already require exactly that.

      B.     The Crew-Size Rule Conflicts With The Risk-Reduction
             Statute And Regulation.

      The crew-size rule conflicts with the risk-reduction statute and regulation

because it bars railroads from reducing crew size unless they follow a completely

different process and satisfy a far more onerous standard.

      Under the risk-reduction statute and regulation, the railroads assess the

potential risks arising from one-person operations, and consult with labor in

submitting a risk-mitigation plan to FRA for approval. See 49 U.S.C. § 20156; 85

Fed. Reg. 9262.     Under the crew-size rule, in contrast, a railroad seeking to

implement one-person operations must file a petition containing 15 categories of


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information, accompanied by an elaborate multifactor “risk assessment,” in order to

obtain “Special Approval” to operate with a one-person crew. See 89 Fed. Reg.

25112-25113 (“Risk assessment content and procedures”); id. at 25114-25115

(Appendix E, entitled “Recommended Procedures for Conducting Risk

Assessments,” including tables establishing various “Severity Categories,”

“Probability Levels,” and the dreaded “Risk Matrix”).

      The “special approval” standard is virtually impossible to satisfy in practice.

In the proposed rule, FRA established a special approval standard that bordered on

the comical. To obtain permission to conduct one-person operations, a busy railroad

would have to use FRA’s “risk matrix” to prove that it would not have a single

disqualifying safety incident until the year 2156. A less busy railroad would have

to be incident-free until the year 4831. See JPA Doc.13056 at 43. In the final rule,

FRA said railroads would be required to show that their proposed one-person

operation would be as safe or safer than a two-person operation—and the risk matrix

would merely be recommended rather than required. See 89 Fed. Reg. at 25084.

But FRA retained the heart of the old risk matrix and did not change the risk matrix

in a way that makes it possible to pass, underscoring that the agency has no intention

of approving any Class I operations with fewer than two crew members. There is

virtually no way a railroad would be able to provide data proving that one-person

operations are “as safe or safer” as two-person operations on all the different metrics



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the agency demands. See 89 Fed. Reg. at 25114-25115. Moreover, such broad

discretion to make subjective judgment calls ensures that FRA will always be able

to come up with some way to deem the data inadequate or find some risk that in its

view is not sufficiently mitigated. And the idea that a railroad would be able to

design its own risk-assessment matrix that would survive a notice-and-comment

process and be approved by FRA is farfetched.

      FRA offered two reasons for why the crew-size rule does not conflict with the

risk-reduction statute and regulation. Neither is persuasive.

      First, FRA noted that “not every railroad is required” to submit a risk-

reduction plan. 87 Fed. Reg. at 45582. But many railroads, including all Class I

railroads, all intercity passenger and commuter railroads, and all railroads found by

FRA to have “inadequate safety performance” are required to submit a plan. 49

U.S.C. § 20156(a)(1). Moreover, even those railroads that are not required to submit

a plan may voluntarily submit one for approval by FRA. See id. § 20156(a)(4).

      Second, FRA noted that, because its risk-reduction regulation allows railroads

to prioritize risks, “a railroad may not implement mitigations to eliminate or reduce”

a risk arising from a reduction in crew size. 87 Fed. Reg. at 45582. But this ignores

the fact that FRA must approve the risk-reduction plan before the railroad may

implement a reduction in crew size. If FRA believes a railroad has taken the wrong

approach to risk reduction or hazard management, then it can decline to approve the



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plan.    Alternatively, FRA could simply direct the railroad to implement the

mitigation measures specified in its risk reduction plans when reducing crew size.

        In the preamble to the final rule, FRA seemingly acknowledged the conflict

between the risk-reduction process and its crew-size rule, claiming vaguely that the

agency made changes to the crew-size rule to “provide consistency with existing

requirements” by “allowing railroad [sic] to build upon existing analyses.” 89 Fed.

Reg. at 25084. It is unclear what FRA meant by this statement, but if the agency

intended to suggest that its crew-size rule merely supplements the risk-reduction

statute and regulation, FRA is mistaken. The crew-size rule purports to displace the

process Congress and FRA itself established and overrides the congressional

judgment that the railroads are best positioned to determine, with input from labor,

how they can reduce staffing while maintaining safe operations—subject to FRA

approval and ongoing supervision. The risk-reduction statute and regulation gave

the railroads a specific pathway to reducing crew size. The crew-size rule eliminates

that pathway. The conflict is clear and undeniable, and the crew-size rule must be

vacated as a result.

III.    FRA Did Not Adequately Explain Its Disregard Of The Factual
        Determinations Underpinning Its Prior Policy.

        FRA made a 180-degree reversal from its prior policy that a crew-size rule

was not necessary for railroad safety. The agency acknowledged the change when

it issued the rule, but it failed to provide a reasoned explanation for disregarding the


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facts and circumstances that underlay its prior policy. That renders the final rule

arbitrary and capricious.

      Agencies may change their policies, but they must “provide a reasoned

explanation for the change.” Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221

(2016). “[T]he agency must at least ‘display awareness that it is changing position’

and ‘show that there are good reasons for the new policy.’” Id. (quoting Fox

Television, 556 U.S. at 515). Moreover, when a “new policy rests upon factual

findings that contradict those which underlay its prior policy . . . further justification

is demanded[.]” Fox Television, 556 U.S. at 515-16; see also Perez v. Mortg.

Bankers Ass’n, 575 U.S. 92, 106 (2015). Specifically, “a reasoned explanation is

needed for disregarding facts and circumstances that underlay . . . the prior policy.”

Fox Television, 556 U.S. at 516. “It follows that an unexplained inconsistency in

agency policy is a reason for holding [a decision] to be an arbitrary and capricious

change from agency practice.” Encino Motorcars, 579 U.S. at 222 (cleaned up); see,

e.g., BNSF, 105 F.4th at 700 (holding FRA order arbitrary and capricious where the

agency changed position but “grapple[d] with none of its prior reasoning and

conclusions”) (quotation marks omitted).

      In its Withdrawal Order, 84 Fed. Reg. 24735, FRA identified the facts and

circumstances that underlay its prior policy that a crew-size rule is not necessary for

railroad safety. In issuing the crew-size rule, FRA acknowledged its change in



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position, but failed to provide “a reasoned explanation . . . for disregarding [the] facts

and circumstances that underlay . . . the prior policy.” Fox Television, 556 U.S. at

516. These included:

      The absence of data.           The Withdrawal Order stated that “FRA’s

accident/incident safety data does not establish that one-person operations are less

safe than multi-person train crews.” 84 Fed. Reg. at 24739. FRA’s new position

that “upon reflection, FRA over-relied on the absence of single-person crew safety

data,” 87 Fed. Reg. at 45571, falls far short of a reasoned explanation for the

agency’s decision to disregard the absence of any evidence suggesting that two-

person crews are necessary for safety. A mere assertion of “over-reli[ance]” is not

a reasoned explanation, particularly in a context where “further justification is

demanded[.]” Fox Television, 556 U.S. at 515-16. The agency never adequately

explains why the same data record it found in 2019 was not sufficient to support a

crew-size mandate has suddenly become sufficient a few years later.

      Lac-Mégantic and Casselton. The Withdrawal Order identified the specific

regulatory actions FRA had taken, in the wake of the derailments, “to ensure the safe

transportation of products by rail in the United States.” 84 Fed. Reg. at 24738

(discussing an emergency order, two final rules, and three safety advisories). FRA

stated that these “actions taken by FRA and DOT following the Lac-Mégantic and

Casselton accidents appropriately address safety concerns raised by those



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accidents.” Id. (“[The] connections between [train] crew staffing and railroad safety

with respect to the Lac-Mégantic and Casselton accidents . . . are tangential at best

and do not provide a sufficient basis for FRA regulation of train crew staffing

requirements.”). FRA now contends those accidents do provide a basis for a crew-

size regulation, 87 Fed. Reg. at 45571, but the agency nowhere explains why it

believes its robust regulatory response (which it deemed sufficient in 2019) is no

longer sufficient to address the safety concerns raised by those accidents.

      Strong safety record of one-person operations. The Withdrawal Order stated

that “existing one-person operations have not yet raised serious safety concerns and,

in fact, it is possible that one-person crews have contributed to the [railroads’]

improving safety record.” 84 Fed. Reg. at 24739 (cleaned up). In the NPRM, FRA

attempted to walk back these factual findings by asserting that “there have been too

few current one-person train crew operations to create any meaningful data.” 87

Fed. Reg. at 45571; see also id. at 45607 (“FRA is currently aware of nine one-

person train crew operations”). When commenters pointed out that FRA’s claim of

nine current one-person operations was wildly inaccurate—there are hundreds, see

JPA Doc. 13033 at 5—the agency corrected itself in the final rule, although it still

massively undercounted. See JPA Doc.13201 at 11 (“Based on the comments . . .

FRA has revised its estimate of the number of railroads [currently using one-person

operations] . . . from 9 to 75 in the final rule”). Even though FRA’s rationale that



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there was no “meaningful data” establishing the safety of one-person operations had

rested on a mistaken premise—that there were only nine such operations in place—

the agency offered no further explanation for its change in position on the safety

record of one-person crews.

      Stifling innovation.     The Withdrawal Order stated that “FRA generally

agrees” that a “train crew staffing rulemaking [would be] a potential barrier to

automation or other technology improvements.” 84 Fed. Reg. at 24740. FRA now

takes the opposite position, asserting that “a train crew staffing rule would not

necessarily halt rail innovation or automation.” 87 Fed. Reg. at 45571. The agency

fails to provide a reasoned explanation for the about-face. It merely asserts that it

wishes “to ensure new technologies involving automation and other rail innovations

are thoroughly reviewed and shown to be consistent with railroad safety before they

are implemented.” Id. If anything, FRA’s statement confirms that a two-person

crew mandate will slow innovation and automation.

      The six research reports. The Withdrawal Order stated that “[w]hile these

reports identify safety issues that railroads should consider when evaluating any

reduction in the number of train crewmembers or a shift in responsibilities among

those crewmembers, the reports do not indicate that one-person crew operations are

less safe and therefore do not form a sufficient basis for a final rule on crew staffing.”

84 Fed. Reg. at 24740. FRA now purports to have “revisit[ed] the research” and



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claims the six reports in question actually do support a crew-size rule. 87 Fed. Reg.

at 45572. But all FRA provides is a single conclusory sentence explaining the reason

for the reversal on all six reports: “In consideration of FRA’s current policy

priorities, FRA finds that the 2019 Withdrawal . . . de-emphasized safety concerns

raised by the research.” That is no explanation at all, let alone a reasoned explanation

that “grapple[d] with” the agency’s “prior reasoning and conclusions.” BNSF, 105

F.4th at 700 (quotation marks omitted).

IV.   FRA Did Not Consider The Labor Costs The Rule Will Impose.

      In purporting to perform a cost/benefit analysis, FRA failed to consider the

labor costs resulting from its two-person crew mandate. FRA’s decision to ignore

labor costs renders its order arbitrary and capricious because the agency “entirely

failed to consider an important aspect of the problem.” Motor Vehicle Mfrs. Ass’n

of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983); see also Bidi

Vapor LLC v. FDA, 47 F.4th 1191, 1203 (11th Cir. 2022) (vacating FDA orders

where agency failed to consider an important aspect of the problem); Nat’l Ass’n of

Home Builders v. EPA, 682 F.3d 1032, 1040 (D.C. Cir. 2012) (“[W]hen an agency

decides to rely on a cost-benefit analysis as part of its rulemaking, a serious flaw

undermining that analysis can render the rule unreasonable.”).




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      A.     The Rule Will Impose Substantial Labor Costs On
             Railroads.

      The cost of operating with the second crewmember will impact operational

costs in perpetuity. It is the largest regulatory cost—by far—imposed by the

proposed rule.

      Railroads forced to add an additional crew member to an existing one-person

operation will incur substantial labor costs, as will railroads that would have

commenced one-person operations but for the rule. In its comments, AAR argued

that FRA “ignores the reduced operational costs that would result in the absence of

the rule, if railroads were free to move to one-person operations,” and explained that

“[t]he opportunity cost of operating with the second crewmember is the largest

regulatory cost associated with the proposed rule because it would impact

operational costs in perpetuity.” JPA Doc.13056 at 46; see also UP Comments at

33 (“the most glaring flaw in the agency’s cost assumptions is its failure to

adequately account for the future costs of not shifting existing two-person crews to

one-person crews”).

      AAR also submitted a study demonstrating how the increased labor costs

caused by the rule will put railroads at a competitive disadvantage vis-à-vis the

trucking industry. See JPA Doc.13056, Ex. 9 at 4 (explaining that because “the

costs of labor and fuel are the primary determinants” of freight railroads’ operating

costs, “labor-saving gains are key to freight productivity”) (cleaned up). Whereas


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railroads will be required to operate with a two-person crew, trucks will be permitted

to operate autonomously with no “crew” at all. Id. at 6-7. The trucking industry

will be able to offer lower rates, passing the reduced labor costs on to shippers, who

will increasingly choose to move their freight over the highways instead of by rail.

Id. at 11-16.

      In sum, the labor costs imposed by the crew-size rule will be both direct

(paying the salary of a second crewmember) and indirect (lost revenue arising from

a modal shift as freight shippers opt for trucks over trains).

      B.        FRA’s Failure To Consider Labor Costs Was Arbitrary And
                Capricious.

      In issuing the crew-size rule, FRA openly admitted that it refused to consider

the labor costs its rule will impose on railroads that would otherwise have moved to

one-person operations. The agency stated: “The requirements of this rule do not

affect railroads operating trains with two-person crews; therefore, they will not incur

any costs.” JPA Doc.13201 at 5-6.

      That statement is clearly wrong. The requirements of the rule do affect

railroads operating trains with two-person crews. Those railroads cannot reduce

crew size, and move to one-person operations, without obtaining “special approval”

from FRA. To say that railroads forced to employ an additional crew member “will

not incur any costs,” id. at 6, defies reality and basic economics. Railroads that are

denied special approval will incur substantial costs in the form of labor costs arising


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from an additional crew member. Even if special approval is granted, railroads will

incur costs while FRA’s review is pending because they “will need to maintain

current staffing levels” until FRA rules on their petition, which could take years. Id.

at 9.

        When an agency is exercising its statutory authority to issue “necessary” rules,

as FRA did here, it must consider the cost of its rule. In Michigan v. EPA, 576 U.S.

743, 752-53 (2015), the Court held that the Environmental Protection Agency was

required to consider the cost of its rule when exercising its statutory authority to

regulate emissions if it finds regulation “appropriate and necessary.” The Court

emphasized that “[a]gencies have long treated cost as a centrally relevant factor

when deciding whether to regulate,” and “[a]gainst the backdrop of this established

administrative practice, it is unreasonable to read an instruction to an administrative

agency to determine whether ‘regulation is appropriate and necessary’ as an

invitation to ignore cost.” Id.

        FRA acted arbitrarily when it ignored the largest cost imposed by its rule. The

agency’s refusal to consider labor cost is particularly striking in that FRA did

consider labor cost in its prior crew-size rulemaking. At that time, FRA specifically

recognized that costs “would result from additional crew members on the trains that

are currently operating with a one-person crew and from the delay or prevention of

instituting new one-person crew operations in the future.”               2016 RIA at 41.



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Although the agency had estimated that a crew-size rule would impose up to $27.7

million in costs over ten years, see id. at v, it now estimates that the crew-size rule

will impose only $6.6 million in costs over ten years, see 89 Fed. Reg. at 25057; JPA

Doc.13201 at 8. That dramatic 75-percent drop is largely explained by the agency’s

arbitrary decision to eliminate labor cost from the calculus. At a minimum, FRA

acted arbitrarily by failing to acknowledge, let alone explain, its dramatic change in

position—from substantial costs to no costs.

      Because the cost of labor is undeniably “an important aspect of the problem,”

State Farm, 463 U.S. at 43, FRA’s refusal to consider it renders the crew-size rule

arbitrary and capricious. See SecurityPoint Holdings, Inc. v. TSA, 867 F.3d 180, 185

(D.C. Cir. 2017) (a “court must vacate a decision that entirely failed to consider an

important aspect of the problem”) (emphasis added and quotation marks omitted).

V.    FRA Failed To Comply With The Statutory And Regulatory 12-
      Month Deadline.

      FRA issued its NPRM on July 28, 2022 and its final rule on April 2, 2024.

(The rule was published in the Federal Register on April 9, 2024.) Accordingly,

FRA failed to comply with the 12-month rulemaking deadline established by both

Congress and FRA itself. See 49 U.S.C. § 20103(b) (providing that the “time limit

for disposition of [an FRA rulemaking] proceeding may not be more than 12 months

after the date it begins”); 49 C.F.R. § 211.13 (FRA regulation specifying that “[e]ach

rulemaking proceeding shall be completed [within] 12 months”). The crew-size rule


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should be vacated because the agency exceeded its rulemaking authority when it

issued a rule after the deadline expired.

      FRA will likely rely on Barnhart v. Peabody Coal Co., 537 U.S. 149 (2003),

where the Court stated that “courts may not “construe[ ] a provision that the

Government ‘shall’ act within a specified time, without more, as a jurisdictional limit

precluding action later.” Id. at 158. Three Justices thought Barnhart was wrongly

decided at the time. See id. at 174-75 (Scalia, J., dissenting, joined by O’Connor &

Thomas, JJ.) (“When a power is conferred for a limited time, the automatic

consequence of the expiration of that time is the expiration of the power.”); see also

id. at 185 (Thomas, J., dissenting) (when Congress delegates to an agency the power

to act within a specified time, it is “obvious” that an agency that fails to do so “has

no power” to later exercise the delegated authority). And there can be no question

that Barnhart—which looked to amorphous congressional purpose rather than the

plain text of the statutory delegation putting limits on an agency’s rulemaking

power—is in strong tension with the Court’s more recent approach to determining

“the boundaries” of an agency’s rulemaking authority. See, e.g., Loper-Bright

Enters., 144 S. Ct. at 2263 (“The role of the reviewing court under the APA is, as

always, to independently interpret the statute . . . . [and] fix[ ] the boundaries of the




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delegated authority [by] ensuring the agency has engaged in reasoned

decisionmaking within those boundaries.”) (cleaned up).3

      In any event, Barnhart should not control here for two reasons. First,

Barnhart did not involve a statutory delegation of rulemaking authority and this case

does not involve imposing a “consequence for noncompliance.” 537 U.S. at 159

(quotation marks omitted). Rather, this case presents the very different question

whether FRA’s statutory authority includes the power to issue rules more than a year

beyond the commencement of the rulemaking. It plainly does not. Second, Barnhart

involved only a statutory deadline, whereas this case involves both a statutory and

regulatory deadline.     The regulation provides that FRA “shall” complete

rulemakings within 12 months. 49 C.F.R. § 211.13. Where the agency itself has

placed limits on its rulemaking power, those limits must be enforced. See United

States ex rel. Accardi v. Shaughnessy, 347 U.S. 260, 265-66 (1954) (agencies are

bound by their own regulations).

                                   CONCLUSION

      The Court should vacate the final rule.




3 For this reason, the foundation underlying older cases, including cases where
  AAR urged the opposite result, see Transp. Div. v. Fed. R.R. Admin., 40 F.4th
  646 (D.C. Cir. 2022), has been weakened.

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                                            Respectfully submitted,

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Dated: July 26, 2024.

                                        /s/ Thomas H. Dupree Jr.__________
                                        Thomas H. Dupree Jr.




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                         CERTIFICATE OF SERVICE

      I hereby certify that on July 26, 2024, a true and correct copy of the foregoing

brief was served on all counsel of record through the CM/ECF system.


                                       /s/ Thomas H. Dupree Jr._
                                       Thomas H. Dupree Jr.
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                           ADDENDUM
                                                 25052USCA11 Case:Register
                                                           Federal 24-11076        Document:
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                                                 DEPARTMENT OF TRANSPORTATION                            BMWED—Brotherhood of Maintenance of                      2. Passenger Operations
                                                                                                           Way Employes Division                                  3. Short Line and Regional Freight
                                                 Federal Railroad Administration                         BNSF—BNSF Railway Company                                   Railroads
                                                                                                         CARS–TC—Citizens Acting for Rail Safety—                 4. Class I Freight Railroads
                                                                                                           Twin Cities                                            a. Alternative Crewmember Arrangements
                                                 49 CFR Part 218                                         CFZ—Critical focus zones                                    Including Expeditors, Ground-Based
                                                 [Docket No. FRA–2021–0032, Notice No. 5]                CLF—California Labor Federation                             Crewmembers, or Ground-Based
                                                                                                         CN—Canadian National Railway Company                        Conductors
                                                 RIN 2130–AC88                                           Conrail—Consolidated Rail Corporation                    b. Train Operations in Other Countries
                                                                                                         CPUC—California Public Utilities                         c. New Technology and Automated
                                                 Train Crew Size Safety Requirements                       Commission                                                Operations
                                                                                                         CRC—Commuter Rail Coalition                              d. Transportation of Hazardous Materials
                                                 AGENCY: Federal Railroad
                                                                                                         CTC—Centralized traffic control system                   e. FRA Action on Regulating Crew Staffing
                                                 Administration (FRA), Department of                     CVR—Cimarron Valley Railroad                             f. Risk Assessments and FRA’s Review
                                                 Transportation (DOT).                                   Denver RTD—Denver Regional                                  Standard
                                                 ACTION: Final rule.                                       Transportation District                                g. Remote Control Operations
                                                                                                         DOT—Department of Transportation                         F. Consideration of Requirements More
                                                 SUMMARY: FRA is establishing minimum                    FEC—Florida East Coast Railway                              Stringent Than Those Proposed
                                                 safety requirements for the size of train               FRA—Federal Railroad Administration                   III. Section-by-Section Analysis
                                                 crews depending on the type of                          FRFA—Final Regulatory Flexibility Analysis            IV. Regulatory Impact and Notices
                                                 operation. This final rule requires                     FTA—Federal Transit Administration                       A. Executive Order 12866 as Amended by
                                                 railroad operations to have a minimum                   GAO—U.S. Government Accountability                          Executive Order 14094
                                                                                                           Office                                                 B. Regulatory Flexibility Act and Executive
                                                 of two crewmembers except for certain
                                                                                                         GCOR—General Code of Operating Rules                        Order 13272
                                                 identified one-person train crew                        G&U—Grafton and Upton Railroad                           C. Paperwork Reduction Act
                                                 operations that do not pose significant                 INRD—Indiana Rail Road Company                           D. Federalism Implications
                                                 safety risks to railroad employees, the                 mph—miles per hour                                       E. International Trade Impact Assessment
                                                 public, or the environment. This final                  MU—Multiple-unit                                         F. Environmental Assessment
                                                 rule includes requirements for railroads                NS—Norfolk Southern Railway Company                      G. Environmental Justice
                                                 seeking to continue certain existing one-               NPRM—Notice of proposed rulemaking                       H. Unfunded Mandates Reform Act of 1995
                                                 person train crew operations and a                      NPSC—Nebraska Public Service Commission                  I. Energy Impact
                                                                                                         OMB—Office of Management and Budget
                                                 special approval process for railroads
                                                                                                         PTC—Positive train control                            I. Executive Summary
                                                 seeking to initiate certain new one-                    RCL—Remotely controlled locomotive
                                                 person train crew operations. This final                RGPC—Rio Grande Pacific Corporation                   Purpose of the Regulatory Action
                                                 rule also requires each railroad                        RIA—Regulatory Impact Analysis                           FRA is issuing this final rule to ensure
                                                 receiving special approval for a one-                   RIN—Regulatory Identification Number                  that trains are adequately staffed for
                                                 person train crew operation to submit to                RSAC—Railroad Safety Advisory Committee               their intended operation and railroads
                                                 FRA an annual report summarizing the                    RSSM—Rail-security sensitive materials
                                                                                                         RWU—Railroad Workers United                           have appropriate safeguards in place for
                                                 safety of the operation.                                                                                      safe train operations whenever using a
                                                                                                         SBA—Small Business Administration
                                                 DATES: This regulation is effective June                SBA-Advocacy—Small Business                           one-person train crew. The final rule
                                                 10, 2024.                                                 Administration’s Office of Advocacy                 establishes minimum crew size safety
                                                 ADDRESSES: For access to the docket to                  Secretary—Secretary of Transportation                 standards for all trains, including a risk
                                                 read background documents or                            SMART–TD—International Association of                 assessment requirement to evaluate
                                                 comments received, go to http://                          Sheet Metal, Air, Rail and Transportation           hazards and ensure risk mitigation for
                                                 www.regulations.gov at any time.                          Workers Transportation Division                     those railroads looking to initiate one-
                                                                                                         SSO Agency—State Safety Oversight Agency
                                                 FOR FURTHER INFORMATION CONTACT:                        TFI—The Fertilizer Institute
                                                                                                                                                               person train crew operations in the most
                                                 Christian Holt, Staff Director, Operating               TSA—Transportation Security                           complex operating environments
                                                 Practices Division, Office of Railroad                    Administration                                      nationwide, that will reduce the
                                                 Safety, Federal Railroad Administration,                TTD—Transportation Trades Department,                 likelihood of future accidents
                                                 at telephone (202) 366–0978 or by email                   AFL–CIO                                             proactively. As FRA explained in the
                                                 at Christian.Holt@dot.gov; or Alan                      TWU—Transport Workers Union of America                notice of proposed rulemaking (NPRM),
                                                 Nagler, Senior Attorney, U.S.                           T&N—Texas and Northern Railway                        FRA has qualitatively discussed the
                                                 Department of Transportation, Federal                   UP—Union Pacific Railroad Company                     benefits because it does not have
                                                                                                         UTA—Utah Transit Authority
                                                 Railroad Administration, at telephone                                                                         sufficient data to monetize those
                                                 (202) 493–6038 or by email at                           Table of Contents for Supplementary                   benefits. However, those benefits have
                                                 alan.nagler@dot.gov.                                    Information                                           the potential to reduce the likelihood of
                                                 SUPPLEMENTARY INFORMATION:                                                                                    at least one type of foreseeable accident
                                                                                                         I. Executive Summary
                                                                                                         II. Discussion of Comments and FRA’s
                                                                                                                                                               that is more likely to occur with a one-
                                                 Abbreviations and Terms Used in This                                                                          person train crew than a two-person
                                                                                                               Conclusions
                                                 Document                                                                                                      train crew if a locomotive is not
                                                                                                            A. Overview of Comments
                                                 AAR—Association of American Railroads                      B. Preemption                                      equipped with a safety device that will
                                                 ACI—American Consumer Institute                            C. Comments Supporting the NPRM                    stop the train when the locomotive
                                                 AII—Alliance for Innovation and                            1. Labor Organizations                             engineer is physically unresponsive—
                                                   Infrastructure                                           2. Individual Commenters                           even if the type of accident foreseen has
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                                                 APTA—American Public Transportation                        3. Federal Congressional Commenters                not yet occurred. Other qualitative
                                                   Association                                              4. State and Local Governmental                    benefits include ensuring that railroads
                                                 ASLRRA—American Short Line and Regional                       Commenters
                                                   Railroad Association                                     D. Tourist Railroad and Railroad Museum
                                                                                                                                                               are adequately protecting the safety of a
                                                 ATDA—American Train Dispatchers                               Industry Comment That Asserted the              one-person train crewmember or
                                                   Association                                                 NPRM Would Have No Impact                       members of the public under various
                                                 BLET—Brotherhood of Locomotive Engineers                   E. Comments Opposing the NPRM                      foreseeable circumstances so that
                                                   and Trainmen                                             1. Federal Congressional Commenters                employees and communities are not left


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                                                 in an inferior safety position compared                 would not be as safe or safer than a two-                railroad safety. The lack of a uniform
                                                 to when a train is staffed with two                     person minimum train crew operation.                     standard would likely result in
                                                 crewmembers. Without this final rule,                   In addition to the safety benefits from                  additional costs and operational
                                                 FRA has a limited ability to address the                establishing minimum operational                         inefficiencies.
                                                 totality of potential safety issues related             requirements, the notification and
                                                                                                                                                                     Lastly, this final rule is necessary
                                                 to a reduction of crew staffing levels.                 approval procedures required by the
                                                                                                                                                                  because the latest annual rail safety data
                                                 Currently, FRA can exercise its                         final rule will provide FRA with
                                                                                                         information and data that could be used                  reflects some troubling trends that point
                                                 authority in discrete instances through
                                                 the agency’s emergency order authority                  in future rulemakings, enforcement                       toward a need for heightened caution
                                                 (potentially after a serious accident) or               actions including emergency or                           and awareness in railroad safety and
                                                 as it reviews a passenger operation’s                   compliance orders/agreements, and                        operational planning. For instance, a
                                                 emergency preparedness plan under 49                    safety analyses generally.                               second crewmember provides the
                                                 CFR part 239. Also, no other FRA                           Further, the final rule is necessary to               opportunity to secure a train with hand
                                                 regulatory effort focuses on the specific               establish a process for the public,                      brakes, as a one-person train crew could
                                                 hazards and risks associated with a one-                including rail employees and their labor                 not do so without violating railroad air
                                                 person train crew operation, and there                  organization representatives, to                         brake and train handling requirements
                                                 is no industry-wide approach to                         comment before FRA decides whether                       necessary to comply with FRA’s
                                                 mitigate any such hazards or risks.                     to grant special approval on any                         regulations requiring that ‘‘railroads
                                                    Consistent with the purpose of                       railroad’s petition to operate a train with              shall develop and implement a process
                                                 existing requirements for the                           a one-person train crew. The public’s                    or procedure to verify that the applied
                                                 transportation of hazardous materials by                participation is warranted because any                   hand brakes will sufficiently hold the
                                                 rail,1 FRA is mandating that each train                 reduction of crew staffing from a two-                   equipment with the air brakes released
                                                 be assigned a minimum of two                            person train crew could raise numerous                   [and] that a train’s air brake shall not be
                                                 crewmembers when transporting certain                   general and operational safety                           depended upon to hold equipment
                                                 quantities and types of hazardous                       concerns.2 Further exacerbating the                      standing unattended.’’ 5 The rate for all
                                                 materials that have been determined to                  safety concerns regarding any reduction                  human factor caused accidents
                                                 pose the highest risk in transportation                 in crew size is that the average length                  increased from 0.95 accidents per
                                                 from both a safety and security                         of a Class I freight train has grown
                                                                                                                                                                  million train miles to 1.34 between 2013
                                                 perspective, with some exceptions to                    substantially in recent years, to nearly 3
                                                                                                                                                                  and 2022, a 41.1 percent increase, and
                                                 ensure FRA’s awareness of the existing                  miles in some cases, as train length and
                                                                                                         tonnage add to the complexity and                        from 1.18 accidents per million train
                                                 operation and/or require an FRA                                                                                  miles to 1.34 between 2021 and 2022, a
                                                 approval, after an opportunity for public               safety challenges of these operations.3
                                                                                                            In issuing this final rule, FRA will                  13.6 percent increase.6 The percentage
                                                 input. This final crew size rule is                                                                              of train accidents attributed solely to
                                                 necessary for FRA to proactively protect                ensure that laws, regulations, and orders
                                                                                                         ‘‘related to railroad safety’’ with respect              human factors (as reflected in FRA’s
                                                 railroad employees, the public, and the                                                                          accident reporting cause codes)
                                                 environment during train operations                     to train crew size are nationally
                                                                                                         uniform 4 by preventing varying State                    increased from 38.5 percent to 45.6
                                                 with a one-person train crew, including
                                                                                                         laws regulating crew size from creating                  percent between 2013 and 2022. The
                                                 trains transporting hazardous materials.
                                                                                                         a patchwork of potentially inconsistent                  number of main track train handling
                                                    This final rule allows FRA to identify
                                                 and evaluate each railroad that will be                 rules governing train operations across                  and make-up accidents attributed to
                                                 operating a freight train with a one-                   the country. Without this rule, railroads                human factor cause codes has increased
                                                 person train crew. By collecting more                   could be subjected to a different crew                   from 28 in 2013 to a range between 36
                                                                                                         staffing law in every State in which they                and 77 (reflecting occurrences between
                                                 information about one-person train crew
                                                                                                         operate, as there would be no assurance                  2018 and 2022), a 28.6 to 75 percent
                                                 operations, FRA will be better informed
                                                                                                         that State laws governing crew size                      increase. When normalizing this data by
                                                 to respond to questions about how to
                                                                                                         would be based on an analysis or                         the number of train miles, it shows a
                                                 maintain the safety of such an operation
                                                                                                         determination concerning impacts on                      rate increase from 0.04 in 2013 to 0.07
                                                 and be better positioned to take actions
                                                 that ensure future safety improvements.                                                                          in 2022, reaching as high as 0.10 and
                                                                                                           2 FRA’s rules of practice generally encourage
                                                    This final rule also requires railroads              participation by interested persons. 49 CFR 211.3.
                                                                                                                                                                  0.13 during this period, a range that
                                                 with certain types of one-person train                  For example, public participation is encouraged          increased 25 to 225 percent over the
                                                 crew operations to notify FRA that they                 when FRA considers a waiver petition, and the            five-year period between 2018 and 2022.
                                                                                                         dockets for those petitions are publicly available. 49
                                                 are using such an operation, provide a                  CFR part 211, subpart C. Some of FRA’s rail safety          5 49 CFR 232.103(n)(1) and (2). In the event that
                                                 detailed description of the operation                   regulations also require a railroad to notify a labor    an uncontrolled train movement causes an accident
                                                 and, in some circumstances, submit a                    organization’s president of the submission to FRA        or derailment, the presence of a second
                                                 risk assessment and request FRA’s                       of a railroad safety program, such as a training or      crewmember who failed to apply sufficient hand
                                                                                                         certification program to ensure that the relevant
                                                 approval to continue or initiate an                     representatives for employees have an opportunity
                                                                                                                                                                  brakes does not negate the need for a second
                                                 operation. When FRA’s approval is                                                                                crewmember. Contributing causes to such
                                                                                                         to participate in the process. See e.g., 49 CFR
                                                                                                                                                                  derailments and other preventable accidents could
                                                 necessary, this final rule allows FRA to                240.103(b), 242.103(c), and 243.109(d). Because
                                                                                                                                                                  include improper railroad rules or training, or a
                                                 prohibit the initiation of any proposed                 FRA has similarly determined in this instance that
                                                                                                         employees and communities have an interest in a          failure of the second crewmember to comply with
                                                 one-person train crew operations that                   railroad’s operation relative to the issue of train      such requirements. In contrast, the absence of the
                                                                                                         crew size safety, the final rule ensures the             second crewmember restricts the options
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                                                    1 The proposed rule contains extensive               participation of interested members of the public,       immediately available and potentially leaves the
                                                 background explaining that the Federal government       including rail employees and their labor                 one-person train crewmember vulnerable, without
                                                 recognizes how essential hazardous materials are to     organization representatives.                            viable mitigation measures available until
                                                 the U.S. economy and the well-being of its people,        3 ‘‘Rail Safety: Freight Trains Are Getting Longer,    assistance can arrive. This dilemma can largely be
                                                 and the various Federal requirements for the            and Additional Information is Needed to Assess           avoided with a proper risk assessment.
                                                 training of rail employees and other safeguards to      Their Impact,’’ U.S. Government Accountability              6 The data described in this paragraph is available

                                                 help ensure that these materials will be shipped        Office (GAO) (May 2019). https://www.gao.gov/            or derived from data publicly available on FRA’s
                                                 and arrive safely at their destinations. 87 FR 45564,   products/gao-19-443.                                     website. https://data.transportation.gov/stories/s/
                                                 45576 (July 28, 2022).                                    4 49 U.S.C. 20106(a)(1).                               FRA-Safety-Data/dakf-i7zd.



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                                                 Summary of Major Provisions                             crewmember must test the alerter to                      operations adopt and comply with
                                                    In § 218.123, the final rule requires                confirm it is working before departure.                  operating rules providing for mitigation
                                                 railroads to staff every train operation                Without a working alerter on the                         measures that are as safe or safer than
                                                 with a minimum of two crewmembers                       controlling locomotive, if a one-person                  a two-person minimum train crew
                                                 (including a locomotive engineer and an                 train crew becomes incapacitated while                   operation to ensure the railroad will
                                                 additional crewmember who will                          the train is moving, the train would                     address certain situations where a
                                                 typically be a conductor) that travel                   continue to operate down the track out                   second crewmember would typically
                                                 with the train and can directly                         of control without another crewmember                    assist with mitigation, such as when
                                                 communicate with each other even if                     on-board who could apply the                             responding to accidents, derailments,
                                                 one crewmember is not in the                            emergency brake. In contrast, with an                    releases of hazardous materials, and
                                                 locomotive cab, with certain one-person                 alerter, the train would be stopped with                 requests from an emergency responder
                                                 train crew exceptions permitted under                   an emergency brake application after a                   to unblock a highway-rail grade crossing
                                                 specified circumstances.                                designated period of inactivity by the                   in response to a potentially life-
                                                    Sections 218.125 through 218.131 of                  crewmember.8                                             threatening situation. The final rule
                                                 this final rule provide criteria for                       In addition to an alerter requirement                 requires that each Class II and III freight
                                                 instituting one-person train crew                       for certain one-person train crew                        railroad that (a) plans to initiate a one-
                                                 operations in certain circumstances                     operations in § 218.129, the final rule                  person train crew operation after the
                                                 through exceptions to the two-                          establishes other minimum safety                         final rule’s effective date and (b) will
                                                 crewmember mandate, conditional                         requirements depending on the type of                    not be transporting certain types or
                                                 exceptions based on the type of                         one-person train crew operation, such as                 quantities of hazardous materials
                                                 operation, or a special approval process                for Class II and III legacy freight train                determined to pose the highest risk in
                                                 option. These avenues of relief address                 operations (i.e., currently existing one-                transportation, must provide FRA with
                                                 operations by small businesses, which                   person crew operations established for                   written notification of the operation
                                                 for purposes of this rulemaking are                     at least two years before the effective                  before commencing the operation, in
                                                 primarily short lines and regional                      date of the final rule), certain other                   addition to complying with the alerter,
                                                 railroads. The final rule will give small               Class II and III freight railroad train                  communication, and mitigation
                                                 businesses greater flexibility without                  operations, work train operations,                       measures requirements.
                                                 sacrificing safety, since the operations of             helper service train operations, and lite                   The final rule establishes an
                                                 railroads that qualify as small                         locomotive train operations. For                         implementation schedule in § 218.129
                                                 businesses are generally less complex                   instance, the final rule requires that                   that phases in compliance for certain
                                                 than the operations of Class I railroads.               each railroad with these types of                        specified one-person train crew
                                                    Sections 218.129 and 218.131 of this                 operations, excepted from the final                      operations, such as for each Class II and
                                                 final rule require each railroad with                   rule’s two-crewmember mandate, must                      III railroad with a legacy one-person
                                                 certain types of one-person train crew                  adopt and comply with operating rules                    train crew freight train operation, that
                                                 operations to abide by minimum                          that provide for regular and effective                   provides FRA with written notice of the
                                                 requirements notably to: (1) prevent                    communication with a one-person train                    operation, and for any railroad with a
                                                 uncontrolled train movements if a one-                  crew to ensure the safety of the train                   one-person train crew work train
                                                 person train crew were to become                        and that one-person train crewmember’s                   operation, helper service train
                                                 incapacitated; (2) maintain                             safety. Short lines do not always use                    operation, or lite locomotive train
                                                 communication between a railroad                        dispatchers, and short line trains may                   operation. The implementation
                                                 employee, typically a dispatcher, a                     not have a working radio or other                        schedule requires these specified
                                                 supervisor or manager, or an                            working wireless communications in                       exceptions to the two-crewmember
                                                 intermittently assisting crewmember,                    the cab of a controlling locomotive, so                  mandate to be governed by operating
                                                 and the one-person train crewmember to                  the requirement to provide for regular                   rules addressing the communication
                                                 convey operational instructions and                     and effective communication is an                        requirements and mitigation measures
                                                 ensure the one-person crewmember’s                      important safeguard.9 Further, the final                 requirements no later than 90 days from
                                                 personal safety; (3) track the location of              rule requires that each railroad with                    the effective date of this final rule, and
                                                 a train operated by a one-person crew in                these types of one-person train crew                     the working alerter requirement to be
                                                 case communication is lost and a rescue                                                                          met no later than two years from the
                                                 operation needs to be initiated; and (4)                attentiveness by monitoring select locomotive            effective date of this final rule. FRA
                                                 establish protocols that ensure rail                    engineer-induced control activities. If fluctuation of   encourages each railroad with one or
                                                                                                         a monitored locomotive engineer-induced control          more of these types of one-person train
                                                 employees can take mitigation measures                  activity is not detected within a predetermined
                                                 that provide a level of safety that is as               time, a sequence of audible and visual alarms is
                                                                                                                                                                  crew operations to implement the
                                                 safe or safer than a two-person train                   activated to progressively prompt a response by the      requirements sooner than the
                                                 crew operation to address certain                       locomotive engineer. Failure by the locomotive           implementation schedule requires but
                                                                                                         engineer to institute a change of state in a             finds that the schedule will provide
                                                 situations, such as an accidental or non-               monitored control, or acknowledge the alerter alarm
                                                 accidental release of any hazardous                     activity through a manual reset provision, results in
                                                                                                                                                                  each railroad with sufficient time either
                                                 material, with the one-person train crew                a penalty brake application that brings the              to comply with the alerter,
                                                 operation.                                              locomotive or train to a stop).                          communication, and mitigation
                                                    Section 218.129 of this final rule,
                                                                                                            8 See id. and see e.g., 49 CFR 229.140 (requiring
                                                                                                                                                                  measures requirements or provide for a
                                                                                                         that an alerter warning timing cycle interval be         second crewmember.
                                                 which contains conditional exceptions                   based on a formula that includes a calculation of
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                                                 based on the type of operation, requires                train speed and that for locomotives operating at
                                                                                                                                                                     To ensure that each railroad
                                                                                                         speeds below 20 mph, the interval shall be between       adequately identifies hazards and
                                                 the lead locomotive of certain
                                                                                                         110 seconds and 130 seconds).                            mitigates risks when initiating or
                                                 operations with a one-person crew be                       9 49 CFR 220.9; 63 FR 47182, 47188 (Sept. 4,          continuing certain new one-person train
                                                 equipped with an alerter 7 and that the                 1998) (explaining in the section-by-section analysis     crew operations, § 218.131 of this final
                                                                                                         that ‘‘[n]o communication equipment is required if
                                                   7 49 CFR 229.5 (defining alerter as a device or       a train does not transport passengers or hazardous
                                                                                                                                                                  rule requires a railroad’s petition for
                                                 system installed in the locomotive cab to promote       material and does not engage in joint operations or      special approval of a one-person train
                                                 continuous, active locomotive engineer                  operate at greater than 25 miles per hour’’).            crew operation to include a risk


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                                                 assessment. The purpose of a risk                        materials creates the potential for a                    In § 218.135, the final rule specifies
                                                 assessment is to evaluate risk in an                     greater negative consequence than when                how a railroad may petition FRA for
                                                 objective manner by following a                          a train does not contain such materials.              special approval of a one-person train
                                                 decision-making process designed to                      Without a properly completed risk                     crew operation not covered by an
                                                 systematically identify hazards, assess                  assessment, FRA would be unable to                    exception. The special approval
                                                 the degree of risk associated with those                 accurately assess whether a railroad has              procedure requires FRA to publish a
                                                 hazards, and based on those assessed                     taken appropriate measures to                         notice in the Federal Register soliciting
                                                 risks, identify and implement measures                   compensate for the removal of a second                public comment on each petition. All
                                                 to minimize or mitigate the risks to an                  train crewmember. In the circumstance                 documents will be filed in a public
                                                 acceptable level. Except for certain one-                that a railroad wants to continue a one-              docket and will be accessible through
                                                 person legacy operations,10 FRA will                     person train crew operation that does                 the internet. The special approval
                                                 require a risk assessment and a special                  not meet the legacy operation                         procedure permits FRA to reopen
                                                 approval process for most one-person                     conditions, the final rule provides                   consideration of the petition for cause
                                                 train crew operations that will be                       conditions under which a railroad may                 stated. When FRA decides a petition, or
                                                 transporting 20 or more car loads or                     continue those operations while it drafts             reopens consideration of a petition, it
                                                 intermodal portable tank loads of                        and submits a special approval petition               will send written notice of the decision
                                                 certain hazardous materials or one or                    and awaits FRA’s decision on that                     to the petitioner, and the decision will
                                                 more car loads of hazardous materials                    petition.                                             be published in the docket. Further, a
                                                 designated as rail-security sensitive                       As FRA explained in the NPRM,                      railroad making a material modification
                                                 materials (RSSM) as defined by the                       passenger and tourist train operations                to an operation, previously approved by
                                                 Department of Homeland Security. The                     normally have a locomotive engineer                   FRA, will be required to file both a
                                                 requirements in the final rule focus on                  located in the locomotive cab, and a                  description of the modification and
                                                 known safety and security risks                          passenger conductor, and potentially                  either a new or updated risk assessment,
                                                 associated with operating trains                         one or more assistant conductors, riding              at least 60 days before proposing to
                                                 transporting large amounts of hazardous                  in the passenger cars with the                        implement any such modification. FRA
                                                 materials and with transporting the                      passengers.12 FRA makes clear that this               is requiring that a material modification
                                                 hazardous materials known to present                     common crew configuration is not                      not be implemented until approved. The
                                                 the greatest safety and security risks. As               considered a one-person train crew                    requirement to seek special approval is
                                                 explained in the NPRM, FRA considers:                    operation. In § 218.125, the final rule               not expected to delay action on any
                                                 train crewmembers to be ‘‘hazmat                         exempts from the two-crewmember                       operation because each railroad would
                                                 employees’’ requiring specific types of                  mandate specific passenger and tourist                need an equivalent timeframe to plan
                                                 training; that these training                            train operations that do not pose                     for the process of reducing crew size in
                                                 requirements are substantial; that these                 significant safety risks to railroad                  advance of implementation of that
                                                 various types of training are required                   employees, the public, or the                         operation even in the absence of this
                                                 initially and recurrently at least once                  environment, including tourist train                  rule.
                                                 every three years; and that, in addition                 operations that are not part of the                      Section 218.137 of this final rule
                                                 to FRA, there are Federal agencies that                  general system of transportation.                     includes an annual reporting
                                                 enforce requirements regarding the                       Passenger or tourist operations that do               requirement for railroads that receive
                                                 safety and security of hazardous                         not fall within the § 218.125 exemptions              special approval to conduct an
                                                 materials shipments.11 Thus, the                         must petition FRA for a special approval              operation with a one-person train crew
                                                 transportation of hazardous materials                    under the procedures provided in                      under this subpart. The annual railroad
                                                 raises various specific safety hazards,                                                                        responsibilities after receipt of special
                                                                                                          § 218.131.
                                                 such as the potential for an accidental                                                                        approval include a requirement to
                                                                                                             In the context of this rulemaking, a
                                                 or non-accidental release of a hazardous                                                                       conduct a formal review and analysis of
                                                                                                          risk assessment is the process of
                                                 material, that would typically create                                                                          those operations. The annual reporting
                                                                                                          determining, either quantitatively or
                                                 additional tasks for a train crew to                                                                           requirement ensures that each railroad
                                                                                                          qualitatively, or both, the level of risk
                                                 communicate information about an                                                                               will regularly review the safety of its
                                                                                                          associated with a proposed train
                                                 immediate or developing safety                                                                                 operation and the accuracy of its risk
                                                                                                          operation staffed with a one-person
                                                 situation and/or take immediate or other                                                                       assessment and will provide FRA with
                                                                                                          train crew, including mitigating the
                                                 appropriate action to mitigate its                                                                             sufficient data to identify and analyze
                                                                                                          risks to an acceptable level. Section
                                                 consequences, when safe to do so. For                                                                          any safety trends in the approved
                                                                                                          218.133 of this final rule provides the
                                                 these reasons, the presence of certain                                                                         operation. Further, the annual reporting
                                                                                                          minimum content that must be included
                                                 types or quantities of hazardous                                                                               requirement aligns with the general
                                                                                                          in a railroad’s risk assessment and the
                                                    10 Among other operations, § 218.129(a)(1) does       procedures for petitioning FRA to use                 administration of FRA’s safety program
                                                 not require a risk assessment or a special approval      an alternate methodology for assessing                and fulfilment of its statutory
                                                 process for a Class II and III railroad’s legacy one-    the risk of an operation utilizing a one-             requirements.13
                                                 person train crew freight operation, i.e., an            person train crew. This final rule adds                  Finally, as explained in greater detail
                                                 operation existing before the effective date of the                                                            in the discussion of comments and
                                                 final rule, that has been established for at least two
                                                                                                          appendix E to part 218 to provide
                                                 years before the effective date of the final rule.       guidance on how a railroad may prepare                conclusions, the final rule clarifies and
                                                 However, such a freight railroad with a legacy one-      a risk-based hazard analysis, as part of              updates the NPRM in some respects
                                                 person train crew operation must provide certain         its risk assessment, and compare the                  based upon the comments received. For
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                                                 information about the operation in a written                                                                   instance, as the NPRM did not define
                                                 notification to FRA, and the railroad will be
                                                                                                          risks to determine if a proposed one-
                                                 required to establish operating rules addressing the     person train crew operation will be as                what FRA meant by the term ‘‘one-
                                                 communication requirements and mitigation                safe or safer than a two-person                       person train crew’’ and commenters
                                                 measures requirements no later than 90 days from         minimum train crew operation, when
                                                 the effective date of this final rule and to meet the                                                            13 See e.g., 49 U.S.C. 103(j) and (k) (requiring the
                                                 working alerter requirement no later than two years
                                                                                                          all mitigations are in place.
                                                                                                                                                                FRA Administrator to develop long-range national
                                                 from the effective date of this final rule.                                                                    rail plans, and performance goals and reports for
                                                    11 87 FR 45576–78.                                      12 87 FR 45579–80.                                  those plans that are typically updated annually).



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                                                 expressed confusion, FRA has clarified                  not include the proposed requirement                  operation. The exceptions in the final
                                                 that a ‘‘one-person train crew’’ means:                 for railroads seeking to implement                    rule for Class II and III railroads have
                                                 (1) only one person is assigned to the                  automated operations to file a petition               made unnecessary the narrower,
                                                 train as the train crew and that single,                seeking FRA’s special approval. Such a                proposed small railroad exception,
                                                 assigned person will be performing the                  requirement is unnecessary because                    which would have applied only to small
                                                 duties of both the locomotive engineer                  railroads would still need to seek                    railroads with fewer than 400,000
                                                 and the conductor; or (2) two or more                   waivers, regulatory changes, or other                 annual employee work hours, and thus
                                                 persons are assigned to a train as the                  FRA approval if the technology for the                the final rule does not include that
                                                 train’s crew, but only the locomotive                   automated operations does not comply                  proposed exception. Although various
                                                 engineer travels on the train when the                  with other rail safety requirements.                  proposed exceptions contained
                                                 train is moving because the remainder                      The final rule contains some                       additional safety requirements, the final
                                                 of the train crew, including the                        clarifications and updates from the                   rule streamlined those additional
                                                 conductor if the locomotive engineer is                 NPRM in how it treats freight railroads,              requirements and has established a
                                                 not the assigned conductor, is assigned                 especially Class II and III railroads that            compliance schedule for implementing
                                                 to intermittently assist the train’s                    include the short line and regional                   them rather than the proposal that
                                                 movements. The requirements in this                     railroads. For instance, the final rule               would have required implementation on
                                                 final rule will not apply to a train                    will not prohibit all one-person train                the effective date of the final rule.
                                                 operation controlled by a remote control                crew freight operations hauling certain
                                                                                                         types or quantities of hazardous                         The final rule requires additional
                                                 operator, even if that remotely
                                                                                                         materials, as the final rule provides for             safety conditions to be met for the
                                                 controlled train is operated by a one-
                                                                                                         some exceptions for existing or                       proposed one-person crew helper
                                                 person train crew, because of the
                                                                                                         initiating operations. Those Class II and             service and lite locomotive(s) consist
                                                 protections already provided for remote
                                                                                                         III railroads with a legacy one-person                exceptions as those one-person crew
                                                 control operations under existing
                                                 requirements in FRA’s railroad                          train crew freight operation that is                  train crew operations would pose the
                                                 locomotive safety standards, including a                established at least two years before the             same safety concerns as other
                                                 harness with a breakaway safety feature,                effective date of this final rule will not            exceptions in the final rule that require
                                                 an operator alertness device, and an                    need FRA’s special approval to continue               additional safety conditions to be met.
                                                 operator tilt feature with an automatic                 the operation as proposed but will need               In addition, FRA has modified the risk
                                                 notification to the railroad to enable                  to provide FRA with a detailed written                assessment requirements, allowing a
                                                 prompt attention in the event the tilt                  notice describing the parameters of the               railroad to make its determination either
                                                 feature is activated.14 There are two                   operation within 90 days of the effective             quantitatively or qualitatively, or both,
                                                                                                         date of the final rule. Similarly, the final          rather than only quantitatively as
                                                 existing passenger train operations with
                                                                                                         rule does not include a requirement for               expressly proposed. Finally, FRA has
                                                 one-person train crews for which FRA
                                                                                                         Class II and III railroads initiating a               changed the review standard for a
                                                 has already approved the operation’s
                                                                                                         new, non-legacy, one-person train crew                special approval petition from
                                                 required passenger train emergency
                                                                                                         freight operation not transporting                    determining that an operation is
                                                 preparedness plans under existing
                                                                                                         hazardous materials of the types or                   ‘‘consistent with railroad safety’’ to
                                                 regulatory requirements, making it
                                                                                                         quantities specified to petition FRA for              determining whether approving the
                                                 unnecessary for those railroads to
                                                                                                         special approval and, instead, permits                operation described in the petition is
                                                 submit a special approval petition to
                                                                                                         such operations, under certain                        ‘‘as safe or safer’’ than a two-person
                                                 FRA as proposed. The final rule does
                                                                                                         conditions—including when the                         train crew operation, as it will more
                                                   14 See 49 CFR 229.15 (requiring design, operation,    railroad provides FRA with a detailed                 clearly allow each railroad to compare
                                                 inspection, testing, and repair standards for remote    written notice describing the parameters              the operation to the baseline of a two-
                                                 control locomotives).                                   of the operation before commencing the                crewmember operation.
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                                                                                      IMPLEMENTATION SCHEDULE FOR ONE-PERSON TRAIN CREW OPERATIONS 15
                                                                                                                      Petition for special              Add operating rules        Add operating rules
                                                                                                                                                                                                              Add alerters to
                                                     Type of one-person              Notify FRA of one-                approval with risk               to address safety of       for one-person crew
                                                                                                                                                                                                           locomotives and add          Annual review
                                                         operation                   person operation 16             assessment for one-                 certain situations 18      member’s safety 19
                                                                                                                                                                                                           associated operating        analysis report 21
                                                                                                                      person operation 17                                                                        rules 20

                                                 Class II/III legacy freight        September 6, 2024                Not Applicable (N/A)               September 6, 2024          September 6, 2024       June 9, 2026 ...........   N/A.
                                                   (existing 2 years) 22.
                                                 Class II/III freight non-leg-      Yes, provide before              N/A ..........................     Yes, comply when           Yes, comply when        Yes, comply when           N/A.
                                                   acy or new, and no pro-            commencing oper-                                                    commencing oper-           commencing oper-        commencing oper-
                                                   hibited hazmat 23.                 ation.                                                              ation.                     ation.                  ation.
                                                 Work trains not exceeding          N/A ..........................   N/A ..........................     September 6, 2024          September 6, 2024       June 9, 2026 ...........   N/A.
                                                   4,000 trailing tons; 24
                                                   Helper service; 25 and,
                                                   Lite locomotive(s) 26.
                                                 Existing but non-legacy            June 23, 2024 28 .....           August 7, 2024 .......             Yes, provide as part       Yes, provide as part    Yes, provide as part       Yes, provide no later
                                                   (existing, but less than 2                                                                             of special ap-             of special ap-          of special ap-             than March 31 of
                                                   years) option to continue                                                                              proval petition.           proval petition.        proval petition.           the following year.
                                                   pending FRA-approval 27.
                                                 Other new (freight with or         N/A ..........................   Yes ..........................     Yes, provide as part       Yes, provide as part    Yes, provide as part       Yes, provide no later
                                                   without prohibited                                                                                     of special ap-             of special ap-          of special ap-             than March 31 of
                                                   hazmat, passenger, or                                                                                  proval petition.           proval petition.        proval petition.           the following year.
                                                   tourist) operations 29.



                                                 Costs and Benefits                                                       equip a one-person train crew’s                                       operation that transports certain types
                                                                                                                          controlling locomotive with an alerter:                               and quantities of hazardous materials as
                                                   FRA has analyzed the economic                                             • Class II and Class III freight                                   specified in § 218.123(c).
                                                 impact of this final rule. FRA estimated                                 railroads with a legacy one-person train                                 Work train operations, helper service,
                                                 the costs associated with alerters,                                      crew operation established for at least                               and lite locomotive operations are
                                                 operating rules, notification to FRA, risk                               two years before the effective date of the                            required, based on a compliance date
                                                 assessments and special approvals,                                       final rule.                                                           schedule, to: (1) adopt and comply with
                                                 annual reporting after receipt of special                                   • Class II and Class III freight                                   operating rules necessary to ensure the
                                                 approval, and Government                                                 railroads with a non-legacy one-person                                one-person train crewmember’s safety
                                                 administration. FRA qualitatively                                        train crew operation that do not                                      and that the railroad is prepared to take
                                                 discusses the benefits but does not have                                 transport specific types and quantities                               appropriate mitigation measures in
                                                 sufficient data to quantify those                                        of hazardous materials as specified in                                response to certain safety-critical
                                                 benefits.                                                                § 218.123(c).                                                         situations; and (2) equip a one-person
                                                   The following types of railroads with                                     The following types of railroads with                              train crew’s controlling locomotive with
                                                 one-person train crew operations are                                     a one-person train crew operation                                     an alerter.
                                                 required, based on a compliance date                                     require special approval from FRA and                                    FRA estimates the 10-year costs of the
                                                 schedule, to: (1) notify FRA; (2) adopt                                  must conduct a risk assessment:                                       final rule to be approximately $6.6
                                                 and comply with operating rules                                             • All Class I railroads and all one-                               million, discounted at 7 percent. The
                                                 necessary to ensure the one-person train                                 person passenger railroad operations                                  annualized costs will be approximately
                                                 crewmember’s safety and that the                                         established after the effective date of the                           $0.9 million discounted at 7 percent.
                                                 railroad is prepared to take appropriate                                 final rule.                                                           The following table shows the total
                                                 mitigation measures in response to                                          • All Class II and III freight railroads                           costs of this final rule, over the 10-year
                                                 certain safety-critical situations; and (3)                              with a non-legacy one-person train crew                               analysis period.

                                                                                                                            TOTAL 10-YEAR DISCOUNTED COSTS
                                                                                                                                                      [2022 Dollars] 30

                                                                                                                                                                                                                     Annualized              Annualized
                                                                                                                                                                         Total cost,           Total cost,              cost,                   cost,
                                                                                                Category                                                                 7 percent             3 percent              7 percent               3 percent
                                                                                                                                                                            ($)                   ($)                    ($)                     ($)

                                                 Alerters (Legacy Operations) ...........................................................................                    2,176,402             2,217,233                309,871              259,927
                                                 Alerters (New Operations) ...............................................................................                   2,251,306             2,483,470                320,535              291,138
                                                 Operating Rules (Existing Operations) ............................................................                            119,954               119,954                 17,079               14,062
                                                 Operating Rules (New Operations) .................................................................                            280,824               308,591                 39,983               36,176
                                                 Notification (Existing Operations) ....................................................................                       185,114               185,114                 26,356               21,701
                                                 Notification (New Operations) ..........................................................................                      111,133               122,593                 15,823               14,372
                                                 Risk Assessment and Special Approval (Class I) ...........................................                                    560,745               570,571                 79,837               66,888
                                                 Risk Assessment and Special Approval (Class II and III) ...............................                                       162,446               164,506                 23,129               19,285
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                                                   15 This implementation schedule summarizes the                            20 § 218.129(c)(3).                                                  27 § 218.131(a)(2).

                                                 requirements and is not intended to substitute for                          21 § 218.137.                                                        28 § 218.131(a)(2)(i). Unlike the other notification

                                                 an exact description of the complete requirements.                          22 § 218.129(a)(1).                                                requirements, this notification can be limited to a
                                                   16 § 218.129(b).                                                          23 § 218.129(a)(2).                                                summary of the operation and the name, title,
                                                   17 § 218.131 through § 218.135.                                                                                                              address, telephone number, and email address of
                                                                                                                             24 § 218.129(a)(3).
                                                                                                                                                                                                the primary person(s) to be contacted regarding the
                                                   18 § 218.129(c)(1).                                                       25 § 218.129(a)(4).
                                                                                                                                                                                                written notice and the operation.
                                                   19 § 218.129(c)(2).                                                       26 § 218.129(a)(5).                                                  29 § 218.131.




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                                                                                                                TOTAL 10-YEAR DISCOUNTED COSTS—Continued
                                                                                                                                                [2022 Dollars] 30

                                                                                                                                                                                                         Annualized          Annualized
                                                                                                                                                                     Total cost,       Total cost,          cost,               cost,
                                                                                                  Category                                                           7 percent         3 percent          7 percent           3 percent
                                                                                                                                                                        ($)               ($)                ($)                 ($)

                                                 Risk Assessment (Material Modifications) .......................................................                           93,031         111,178              13,246             13,033
                                                 Annual Reporting .............................................................................................            182,821         221,284              26,030             25,941
                                                 Government Administrative Cost .....................................................................                      513,100         579,523              73,054             67,938

                                                       Total Costs ...............................................................................................        6,636,876       7,084,016            944,942            830,463



                                                    The primary benefit of this rule is to                               hazards and/or increases the risk of                          railroad’s track.37 A locomotive
                                                 ensure that each train is adequately                                    certain existing hazards unless                               engineer’s main task is to operate the
                                                 staffed and has appropriate safeguards                                  mitigating actions are taken.32 The                           train safely. Other important tasks
                                                 in place for safe train operations under                                safety requirements in this final rule                        central to safe operation include:
                                                 all operating conditions. This final rule                               will allow the rail industry to integrate                     ensuring that the locomotive
                                                 will also ensure that several significant                               technologies to facilitate operations                         mechanical requirements are met;
                                                 operational safety issues with one-                                     with a one-person train crew, but under                       coordinating with the conductor about
                                                 person train crew are addressed and                                     the condition that safety will not be                         operational details; and, under the
                                                 allow FRA to collect information and                                    degraded.                                                     conductor’s supervision, interpreting
                                                 data on one-person train crews. For                                     Legal Authority                                               train orders, signals, and operating
                                                 instance, this final rule addresses a                                                                                                 rules.
                                                 safety issue by requiring alerters for                                     FRA is establishing regulations                               FRA also administers and enforces
                                                 Class II and III railroads operating with                               concerning train crew size safety                             statutorily mandated 38 conductor
                                                 a one-person train crew that do not                                     requirements based on the statutory                           certification requirements.39 FRA
                                                 already have these safety devices                                       general authority of the Secretary of                         defines a conductor as the crewmember
                                                 installed on their locomotives for that                                 Transportation (Secretary). The general                       in charge of a train or yard crew,40 and
                                                 type of operation. Alerters will ensure                                 authority states, in relevant part, that                      the conductor’s job requires supervising
                                                 that if a crewmember becomes                                            the Secretary ‘‘as necessary, shall                           train operations so they are safe and
                                                 physically unresponsive, the train will                                 prescribe regulations and issue orders                        efficient. The conductor’s
                                                 apply emergency brakes—a function                                       for every area of railroad safety                             responsibilities include: managing the
                                                 typically left to a conductor or other                                  supplementing laws and regulations in                         train consist; coordinating with the
                                                 second crewmember.                                                      effect on October 16, 1970.’’ 33 The                          locomotive engineer for safe and
                                                    This final rule also ensures railroads                               Secretary delegated this authority to the                     efficient en route operation; interacting
                                                 address safety issues that may arise with                               Federal Railroad Administrator.34                             with dispatchers, roadway workers, and
                                                 one-person train crew operations by                                     Additionally, as described below, the                         others outside the locomotive cab; and
                                                 requiring operating rules that address                                  Secretary has the specific statutory duty                     dealing with unexpected situations (e.g.,
                                                 the communication and safety of the                                     to prescribe regulations and issue orders                     mechanical problems).41 In addition, as
                                                 one-person train crew.                                                  for the certification of any train                            locomotive and train technologies have
                                                    To operate with one-person train                                     crewmembers who operate a locomotive                          become more complex in recent years,
                                                 crews, freight railroads transporting                                   or are assigned train conductors.                             a conductor (or second crewmember)
                                                 certain types and quantities of                                            By statute, the Secretary is required to                   can assist a locomotive engineer by
                                                 hazardous materials must identify,                                      ‘‘prescribe regulations and issue orders                      responding to technology prompts or
                                                 evaluate, and address safety concerns                                   to establish a program requiring the                          conveying information displayed so that
                                                 that may arise from such operations by                                  licensing or certification . . . of any
                                                                                                                                                                                       the engineer can maintain focus on the
                                                 submitting a risk assessment to FRA for                                 operator of a locomotive.’’ 35 FRA
                                                                                                                                                                                       train’s controls and movement. The
                                                 approval unless the railroad is a Class                                 fulfilled that statutory requirement in
                                                                                                                                                                                       purpose of the conductor certification
                                                                                                                         1991 by issuing a regulation requiring
                                                 II or III short line or regional railroad                                                                                             regulation is to ensure that only those
                                                                                                                         each railroad to file a locomotive
                                                 and has established a legacy operation                                                                                                persons meeting minimum Federal
                                                                                                                         engineer certification program with
                                                 under the exception.31                                                                                                                safety standards serve as conductors.
                                                    The loss of a second crewmember to                                   FRA.36 Each railroad’s program must
                                                 perform safety functions creates new                                    specify how the railroad plans to make                           37 49 CFR part 240, subpart B—Component
                                                                                                                         the determinations necessary to certify                       Elements of the Certification Process, and § 240.229
                                                   30 Numbers in this table and subsequent tables                        each of its locomotive engineers, as well                     (requiring certain action on the part of a railroad
                                                 may not sum due to rounding. As discussed further                       as ensure that the certified locomotive                       controlling the conduct of joint operations with
                                                 in section VI.I of the RIA, quantified costs do not                     engineers of other railroads are qualified                    another railroad). Additional guidance was
                                                 include costs that could be incurred in order to                                                                                      provided in an interpretation published August 29,
                                                                                                                         to operate safely on the controlling                          2008. 73 FR 50883.
                                                 mitigate risks associated with a reduction in the
                                                                                                                                                                                          38 49 U.S.C. 20163, ‘‘Certification of train
                                                 number of crewmembers. The costs for operating
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                                                                                                                           32 As explained in the NPRM, ‘‘the
                                                 rules (existing operations) and notification (existing                                                                                conductors.’’
                                                 operations) will solely be incurred in year 1.                          implementation of a one-person operation, without                39 49 CFR part 242, ‘‘Qualification and

                                                 Therefore, the discounted costs are the same for 7%                     any off-setting measures, may render existing rail            Certification of Conductors.’’
                                                 and 3% (since values are not discounted in year 1).                     safety requirements either less effective or                     40 49 CFR 242.7 (defining ‘‘conductor’’).

                                                 However, when annualizing costs over 10 years, the                      ineffective.’’ 87 FR 45573.                                      41 Rosenhand, Hadar, Emilie Roth, and Jordan
                                                                                                                           33 49 U.S.C. 20103.
                                                 discounted costs at 7% and 3% are different                                                                                           Multer, Cognitive and Collaborative Demands of
                                                                                                                           34 49 CFR 1.89(a); 49 U.S.C. 103(g).
                                                 because they are annualized with different discount                                                                                   Freight Conductor Activities: Results and
                                                 rates.                                                                    35 49 U.S.C. 20135.
                                                                                                                                                                                       Implications of a Cognitive Task Analysis, FRA
                                                   31 §§ 218.129(a)(1) and 218.131.                                        36 56 FR 28254 (June 19, 1991), 49 CFR part 240.            (July 2012).



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                                                 When FRA published the conductor                             December 14, 2022, and extended the                   intended to reflect the significance of
                                                 certification final rule, the agency made                    comment period to December 21, 2022,                  the comment raised or the standing of
                                                 clear that the rule should not be read as                    an additional 19 days, to provide the                 the commenter. Additionally, this
                                                 FRA’s endorsement of any particular                          public with additional time to comment                summary of the comments is intended
                                                 crew consist arrangement.42 However, if                      on the proposed rule or submit a                      to provide both a general understanding
                                                 only one railroad employee is assigned                       response to views or information                      of the overall scope and themes raised
                                                 as a train crew, the conductor                               provided at the public hearing, or                    by the commenters, as well as give some
                                                 certification rule requires that the single                  both.48 A transcript of the public                    specific descriptions to provide context.
                                                 assigned crewmember be certified as                          hearing is available in the docket.49                 Not every comment is described in this
                                                 both a locomotive engineer and a                                During the 146-day comment period,                 summary and, whenever counts of
                                                 conductor.43 This final rule maintains                       the docket recorded approximately                     comments are provided, the counts are
                                                 that one-person train crew option but                        13,576 separate entries for written                   approximate as some comments could
                                                 adds restrictions to ensure safety, based                    comments with about 13,441 of those                   not be easily grouped with others.
                                                 on the type of operation.                                    comments filed by individuals in their                Comments regarding the proposed
                                                    In this regard, the final rule is an                      own names. In other words, about 99                   Regulatory Impact Analysis (RIA) are
                                                 element of FRA’s holistic approach to                        percent of the written comments                       addressed in the RIA to the final rule.
                                                 address a range of hazards related to the                    submitted to the docket were from                        In addition to the following summary
                                                 operation of trains. As noted above, FRA                     individual commenters who were not                    of the general comments here, FRA used
                                                 is authorized by statute to prescribe                        filing their comment officially on behalf             computer-based data analysis to identify
                                                 regulations and issue orders for ‘‘every                     of an organization, group, or business.               common elements among comments.50
                                                 area of railroad safety’’ supplementing                      Of those individual commenters, about                 FRA’s computer-based data analysis
                                                 laws and regulations in effect on                            13,377 expressed support for the NPRM                 often provided confirmation of FRA’s
                                                 October 16, 1970, as well as to continue                     and 64 opposed it, meaning less than                  manual estimates and insight, and
                                                 to administer and enforce specific                           approximately a half percent of                       additional insight into the written
                                                 statutory mandates, including                                individual commenters expressed                       comments that would have been
                                                 locomotive engineer and conductor                            opposition to the proposed rule. FRA                  particularly difficult to discern based on
                                                 certification requirements.44                                estimates that more than half of the                  human review alone. For example, the
                                                 Specifically, given FRA’s mandate to                         comments filed by individual citizen                  computer-based analysis more
                                                 ‘‘consider the assignment and                                commenters used a form letter created                 accurately identified comments that
                                                 maintenance of safety as the highest                         by a labor organization or other                      were identical than a human could track
                                                 priority, recognizing the clear intent,                      organized interest group. In general,                 manually.51 The computer-based data
                                                 encouragement, and dedication of                             commenters who signed form letters in                 analysis could also readily find
                                                 Congress to the furtherance of the                           support of a two-person train crew                    comments that used the same key words
                                                 highest degree of safety in railroad                         mandate expressed the same types of                   to allow FRA to review those comments
                                                 transportation,’’ 45 FRA finds issuance                      safety concerns FRA raised in the                     together.52 There were also many short
                                                 of this final rule on train crew size                        NPRM. This final rule addresses those                 comments and the computer-based data
                                                 safety both inherent in its statutory                        safety concerns to ensure the safety of               analysis was able to pick out those
                                                 authority and in fulfillment of its charge                   rail operations, one-person train                     shorter comments and display them all
                                                 from Congress. However, FRA                                  crewmembers, and the public. When                     in a few pages that could be more easily
                                                 recognizes that certain provisions focus                     summarizing a form letter, a footnote                 accessed and read.53 The computer-
                                                 on unique factors. Therefore, FRA finds                      will cite to a single example.                        based approach used natural language
                                                 that the various provisions of this final                       The docket’s recorded number of                    processing, specifically topic modeling,
                                                 rule are severable and able to operate                       comments does not include the                         to extract major themes for the
                                                 functionally if severed from each other.                     comments received through oral                        comments received based on the most
                                                 In the event a court were to invalidate                      testimony at the public hearing on                    frequently used words and phrases,
                                                 one or more of this final rule’s unique                      December 14, 2022, and there are other                which then assisted FRA in identifying
                                                 provisions, the remaining provisions                         reasons why the 13,576 count should be                the central themes raised by the
                                                 should stand, thus allowing FRA to                           considered only an approximation. As                  commenters.54
                                                 continue to fulfill its congressionally                      some entries included multiple                           Based on the comments received, FRA
                                                 authorized role.                                             comments or were signed by multiple                   is revising aspects of the approach
                                                 II. Discussion of Comments and FRA’s                         people, there were likely more                        reflected in the NPRM, which can be
                                                 Conclusions                                                  commenters than the number of
                                                                                                              comments recorded by the docket.                        50 The 23-page computer-based data analysis

                                                 A. Overview of Comments                                      Further, FRA discovered that some                     report of the written comments was placed in the
                                                                                                                                                                    docket, FRA–2021–0032, with the other agency
                                                   On July 28, 2022, FRA published the                        commenters sent in multiple comments.                 documents under the ‘‘Browse Documents’’ tab.
                                                 NPRM proposing train crew size safety                        Because the comment period was                          51 The computer-based data analysis found one

                                                 requirements and provided commenters                         extended twice, some commenters sent                  particular comment duplicated 2,065 times and
                                                 60 days to file comments.46 On                               in a shorter comment before any                       which cites FRA–2021–0032–1914 as an example.
                                                                                                                                                                      52 For example, on pages 9–10 of the computer-
                                                 September 22, 2022, FRA extended the                         extensions were granted, and then may
                                                                                                                                                                    based data analysis report, the term ‘‘cut crossings’’
                                                 comment period by an additional 67                           have sent in more information as they                 was found used in approximately 45 comments.
                                                 days.47 On October 27, 2022, FRA                             developed further input. Every                          53 For instance, the computer-based data analysis
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                                                 scheduled a public hearing for                               comment received was considered by                    report displays comments with less than 75
                                                                                                              the agency in finalizing this rule.                   characters on pages 11–14.
                                                                                                                                                                      54 On pages 15–21, the computer-based data
                                                   42 76 FR 69802, 69825 (Nov. 9, 2011).                         The order of the topics or comments
                                                                                                                                                                    analysis report includes examples of the 10 themes
                                                   43 49 CFR 240.308(c) and 242.213(d).                       discussed in this document is not                     identified when top words, i.e., commonly used
                                                   44 See 49 U.S.C. 103, 20103(a).
                                                                                                                                                                    words, were extracted through topic modeling. For
                                                   45 Id. at 103(c).                                            48 87 FR 65021.
                                                                                                                                                                    instance, a select group of top words included:
                                                   46 87 FR 45564.                                              49 https://www.regulations.gov/document/FRA-        emergency, life medical, community, supply chain,
                                                   47 87 FR 57863.                                            2021-0032-13184.                                      death, derailments, and vulnerable.



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                                                 summarized as follows: (1) the final rule               regulation 56 and the statutory                           size laws already passed by States when
                                                 removes the previously-proposed strict                  preemption provisions found at 49                         those laws meet or exceed Federal crew
                                                 prohibition on the transportation of                    U.S.C. 20106.57 As noted in the NPRM,                     size standards.63 Similarly, the
                                                 some hazardous materials with a one-                    a final rule issued by FRA ‘‘would cover                  Washington State Legislative Board of
                                                 person train crew; (2) comments on                      the same subject matter as the State laws                 the Transportation Division of the
                                                 FRA’s proposed RIA led FRA to                           regulating crew size, and therefore FRA                   International Association of Sheet
                                                 consider additional information and                     expects a final rule will have                            Metal, Air, Rail and Transportation
                                                 refine its analysis; (3) comments                       preemptive effect on those State laws                     Workers (SMART–TD) commented that
                                                 requesting more time to comply with                     that are Statewide in character and do                    ‘‘while [it] strongly support[s] FRA’s
                                                 any new minimum requirements to                         not address narrow, local safety                          adopting a national minimum train crew
                                                 allow for planning, operational changes,                hazards.’’ 58 The NPRM then requested                     size rule [it] oppose[s] any regulatory
                                                 or hiring and training of additional                    comments on the issue of preemption.                      language that would preempt [S]tate
                                                 crewmembers led FRA to extend those                        The California Public Utilities                        laws and regulations that are equal to or
                                                                                                         Commission (CPUC) commented that                          more stringent than a [F]ederal’’
                                                 compliance dates; (4) comments
                                                                                                         the final rule should reflect or exceed                   requirement.64
                                                 regarding the complexity of, and data
                                                                                                         ‘‘the strongest state laws that currently                    Many individuals and labor
                                                 requirements for, the risk assessment,
                                                                                                         exist.’’ 59 For that reason, CPUC is                      organizations commented that they
                                                 along with concerns regarding the                       opposed to the NPRM to the extent it
                                                 analytical methods required, led FRA to                                                                           supported the NPRM but wanted FRA to
                                                                                                         could undermine California’s law which                    consider a way to avoid preempting
                                                 simplify the requirement, change the                    has a more stringent two-person crew                      State laws that have more stringent
                                                 review standard so that a railroad can                  mandate than FRA’s proposed rule with                     requirements. For example, the
                                                 compare the operation to the baseline of                exemptions. CPUC requested that FRA                       Transportation Trades Department,
                                                 a two-crewmember operation, provide                     ‘‘provide a stronger role for State                       AFL–CIO (TTD) would like FRA’s
                                                 guidance in an appendix, and retain an                  agencies, such as [CPUC, and suggested                    regulation to establish minimum safety
                                                 option for railroads to request use of                  that] FRA could require a railroad to                     requirements but not preempt States
                                                 alternative risk assessment                             seek a [S]tate agency’s concurrence prior                 from setting more stringent
                                                 methodologies as part of the special                    to applying for an exemption.’’ 60 CPUC                   requirements.65 SMART–TD’s Kansas
                                                 approval procedure; (5) comments                        commented that because ‘‘a [S]tate will                   State Legislative Board, however,
                                                 outlining anticipated difficulties in                   have unique information regarding                         supported eliminating the existing
                                                 complying with the risk assessment                      specific hazards or environmental                         patchwork of State laws regarding crew
                                                 proposed in the NPRM led FRA to                         concerns within [the State’s] borders                     size and creating a nationwide
                                                 remove the risk assessment requirement                  . . . [a] petitioning railroad should                     standard.66
                                                 and substitute a notification                           solicit the [S]tate agency’s input . . .                     A comment in support of FRA’s
                                                 requirement for Class II or III freight                 and the petitioning railroad should                       preemption position came from 54
                                                 railroads under certain types of                        include [that information] in its petition                Members of the U.S. House of
                                                 specified operations; (6) comments                      to the FRA . . . .’’ 61 CPUC also                         Representatives, recognizing that the
                                                 about the proposed requirements for                     requested that FRA ‘‘establish a clearly                  State laws mandating minimum crew
                                                 remote control operations, in addition to               defined role for [S]tate agencies to                      size requirements have been overturned
                                                 FRA’s analysis that existing regulations                provide input and the ability to revoke                   by courts finding that the Federal
                                                 already provided for minimum safety                     [an exemption] if safety issues arise that                government has jurisdiction over this
                                                 protections, led FRA to remove the                      make the exemption untenable.’’ 62                        subject matter.67 For this reason, these
                                                 subject from the final rule; and (7)                       A one-page letter signed by 19                         U.S. House Members commented that it
                                                 comments on the potential preemptive                    senators from the Washington State                        is FRA’s responsibility to address this
                                                 effect of a Federal rail safety regulation              Legislature commented that Washington                     safety issue, calling it urgent because of
                                                 on currently existing State-by-State                    has a law regulating train crew size and                  the drastic changes in the freight rail
                                                 regulation relating to the subject matter               urged FRA not to preempt train crew                       industry over the last several years.’’ 68
                                                 of crew size safety requirements led                                                                                 Norfolk Southern Railway Company
                                                                                                            56 87 FR at 45567 and 49 U.S.C. 20103 (citing, in
                                                 FRA to clarify what the agency                                                                                    (NS) commented that while it agrees
                                                                                                         relevant part, that the Secretary ‘‘as necessary, shall
                                                 understands will be the legal impact of                 prescribe regulations and issue orders for every area
                                                                                                                                                                   that a national rule addressing crew size
                                                 this final rule.                                        of railroad safety supplementing laws and                 would be consistent with Congress’
                                                                                                         regulations in effect on October 16, 1970’’).             express goal that Federal laws and
                                                 B. Preemption                                              57 87 FR at 45570–71 (citing the statutory
                                                                                                                                                                   regulations relating to railroad safety
                                                                                                         preemption provisions in 49 U.S.C. 20106 that             create national uniformity, it opposes
                                                   In the NPRM, FRA included in the                      mandate that laws, regulations, and orders ‘‘related
                                                                                                         to railroad safety’’ be nationally uniform, and that      this rule for a variety of reasons,
                                                 background a summary of prior crew
                                                                                                         a Federal regulation or order covers the subject
                                                 staffing rulemaking efforts. The                        matter of a State law where ‘‘the [F]ederal                 63 FRA–2021–0032–12202.
                                                 summary discussed the decision issued                   regulations substantially subsume the subject               64 FRA–2021–0032–12917 at 1. The State of

                                                 by the U.S. Court of Appeals for the                    matter of the relevant [S]tate law’’).                    Washington’s Utilities and Transportation
                                                                                                            58 87 FR at 45571. As noted below, there is a          Commission also commented in strong support of
                                                 Ninth Circuit vacating FRA’s
                                                                                                         narrow exception to the preemption provisions that        the NPRM, citing the importance to protect the
                                                 withdrawal of the 2016 NPRM, as well                    allows non-Federal regulation of ‘‘essentially local’’    public and the environment from potential disaster
                                                 as FRA’s preemption determination                       safety hazards. 49 U.S.C. 20106(a)(2).                    involving hazardous train derailments during a
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                                                 contained in that withdrawal, and                          59 FRA–2021–0032–12258 at 2. CPUC’s comment            period in which railroads are using longer trains,
                                                 remanding the rulemaking to FRA.55                      did not distinguish between exemptions and one-           without mentioning preemption of Washington
                                                                                                         person train crew operations proposed for a special       State’s laws. FRA–2021–0032–12746.
                                                 The NPRM also included discussion of                    approval process, calling the portions of the NPRM          65 FRA–2021–0032–12306 and FRA–2021–0032–
                                                 FRA’s legal authority to issue the                      that would allow for fewer than two train                 13049.
                                                                                                         crewmembers an ‘‘exemption process.’’                       66 FRA–2021–0032–9397.

                                                   55 87 FR at 45568–70 (citing Transp. Div. of the         60 Id.                                                   67 FRA–2021–0032–12809 (a duplicate comment
                                                                                                            61 Id.                                                 was filed at FRA–2021–0032–12971).
                                                 Int’l Ass’n of Sheet Metal, Air, Rail & Transp.
                                                 Workers v. FRA, 988 F.3d 1170 (9th Cir. 2021).             62 Id. at 3.                                             68 Id. at 2.




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                                                 including that the NPRM would be                         standards.’’ 75 As noted in the NPRM,                  related to railroad safety be nationally
                                                 ‘‘burdensome’’ and that FRA neglected                    some State laws governing crew size,                   uniform.79 Thus, FRA is not basing its
                                                 to mention in the NPRM that some                         such as those in California, Nevada, and               justification for this final rule on
                                                 States’ laws have been invalidated.69 NS                 Washington, do not, in FRA’s view,                     preemption, but rather is noting that the
                                                 stated that ‘‘[p]reemption cannot justify                address an ‘‘essentially local’’ hazard                national, uniform standard provided in
                                                 FRA’s imposition of this particular rule’’               because they would apply statewide.76                  this rule is expected to preempt State
                                                 because of the harm the NPRM could                       In support of this view, FRA explained                 laws governing crew size.
                                                 cause the rail industry.70                               in the NPRM that legislative history and
                                                                                                          subsequent judicial decisions indicate                 C. Comments Supporting the NPRM
                                                    SMART–TD’s Illinois Legislative
                                                 Board (SMART–TD ILB) commented in                        the narrow exception is intended to                       In the NPRM, FRA explained how the
                                                 support of the NPRM and provided a                       allow States to respond to local                       Ninth Circuit’s decision to vacate and
                                                 supporting letter from Illinois Governor                 situations not capable of being                        remand the 2019 withdrawal left FRA
                                                 J.B. Pritzker.71 The comment stated that                 adequately addressed in uniform                        with some choices on a path forward,
                                                 a court had vacated an Illinois law                      national standards, but local safety                   and FRA exercised its discretion to
                                                 requiring most freight trains operating                  hazards cannot be Statewide.77                         choose, through this rulemaking, to
                                                 in Illinois to have an operating crew of                    In response to CPUC and other similar               reconsider numerous safety issues that
                                                 at least two individuals 72 and that                     commenters who requested that FRA                      may be associated with or impacted by
                                                 SMART–TD ILB and Governor Pritzker                       provide States with a clear role in FRA’s              one-person train crew operations.80 For
                                                 support the NPRM as an alternative to                    exemption provision, this final rule                   instance, FRA revisited the lack of a
                                                 the preempted Illinois law.                              provides that the public may comment                   Federal requirement for a systematic
                                                                                                          on any special approval petition as FRA                post-accident protocol for trains hauling
                                                 FRA’s Response                                           proposed in the NPRM. FRA encourages                   freight.81 The NPRM also raised several
                                                    As explained in the NPRM, FRA                         States and their regulatory agencies to                other potential safety issues to consider,
                                                 recognizes that, if the issue of crew size               comment on requests for one-crew                       including the context that many of the
                                                 safety is left to be governed by a                       operations and provide any safety                      Federal rail safety regulations were
                                                 patchwork of State laws, logistically it                 information or data they believe would                 written with the expectation that each
                                                 may become impossible for a railroad to                  be useful to FRA in deciding whether to                train would have multiple
                                                 even consider operations with fewer                      approve a special approval petition for                crewmembers, the safety findings drawn
                                                 than two crewmembers. Thus, this                         a one-person train crew operation.                     from research on the cognitive and
                                                 rulemaking is intended to set forth a                       As an alternative to issuing a                      collaborative demands placed on train
                                                 nationwide rule for crew size safety,                    narrowly tailored State law to address                 crewmembers while operating a train,
                                                 especially operations with a one-person                  any essentially local safety hazards, a                and the ability of railroads to respond to
                                                 train crew, based on FRA’s expertise                     State could bring any safety concerns                  a one-person train crewmember who
                                                 and experience in regulating safety and                  about a particular rail operation to                   may become incapacitated.82
                                                 risks in rail operations. While courts                   FRA’s attention for discussion or                         Many commenters supported FRA’s
                                                 may find that some of those State laws                   possible investigation. For example, a                 decision in the NPRM to reconsider the
                                                 are preempted even without this rule,                    State agency that participates in                      safety issues and propose minimum
                                                 other State laws may not be challenged                   investigative and surveillance activities              requirements for the size of train crews
                                                 and found preempted, leaving an                          with FRA under 49 CFR part 212 can                     depending on the type of operation.
                                                 untenable inconsistency governing crew                   work with FRA to enforce this final                    These commenters are concerned,
                                                 size. This final rule meets Congress’                    rule.78                                                among other things, about the
                                                                                                             FRA disagrees with NS’s comment                     operational safety of a train operated by
                                                 mandate that the laws, regulations, and
                                                                                                          that FRA is relying on preemption as a                 a one-person crew, the operational
                                                 orders related to railroad safety be
                                                                                                          justification for the final rule. As                   safeguards to protect that crewmember
                                                 nationally uniform.
                                                                                                          explained above, FRA is issuing this                   in various situations, and the impact of
                                                    While FRA intends this final rule to
                                                                                                          final rule to ensure that trains are                   one-person train crew operations that
                                                 create a nationwide standard and
                                                                                                          adequately staffed for their intended                  travel through their communities as
                                                 anticipates that it will preempt State
                                                                                                          operation and railroads have                           evidenced by the numerous comments
                                                 laws covering the same subject matter,
                                                                                                          appropriate safeguards in place for safe               received raising those concerns.
                                                 FRA clarified in the NPRM that FRA’s
                                                                                                          train operations, especially when using
                                                 statutory preemption provision includes                                                                         1. Labor Organizations
                                                                                                          one-person train crews. Moreover, this
                                                 a ‘‘narrow exception’’ 73 to FRA’s broad
                                                                                                          final rule meets Congress’ requirement                    The Brotherhood of Locomotive
                                                 authority to preempt State laws. This                    that the laws, regulations, and orders
                                                 narrow exception allows non-Federal                                                                             Engineers and Trainmen (BLET) and
                                                 regulation of ‘‘essentially local’’ safety                                                                      SMART–TD filed a joint comment
                                                                                                             75 Union Pacific R. Co. v. California Pub. Utils.
                                                 hazards.74 An ‘‘essentially local safety                                                                        stating that their unions, which
                                                                                                          Comm’n, 346 F.3d 851, 860 (9th Cir. 2003).
                                                 hazard’’ is ‘‘one which is not adequately                   76 49 U.S.C. 20106(a)(2); H.R. Rep. No. 91–1194
                                                                                                                                                                 represent the vast majority of operating
                                                 encompassed within national uniform                      (1970), reprinted in 1970 U.S.C.C.A.N. 4104, 4117      train crew workers across the nation,
                                                                                                          (‘‘these local hazards would not be statewide in       support the implementation of a two-
                                                   69 FRA–2021–0032–13045.
                                                                                                          character’’); see also Norfolk & Western Ry. Co. v.    person crew rule in the interest of
                                                                                                          Public Utilities Comm’n of Ohio, 926 F.2d 567, 571
                                                   70 Id. at 6.
                                                                                                          (6th Cir. 1991) and National Ass’n of Regulatory
                                                                                                                                                                 public safety and request that the final
                                                   71 FRA–2021–0032–10530.
                                                                                                          Util. Comm’rs v. Coleman, 542 F.2d 11, 14–15 (3d
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                                                   72 Id. at 2 (referring to, but not citing, Ind. Rail                                                            79 49 U.S.C. 20106.
                                                                                                          Cir. 1976) (both holding that the local hazard
                                                 Rd. Co. v. Ill. Commerce Comm’n, 576 F. Supp. 3d         exception cannot be applied to uphold the                80 87 FR at 45571–76.

                                                 571 (N.D. Ill. 2021).                                    application of a statewide rule).                        81 87 FR 45571.
                                                   73 87 FR at 45570–71 (citing Duluth, Winnipeg &           77 87 FR at 45571 (citing H.R. Rep. No. 91–1194       82 See e.g., 49 CFR 218.99 (requiring point
                                                 Pac. Ry. Co. v. City of Orr, 529 F.3d 794, 796 (8th      (1970), reprinted in 1970 U.S.C.C.A.N. 4104, 4117).    protection for shoving or pushing moves; 218.103–
                                                 Cir. 2008) in which the court found 49 U.S.C.               78 Part 212 establishes standards and procedures    218.107 (operational requirements for hand-
                                                 20106(a) ‘‘creates a narrow exception to preemption      for State participation in investigative and           operated switches) and generally, 49 CFR part 239
                                                 through its savings clause’’).                           surveillance activities under the Federal railroad     (Passenger Train Emergency Preparedness
                                                   74 49 U.S.C. 20106(a)(2).                              safety laws and regulations.                           requirements).



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                                                 rule ‘‘mandate that two-person crews                    engineer.’’ 86 BLET and SMART–TD                      railroads are reducing crew size to
                                                 are the standard as they have proven to                 commented that PTC and other                          increase corporate profits while ignoring
                                                 be the safest and most efficient way to                 technologies often involve after-market               rules or cutting corners on safety.
                                                 operate.’’ 83 In addition, the                          products bolted on, rather than                       BLET’s testimony also reiterated
                                                 International Brotherhood of Teamsters,                 integrated into, existing equipment                   concern in BLET and SMART–TD’s
                                                 which includes BLET as part of the                      which makes the locomotive cab feel                   jointly filed written comment that FRA
                                                 Teamsters Rail Conference, commented                    crowded with technology and, in turn,                 reconsider some of the proposed
                                                 that it supports FRA’s efforts to                       can complicate the jobs of the train                  exceptions to a two-crewmember
                                                 promulgate the NPRM and endorsed                        crewmembers. BLET and SMART–TD                        mandate as those operations may not as
                                                 BLET’s comment.84 The jointly filed                     also commented that automated fuel-                   safe or simple as FRA suggested in the
                                                 written comment, and BLET and                           saving software programs currently are                NPRM.
                                                 SMART–TD’s oral testimony at FRA’s                      programmed without regard to bad                         During FRA’s public hearing,
                                                 public hearing, detailed their members’                 weather or less-than-optimal conditions,              SMART–TD’s President testified about
                                                 interest in this safety rulemaking. For                 potentially requiring a locomotive                    the general dangers of railroad work and
                                                 example, BLET and SMART–TD are                          engineer to intervene manually. BLET                  that safety cannot be expected to
                                                 concerned with the multiple steps a                     and SMART–TD also commented that                      improve by reducing the number of
                                                 one-person train crew approaching a                     the industry’s increased reliance on                  train crewmembers when the workforce
                                                 roadway work zone would need to                         distributed power operations (i.e.,                   is already depleted and overworked.
                                                 perform alone and the risks to rail                     where an engineer must control two or                 SMART–TD’s President testified that
                                                 employees working on or near the track                  more locomotives independently with                   ‘‘the carriers regularly argue that there is
                                                 if that single crewmember made a                        the aid of computers) means that the                  no data to support a two-person crew
                                                 mistake. The unions’ jointly filed                      locomotive engineer must direct                       being safer than a one-person crew . . .
                                                 comment also noted how many                             significant attention to computer                     [and t]he irony . . . is that likewise
                                                 railroads embraced greater electronic                   screens; in their view, the NPRM did                  there is no data to support that a one-
                                                 device use, such as cellphone use, as a                 not adequately consider the safety                    person or autonomous operation is any
                                                 pivotal component of their plans to                     considerations of using a one-person                  safer than that of a two-person crew in
                                                 reduce crew size even though electronic                 train crew with a distributed power                   freight operations.’’ SMART–TD’s
                                                 device use is currently strictly regulated              operation, which ‘‘takes much of the                  President also described an incident
                                                 because of those devices’ potential for                 engineer’s attention away from the view               when he was a locomotive engineer on
                                                 distraction.85 BLET and SMART–TD                        forward.’’ 87                                         a coal train and his conductor warned
                                                 also described how trains are routinely                    During the public hearing, BLET’s                  him of a young child on the track.
                                                 slowed by unplanned events that                         National Legislative Representative,                  SMART–TD’s President testified that he
                                                 require someone other than the                          who described himself as a former                     blew the horn and rang the bell, but the
                                                 locomotive engineer to troubleshoot the                 freight locomotive engineer on a Class I              boy did not move, and he credited the
                                                 problem before the train can continue                   railroad for 18 years, testified in overall           conductor for saving the child’s life
                                                 and how a conductor and a locomotive                    support of the NPRM and included                      because the conductor ran out on the
                                                 engineer work as a team during any                      comments regarding BLET’s concerns                    nose of the engine and waved in a
                                                 necessary troubleshooting. Moreover,                    with some of the proposed exceptions to               manner that led the child to step out of
                                                 the labor organizations’ jointly filed                  the two-person train crew mandate.                    the way. SMART–TD’s President
                                                 comment noted that a two-person train                   BLET testified that a locomotive                      concluded that his experience
                                                 crew provides a backstop to human                       engineer is not a mobile member of the                demonstrates the effectiveness of two
                                                 error, which is still useful with a                     train crew because that person is                     crewmembers working as a team as it is
                                                 positive train control (PTC) system, and                responsible for the physical                          important to have the conductor make
                                                 that, even when there is a low incidence                manipulation of the controls of the                   track observations when a locomotive
                                                 of rail accidents, the consequence of an                locomotive and the monitoring of on-                  engineer may be distracted by
                                                 accident can be high and thereby justify                board systems. BLET stated that for an                monitoring the controls or interacting
                                                 an additional fail-safe measure.                        engineer to leave the locomotive cab                  with a computer screen. SMART–TD
                                                    BLET and SMART–TD commented                          unattended as a one-person train crew,                testified that, in addition to a backup
                                                 that their members who have                             the engineer must complete a time-                    observation role, a conductor can
                                                 experienced PTC implementation first-                   consuming series of steps that includes               contribute knowledge and decision-
                                                 hand, expressed that they want PTC as                   disabling the locomotive’s controls,                  making judgment, especially when
                                                 a tool but recognize that PTC was not                   setting the train’s air brakes, securing              responding to non-routine situations.
                                                 designed to do the job of a crewmember                  the locomotive and train with hand                    SMART–TD testified about PTC’s
                                                 supplementing the engineer. Further,                    brakes, and following rules or                        limitations and how a conductor can
                                                 the unions jointly commented that PTC                   procedures that confirm the train is                  identify washouts, rockslides, fires,
                                                 ‘‘has introduced new complexities and                   properly secured. In explaining how                   vehicles, and pedestrians, but PTC
                                                 levels of attention capture not seen prior              PTC has made a train crew’s job more                  cannot. SMART–TD described how a
                                                 to the implementation of PTC and has                    difficult, BLET testified that PTC has                one-person crew would be unlikely to
                                                 emphasized the need for a conductor on                  introduced new complexities and can                   assist anyone injured in a highway-rail
                                                 board due to the added level of                         reduce a crewmember’s situational                     grade crossing collision nor would the
                                                 distraction PTC has imposed upon the                    awareness such as when a dispatcher                   one-person crew be able to assist first
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                                                                                                         references a mandatory directive over                 responders as easily as a conductor or
                                                   83 FRA–2021–0032–13038 at 1.                          the radio and a locomotive engineer                   quickly assess damage from a
                                                   84 FRA–2021–0032–13050.
                                                                                                         must toggle between display screens to                derailment.
                                                   85 See 49 CFR part 220, subpart C (specifying its
                                                                                                         understand the directive the dispatcher                  During FRA’s public hearing, a
                                                 purpose ‘‘is to reduce safety risks resulting from                                                            member of SMART–TD who described
                                                 railroad operating employees being distracted by
                                                                                                         is referencing. BLET raised concern that
                                                 the inappropriate use of electronic devices, such as
                                                                                                                                                               himself as a conductor with 18 years of
                                                 mobile telephones (cell phones or cellular phones)        86 FRA–2021–0032–13038 at 2.                        experience stated that the proposed
                                                 and laptop computers’’).                                  87 FRA–2021–0032–13038 at 6.                        crew size safety requirements are


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                                                 important because the workforce is                       FRA’s NPRM recognized the                            two-person train crew for every freight
                                                 already strained and the recent doubling                 ‘‘fundamental truths [that] . . . crew               train operating over the general railroad
                                                 of one-and-a-half-mile-long trains would                 size is directly correlated to the safe              system.94 BMWED’s comment stated
                                                 make a complex job unsafe with a one-                    operation of trains [and that] . . .                 that two-person crews provide
                                                 person train crew.88 This SMART–TD                       reducing the number of [crewmembers]                 necessary checks and balances for the
                                                 member described the importance of                       creates substantial safety risks that need           operation of the train and its securement
                                                 multi-person crews being able to mentor                  to be addressed . . . [because the]                  at terminal points, yards, and sidings.
                                                 one another and provide backup.                          crewmembers have complementary[,]                       The American Train Dispatchers
                                                 Specifically, he explained that a one-                   but distinct[,] responsibilities.’’ 91 TTD           Association (ATDA) commented in
                                                 person crew will be physically and                       commented that a Class I railroad’s                  support of the proposed rule,
                                                 psychologically challenged because of                    video shown at the public hearing to                 emphasizing the safety need for a
                                                 the jobs’ many demands, such as the                      demonstrate operations using ground-                 dispatcher to immediately communicate
                                                 need to look at three different computer                 based conductors described a scenario                instructions or orders to a train en
                                                 screens in the locomotive cab while                      occurring ‘‘under ideal circumstances in             route.95 ATDA is concerned that a one-
                                                 continuing to monitor conditions ahead,                  terms of [a ground-based conductor]                  person train crew might not always be
                                                 and due to working alone without                         being able to locate and access [a] site             able to receive communications, thereby
                                                 human interaction or even the freedom                    without any difficulty [as a person]                 creating a substantial hazard to rail
                                                 to listen to music. He also stated that a                arriving from off-site is likely going to            employees and the public. Also, ATDA
                                                 person working alone will lose a layer                   be severely delayed.’’ 92                            commented that railroad safety is
                                                 of safety that is not fully replaced by                     TTD also highlighted a comment from               improved by the regular crew
                                                 PTC. Further, this SMART–TD member                       its affiliate, the International                     communications to dispatchers and that
                                                 testified about an incident in which he                  Association of Fire Fighters, that first             it will be unrealistic for a one-person
                                                 was a train crewmember and the PTC                       responders on-scene rely on train crews              crew to accomplish all the crew’s
                                                 system allowed his crew to operate the                   to provide critical cargo information and            regular duties and continue to report
                                                 train with PTC enabled even though                       services such as separating train cars,              other safety information, including the
                                                 nobody entered the number of axles in                    and with only one crewmember there is                location of young children near the
                                                 the train, a potential safety concern in                 no redundancy and a much higher risk                 tracks, visible track- and structure-
                                                 the way the PTC system would govern                      of first responders not receiving crucial            related defects or damage, and potential
                                                 the train. This SMART–TD member also                     information.93                                       problems on trains passed such as
                                                 stated that, as a former U.S. Navy                          Labor organizations, such as BLET,                shifted loads and equipment dragging.96
                                                 combat medic, he was trained to spot                     SMART–TD, and TTD, requested that                       The Transport Workers Union of
                                                 medical concerns and, in his rail work                   FRA reconsider the remote control                    America (TWU), which represents a
                                                 experience, it has been necessary for                    operations exception and asked whether               variety of rail employees, including
                                                 him to have fellow crewmembers                           additional regulations of remote control             those who inspect and repair equipment
                                                 removed for medical emergencies,                         operations are needed to allow remote                and track at several Class I railroads and
                                                 illnesses, and fatigue. Thus, he noted                   control operators to safely operate over             some of the northeast’s largest regional
                                                 that one-person train crews, who do not                  any distance. These commenters do not                rail systems, commented in support of
                                                 remove themselves from train                             seek FRA to regulate remote control                  the rule, emphasizing the safety need for
                                                 operations when they are tired or sick,                  operations through this rulemaking, as               a second crewmember to assist carmen
                                                 will pose a greater safety risk than two-                they viewed the proposed exception as                who are dispatched when a train
                                                 person train crews where the second                      allowing such operations without                     develops mechanical problems en
                                                 crewmember can mitigate the risk of a                    establishing other necessary safety                  route.97 TWU explained that a single
                                                 sick or tired crewmember.                                requirements. These labor organization               carman is often dispatched to make
                                                    TTD commented that it consists of 37                  commenters took the position that FRA                such a mechanical repair and, on these
                                                 affiliated unions representing the                       should, outside of this rulemaking, take             occasions for safety reasons, it is
                                                 totality of rail labor, including both                   action to review all remote control                  necessary for a conductor to assist the
                                                 passenger and freight rail workers, and                  operation related accidents, regardless              carman in making the inspection and
                                                 specifically the locomotive engineer and                 of whether the accidents occurred                    necessary repairs.
                                                 conductor employees who will be most                     during train or switching operations,                   In addition, BLET Division 446 from
                                                 impacted by the NPRM.89 TTD’s                            and then consider whether to seek input              Belen, New Mexico,98 described how its
                                                 President also presented oral testimony                  from FRA’s Federal advisory committee,               members operate trains over remote
                                                 at FRA’s public hearing. Overall, TTD                    the Railroad Safety Advisory Committee               landscapes that are not readily
                                                 commented that it supported the NPRM                     (RSAC), or otherwise initiate a                      accessible by motor vehicle, and thus
                                                 and urged FRA to adopt more stringent                    rulemaking covering comprehensive                    indicated that a two-person train crew is
                                                 requirements than proposed by                            safety requirements for remote control               vital to survival in medical or other
                                                 eliminating or changing the option for a                 operations.                                          emergency situations.
                                                 railroad to use ‘‘an alterative risk                        The Brotherhood of Maintenance of                    Further, the California Labor
                                                 assessment process in lieu of the                        Way Employes Division (BMWED),                       Federation (CLF), AFL–CIO 99 noted a
                                                 proposed risk assessment’’ and by                        which represents employees who                       two-person train crew is better able to
                                                 requiring that a second crewmember be                    inspect, install, construct, repair, and             monitor events both inside and outside
                                                 a certified conductor.90 TTD stated that                 maintain railroad track, roadbed, and                the locomotive cab than can a single
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                                                                                                          related right-of-way infrastructure on all           crewmember, thereby providing greater
                                                   88 This SMART–TD witness at the hearing is also
                                                                                                          Class I railroads, advocated for a
                                                 the Secretary of SMART–TD’s Maryland State
                                                 Legislative Board as identified in that organization’s   locomotive engineer and a conductor                    94 FRA–2021–0032–12213.
                                                                                                                                                                 95 FRA–2021–0032–13016.
                                                 comment. FRA–2021–0032–6937.
                                                   89 FRA–2021–0032–12306 and FRA–2021–0032–               91 FRA–2021–0032–12306 and FRA–2021–0032–             96 Id. at 3.

                                                 13049.                                                   13049 at 5.                                            97 FRA–2021–0032–12281.

                                                   90 FRA–2021–0032–12306 and FRA–2021–0032–                92 FRA–2021–0032–13049 at 13.                        98 FRA–2021–0032–8741.

                                                 13049 at 2.                                                93 FRA–2021–0032–5247.                               99 FRA–2021–0032–10712.




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                                                 situational awareness. CLF also                         truck would be a faster way of                        and unblock the crossing if a conductor
                                                 explained how a second crewmember                       alleviating a mechanical repair to a train            is not on the train to assist. Further, the
                                                 can fill in knowledge gaps and keep the                 versus a conductor who travels with the               commenter raised the issue of how two
                                                 locomotive engineer alert when that                     train.                                                crewmembers keep each other alert and
                                                 engineer is fatigued.100                                   Numerous individual commenters                     on task, and that having an
                                                                                                         provided first-hand accounts of close                 accountability partner is the number
                                                 2. Individual Commenters                                calls and lives saved by the action of                one tool used by crews to combat
                                                    A short form letter was used in                      two crewmembers working as a team.                    fatigue.
                                                 approximately 3,658 comments to                         These commenters largely provided                        An individual commented that he was
                                                 express opposition to one-person crews,                 anecdotal information supporting why                  a conductor on a train that struck a
                                                 asserting that ‘‘[h]aving multiple                      they thought trains staffed with fewer                delivery truck at a highway-rail grade
                                                 crewmembers working at all times                        than two persons created unsafe                       crossing.108 The commenter explained
                                                 protects against medical emergencies                    conditions. Individual commenters                     that while the locomotive engineer
                                                 and derailments.’’ 101 The form letter                  sometimes used a form letter provided                 began the process of stopping the train,
                                                 also suggested an economic argument                     by an organizing association or union                 he immediately called the dispatcher to
                                                 that railroads were motivated to reduce                 but added their personalized statement                arrange for emergency first responders.
                                                 train crew size by ‘‘Wall Street greed’’                to make it unique. Because there are so               According to the commenter’s
                                                 and that one-person train crews could                   many of these types of comments in the                description, he was off the train before
                                                 be connected to future supply chain                     record, the following examples are                    it stopped so that he could run back to
                                                 disruptions.                                            provided as a sampling and not an                     the crossing and help a passerby pull
                                                    Further, approximately 469                           exhaustive summary.                                   the unconscious truck driver out and
                                                 commenters submitted a short form                          A short form letter comment                        away from the truck before the truck
                                                 letter which stated that two pairs of eyes              supporting a two-person train crew                    was engulfed in flames. He was then
                                                 are better than one and compared a train                mandate was used in approximately                     available to assist first responders, to
                                                 crew to an airline crew, but suggested                  2,574 comments and was written from                   split or secure the train or answer any
                                                 rail posed greater risks because freight                the perspective of rail employees who                 questions as needed. The commenter
                                                 trains transport hazardous or flammable                 are currently train crewmembers.106 The               contrasted his accident description with
                                                 materials and spent nuclear rods.102                    form letter captured the person’s                     how he believes the incident would
                                                    Another form letter sent by                          support for FRA revisiting research                   have unfolded if the train had been
                                                 approximately 29 individual                             described in the NPRM that scrutinizes                operated by a one-person crew. Under
                                                 commenters stated their shared concern                  the cognitive and collaborative demands               the commenter’s theoretical scenario,
                                                 that a lone crewmember would not be                     placed on each crewmember, and how                    the locomotive engineer would make an
                                                 able to address train malfunctions or                   multiple crewmembers can work                         emergency brake application, dial the
                                                 grade crossing incidents or assist                      together as an effective, safe team. This             emergency number, and provide the
                                                 emergency response personnel as                         form letter also raised concerns with                 milepost location. The engineer would
                                                 quickly as a two-person crew could,                     technology and other job-related                      not be able to provide the dispatcher
                                                 leaving their community in harm’s                       stressors and concluded that having a                 with the DOT grade crossing number
                                                 way.103 For this reason, these                          work partner helps get the job done.                  until the train was stopped and the
                                                 commenters supported FRA’s proposal                        A commenter who identified himself                 number could be safely found in
                                                 to establish minimum requirements for                   as having 22 years of experience as a                 reference materials. The commenter
                                                 the size of crews operating trains.                     conductor and several leadership roles                explained that with a one-person crew
                                                    In a similar example of a form letter                in SMART–TD supported the NPRM, as                    the dispatcher would call for emergency
                                                 supporting a two-person crew mandate,                   he viewed a two-person train crew                     first responders, but the engineer could
                                                 FRA received nine identical comments                    requirement as vital to safe freight                  not leave the train to assist the driver
                                                 mailed and docketed together as a single                operations largely because of the                     because the engineer would have a duty
                                                 comment from individuals expressing                     hazards related to trains hauling                     to secure an unattended train with hand
                                                 concern that a lone crewmember would                    hazardous materials.107 The commenter                 brakes first. According to the
                                                 not be able to address train                            pointed to trends he has observed,                    commenter, without a second
                                                 malfunctions or grade crossing incidents                stating that the length and weight of                 crewmember, other factors would
                                                 or assist emergency response personnel                  freight trains are increasing, thereby                determine whether the driver would
                                                 as quickly as a two-person crew                         impacting the distance needed to stop                 have been rescued in time, and the one-
                                                 could.104                                               the train in case of emergency and                    person crewmember would feel helpless
                                                    During FRA’s public hearing, a                       increasing the probability of an                      as the crewmember would be required
                                                 commenter identified herself as a                       accident/incident. The commenter also                 to remain on the train unable to help
                                                 conductor with ten years of experience                  stated that a derailment or accident                  anyone injured or readily assist first
                                                 for the Union Pacific Railroad Company                  involving a long train hauling mainly                 responders. The commenter also stated
                                                 (UP).105 The commenter stated that she                  hazardous materials could pose a more                 that FRA’s proposed rule was not
                                                 is concerned with an overreliance on                    widespread danger zone than a shorter                 stringent enough in that two-person
                                                 technology that does not always work as                 train. His stated concerns included                   train crews are necessary for all train
                                                 intended. She also disagreed with UP’s                  protecting communities and schools                    movements to ensure safety.
                                                 testimony that having a conductor in a                  located near railroad tracks. The                        A commenter described a situation
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                                                                                                         commenter also stated that communities                when he was part of a freight train crew
                                                   100 A similar comment was received from the
                                                                                                         impacted by stopped trains blocking                   that had an emergency brake application
                                                 Oklahoma AFL–CIO. FRA–2021–0032–10355.
                                                   101 FRA–2021–0032–2764.
                                                                                                         crossings would be worse off because it               in a town.109 Because the train was
                                                   102 FRA–2021–0032–10974 is a representative           would take significantly longer for a                 blocking the town’s highway-rail grade
                                                 example of this group of comments.                      railroad to manually separate the train               crossings for at least 15 minutes and
                                                   103 FRA–2021–0032–11120.
                                                   104 FRA–2021–0032–10465.                                106 FRA–2021–0032–8789.                               108 FRA–2021–0032–12240.
                                                   105 FRA–2021–0032–13184.                                107 FRA–2021–0032–9893.                               109 FRA–2021–0032–0970.




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                                                 preventing an ambulance from crossing                   use of seat belts even though air bags                that when railroads removed the
                                                 the tracks, a dispatcher requested that                 could have arguably replaced the seat                 brakeman position to reduce train crew
                                                 the crew cut a crossing to allow the                    belt. The commenter pointed out that, in              size to two crewmembers, the quality of
                                                 ambulance by. The commenter is                          his experience, railroads have largely                the training was reduced to
                                                 concerned that without a second                         held both crewmembers responsible for                 accommodate the large number of
                                                 crewmember, situations like this would                  the safe operation of the train and                   brakemen who were trained for
                                                 occur, and it is unclear how long it                    compliance with operating rules and                   conductor positions.
                                                 would take a railroad to open a crossing                practices because doing so enhances                      During FRA’s public hearing, another
                                                 for local emergency responders.                         safety.                                               commenter stated he was a locomotive
                                                    A commenter expressed several safety                    Additionally, this same commenter                  engineer for UP for almost 20 years, and
                                                 concerns as a freight train conductor for               stated that he disagreed with railroad                the idea of a one-person train crew is
                                                 over 19 years.110 For instance, the                     commenters who suggested a conductor                  unsafe because it would take away half
                                                 commenter expressed frustration that                    in a truck could substitute for a                     of the decision-making team.114 The
                                                 railroads do not keep track of incidents                conductor on the train. He commented                  commenter described how a two-person
                                                 in which trains with two crewmembers                    that he is familiar with a territory that             crew goes through their paperwork
                                                 saved lives or prevented accidents. He                  would not be accessible by truck and,                 together, discussing slow orders, train
                                                 explained that he has crewed trains                     therefore, a conductor in a truck would               makeup, and temporary restrictions. He
                                                 involved in accidents at rail-highway                   be delayed getting to and fixing a                    said that organizing the crew’s
                                                 grade crossings and derailments of cars                 problem involving the train. In addition,             paperwork and planning the shift’s
                                                 transporting hazardous materials, and                   the commenter stated that a locomotive                operation will not always be easy
                                                 how two crewmembers can more easily                     engineer can often determine the                      because, with so many documents,
                                                 prevent harm to the public by taking                    approximate location of a broken                      rules, and temporary rules, one person
                                                 quick action or relaying information to                 knuckle and a conductor can replace it                could overlook a safety concern and
                                                 emergency responders. He also                           with a new knuckle as a relatively                    make a mistake the other crewmember
                                                 expressed concerns with a one-person                    routine repair. He stated that in his                 could have otherwise caught. The
                                                 train crew suffering from fatigue.                      short experience, he has fixed three                  commenter also raised concern that,
                                                    A commenter described that he is                     broken knuckles and took 30 to 45                     although a one-person train crew may
                                                 both a locomotive engineer and                          minutes to make a replacement. He also                be able to perform certain tests and
                                                 conductor who has experienced                           described an incident where he changed                inspections alone or with a utility
                                                 firsthand why it is imperative to public                a knuckle even though the railroad sent               employee, a conductor assigned to the
                                                 safety that each train have a minimum                   a carman out to do it, and he was done                train provides a valuable oversight role,
                                                 of two crewmembers.111 The commenter                    with the repair before the carman                     and ‘‘it’s just more cohesive to have that
                                                 described an incident in which the train                arrived about 90 minutes later.                       second person [remain with the train]
                                                 he was conducting crashed into a car at                    This same commenter also described                 for the entire trip.’’ 115 Further, the
                                                 a highway-rail grade crossing during                    a situation with a one-person train that              commenter stated that toward the end of
                                                 winter. The commenter explained that,                   operates into a mile-long tunnel on the               a tour of duty, when a train approaches
                                                 with two crewmembers, he was free to                    territory he works. According to the                  a crew change, the crew has many
                                                 help the driver of the motor vehicle that               commenter, because the tunnel does not                responsibilities that are time-sensitive
                                                 was in a ditch, while the engineer                      have any ventilation, if the train has any            and would be difficult for a one-person
                                                 stayed with the locomotive to                           issues where it might have to stop in the             crewmember to complete as quickly or
                                                 coordinate with local emergency                         tunnel, the crew is instructed to cut the             efficiently.
                                                 responders, monitor the air brake                       crew’s locomotives from the train and                    A commenter, who described herself
                                                 system, and perform other duties                        get out of the tunnel before the tunnel               as the spouse of a railroad worker and
                                                 necessary to maintain the safety of rail                fills with carbon monoxide. During this               a person with significant interest in the
                                                 operations.                                             tunnel operation, the commenter                       rulemaking largely because of her many
                                                    An individual commented that he has                  theorized that it would be impossible                 work experiences in first responder
                                                 over twenty years experience as a                       for a one-person crew to create enough                positions including as a 911 dispatcher
                                                 conductor and engineer for a Class I                    pin slack to separate the locomotives                 and working in an ambulance, fire
                                                 freight railroad and raised many safety                 from the rest of the train to escape the              truck, and police car stated that she has
                                                 issues.112 For instance, the commenter                  tunnel by operating the locomotives.                  spoken publicly on the topic of blocked
                                                 expressed concern that a one-person                        During FRA’s public hearing, a                     crossings and her opposition to one-
                                                 train crew that significantly relies on                 commenter identified herself as a BLET                person train crews.116 The commenter
                                                 PTC and other technologies to safeguard                 National Auxiliary, Second Vice                       stated that she has collected anonymous
                                                 and operate the train will encounter                    President, and Legislative                            statements from railroaders regarding
                                                 difficulties when one or more                           Representative from Lakeside,                         their experiences, describing accidents
                                                 technologies fail or are unavailable as                 Nebraska.113 The commenter also                       and possible scenarios that could cause
                                                 the person’s ability to operate in manual               identified herself as the concerned wife              delays or additional safety concerns if
                                                 mode could have deteriorated from                       of a BNSF Railway Company (BNSF)                      railroads use one-person train crews,
                                                 disuse and that there are examples of                   locomotive engineer whom she does not                 including concerns about the limitations
                                                 this problem in the airline industry. The               want to operate trains alone, noting in               of PTC when traveling at restricted
                                                 commenter also made a case for                          particular a past medical event. She also             speed and having to visually verify
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                                                 redundancy, noting that in the motor                    expressed concern about a one-person                  switches, and the limitations of global
                                                 vehicle context, Federal law mandates                   train crewmember suffering from                       positioning system software to detect
                                                 cars be manufactured with seat belts                    fatigue, isolation, and depression.                   which track the train will be operating
                                                 and States enforce laws governing the                   Further, the commenter was concerned                  over and how a second crewmember
                                                                                                         that training programs for one-person
                                                   110 FRA–2021–0032–0594.                               train crews will be inadequate, noting                  114 FRA–2021–0032–13184.
                                                   111 FRA–2021–0032–0226.                                                                                       115 FRA–2021–0032–13184.
                                                   112 FRA–2021–0032–12808.                                113 FRA–2021–0032–13184.                              116 FRA–2021–0032–12819.




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                                                 could provide backup in detecting if the                 freight railroads are operating trains that          because of his understanding that ‘‘[r]ail
                                                 train was lined to switch to the wrong                   are extremely heavy and miles-long,                  transportation is safer when workers
                                                 track. The commenter also echoed many                    which impact safe handling, increase                 have a co-worker available to watch
                                                 other concerns raised by individual                      wear and tear, and cause blocked                     their back and assist them with difficult
                                                 commenters.                                              crossings which in turn impede                       or dangerous tasks.’’ 122 Rep. Van Drew
                                                    An individual commented in strong                     motorists’ travel and encourage                      emphasized that the final rule should
                                                 support of a national, minimum two-                      dangerous pedestrian behavior.’’ These               also include passenger rail operations,
                                                 person train crew requirement as a                       commenters also stated that ‘‘railroads              and he urged FRA to strengthen the
                                                 proactive safety precaution.117 This                     successfully sued in court to overturn               requirements to ensure the safest
                                                 individual stated that she is concerned                  . . . [S]tates’ laws’’ mandating                     environment for rail workers. Similarly,
                                                 about public and environmental                           minimum crew size requirements, and                  Rep. Christopher Smith commented that
                                                 exposure to hazardous materials from                     courts found that ‘‘the [F]ederal                    he is strongly supportive of all trains in
                                                 accidents and non-accidental spills and                  government has jurisdiction over crew                New Jersey having at least two
                                                 is especially concerned about a one-                     size requirements.’’ This group of                   crewmembers to ensure public safety
                                                 person crew freight train transporting                   lawmakers also concluded that the                    and proper operation of critical
                                                 waste flowback from the fracking                         public needs ‘‘the safety benefits and               infrastructure.123 Rep. Smith stated that
                                                 process that may have both known and                     uniform protection that [a rule] on                  research indicates a two-person train
                                                 unknown hazards.                                         minimum train crew size [safety] would               crew team would have a greater ability
                                                    A commenter noted railroad rules that                 provide.’’                                           to notice and correct errors or problem-
                                                 impose critical focus zones (CFZ) in his                    Two of these House members, Rep.                  solve during an emergency than would
                                                 comment in support of the NPRM.118                       Donald M. Payne, Jr. and Rep. Dina                   a one-person train crew. He raised safety
                                                 The commenter pointed to the CFZ rule                    Titus, also co-signed a second comment               concerns with a one-person train crew
                                                 of the Canadian National Railway                         that expressed strong support for the                operating a long train that is
                                                 Company (CN), which he stated was in                     proposed rule, especially raising                    transporting hazardous material through
                                                 effect even with PTC, thereby showing                    concerns with freight trains that they               densely populated areas and concluded
                                                 a need for a two-person train crew even                  note have grown in both length and                   that a two-person requirement would
                                                 in PTC territory. The commenter stated                   weight, which adds to the complexity of              best protect the public, preserve
                                                 that removing CFZ operating                              safe handling of those trains and                    confidence in rail transportation, and
                                                 requirements and a two-person crew                       contributes to greater maintenance                   safeguard communities.
                                                 would certainly degrade safety given                     needs.120 This jointly filed comment
                                                 how a CFZ rule with a two-person crew                    also raised concerns about anticipated               4. State and Local Governmental
                                                 greatly improves visibility and safety                   delays in resolving train problems when              Commenters
                                                 during train movements.                                  there is only one crewmember. These                     Several State and local government
                                                                                                          congressional members stated their                   officials and organizations commented
                                                 3. Federal Congressional Commenters                      concern that local first responders are              in support of the NPRM. For example,
                                                    One comment signed by 54 House                        negatively impacted by a one-person                  the National League of Cities, a
                                                 members stated their strong support for                  train crew because of delays in                      nonpartisan organization comprised of
                                                 FRA’s NPRM to enforce a minimum of                       unblocking crossings. This comment                   city, town, and village leaders that are
                                                 two crewmembers in most passenger                        echoed FRA’s description in the NPRM                 focused on improving the quality of life
                                                 and freight rail operations, as they                     of the safety benefits that two                      for their constituents, commented that it
                                                 viewed the rule as necessary to ensure                   crewmembers can provide for both                     believes the presence and training of
                                                 the safety of communities.119 This                       operating the train and responding to                railroad crew is a matter of safety.124
                                                 comment urged FRA to act                                 any unanticipated events, including                  This organization supported the NPRM
                                                 expeditiously in finalizing the strongest                those that PTC was not designed to                   and stated the hazard of reduced crews
                                                 rule possible, finding crew size a                       prevent.                                             undermines the safe and efficient
                                                 fundamental safety issue. These                             Another of these 54 House members,                movement of trains and puts local first
                                                 commenters noted that commercial                         Sharice L. Davids, filed a second                    responders in unsafe situations during
                                                 airlines and boats have at least two                     comment to emphasize her support for                 rail incidents and accidents.
                                                 crewmembers, and that technology such                    the proposed rule and her concern that                  Michigan State Representative John
                                                 as PTC cannot replace the expertise and                  having one person responsible for a                  Cherry commented that having a second
                                                 quick-thinking nature of human beings                    massive train hauling hazardous                      crewmember could be the difference
                                                 acting together as a team to operate                     materials jeopardizes the safety of crews            between life and death for the crew and
                                                 trains and respond to unanticipated                      and the public at large.121 Rep. Davids              the community.125 Representative
                                                 events. These 54 House members also                      also commented that a national two-                  Cherry’s comment stated a second
                                                 supported a two-person train crew                        person crew requirement is important to              crewmember is needed to help with
                                                 mandate out of concern that ‘‘some                       secure some of the nation’s most critical            situational awareness, prevent fatigue,
                                                                                                          supply chain routes at a time when                   and relay critical information to
                                                   117 FRA–2021–0032–13111.                               there is increased pressure on the                   emergency responders if one
                                                    118 FRA–2021–0032–12333. FRA notes that there         supply chain.                                        crewmember is incapacitated. Similar
                                                 are no Federal requirements that a railroad establish       FRA received at least two                         comments were made by other Michigan
                                                 operating rules or practices for a CFZ but that some     individually filed comments from
                                                 railroads voluntarily establish them in certain                                                               State Representatives including Alex
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                                                 territories to reduce distractions, especially for the   House members who represent New                      Garza,126 David LaGrand,127 and Padma
                                                 locomotive engineer. For example, a crewmember           Jersey districts and expressed support
                                                 other than the locomotive engineer may be required       for the proposed requirements in the                   122 FRA–2021–0032–10347.
                                                 to make all radio communications in the CFZ, and         NPRM. Rep. Jefferson Van Drew wrote                    123 FRA–2021–0032–13188.
                                                 any crew communications are required to be
                                                 limited to duties related to the train’s immediate       that he supported FRA’s proposed rule                  124 FRA–2021–0032–10696.
                                                                                                                                                                 125 FRA–2021–0032–9545.
                                                 operation.
                                                    119 FRA–2021–0032–12809 (duplicate comment             120 FRA–2021–0032–11185.                              126 FRA–2021–0032–11021.

                                                 filed at FRA–2021–0032–12971).                            121 FRA–2021–0032–10917.                              127 FRA–2021–0032–10993.




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                                                 Kuppa,128 and Michigan State Senators                   person crew minimum for any of the                          In addition, FRA agrees with these
                                                 Rosemary Bayer 129 and Erika Geiss.130                  proposed exceptions for passenger and                    commenters that this rule is needed
                                                    Dinah Sykes, Kansas Senate Minority                  freight operations that operate over                     because PTC is not a solution by itself.
                                                 Leader, commented in strong support of                  highway-rail grade crossings.135                         As of September 2023, PTC technology
                                                 the NPRM because it will establish a                       Citizens Acting for Rail Safety—Twin                  is governing rail operations on
                                                 consistent, nationwide standard that                    Cities (CARS–TC), a community-based                      approximately 58,787 route miles,
                                                 will reduce safety risks.131                            organization that is a regional chapter of               representing approximately 42% of the
                                                    Patrick Diegnan, Jr., New Jersey State               Citizens Acting for Rail Safety,                         rail network in the United States.
                                                 Senator and Transportation Chair, stated                commented that the size of train crews                   Although this is a significant
                                                 that he is concerned with the safety of                 is a public safety matter and opined that                achievement, it means that most
                                                 both freight and passenger trains that                  high hazard freight trains require a four-               railroad route miles in the United States
                                                 operate with great frequency through                    person train crew.136                                    are currently not governed by a PTC
                                                 densely populated areas.132 Senator                                                                              system. Even on PTC-governed main
                                                 Diegnan also attributed New Jersey’s                    FRA’s Response
                                                                                                                                                                  lines, railroads experience unplanned
                                                 positive safety record in recent years to                  The vast range of commenters                          outages and planned outages of their
                                                 trains operating with no fewer than two                 supporting the NPRM, including                           PTC systems. For example, in March
                                                 crewmembers.                                            Federal, State, and local representatives,               2023, BNSF and the National Railroad
                                                    Aimee Winder Newton and Arlyn                        and organizations that represent                         Passenger Corporation (Amtrak)
                                                 Bradshaw, two members of the Salt Lake                  communities and employees, reflects                      experienced unplanned outages of their
                                                 County Council in Salt Lake City, Utah,                 the interest that the public has in FRA                  PTC systems, and NS experienced an
                                                 commented in support of the NPRM                        regulating the safety issues regarding                   unplanned outage of its PTC system in
                                                 because advancements in technology,                     train crew size. The comments                            August 2023, impacting operations of
                                                 such as PTC, improve safety but are not                 supporting the NPRM largely                              both the host railroad and its tenant
                                                 a substitute for a train’s on-board                     corroborated FRA’s background in the                     railroads. Also, during 2023, several
                                                 crewmembers.133                                         NPRM describing the issues and why                       Class I railroads, commuter railroads,
                                                    Sonoma-Marin Area Rail Transit                       additional safety requirements are                       and Amtrak temporarily disabled their
                                                 District (Sonoma-Marin), a State of                     necessary. In FRA’s experience with                      PTC systems to facilitate planned
                                                 California publicly-owned, 95-mile                      regulating and inspecting the rail                       infrastructure upgrades or capital
                                                 railroad, commented that it currently                   industry, and as described by research                   projects. Finally, although railroads
                                                 operates both passenger and freight rail                and reports of incidents in the NPRM,                    experiencing planned or unplanned
                                                 service with two-person train crews and                 conductors and other crewmembers not                     outages of their PTC systems comply
                                                 hosts tourist railroads that operate with               assigned to operate the locomotive or                    with certain safety requirements,138 the
                                                 at least a two-person train crew.134                    train play an active role in maintaining                 NPRM clarified that ‘‘while PTC is a
                                                 Sonoma-Marin stated that it supports                    the safe operation of the train and                      safety overlay to help prevent certain
                                                 FRA’s efforts to create the safest                      safeguarding their fellow employees and                  accidents, FRA’s PTC regulations do not
                                                 operating environment for communities,                  the public. The comments supporting                      include the requirements to perform
                                                 railroad personnel, and customers. Each                 the NPRM help provide context for the                    crewmember job functions, which are
                                                 of the railroad’s freight train                         safety issues described in the NPRM                      essential to prevent or mitigate other
                                                 crewmembers is qualified as both a                      concerning the significant role of a                     accidents.’’ 139
                                                 locomotive engineer and a conductor,                    conductor or second crewmember; the
                                                 and the same combination is used for                    need to have technology installed to                     D. Tourist Railroad and Railroad
                                                 passenger operations, although                          stop a train when a one-person train                     Museum Industry Comment That
                                                 periodically the second crewmember is                   crewmember becomes incapacitated;                        Asserted the NPRM Would Have No
                                                 only qualified as a conductor. In                       and the need to establish minimum                        Impact
                                                 passenger service, Sonoma-Marin uses a                  communication and other requirements                       Heritage Rail Alliance, Inc., the
                                                 PTC-equipped diesel multiple-unit fleet                 to mitigate hazards arising from both                    primary trade organization for the
                                                 with two- and three-car consists.                       routine operations and unplanned                         tourist railroad and railroad museum
                                                 Sonoma-Marin also stated that it                        incidents such as derailments,                           industry, commented that the NPRM
                                                 currently uses a 24-hour dispatch center                accidents, and mechanical breakdowns.                    appears to impact minimally, if at all,
                                                 and that crewmembers can directly                       The many anecdotal comments from
                                                 communicate with one another.                           individuals supplement the research                      confidential-close-call-reporting-system-c3rs
                                                    Transportation for America, an                       and reports as important source                          (providing an overview, a list of participating
                                                 advocacy organization for local,                        information for the contributions of a                   railroads, a description of stakeholders, and
                                                 regional, and State leaders, supported                                                                           answers to frequently asked questions including
                                                                                                         two-person train crew team.137                           how railroads, labor organizations, and FRA use
                                                 FRA’s action to require at least two                                                                             data collected through the program). While FRA
                                                 crewmembers on most trains but                            135 FRA–2021–0032–11186.                               agrees that C3RS could be informative, e.g., because
                                                 expressed concern that the NPRM did                       136 FRA–2021–0032–10731. Citizens Acting for           the program periodically issues confidential ‘‘alert
                                                 not go far enough. Transportation for                   Rail Safety describes itself as a regional, non-         bulletins’’ to stakeholders and issues non-
                                                                                                         partisan, grassroots advocacy group that works with      confidential information through publicly available
                                                 America advocated for requiring                         residents, legislators, and agency officials to          newsletters, FRA is unaware of any such alert or
                                                 passenger operations to have three or                   improve rail safety to benefit the health, safety, and   newsletter that identified an issue that directly
                                                 four crewmembers and requiring a two-                   security of people, wildlife and the environment.        relates to the safety of one-person train operations.
                                                                                                           137 Some labor organization commenters, such as        Also, because FRA desires greater rates of
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                                                   128 FRA–2021–0032–9906.                               TTD and SMART–TD, highlighted FRA’s                      participation in the program than the approximately
                                                   129 FRA–2021–0032–11005.                              Confidential Close Call Reporting System (C3RS) as       25–30 current or committed railroad participants,
                                                                                                         a program that might help to inform this rule but        none of which include any Class I freight railroads,
                                                   130 FRA–2021–0032–10585.
                                                                                                         raised concerns about the low participation rate         FRA is currently engaged in efforts to promote
                                                   131 FRA–2021–0032–9816.
                                                                                                         among railroads. C3RS is a voluntary program that        voluntary participation in C3RS through the RSAC
                                                   132 FRA–2021–0032–10588.                                                                                       process. See https://rsac.fra.dot.gov/tasks, RSAC
                                                                                                         provides employees of participating railroads the
                                                   133 FRA–2021–0032–10287.
                                                                                                         opportunity to report unsafe events and conditions       Task 2022–03.
                                                    134 FRA–2021–0032–11211. Sonoma Marin’s                                                                         138 See, e.g., 49 CFR 236.1021(m), 236.1029(b).
                                                                                                         confidentially. See https://railroads.dot.gov/
                                                 trade name is SMART.                                    railroad-safety/divisions/safety-partnerships/c3rs/        139 87 FR 45581.




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                                                 the operating practices of both non-                     standard, and remote control operations.             FRA’s Response
                                                 general and general system tourist                       FRA’s responses reflect the agency’s                    In comment responses below, FRA
                                                 railroads.140 The commenter’s informal                   position on the comments and how FRA                 addresses in detail specific issues raised
                                                 survey found that its member railroads                   has responded in the final rule as                   by the Members of Congress, as many of
                                                 are using two-person train crews and                     compared to the NPRM.                                these issues were also raised by certain
                                                 that FRA was correct to conclude that                                                                         industry commenters. Other issues
                                                 tourist railroads are unlikely to switch                 1. Congressional Commenters
                                                                                                                                                               raised are addressed in the RIA and
                                                 to one-person train crew operations.                                                                          below in Section IV.B, Regulatory
                                                                                                             The two Congressional comments
                                                 FRA’s Response                                           opposing the rule detailed their                     Flexibility Act and Executive Order
                                                                                                          opposition and raised a variety of legal,            13272. The legal authority discussion in
                                                    In the NPRM, FRA stated that the
                                                                                                          policy, and safety concerns that                     the Executive Summary, above,
                                                 agency is unaware of any tourist train
                                                                                                          overlapped with other comments. For                  describes FRA’s authority to issue this
                                                 operation on the general railroad system                                                                      rule. Regarding additional industry
                                                 of transportation that operates with a                   example, U.S. Senator Roger F. Wicker,
                                                                                                                                                               input, FRA points to the extensive
                                                 one-person train crew.141 Heritage Rail                  and Rep. Eric A. Crawford stated their
                                                                                                                                                               history of engagement with industry on
                                                 Alliance, Inc.’s comment verified that                   concern that the proposed requirements
                                                                                                                                                               this matter, including the following: (1)
                                                 the final rule will have minimal to no                   would have a significant economic                    FRA pursued a collaborative approach
                                                 impact on non-general and general                        impact on a substantial number of small              on this subject matter in 2013 and 2014,
                                                 system tourist and museum train                          entities, a concern shared by short line             but was unable to obtain an industry
                                                 operations. FRA notes, however, this                     and regional freight railroad                        recommendation; 144 (2) FRA extended
                                                 final rule provides an exception for                     commenters.142 Senator Wicker                        the comment period to 146 days upon
                                                 tourist train operations that are not part               commented that ‘‘[t]he NPRM fail[ed] to              request, which is significantly longer
                                                 of the general railroad system of                        acknowledge that changes to operations               than the 60-day period originally
                                                 transportation, which is contained in                    and infrastructure, may produce                      scheduled; and (3) FRA provided a
                                                 § 218.125.                                               benefits, including safety benefits [and             public hearing, which was widely
                                                 E. Comments Opposing the NPRM                            that u]nder the logic in the NPRM, the               attended and at which all commenters
                                                                                                          specter of risk is sufficient to prohibit            who wished to testify were provided an
                                                    The NPRM included a background
                                                                                                          preemptively any innovation.’’ 143                   opportunity to do so.
                                                 discussion of the state of current
                                                                                                          Further, Senator Wicker commented                       FRA disagrees with Senator Wicker’s
                                                 operations, including the existing
                                                                                                          that FRA has other ways to address                   comment that the proposed rule failed
                                                 Federal safety requirements and
                                                                                                          safety concerns raised in the NPRM                   to recognize the benefits of innovation,
                                                 projected impact of the proposed crew
                                                                                                          such as raising the random testing drug              as his comment was directed to FRA’s
                                                 size safety requirements on existing and
                                                                                                          or alcohol testing rates, requiring                  explanation for how the introduction of
                                                 future one-person train crew operations.
                                                                                                          inward facing cameras, or using other                technology or operational changes may
                                                 The following summary describes
                                                                                                          technological advances.                              introduce new risks. As clarification,
                                                 comments received from entities and
                                                                                                                                                               the NPRM explained that a risk
                                                 individuals including members of                            Rep. Crawford expressed his view that
                                                                                                                                                               assessment is useful as a formal process
                                                 Congress, passenger train operators,                     FRA failed to comply with the                        to identify, evaluate, and eliminate or
                                                 short line and regional freight railroad                 Administrative Procedure Act, because                reduce any hazards identified to within
                                                 commenters, and Class I freight railroad                 he sees the NPRM as lacking a rational               a range of acceptability.145 The risk
                                                 commenters. FRA did not identify any                     basis, and the Regulatory Flexibility                assessment process therefore provides
                                                 labor organizations, tourist railroads, or               Act, because he views the NPRM as                    the railroad with an objective way of
                                                 State or local governmental commenters                   failing to determine whether the                     qualitatively or quantitatively showing
                                                 that opposed the NPRM. In the                            proposed rule would have a significant               how the technology or operational
                                                 summary of the comments from Class I                     economic impact on a substantial                     change is a safety benefit.
                                                 freight railroads and similar rail                       number of small entities. Rep. Crawford
                                                 industry commenters, FRA responded to                    commented that those legal concerns                  2. Passenger Operations
                                                 several additional subjects that were                    may be secondary to his perception that                 The Utah Transit Authority (UTA),
                                                 addressed by these commenters. For                       FRA may be lacking the authority to                  which operates the commuter rail
                                                 instance, comments were received                         promulgate a rule based on case law                  service called ‘‘FrontRunner,’’
                                                 regarding alternative crewmember                                                                              commented that FRA should consider a
                                                                                                          limiting agency action under the ‘‘major
                                                 arrangements that the industry referred                                                                       different, less stringent approach in the
                                                                                                          questions doctrine.’’ Rep. Crawford
                                                 to as expeditors, ground-based                                                                                final rule for passenger legacy
                                                                                                          commented that the NPRM failed to
                                                 crewmembers, or ground-based                                                                                  operations especially because UTA’s
                                                                                                          adequately identify a particular problem
                                                 conductors. The Class I freight railroads                                                                     FrontRunner service was established in
                                                 and similar industry commenters also                     that needs to be addressed, in addition
                                                                                                          to taking an overly prescriptive                     2008 and FRA last approved that
                                                 covered the subjects of train operations                                                                      operation’s emergency preparedness
                                                 in other countries, new technology and                   approach that does not encourage
                                                                                                          innovation or growth or competition                  plan on February 25, 2022.146 UTA’s
                                                 automated operations, the                                                                                     comment reflected that it would prefer
                                                 transportation of hazardous materials,                   among regulated entities. Rep. Crawford
                                                 risk assessments and FRA’s review                        explained that he did not find FRA’s                   144 81 FR 13918, 13935–39 (Mar. 15, 2016)
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                                                                                                          support for the rule persuasive and he               (describing in an NPRM for a previous rulemaking
                                                   140 FRA–2021–0032–11017.                               suggested that FRA should have gotten                on this same subject FRA’s efforts to obtain a
                                                    141 A comment was received from the Strasburg         more input from the industry before                  consensus recommendation from the Railroad
                                                 Rail Road, which has both tourist and short line                                                              Safety Advisory Committee, a forum for
                                                                                                          publishing the NPRM.                                 collaborative rulemaking and program development
                                                 freight operations, but that comment is discussed
                                                 under the heading ‘‘Short Line and Regional Freight                                                           that included representatives from all the agency’s
                                                 Railroads’’ as the comment described one-person            142 FRA–2021–0032–13052 and FRA–2021–0032–         major stakeholder groups).
                                                 train operations concerning the railroad’s freight       13018.                                                 145 87 FR 45582.

                                                 operations or work trains, not its tourist operations.     143 FRA–2021–0032–13052 at 1.                        146 FRA–2021–0032–10984.




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                                                 an option that did not require it to file               a special approval.’’ 150 Like the other               overlap with many of the same issues
                                                 for special approval, and that it was                   passenger operation commenters, CRC                    that are addressed by a special approval
                                                 concerned about the added expense and                   requested that FRA consider amending                   petition in this final rule, FRA does not
                                                 complexity of complying with training a                 the definition of train crew or adding an              find it necessary to require a risk
                                                 second crewmember should its current                    exemption so that the rule                             assessment and the opportunity for
                                                 one-person train crew operation be                      accommodates as two-crewmember                         public input in the approval process for
                                                 disapproved. UTA suggested that FRA                     operations those passenger operations                  these legacy passenger train operations
                                                 should consider expanding the current                   that use a second person who does not                  that already have approved emergency
                                                 definition of ‘‘train or yard crew’’ in                 perform functions connected with the                   preparedness plans. However, FRA is
                                                 § 218.5 to include a second person like                 movement of the train. CRC’s comment                   not willing to forgo the benefits of such
                                                 UTA’s train host. UTA’s comment also                    was also similar to APTA’s in its                      requirements for the initiation of
                                                 included alternatives that would                        approach to the risk assessment, and                   passenger railroad train operations
                                                 expedite the review process for existing                which FRA addresses below in this                      staffed with a one-person train crew as
                                                 passenger operations or otherwise                       discussion of comments and                             required under § 218.131. Accordingly,
                                                 reduce costs.                                           conclusions under the risk assessment                  the final rule, in § 218.125(e), provides
                                                    The Denver Regional Transportation                   heading. Further, CRC requested that                   an exception for each passenger one-
                                                 District (Denver RTD) filed a comment                   FRA consider providing railroads with                  person train operation established
                                                 describing its passenger operation and                  additional time to comply with any new                 before the effective date of this final rule
                                                 requesting FRA consider the                             requirements, suggesting that operations               with an approved passenger train
                                                 information in drafting a possible final                may need up to a year to implement                     emergency preparedness plan under
                                                 rule.147 For instance, Denver RTD                       changes.                                               part 239. Further, his final rule does not
                                                 requested that FRA consider whether an                                                                         require these legacy operations to
                                                                                                         FRA’s Response
                                                 additional review process as proposed is                                                                       provide FRA with written notification of
                                                                                                            In the NPRM, the background section                 the operation, as it has with legacy
                                                 necessary, stating FRA’s prior approvals
                                                                                                         discussed FRA’s awareness of at least                  freight train operations staffed with a
                                                 and requirements imposed on Denver
                                                                                                         two passenger train operations in which                one-person train crew in § 218.129 of
                                                 RTD’s operation were sufficient to
                                                                                                         the railroads do not use train                         this final rule, because the existing
                                                 address any safety concerns. Denver
                                                                                                         crewmembers that meet the definition of                filing requirement for emergency
                                                 RTD also questioned whether FRA was
                                                                                                         ‘‘train or yard crew’’ in § 218.5, notably             preparedness plan approval under part
                                                 correct to characterize the Denver RTD                  because the second person does not
                                                 operation as a one-person train crew                                                                           239 of this chapter already provides
                                                                                                         perform functions connected with the                   FRA with sufficient notice. As always,
                                                 legacy passenger operation in the NPRM                  movement of the train and thus is not
                                                 as Denver RTD believes its second                                                                              FRA also invites these legacy operations
                                                                                                         performing service subject to the                      to approach FRA with any specific
                                                 qualified person already meets FRA’s                    Federal hours of service requirements
                                                 requirements for a train or yard                                                                               questions concerning their
                                                                                                         during a tour of duty.151 FRA stated that              responsibilities under either part 239 or
                                                 crewmember.                                             although such passenger train                          this final rule.
                                                    The American Public Transportation                   operations may satisfy the requirements                   However, FRA disagrees with the
                                                 Association (APTA) filed a comment                      of 49 CFR part 239,152 railroads would                 comments suggesting that FRA expand
                                                 that raised two issues of concern for its               need to seek FRA’s special approval                    the current definition of ‘‘train or yard
                                                 passenger rail operation members.148                    under proposed § 218.131 to continue                   crew’’ in § 218.5 to include a second
                                                 First, APTA raised concerns regarding                   such legacy train operation staffing                   person like those used in the legacy one-
                                                 the proposed risk assessment                            arrangements.153 As described above,                   person passenger train operations. In
                                                 requirements, which are addressed                       FRA received comments from both of                     those passenger legacy operations, the
                                                 below in this discussion of comments                    the passenger train operations                         second person is not typically doing
                                                 and conclusions under the risk                          identified, Denver RTD and UTA’s                       work under the hours of service laws
                                                 assessment heading. Second, APTA                        FrontRunner. FRA agrees with those                     and is not involved with the train’s
                                                 included a comment similar to UTA’s                     passenger train operators that such                    movements. Thus, for purposes of safe
                                                 concern about the qualifications of a                   legacy one-person train operations have                rail operations, FRA does not consider
                                                 second train crewmember who could                       been determined to meet the safety                     that type of rail employee to be a
                                                 perform duties under an emergency                       requirements of FRA’s passenger train                  member of the train crew and will not
                                                 preparedness plan.                                      emergency preparedness rule and                        carve out what would result in a
                                                    The Commuter Rail Coalition (CRC)                    reopening those inquiries could be                     prospective exception to the two-
                                                 also commented with some concerns                       unduly disruptive to those operations.                 crewmember requirement for existing
                                                 but did not assert whether the                          Simply put, because the passenger train                passenger train operations in this final
                                                 association or its members supported or                 emergency preparedness requirements                    rule.
                                                 opposed the proposed rule.149 CRC
                                                 commented that all major commuter                         150 Id. at 3.                                        3. Short Line and Regional Freight
                                                 railroads operating today provide at                      151 87 FR at 45580, n. 162 (identifying the          Railroads
                                                                                                         following known passenger train services operating
                                                 least two qualified individuals who are                 with a one-person train crew: (1) Denver RTD/
                                                                                                                                                                   The American Short Line and
                                                 trained to support the safe operation of                Denver Transit Operators; and (2) UTA’s                Regional Railroad Association
                                                 passenger trains, but that the ‘‘proposed               FrontRunner).                                          (ASLRRA), on behalf of its short line
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                                                                                                            152 49 CFR 239.7 (defining ‘‘crewmember,’’ in
                                                 rule would likely have a direct impact                                                                         and regional railroad members,
                                                                                                         part, to include ‘‘a person, other than a passenger,
                                                 on at least two commuter railroads that                 who is assigned to perform . . . [o]n-board
                                                                                                                                                                provided testimony at the public
                                                 operate with at least two employees on                  functions in a sleeping car or coach assigned to       hearing and submitted a 143-page
                                                 each train but would likely still require               intercity service, other than food, beverage, or       comment.154 ASLRRA commented that
                                                                                                         security service’’, and 49 CFR 239.101(a)(2),          it represents approximately 600 Class II
                                                                                                         addressing employee training and qualification of
                                                   147 FRA–2021–0032–12177.
                                                                                                         all ‘‘on-board personnel,’’ whether in intercity or    and III railroads, which operate 47,500
                                                   148 FRA–2021–0032–12947.                              commuter passenger train service).
                                                   149 FRA–2021–0032–12172.                                 153 87 FR at 45580.                                  154 FRA–2021–0032–13033.




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                                                 miles of track or approximately 29                      to provide service merely because it                       Similarly, the Central Indiana & Western
                                                 percent of the national freight network,                would be inconvenient or                                   Railroad commented that it is a small,
                                                 and employ approximately 18,000                         unprofitable.160 ASLRRA’s comment                          family-owned railroad with two full-
                                                 people. ASLRRA raised a wide range of                   suggested that FRA previously                              time employees and two part-time
                                                 issues including legal, policy, economic,               determined that an alerter was                             employees and is concerned that the
                                                 and factual concerns in opposition to                   unnecessary for rail safety at speeds of                   requirements, as proposed in the NPRM,
                                                 the NPRM.                                               25 mph or less when the agency                             would remove the railroad’s option to
                                                    Like the comment filed by the U.S.                   promulgated a final rule on locomotive                     utilize an engineer on the locomotive
                                                 Small Business Administration’s Office                  safety standards in 2012 without                           and a second crewmember in a utility
                                                 of Advocacy 155 (SBA-Advocacy),                         distinguishing the risk between a two-                     vehicle.166 The Sandersville Railroad
                                                 described further in the Final                          person train crew and a one-person                         also commented that the requirements,
                                                 Regulatory Flexibility Analysis below,                  crew.161 Further, ASLRRA commented                         as proposed in the NPRM, would
                                                 ASLRRA contends that the NPRM                           that it costs approximately $20,000 to                     remove the railroad’s option to utilize
                                                 underestimated the number of small                      equip a locomotive with an alerter,                        an engineer on the locomotive and a
                                                 railroads that would be impacted,                       approximately 83 railroads currently                       second crewmember in a utility vehicle.
                                                 omitted costs for small railroads to                    operate with one person in the                             Further, this railroad explained that the
                                                 comply, and miscalculated the costs on                  locomotive cab using locomotives that                      small railroad operation exception, as
                                                 small railroads to comply with the                      are not equipped with an alerter, that it                  proposed, would not be manageable for
                                                 special approval process. To support                    may not be possible to retrofit some                       its operation, although in coming to that
                                                 this position, ASLRRA surveyed its                      older models of locomotives, and to                        conclusion it misconstrued the
                                                 members and provided a statistical                      meet the proposed requirements, these                      proposed exception as only applying to
                                                 extrapolation based on the results of the               83 railroads would need to equip at                        railroads that employ train
                                                 survey.156 ASLRRA commented that the                    least half of their locomotives.162                        dispatchers.167 The Ashtabula, Carson &
                                                 number of its member railroads that                        Approximately 14 railroads or rail                      Jefferson Railroad did not comment why
                                                 currently operate with some type of one-                customers used a form letter in which                      it could not meet the small railroad
                                                 person train crew is approximately 420                  they identified their company as a                         operation exception as proposed but
                                                 railroads, a much greater number than                   member of the ASLRRA and asked to                          commented that it uses a one-person
                                                 the seven such short lines FRA                          incorporate the ASLRRA’s comments as                       crew on its six-mile-long track with
                                                 identified. ASLRRA was also concerned                   their comment. For example, the form                       transloading operations at each end,
                                                 that the NPRM treated small entities in                 letter was used by the Virginia Railroad                   operating at 10 miles per hour (mph),
                                                 the same way as Class I railroads when                  Association that represents nine short                     and a second crewmember to flag two
                                                 transporting certain types of hazardous                 line railroads, two Class I railroads, and                 unprotected highway-rail grade
                                                 materials because the small railroad                    27 other rail-related business                             crossings and help with switching.168
                                                 exception would not apply under those                   members.163 Also, these form letters                       MG Rail commented that it is a short
                                                 circumstances.157 ASLRRA commented                      offer the same types of legal, economic,                   line switching railroad that uses
                                                 that the NPRM ‘‘also declines to provide                and policy comments that ASLRRA                            remotely controlled locomotives (RCL)
                                                 regulatory relief or consider less                      made in greater detail in its                              in its operations with a one-person crew
                                                 burdensome alternatives for small                       comment.164 Each form letter was                           and is concerned about the rule’s
                                                 businesses’’ 158 that would benefit from                personalized by adding one or two                          potential impact on short lines generally
                                                 ‘‘a performance standard.’’ ASLRRA                      unique paragraphs describing the                           but did not specifically explain how the
                                                 also requested that FRA consider                        submitter’s existing one-person train                      NPRM might potentially impact its
                                                 providing small railroads with more                     crew operations, or plans to introduce a                   operations (as the NPRM did not
                                                 time to comply to allow for proper                      one-person train crew operation, or to                     propose requirements for trains during
                                                 planning, operational changes, and                      otherwise explain why the commenter                        switching service and included a
                                                 hiring and training of additional                       company opposed the NPRM. Ironhorse                        proposed one-person train crew
                                                 crewmembers, if necessary. ASLRRA                       Resources, Inc., the parent company of                     exception for remote control
                                                 opposed the proposed prohibition on                     at least eight railroads, commented that                   operations).169
                                                 transporting certain types or quantities                the NPRM would significantly impact                           The Cimarron Valley Railroad (CVR)
                                                 of hazardous materials with a one-                      their existing operations because they                     commented that it is a Class III short
                                                 person train crew. ASLRRA estimated                     use an engineer on the locomotive and                      line that operates with both two-person
                                                 that approximately 114 short lines                      a conductor located in a vehicle.165                       and one-person crews and is concerned
                                                 currently operate a train with a one-                                                                              that the NPRM’s small railroad
                                                 person crew carrying quantities or types
                                                                                                           160 Id. citing 49 U.S.C. 11101(a) and offering the       exceptions would not apply to its one-
                                                 of hazardous materials that would
                                                                                                         explanation that ‘‘[w]hile the obligation applies          person operation because the total
                                                                                                         only to regulated traffic (e.g., coal, grain, chemicals,   length of its unit trains handled in
                                                 require a minimum two-person crew                       etc.), the Surface Transportation Board has
                                                                                                         historically stepped in to ensure that shippers are        interchange are greater than FRA’s
                                                 under the proposal, including five
                                                                                                         reasonably served even for exempt commodities.’’           proposed limitation of 6,000 feet for the
                                                 railroads that had representatives testify                161 FRA–2021–0032–1193 at 29–30 (citing 77 FR            proposed small railroad operation
                                                 at the public hearing.159 ASLRRA                        21312).                                                    exception.170 CVR did not state how
                                                 commented that railroads, by statute,                     162 FRA–2021–0032–1193 at 30–31.
                                                                                                                                                                    long these trains were nor explain why
                                                 are under a common carrier obligation                     163 FRA–2021–0032–12381.
                                                                                                                                                                    it could not file a special approval
                                                 to provide transportation of goods on                     164 FRA–2021–0032–13033.
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                                                 reasonable request and may not refuse                     165 FRA–2021–0032–11719 (Caney Fork &
                                                                                                                                                                      166 FRA–2021–0032–12301.
                                                                                                         Western Railroad); FRA–2021–0032–11720 and
                                                                                                                                                                      167 FRA–2021–0032–12394.
                                                   155 FRA–2021–0032–13007.                              duplicated in FRA–2021–0032–11722 (Sequatchie
                                                                                                                                                                      168 FRA–2021–0032–12970.
                                                   156 FRA–2021–0032–13033, att. D (providing a
                                                                                                         Valley Switching Company); FRA–2021–0032–
                                                                                                                                                                       169 FRA–2021–0032–12261. The Finger Lakes
                                                                                                         11721 (Walking Horse Railroad); FRA–2021–0032–
                                                 summary and statistical analysis of the survey).        11723 (Rio Valley Switching Company; Gardendale            Railroad (FGLK) filed a similar comment in that it
                                                   157 FRA–2021–0032–13033 at 41.
                                                                                                         Railroad; Santa Teresa Southern Railroad; San              is a Class III short line that has uses one-person
                                                   158 FRA–2021–0032–13033 at 10 and 13.                                                                            remote control operations.
                                                                                                         Pedro Valley Railroad; Southern Switching
                                                   159 FRA–2021–0032–13033.                              Company).                                                     170 FRA–2021–0032–12683.




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                                                 petition for a legacy operation as                      person train crewmember must remain                   Railroad.176 The testimony added to the
                                                 proposed. Like other short line                         in the locomotive cab during normal                   Madison Railroad’s written comment,
                                                 commenters, CVR did not request that                    operations. The Strasburg Rail Road also              which used the ASLRRA’s form
                                                 FRA amend the exceptions or special                     commented that it does not have                       letter.177 The Madison Railroad testified
                                                 approval process in the NPRM but                        locomotives equipped with alerters for                that it operates about a mile and a half
                                                 instead requested that FRA withdraw                     its one-person work train operations.                 on steep 5.89 percent grade near the
                                                 the NPRM in its entirety or,                               Other such railroad commenters                     Ohio River, which is mitigated by
                                                 alternatively, categorically exclude all                provided testimony at FRA’s public                    specific operating rules, brake system
                                                 Class II and III operations because, in its                                                                   and locomotive equipment
                                                                                                         hearing. For example, the Director of
                                                 view, short lines already successfully                                                                        requirements, and additional training.
                                                                                                         Safety, Training, and Regulatory
                                                 operate today in this environment.                                                                            According to the Madison Railroad, it
                                                    The Farmrail System, which owns                      Compliance for the Rio Grande Pacific
                                                                                                                                                               has provided additional risk mitigation
                                                 two Class III short lines, Farmrail                     Corporation (RGPC) testified that its
                                                                                                                                                               steps above FRA’s minimum
                                                 Corporation and Grainbelt Corporation,                  four Class III short lines operate with an            requirements. For instance, the Madison
                                                 commented that it has used one-person                   engineer in the locomotive and a                      Railroad testified that it only operates
                                                 crews by utilizing a truck-based                        certified conductor in a utility vehicle              one train at a time and the maximum
                                                 employee to accompany freight trains                    who maintains contact with the                        train speed is limited to 10 mph with
                                                 between switching assignments and                       engineer by radio and is assigned as a                restricted speed in effect. The Madison
                                                 with remote control operations.171 This                 train crewmember.174 RGPC explained                   Railroad is concerned that the NPRM
                                                 commenter found the NPRM’s proposed                     that this crew staffing arrangement is                would lead to an overall net decrease in
                                                 requirements complicated and did not                    efficient for interaction with customers,             safety as any increased costs to hire a
                                                 believe the exemptions and special                      preparing for the train’s arrival at a                minimum of two additional employees
                                                 approval process provided adequate                      customer’s location, and protecting                   would mean that the railroad would
                                                 relief for short lines.                                 highway-rail grade crossings. RGPC is                 need to divert resources from investing
                                                    Patriot Rail commented that it is a                  concerned that certain of the NPRM’s                  in physical infrastructure and
                                                 holding company that owns 31 short                      proposed requirements would mean that                 equipment.
                                                 lines with operations that use one                      RGPC’s short lines would need to hire                    The Senior Vice President and
                                                 crewmember in the locomotive and one                    a third crewmember because their                      General Manager of the Grafton and
                                                 crewmember in a motor vehicle                           operations would be unable to qualify                 Upton Railroad (G&U) testified as to his
                                                 providing safety, logistical, and                       for the small railroad exception. For                 diverse experiences in railroad
                                                 customer support.172 Overall, Patriot                   example, RGPC testified that its short                operations as a conductor, a locomotive
                                                 Rail opposes the rule for many of the                   lines operate trains longer than 6,000                engineer, and a designated supervisor of
                                                 same reasons articulated in ASLRRA’s                    feet, haul 20 or more loaded cars of                  locomotive engineers, and how he has
                                                 comment. Patriot Rail stated that it                    hazardous materials, and do not have                  operating experience on Amtrak’s
                                                 supports FRA’s recognition that short                   the means to conduct real-time                        Northeast Corridor, CSX
                                                 line operations can be accomplished                     monitoring of the train’s location. RGPC              Transportation’s mainline, and many
                                                 safely with a minimum of two                            also testified how it would be                        short lines.178 Based on this experience,
                                                 crewmembers, but with only one person                   logistically difficult to move the                    G&U testified that one-person crews
                                                 in the locomotive cab. Patriot Rail                     certified conductor in the utility vehicle            have, both currently and historically,
                                                 commented that some of the NPRM’s                       to the locomotive, and that it believed               operated safely, and how doing so is a
                                                 requirements allowing for exceptions                    the proposed rule would lead RGPC’s                   more efficient use of a short line’s
                                                 seemed arbitrary, such as limitations on                short lines to hire a third crewmember.               limited resources. G&U stated it has a
                                                 train length and commodities, and for                      The Vice President of Human                        25-mile-long system and transports
                                                 other proposed requirements for                         Resources and Safety at Florida East                  many hazardous materials, including
                                                 alerters, dispatching, and electronic                   Coast Railway (FEC) testified that the                propane, typically with a one-person
                                                 communications devices. Additionally,                   railroad is currently using one-person                crew that is certified as both a
                                                 Patriot Rail recognized the proposed                    operations for short distance intermodal              conductor and a locomotive engineer
                                                 special approval process as an option if                trains, but the NPRM would prohibit                   and a second conductor crewmember in
                                                 an exception to the NPRM could not be                   some trains because of the proposed                   a motor vehicle. G&U testified that, in
                                                 met, but this short line holding                        hazardous materials prohibition.175 FEC               addition to the proposed prohibition on
                                                 company viewed the process as                           stated that it has an extensive list of               trains with hazardous materials, it
                                                 burdensome without clearly enumerated                   deployed safety technology, and it has                would not meet the short line exception
                                                 safety benefits.                                        main track equipped for up to 60-mph                  in the NPRM because it operates over
                                                    The Strasburg Rail Road commented                    trains.                                               heavy grade. G&U also noted its
                                                 that it has tourist and short line freight                                                                    locomotives are not currently required
                                                 operations that frequently permit its two                  The General Manager of the Madison                 to have alerters. Overall, G&U expressed
                                                 crewmembers to leave the locomotive                     Railroad and incoming Vice Chair for                  concern that the NPRM would create
                                                 cab after securing the train, such as                   the Railroads of Indiana group testified              significant capital and operational costs.
                                                 when a one-person crewmember joins a                    that the Madison Railroad is a short line                The Vice President of Operations at
                                                 roadway work group on the ground after                  with five full-time staff and has been                Transtar, LLC, testified that Transtar is
                                                 securing the train.173 This railroad                    operating a one-person train crew since               a holding company operating five Class
                                                                                                         1978 on its 41 miles of track at 10 mph
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                                                 commented that it was concerned that
                                                                                                         in southern Indiana. Five employees are                 176 FRA–2021–0032–13184 (hearing transcript).
                                                 the rule would prohibit that activity
                                                                                                         responsible for train operations and                  The Railroads of Indiana filed a separate comment
                                                 because FRA proposed that the one-                                                                            opposing the NPRM’s lack of regulatory certainty
                                                                                                         track and signal inspection and
                                                                                                                                                               about the likelihood of a special approval petition
                                                   171 FRA–2021–0032–13042.                              maintenance on the Madison                            being approved and raising concerns about costs on
                                                   172 FRA–2021–0032–13019.                                                                                    small railroads. FRA–2021–0032–10228.
                                                    173 FRA–2021–0032–12550 (and a duplicate was           174 FRA–2021–0032–13184 (hearing transcript).         177 FRA–2021–0032–12221.

                                                 filed at FRA–2021–0032–12670).                            175 FRA–2021–0032–13184 (hearing transcript).         178 FRA–2021–0032–13184 (hearing transcript).




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                                                 III short lines and one contract                        data in good faith from the data                      use ASLRRA’s extrapolated numbers in
                                                 switching carrier.179 Transtar                          collected from the responding short line              its primary RIA estimate because of the
                                                 highlighted one of its short lines, the                 and regional railroads, because of the                potential misunderstanding of the
                                                 Texas and Northern Railway (T&N),                       potential terminology misunderstanding                proposed rule’s terminology and the
                                                 which it described as seven miles of                    and the potential for bias in the way                 survey’s analysis did not adequately
                                                 main track serving small customers with                 ASLRRA surveyed its member railroads,                 address the potential for non-response
                                                 a one-person train crew and a conductor                 FRA cannot rely on ASLRRA’s data                      bias.182 Specifically, although it cannot
                                                 in a motor vehicle. Transtar testified                  extrapolations for purposes of the RIA’s              be determined from the survey data
                                                 that the T&N would not qualify for the                  primary analysis; (3) FRA can address                 submitted, it seems plausible that short
                                                 NPRM’s exceptions because it does not                   the short line and regional railroad                  lines that perceived themselves as not
                                                 maintain the train’s real-time progress                 industry’s requests to treat Class II and             having any type of one-person train
                                                 or have a method of determining the                     III freight railroads differently from the            crew operation or need for an exception,
                                                 proximate location if communication is                  Class I freight railroads, a departure                or otherwise not impacted by the
                                                 lost with a one-person crew. Also, the                  from the NPRM, by eliminating the                     proposed requirements in the NPRM,
                                                 T&N does not utilize a dispatcher, its                  special approval process for some one-                might have chosen not to respond to
                                                 locomotives are not equipped with                       person train crew operations when                     ASLRRA’s survey.183 Thus, while FRA’s
                                                 alerters, and its track has heavy grade.                certain safety requirements and
                                                                                                                                                                  182 The ASLRRA’s survey was not based on a
                                                 Transtar also expressed concern that the                notification requirements are met, and
                                                                                                                                                               random sample of short line railroads and did not
                                                 proposed rule would force T&N, which                    thereby provide greater regulatory                    examine why approximately 60 percent of
                                                 it described as a ‘‘low margin railroad,’’              certainty; (4) FRA can address the short              ASLRRA’s short line members did not respond. The
                                                 to increase costs and the railroad’s                    line and regional railroad industry’s                 survey used three statistical concepts to address the
                                                 ‘‘customers would in turn either pass                   concerns regarding the proposed                       missing data problem; however, each analysis was
                                                                                                                                                               problematic:
                                                 the increased costs onto their customers                prohibition on one-person operations                     (1) ASLRRA’s Missing Completely at Random
                                                 . . . or choose to ship [their]                         carrying certain quantities or types of               (MCAR) analysis asserted that a representative
                                                 commodities via truck which is                          hazardous materials; (5) FRA can                      random sample (of the population) was available
                                                 considerably less safe, and less                        address the short line and regional                   from the survey response. However, the entire
                                                                                                                                                               population was surveyed and for unknown reasons
                                                 environmentally friendly than shipping                  railroad industry’s requests to provide               some railroads did not respond. This would
                                                 via rail.’’                                             railroads with more time to comply with               preclude MCAR analysis for the purpose of
                                                                                                         any new minimum requirements to                       extrapolation.
                                                 FRA’s Response                                                                                                   (2) A proper Missing (Conditionally) at Random
                                                                                                         allow for proper planning, operational
                                                    In this final rule, FRA has carefully                                                                      (MAR) analysis requires that the railroads selected
                                                                                                         changes, or hiring and training of                    for the survey be grouped by known factors, such
                                                 considered the track record of safety in                additional crewmembers, another                       as commodity, and that it can be shown that a
                                                 these operations with the need to                       revision to the NPRM; and (6) despite                 specific commodity grouping would have no reason
                                                 establish minimum requirements to                       FRA’s concerns as to the accuracy of                  to respond to the survey. ASLRRA’s MAR analysis
                                                 address fundamental issues of rail safety                                                                     claimed that several variables could be used to
                                                                                                         ASLRRA’s survey results and data                      achieve this grouping such as revenue, geography,
                                                 regarding the operation of one-person                   extrapolations, the RIA does show that,               and miles, but the means to identify the
                                                 train crews and the short line rail                     even when using ASLRRA’s numbers,                     relationship of these groupings and survey response
                                                 industry’s claim that the proposed                      the cost of the final rule will not be                were not provided or cited. For example, the
                                                                                                                                                               geographic regions selected were defined as four
                                                 requirements in the NPRM would have                     substantially higher because of changes               abstract areas lacking specific boundaries. In the
                                                 introduced significant costs on                         made in the final rule from the NPRM                  analysis, miles were described as a factor and it was
                                                 approximately 63 percent of the                         and, therefore, FRA would still proceed               unclear if ‘‘train miles’’ (publicly available data on
                                                 industry through proposed requirements                  with this rule whether or not ASLRRA’s                FRA’s Safety Data website) were used as ‘‘route
                                                                                                                                                               miles,’’ conflating how the factor could be applied.
                                                 for special approvals, risk assessments,                survey and extrapolation numbers were                 Proprietary revenue data was used in the analysis
                                                 the installation of alerters, or the                    validated. FRA agrees with ASLRRA’s                   which prevented FRA from being able to
                                                 adoption of and compliance with new                     comment that it may not be possible to                independently validate the relationship between
                                                 operating rules.180 After reviewing these               retrofit some older models of                         operations and revenue. Under 49 CFR 209.11,
                                                                                                                                                               ASLRRA could have established a means to provide
                                                 comments, including the testimony at                    locomotives, although ASLRRA did not                  FRA the data for analysis, but it did not do so.
                                                 the public hearing that included                        describe this concern as an issue                        (3) A Missing Not at Random (MNAR) analysis is
                                                 approximately five Class II and III                     preventing existing operations from                   the most complex analysis of the three and asserts
                                                 freight railroad representatives and the                continuing but instead commented that                 that the reasoning for the missing data is unknown
                                                                                                                                                               and thus more data is required to analyze. In an
                                                 ASLRRA’s expert on how their survey                     approximately half the locomotive fleet               MNAR analysis, groupings may show a definitive
                                                 was conducted,181 FRA made the                          for those existing operations would                   relationship with response versus non-response;
                                                 following general determinations: (1)                   need to be retrofitted with an alerter.               however, in this survey, there is no definitive
                                                 although ASLRRA made a good faith                       Consequently, the final rule addresses                evidence showing the reason for the non-response.
                                                                                                                                                               To use an MNAR analysis, ASLRRA should have
                                                 effort to collect data from its short line              safety concerns with various one-person               required more data showing a definitive
                                                 and regional railroad members, the                      train crew operations that were raised in             relationship with non-response (e.g., by conducting
                                                 information submitted is insufficient to                the NPRM, while providing flexibility                 a follow-up survey specifically targeted to the non-
                                                 allow an independent validation of the                  for certain one-person crew operations                responding railroads).
                                                                                                                                                                  183 This possible explanation is most relevant to
                                                 survey results and differences between                  by short lines. The following paragraphs              the discussion regarding MNAR analysis in the
                                                 ASLRRA’s and FRA’s estimates may                        describe FRA’s response in more detail.               previous footnote, and this explanation is also
                                                 have resulted from a misunderstanding                      ASLRRA’s survey suggested that                     plausible based on FRA’s understanding of rail
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                                                 of the proposed rule’s terminology; (2)                 because 176 short lines responded that                operations nationwide. Also, ASLRRA’s survey
                                                 in turn, while ASLRRA extrapolated                                                                            expert testified at the public hearing that the
                                                                                                         they deployed a one-person train crew                 association conducted its survey before the expert
                                                   179 FRA–2021–0032–13184 (hearing transcript).
                                                                                                         operation, ASLRRA could use statistical               was brought onboard and how the problem is ‘‘you
                                                                                                         analysis to extrapolate and find that                 worry that the non-responders are in some way
                                                   180 ASLRRA’s comment estimated that 63% of the
                                                                                                                                                               different systematically from the responders [and
                                                 short line railroad population ‘run some kind of 1-     approximately 420 short lines industry-               that m]aybe it’s just a case that . . . those short
                                                 person operation.’ FRA–2021–0032–13033.                 wide were deploying such an operation.                lines that are affected are most likely to respond.’’
                                                   181 FRA–2021–0032–13184 (hearing transcript).         However, as noted above, FRA did not                  FRA–2021–0032–13184 at 36.



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                                                 primary analysis in the RIA uses FRA’s                  a ‘‘one-person train crew’’ was creating                 FRA estimates that there are 75 Class II
                                                 estimates, FRA added a sensitivity                      confusion.                                               and III railroad legacy freight one-
                                                 analysis in the RIA to demonstrate the                     To ensure that FRA and the rail                       person train crew operations, excluding
                                                 cost of the final rule using ASLRRA’s                   industry use the same terminology for                    those one-person train crew operations
                                                 survey numbers. The costs based on                      the purposes of addressing one-person                    that would fall into one of the other
                                                 ASLRRA’s numbers would not dissuade                     train crew requirements, the final rule                  exceptions covered in the final rule by
                                                 FRA from finalizing this crew size safety               includes definitions for the terms ‘‘one-                § 218.125 through § 218.129. This
                                                 requirements rule.                                      person train crew’’ and ‘‘one-person                     estimate was based on the 62
                                                                                                         train crewmember.’’ By defining these                    commenters that described an existing
                                                    Because the estimate of the
                                                                                                         terms, the final rule clarifies that a one-              one-person operation, even counting the
                                                 potentially impacted entities resulting
                                                                                                         person train crew includes: (1) a train                  eight commenters that did not describe
                                                 from ASLRRA’s survey and comment so                     operation with a single assigned railroad                an operation that definitively would fit
                                                 greatly differed from FRA’s estimate of                 employee performing both the                             into the one-person train crew operation
                                                 potentially impacted railroads, FRA                     locomotive engineer’s and conductor’s                    as FRA is defining such an operation for
                                                 sought to understand the reason for this                duties; or (2) when a single assigned                    this final rule. Further, this estimate
                                                 discrepancy, rather than to minimize                    railroad employee is traveling on the                    includes the seven one-person train
                                                 ASLRRA’s survey results, even though                    train when the train is moving, and the                  crew operations identified in the NPRM
                                                 those results could not be                              remainder of the train crew, including                   and the proposed rule’s RIA. FRA’s
                                                 independently validated. For example,                   the conductor if the locomotive engineer                 estimate includes at least 10–20 percent
                                                 in response to ASLRRA’s survey of its                   is not the assigned conductor, is                        more one-person train crew operations
                                                 696 short line members, 176 of the 280                  assigned to intermittently assist the                    than known through FRA identification
                                                 short lines that responded reported that                train’s movements. The latter operation                  and commenters’ self-descriptions.
                                                 they deployed a one-person train crew                   will therefore include what many short                   Although some commenters were
                                                 operation—which stands in sharp                         line commenters described as a one-                      ambiguous in describing their
                                                 contrast to the seven freight railroads                 person operation when they used a                        operations, FRA included those
                                                 FRA identified by name in the NPRM as                   second assigned train crewmember that                    operations in this conservative estimate
                                                 known to operate a one-person train                     intermittently assists the train but                     that may overestimate the actual
                                                 crew operation.184 Meanwhile,                           primarily travels in a motor vehicle                     number of established one-person train
                                                 comments filed in response to the                       instead of traveling on the train when                   crew operations.188
                                                 NPRM by holding companies owning                        the train is moving.185                                     This final rule also addresses the
                                                 multiple short lines and individual                        In the NPRM, FRA described the                        short line rail industry’s request that the
                                                 short line commenters revealed that, of                 agency’s understanding that fewer                        final rule distinguish Class II and III
                                                 approximately 62 short lines that self-                 freight short line and regional railroads                freight railroad operations from those of
                                                 identified as having a one-person train                 are using one-person train crew staffing                 the Class I freight railroads by utilizing
                                                 crew operation: (1) 54 short lines stated               arrangements than in 2016, as FRA                        the alternative regulatory approaches
                                                 that they used a second train                           identified fourteen Class II and III                     discussed in the NPRM’s RIA.189 Thus,
                                                 crewmember in a motor vehicle that                      railroads operating single-person train                  rather than requiring a special approval
                                                 intermittently assists the train—which                  operations in 2016 and only seven of                     petition for each proposed one-person
                                                 FRA identified as a small railroad                      those same freight railroads maintaining                 train crew operation, the final rule
                                                 operation exception in proposed                         such operations in 2022.186 FRA                          allows certain one-person train crew
                                                 § 218.129(c)(1)(ii); (2) two short lines                requested comments on any additional                     operations to continue or be initiated
                                                 stated that their one-person train crew                 such railroads conducting one-person                     without a special approval process.
                                                 operation was a remote control                          train crew operations and the interest of                Instead of the proposed FRA review and
                                                 operation—which FRA identified as a                     such railroads to conduct one-person                     approval requirements associated with a
                                                 small railroad operation exception in                   train crew operations in the future.187                  special approval petition for all legacy
                                                 proposed § 218.129(c)(3); (3) one short                    Based on the comments and the                         train operations staffed with a one-
                                                 line identified that it used a work train               added definitions concerning one-                        person train crew in proposed § 218.131
                                                 with a one-person train crew—which                      person train crews, FRA has revised its                  and for the initiation of all other train
                                                 FRA identified as a specific freight train              estimate of the number of existing                       operations staffed with a one-person
                                                 exception in proposed § 218.129(c)(2);                  railroad operations impacted by each                     train crew in proposed § 218.133, the
                                                 and (4) five short lines did not identify               requirement in the RIA to this final rule.               final rule, in § 218.129, requires written
                                                 the type of one-person train crew                                                                                notification (in addition to certain
                                                                                                            185 As is later explained in greater detail in this
                                                 operations they used or exactly how                                                                              operational requirements) only from
                                                                                                         discussion of comments and conclusions, FRA’s
                                                 they would be impacted by the NPRM’s                    current rail safety requirements distinguish between
                                                                                                                                                                  railroads with established legacy one-
                                                 proposed requirements. In reviewing the                 a train crewmember that is assigned a single train       person train crew freight operations as
                                                 short line and regional railroads’                      and a person that performs work as a utility             well as Class II and III freight railroads
                                                 comments, it appears that these                         employee or other worker that may perform work           seeking to initiate a train operation
                                                                                                         for multiple trains. FRA found ASLRRA’s survey
                                                 commenters were counting all one-                       questions drafted imprecisely with regard to this
                                                                                                                                                                  staffed with a one-person train crew but
                                                 person train crew operations, even if the               issue. For instance, in ASLRRA’s survey, see FRA–        not transporting hazardous materials of
                                                 special approval process did not apply,                 2021–0032–13033, attachment A, question 4 asks a         the types or quantities specified in
                                                 because some of the one-person train                    railroad to check a box if it uses on its main line      § 218.123(c). This written notice
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                                                                                                         operations ‘‘one person in the locomotive cab,
                                                 crew operations FRA proposed for                        supported by a conductor who is supporting
                                                                                                                                                                  replaces the approval process for these
                                                 exception could not be used without                     multiple trains simultaneously,’’ when FRA               operations and provides greater
                                                 also complying with additional                          requires a conductor to be in charge of the crew and
                                                 requirements. Thus, FRA determined                      therefore a conductor cannot be in charge of more           188 In response to ASLRRA’s survey of its 696
                                                                                                         than one train simultaneously. See 49 CFR 242.7          short line members, 176 of the 280 short lines that
                                                 that the NPRM’s lack of a definition for                (defining ‘‘conductor’’).                                responded claimed that they deployed a one-person
                                                                                                            186 87 FR 45578.                                      train crew operation.
                                                   184 87 FR 45578–79, FN 155.                              187 87 FR 45579.                                         189 FRA–2021–0032–0368.




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                                                 regulatory certainty while providing                    required to conduct a risk assessment                 proposed track grade and train length
                                                 more flexibility to short lines as                      and obtain special approval for the                   limitations for the small railroad
                                                 compared to the NPRM’s proposed                         operation under § 218.131. The                        operations exception have not been
                                                 requirement of a petition filing and                    revisions from the proposed rule’s                    adopted in the final rule. Moreover, in
                                                 special approval process. The                           approach regarding the transportation of              response to short line comments and
                                                 notification requirements in the final                  hazardous materials reflects FRA’s                    after reviewing existing safety
                                                 rule will still provide FRA with                        consideration of ASLRRA’s comment                     regulations, FRA has decided not to
                                                 significant information regarding the                   that the common carrier legal obligation              apply this final rule to a train operation
                                                 locations and extent of, and hazards                    prohibits a railroad from refusing                    controlled by a remote control operator
                                                 posed by, these one-person train crew                   service to a customer that provides a                 because it has existing safety
                                                 operations.                                             properly packaged hazardous material.                 requirements for these operations and
                                                    FRA’s decision to permit Class II and                The RIA acknowledges the potential                    because there are other reasons
                                                 III legacy one-person train crew freight                costs of compliance with the final rule’s             mentioned later in this discussion of
                                                 operations, including those transporting                requirements for a one-person train                   comments and conclusions.
                                                 hazardous materials, to continue                        crew. Considering the known safety and                   Similarly, the final rule responds to
                                                 without a risk assessment or special                    security risks associated with operating              certain short line commenters’ concerns
                                                 approval was based on the final rule’s                  trains transporting large amounts of                  over a proposed requirement that
                                                 imposition of minimum requirements                      hazardous materials, previously                       certain one-person freight train
                                                 on these legacy operations. For instance,               determined by FRA, the Transportation                 operation exceptions in proposed
                                                 the implementation schedule phasing in                  Security Administration (TSA), and the                § 218.129(c) must have an operating rule
                                                 operating rules to protect the one-person               Pipeline and Hazardous Materials Safety               or practice requiring that the
                                                 train crewmember and to safeguard the                   Administration (PHMSA) to present the                 crewmember remain in the locomotive
                                                 public after an incident should ensure                  greatest safety and security risks, FRA               cab during normal operations and leave
                                                 that railroads are prepared to take the                 finds that the final rule’s requirements              the locomotive cab only in case of an
                                                 appropriate mitigation measures to                      are justified to ensure the safety of                 emergency affecting railroad
                                                 protect employees and the public.                       trains. FRA is willing to work with the               operations.191 The proposed
                                                 Similarly, the final rule’s requirement                 short line industry in developing a                   requirement applied to the exceptions
                                                 for an alerter on any controlling                       model risk assessment that could                      identified as small railroad operations,
                                                 locomotive operated by a one-person                     potentially reduce the paperwork                      work train operations, and remote
                                                 train crew and an operating rule that                   burden on short lines and accelerate the              control operations. The Strasburg Rail
                                                 requires testing the alerter to confirm it              petition process. FRA also supports                   Road explained that this proposed
                                                 is functioning before departure will                    ASLRRA and its members creating a                     requirement would have precluded its
                                                 provide an alternative that makes that                  template or model risk assessment to                  current work train arrangement whereby
                                                 aspect of the operation as safe or safer                reduce the burden on individual Class                 the one-person crewmember is
                                                 than a two-person minimum train crew                    II and III railroads. FRA has considered              permitted to join a work group on the
                                                 operation where a second crewmember                     this in estimates used in the final rule’s            ground after securing the movement.
                                                 would be expected to make an                            RIA.                                                  Upon further consideration, the
                                                 emergency brake application if the                         The final rule also addresses the short            requirement FRA proposed in the
                                                 locomotive engineer became                              line industry’s comments that the                     NPRM has not been included in the
                                                 incapacitated. Although not required in                 proposed exceptions in the NPRM were                  final rule, as FRA finds its current
                                                 this final rule, FRA encourages railroads               too stringent in that they included                   securement requirements are sufficient
                                                 with legacy operations to examine any                   limitations on speed, grade, or train                 to safeguard unattended trains.192
                                                 safety hazards that could be further                    length, by largely eliminating those                     Additionally, in § 218.129 of the final
                                                 mitigated to reduce risks with one-                     proposed limitations within the                       rule, FRA has addressed the comments
                                                 person train crew operations or any of                  exceptions and providing other criteria               requesting that each railroad be
                                                 their operations generally, such as track               to govern those operations. For instance,             provided more time to comply with any
                                                 maintenance near waterways and                          in proposed § 218.129(c)(1), the                      new requirements or, as necessary, hire
                                                 densely populated areas or the railroad’s               exceptions identified specifically for                or train a second crewmember for a one-
                                                 operating rule requirements for a second                ‘‘small railroad operations’’ were                    person train crew operation by
                                                 crewmember who assists intermittently                   limited to a freight train operated on a              providing an implementation schedule
                                                 to ensure that this crewmember is                       railroad that would not exceed 25 mph                 that phases in the final rule’s
                                                 contributing to the safety of the train’s               and by an employee of a railroad with                 requirements for certain specified one-
                                                 movement to the greatest extent                         fewer than 400,000 total employee work                person train crew operations. That
                                                 possible. FRA will closely monitor this                 hours annually. In the final rule, FRA                phased-in implementation schedule will
                                                 legacy exception and will scrutinize                    did not include the proposed speed                    apply to: (1) each Class II or III railroad
                                                 data or observations showing that the                   restriction for such a small railroad                 with a legacy one-person freight train
                                                 legacy operations may not be as safe as                 operation, thereby allowing the train to              operation; (2) each railroad seeking to
                                                 currently described.                                    be operated at the maximum allowable                  continue or initiate use of a work train
                                                    FRA also removed the NPRM’s                          track speed and not creating a                        operation staffed with a one-person
                                                 proposed prohibition on one-person                      disincentive to maintaining track to the              train crew; (3) each railroad seeking to
                                                 train crew operations transporting                      highest standard a railroad chooses to                continue or initiate use of a helper
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                                                 certain types or quantities of hazardous                sustain. The small railroad operations                service train operation staffed with a
                                                 materials with respect to initiating new
                                                                                                         exception was also expanded in the
                                                 or existing, but non-legacy, operations.                                                                      Holdings, Genessee and Wyoming, Iowa Pacific
                                                                                                         final rule to include all Class II and III            Holdings, OmniTRAX, Pioneer Railcorp,
                                                 All railroads, including Class II and III
                                                                                                         freight railroads.190 In addition, the                Progressive Rail Inc., R.J. Corman Railroad Group,
                                                 railroads, seeking to initiate such an                                                                        Patriot Rail, and Watco.
                                                 operation transporting hazardous                          190 There are nine holding companies that own         191 87 FR 45617 (citing proposed paragraph (b)(1)
                                                 materials of the types or quantities                    approximately 250 Class II and Class III railroads.   of § 218.129).
                                                 specified in § 218.123(c) will be                       Those holding companies are: Anacostia Rail             192 49 CFR 232.103(n).




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                                                 one-person train crew; and (4) each                     final rule’s requirements regarding                       regarding the railroad’s expeditor pilot
                                                 railroad seeking to continue or initiate                alerters in the controlling locomotive,                   program and future plans, which
                                                 use of a lite locomotive train operation                safeguards to protect the one-person                      included showing a video
                                                 staffed with a one-person train crew,                   train crewmember, and procedures for                      demonstrating the job of an
                                                 excluding a multiple unit (MU)                          minimizing the impact of situations that                  expeditor.196 UP’s written comment also
                                                 locomotive passenger operation where                    could endanger employees, the public,                     described its expeditor plan and stated
                                                 the car carrying the passengers is also                 or environment reduce the risk of                         that FRA’s NPRM would disrupt the
                                                 functioning as the locomotive.                          foreseeable hazards associated with one-                  implementation of that plan.197 UP
                                                    The implementation schedule                          person train crew operations.                             described its expeditor plan as using
                                                 provides enough time for railroads to                                                                             one-person train crews with PTC and
                                                 comply with the final rule’s new                        4. Class I Freight Railroads
                                                                                                                                                                   ground-based conductors replacing
                                                 requirements, and FRA encourages each                      FRA received numerous comments                         train-based conductors. In a written
                                                 railroad with a one-person train crew                   opposing the NPRM from the Class I                        statement, UP described how its PTC
                                                 operation to act more quickly than                      freight railroads and groups associated                   system includes a parking brake feature
                                                 required by the schedule when possible.                 with those railroads. The following is a
                                                                                                                                                                   that can set the train brakes for routine
                                                 For instance, FRA expects that each                     summary of, and response to, those
                                                                                                                                                                   work on the ground near the train and
                                                 railroad should be able to adopt any                    comments.
                                                                                                                                                                   can set a full-service brake application
                                                 necessary operating rules within a short
                                                                                                         a. Alternative Crewmember                                 if movement is detected—a feature that
                                                 period of time, potentially within a few
                                                                                                         Arrangements Including Expeditors,                        is not mandated by FRA. UP envisioned
                                                 weeks at most, even though the final
                                                                                                         Ground-Based Crewmembers, or                              expeditors to run on a subdivision basis,
                                                 rule’s implementation schedule for
                                                                                                         Ground-Based Conductors                                   not a train-by-train basis, and for
                                                 excepted operations will provide up to
                                                 90 days from the effective date of the                    Numerous commenters offered that                        expeditors to be used for all
                                                 final rule. It is possible that ASLRRA or               the NPRM would be disruptive to their                     commodities including all types and
                                                 other groups will draft model operating                 current operations or plans to use one-                   quantities of hazardous materials. UP
                                                 rules that address the operating rule                   person train crews in combination with                    stated that it expects some subdivisions
                                                 requirements in the final rule, and these               other rail employees that, as described,                  or territories will require more than a
                                                 model operating rules could be adopted                  might not be a part of a train crew as                    single expeditor to handle the train
                                                 secondarily to replace any quickly                      FRA defines that term in its current                      density. The rationale UP gave for
                                                 adopted rules that are used in the short                regulation,195 or would not meet FRA’s                    initiating its expeditor plan was that a
                                                 term. Meanwhile, it can be expected                     proposed requirements under the                           conductor’s job primarily consists of
                                                 that some railroads will quickly install                NPRM. In general, these commenters                        preparing a train for departure and
                                                 any required alerters while others delay                described train operations using a rail                   occasionally addressing minor
                                                 installation for various reasons; FRA                   worker, traveling in a motor vehicle,                     mechanical issues that occur en route,
                                                 urges each railroad not to delay alerter                that intermittently assists the train at                  and that an expeditor’s role can be
                                                 installation.193                                        key intervals such as to flag a highway-                  designed to accomplish traditional
                                                    For these reasons, the final rule                    rail grade crossing, throw a hand-                        conductor tasks in less time. Phase one
                                                 largely provides the clarity and                        operated switch, or be available in case                  of UP’s expeditor plan is for
                                                 streamlined approach that ASLRRA and                    of emergencies or to diagnose and repair                  implementation on territory that has a
                                                 Class II and III freight railroads                      a mechanical problem if the train                         double mainline track with a state
                                                 requested while establishing minimum                    becomes disabled.                                         highway running along side it, albeit
                                                 requirements for the safety of one-                       During the public hearing, UP’s Vice                    with a traditional conductor also on the
                                                 person train crew operations. At the                    President of Crew Management Services                     train. UP described three additional
                                                 same time, the final rule increases safety              and Interline Operations testified                        phases, each adding layers of new
                                                 for operations proposed as one-person                                                                             complexities. UP commented that it
                                                 train crews because an alerter or a                     accident analysis was focused on the                      believes a person working in an
                                                 second crewmember to stop the train in                  ‘‘crewmembers’’ without considering the possibility
                                                                                                         that railroads would be operating one-person trains.      expeditor role is safer than a train-based
                                                 an emergency is a necessary precaution                  77 FR 21320–21. Similarly, FRA’s rationale for            conductor because the employee will
                                                 to prevent the potential for catastrophic               permitting operational flexibility by tailoring the       not have to climb out of the locomotive
                                                 harm due to an uncontrolled train                       alerter standard to a minimum operational speed           cab and walk long distances aside the
                                                 movement; in reaching this conclusion,                  did not address the possibility that railroads would
                                                                                                         be operating one-person trains. 77 FR 21329–30.           train in potentially challenging
                                                 FRA reviewed its statements from 2012                   NTSB’s rationale for an alerter standard included an      environments to repair a mechanical
                                                 in a locomotive safety standards                        analysis of a head-on train collision on July 10,         problem. UP stated that if FRA insisted
                                                 rulemaking cited by ASLRRA and                          2005, in which ‘‘the NTSB determined that an
                                                                                                                                                                   on excluding one-person crews from
                                                 determined that the agency is not                       alerter likely would have detected the lack of
                                                                                                         activity by the engineer and sounded an alarm that        operating trains carrying hazardous
                                                 issuing conflicting statements.194 The                  could have alerted one or both crewmembers [and           materials, UP would end its expeditor
                                                                                                         h]ad the crew been incapacitated or not responded         pilot program because the program is
                                                   193 Not only does FRA require most locomotives        to the alarm, the alerter would have automatically
                                                 to have a working alerter installed, FRA’s current      applied the brakes and brought the train to a stop        dependent on treating all trains passing
                                                 rail safety regulation in the same part as this final   . . . [potentially] prevent[ing] the collision.’’ 77 FR   through a particular area in the same
                                                 rule contains a strict prohibition against tampering    21320–21. In FRA’s view, because the agency               way.
                                                 with such devices that are installed to improve the     understood the operational status quo at that time
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                                                 safety of the operation of train movements. 49 CFR      was a minimum of two train crewmembers, its                  During the public hearing, the Vice
                                                 part 218, subpart D.                                    decision in 2012 to provide some operational              President of Advanced Train Control for
                                                   194 ASLRRA’s comment, FRA–2021–0032–1193 at           flexibility to ‘‘freight railroads [that] only operate    NS testified regarding the railroad’s plan
                                                 29–30, citing 77 FR 21312, did not explain that: (1)    over small territories’’ and move at lower speeds
                                                 FRA’s statements regarding the need to establish a      included the unwritten expectation that a second
                                                                                                                                                                     196 FRA–2021–0032–13184 (hearing transcript);
                                                 minimum alerter requirement were based on               crewmember would be available to apply the
                                                 multiple NTSB recommendations to do so; (2) that        emergency brake if the locomotive engineer was            https://www.youtube.com/watch?v=6hr15dtWwGU
                                                 NTSB’s recommendations were based on accidents          fatigued or incapacitated. 77 FR 21329–30.                (video).
                                                 that occurred at varying speeds; or (3) that NTSB’s        195 49 CFR 218.5 (defining train or yard crew).          197 FRA–2021–0032–13012.




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                                                 to deploy ground-based conductors.198                   prefer an option like one FRA proposed                 are various terms being used by
                                                 NS’s written comment also described its                 in the 2016 NPRM that allowed for a                    different railroads to describe their
                                                 plan and stated that the NPRM failed to                 railroad with PTC-enabled lines to                     ground-based employees. Although use
                                                 consider how the rail industry can use                  notify FRA of the operation and permit                 of different terms may present some
                                                 operational innovations or deploy                       FRA subsequent review to evaluate                      confusion or concern, FRA recognizes
                                                 readily available technology to address                 whether the railroad was providing                     that these types of employees may be
                                                 any safety concerns associated with the                 appropriate safety.202                                 important parts of a one-person train
                                                 operation of a train with fewer than two                   BNSF also commented against the                     crew operation under the special
                                                 crewmembers.199 NS also stated it met                   rule for the reasons described by AAR                  approval petition requirements of this
                                                 with DOT officials about its plan to                    and commented that the NPRM would                      final rule.
                                                 deploy ground-based conductors.200                      unnecessarily impede BNSF’s ongoing                       The comments regarding alternative
                                                    NS commented that PTC is installed                   efforts, through collective bargaining, to             crewmember arrangements introduced
                                                 on 58,000 miles of track in the United                  implement one-person crew operations                   various terms to describe rail employees
                                                 States, and it believes PTC has                         that also deploy ground-based                          such as expeditor, ground-based
                                                 supplanted the role of a conductor. NS                  conductors.203 BNSF commented that it                  crewmember, and ground-based
                                                 views PTC as handling all the tasks of                  was focused on making work schedules                   conductor, which FRA does not use in
                                                 a traditional conductor including: (1)                  more predictable for conductors.                       its regulations, but the concepts of
                                                 advising the locomotive engineer                                                                               which are incorporated within current
                                                 regarding certain notifications and                     FRA’s Response                                         terminology and requirements
                                                 actions; (2) communicating with certain                    FRA does not agree with CN’s concern                regulating railroad operating practices
                                                 individuals outside the locomotive cab;                 that the NPRM would stifle different                   such as ‘‘utility employee,’’ 205 ‘‘train or
                                                 and (3) completing certain forms and                    approaches to crew staffing or use of                  yard crew,’’ 206 and ‘‘worker.’’ 207 FRA’s
                                                 maintaining records. NS stated that new                 ground-based assistance, as the NPRM                   current regulations specify requirements
                                                 or revised mandatory directives are                     proposed a special approval process                    for the safe protection of temporary
                                                 conveyed through the PTC system. NS                     designed to consider the safety                        crewmember and non-crewmember
                                                 also stated that the PTC system uses                    implications of alternative approaches.                railroad employees engaged in the
                                                 locational and mandatory directive data                 For instance, if CN or any other railroad              inspection, testing, repair, and servicing
                                                 to prompt the engineer to obtain                        seeks to initiate a one-person train crew              of rolling equipment as is expected of
                                                 permission from the designated                          operation that was not otherwise                       utility employees and workers.208 For
                                                 roadway worker in charge before                         excepted, the use of one or more                       instance, a ground-based employee, who
                                                 reaching a work zone, and then the PTC                  ground-based employees to assist the                   is not part of the train crew, may need
                                                 system requires the engineer to                         train could be considered a way to                     help from a conductor or second
                                                 acknowledge that the train has acquired                 mitigate the risks in a risk assessment                crewmember to communicate with the
                                                 the permission, presumably by radio                     filed under the special approval petition              locomotive engineer so that mechanical
                                                 communication, before allowing the                      process. CN and other railroads could,                 repairs may be made safely, in
                                                 train to proceed into the work zone. NS                 for example, look to one of AAR’s                      accordance with current Federal rail
                                                 commented how a ground-based                            exhibits evaluating some risks involved                safety requirements. Meanwhile, neither
                                                 conductor or other technologies could                   with one-person train crew operations                  a utility employee nor worker, as
                                                 perform the tasks that PTC systems do                   under four basic sets of accident                      defined in FRA’s existing requirements,
                                                 not completely perform. In a written                    scenarios as a reference in creating a
                                                 statement, NS also commented that the                   risk analysis.204 The combination of                      205 49 CFR 218.5 (defining ‘‘utility employee’’ as

                                                 railroad can plan to have a second                      ground-based employees, PTC, and                       a railroad employee assigned to and functioning as
                                                 crewmember on a train when it leaves                                                                           a temporary member of a train or yard crew whose
                                                                                                         other mitigating actions taken in                      primary function is to assist the train or yard crew
                                                 PTC territory where appropriate or                      conjunction with the special approval                  in the assembly, disassembly or classification of rail
                                                 when the PTC system fails en route.                     petition and risk assessment, where                    cars, or operation of trains subject to the conditions
                                                 Further, NS explained how the PTC                       required under this final rule, could                  set forth in 49 CFR 218.22).
                                                                                                                                                                   206 49 CFR 218.5 (defining ‘‘train or yard crew’’
                                                 system was designed utilizing human                     support a showing that a one-person                    as one or more railroad employees assigned a
                                                 factor engineering principles to convey                 train crew operation, with the risk                    controlling locomotive, under the charge and
                                                 critical information clearly and                        mitigations in place, is as safe or safer              control of one crew member; called to perform
                                                 consistently, thereby aggregating train                 than a two-person train crew operation.                service covered by Section 2 of the Hours of Service
                                                 and route information in a way that                                                                            Act; involved with the train or yard movement of
                                                                                                         As explained below, FRA notes there                    railroad rolling equipment they are to work with as
                                                 reduces cognitive workload while                                                                               an operating crew; reporting and working together
                                                 operating the train.                                       202 81 FR 13918, 13966 (Mar. 15, 2016) (citing      as a unit that remains in close contact if more than
                                                    CN commented against the rule for                    option 2, proposed § 218.135).                         one employee; and subject to the railroad operating
                                                 the reasons described by the Association                   203 FRA–2021–0032–12996.                            rules and program of operational tests and
                                                                                                            204 FRA–2021–0032–13056, AAR’s Exhibit 6, a         inspections required in §§ 217.9 and 217.11 of this
                                                 of American Railroads (AAR) but also                                                                           chapter.
                                                                                                         report prepared by Oliver Wyman titled
                                                 requested that any final rule include                   ‘‘Evaluation of Single Crew Risks’’ (Jan. 26, 2015)       207 49 CFR 218.5 (defining ‘‘worker’’ as any
                                                 revisions that permit ground-based                      (conducting a comparative risk analysis for select     railroad employee assigned to inspect, test, repair,
                                                 crewmembers.201 CN commented that                       accident causes under present day mainline             or service railroad rolling equipment, or their
                                                 the NPRM’s proposed requirements                        operations with traditional two-person crews versus    components, including brake systems. Members of
                                                                                                         future mainline operations on Class I railroad lines   train and yard crews are excluded except when
                                                 would stifle different approaches to                    when an FRA-compliant PTC system is fully              assigned such work on railroad rolling equipment
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                                                 crew staffing and would permanently                     implemented). This report contained the disclaimer     that is not part of the train or yard movement they
                                                 remove any possibility of ground-based                  that ‘‘it does not consider all causes of accidents    have been called to operate (or been assigned to as
                                                 assistance. CN commented that it would                  and is not a full comparison of accident frequencies   ‘‘utility employees’’). Utility employees assigned to
                                                                                                         with and without PTC.’’ Certainly, a risk assessment   and functioning as temporary members of a specific
                                                                                                         would go further than this report to consider          train or yard crew (subject to the conditions set
                                                   198 FRA–2021–0032–13184 (hearing transcript).
                                                                                                         incidents not preventable by a PTC system—such         forth in § 218.22 of this chapter), are excluded only
                                                   199 FRA–2021–0032–13045.
                                                                                                         as those accidents that a PTC system is not designed   when so assigned and functioning).
                                                   200 FRA–2021–0032–13181.                                                                                        208 49 CFR part 218, subpart B—Blue Signal
                                                                                                         to prevent when a train is operated at restricted
                                                   201 FRA–2021–0032–13144.                              speed.                                                 Protection of Workers.



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                                                 would ride with the train, call out and                 how a railroad would offset the                        railroads hold conductors accountable
                                                 verify signal indications, communicate                  significant safety backup and assistance               for safe train operations is that
                                                 by radio on behalf of the train crew,                   role that conductors currently provide.                conductors are often completing safety
                                                 identify safety dangers along the right-                   For instance, UP’s description of the               tasks independently of a locomotive
                                                 of-way as the train progresses, remind                  conductor’s job neglected to address the               engineer, such as throwing hand-
                                                 the locomotive engineer of speed or                     railroad’s operating rules and practices               operated switches or directing shoving
                                                 other operating restrictions, provide                   that hold a conductor accountable,                     movements, or acting as an important
                                                 guidance in an emergency or difficult                   along with the locomotive engineer, for                backstop to the locomotive engineer
                                                 operating environment based on                          the safe operation of the train and                    when calling out signal indications,
                                                 experience, or monitor the locomotive                   observance of the railroad’s rules.210                 reviewing operating instructions, or
                                                 engineer’s alertness. Although a ground-                There are also numerous railroad rules                 obtaining track authorities or
                                                 based conductor that is part of the train               that impose crewmember requirements                    permissions. FRA is concerned that,
                                                 crew or some technologies (or a                         such as the duty to communicate to                     without the type of Federal oversight
                                                 combination of the two) might be able                   each other the name of signals affecting               required by this final rule, the
                                                 to assist with some of these functions,                 their train as soon as the signals become              commenting Class I railroads that have
                                                 the descriptions of the Class I freight                 visible or audible.211 Similarly, there are            overstated the role of PTC or diminished
                                                 railroads’ ground-based employee pilot                  numerous railroad rules that impose                    the traditional role of a conductor will
                                                 programs indicate that the intent is to                 requirements on a conductor because                    unreasonably rely on those same
                                                 utilize rail personnel more efficiently by              the conductor is singled out for                       incorrect assumptions in making safety
                                                 allowing the ground-based employee to                   supervising the train operation, advising              determinations when transitioning to a
                                                 service more than one train in a defined                the engineer and train dispatcher of any               one-person train crew.215
                                                 geographic area. Although the ground-                   restriction placed on equipment being                     It is also concerning that UP and other
                                                 based employee arrangement may be an                    handled, and reminding the engineer                    rail industry commenters largely
                                                 efficient use of operations personnel,                  when the train is approaching certain                  asserted their safety case for ground-
                                                 that arrangement alone does not offer an                area restrictions.212 Similarly, UP and                based employees by limiting their focus
                                                 identical safety substitute for a                       many other railroads have established                  to circumstances when conductors are
                                                 traditional, second crewmember that                     ‘‘cab red zone’’ rules that require both               needed to fix mechanical problems and,
                                                 travels on the train to each destination.               crewmembers to minimize distractions                   in doing so, neglect the conductor’s
                                                    The use of terminology, not based in                 during critical operating circumstances                currently broad safety role. Although
                                                 FRA’ regulations, can obscure or                        in an effort to enhance safety, but                    FRA shares the rail industry’s concern
                                                 minimize current safety requirements,                   railroad commenters never raised                       that a train crewmember could get hurt
                                                 and suggests that a railroad employee                   alternative safety measures they would                 in a slip, trip, or fall coming on or off
                                                 performing a non-crewmember role may                    voluntarily adopt that offer a safety                  on-track equipment or walking along the
                                                 be treated the same as a crewmember. A                  equivalent.213                                         right-of-way, the industry’s safety
                                                 railroad is obligated to comply with                       Because conductors are accountable                  argument related to ground-based
                                                 FRA’s current minimum safety                            for safe train operations, a person                    employees assisting the train seems
                                                 requirements that protect these railroad                holding a conductor certification can                  largely limited to that one concern. UP
                                                 employees from personal injury posed                    have that certification revoked.214 Of                 also commented that expeditors ‘‘will be
                                                 by any movement of such equipment                       course, the reason that UP and other                   less likely to suffer the effects of fatigue
                                                 regardless of the terminology used by
                                                                                                                                                                [because i]nstead of riding long miles on
                                                 the railroad. For instance, regardless of                  210 UP’s General Code of Operating Rules (GCOR)

                                                                                                         describes the duties of crew members in rule 1.47      a train, the expeditor will be able to set
                                                 whether a railroad refers to a ground-
                                                                                                         as generally ‘‘responsible for the safety and          out fresh from a home terminal every
                                                 based person assigned to assist more                    protection of their train and observance of rules’’    day’’ 216 but did not address the issue of
                                                 than one train as an expeditor, ground-                 and includes a list and description of specific        the locomotive engineer’s fatigue by
                                                 based crewmember, or ground-based                       conductor responsibilities.
                                                                                                                                                                stating that UP would limit the one-
                                                 conductor, that person is not part of the                  211 UP’s GCOR 1.47, C. All Crew Members’

                                                                                                         Responsibilities, 1. Crew Members in Control           person train crewmember to regular
                                                 train crew under FRA’s definition of
                                                                                                         Compartment.                                           shifts as well. Many individual and
                                                 ‘‘train or yard crew’’ and must be                         212 UP’s GCOR 1.47, A. Conductor
                                                                                                                                                                labor organization comments stated how
                                                 provided with the Federally mandated                    Responsibilities.                                      a second crewmember can help offset a
                                                 safeguards when assisting a train.                         213 UP’s GCOR 1.47.1: Cab Red Zone. For

                                                    Although UP has not yet initiated its                example, UP requires a cab red zone when
                                                                                                                                                                locomotive engineer’s fatigue, but UP
                                                 expeditor plan, this Class I freight                    operating at restricted speed and not switching, a     and other Class I railroad commenters
                                                 railroad made several comments
                                                                                                         situation where PTC, as designed, would not always     did not address this safety concern.
                                                                                                         stop a train as required by a restricted speed rule.      NS and other Class I freight railroad
                                                 justifying its plan to test the viability of            In the cab red zone, UP requires that a crewmember
                                                 one-person operations that are                          handling radio communications must not be the
                                                                                                                                                                industry commenters stated that their
                                                 problematic, confirming a need for an                   locomotive engineer operating the controls.            plans to deploy ground-based
                                                 FRA approval process. For instance,                        Although a railroad may amend a railroad            employees and reduce crew size to one
                                                 UP’s rationale for initiating its expeditor
                                                                                                         operating rule or practice without FRA’s permission    person would substantially rely on PTC
                                                                                                         if the railroad’s requirement is not a Federal         systems. However, PTC systems were
                                                 plan oversimplified the conductor’s                     requirement, each railroad adopts these self-
                                                 roles and responsibilities. UP described                imposed requirements to ensure that it implements      designed as overlay systems (i.e., ‘‘all of
                                                                                                         safe operating practices and presumably would not
                                                 a conductor’s job as ‘‘primarily                        intentionally introduce unsafe practices—which           215 Overall, FRA found AAR’s Exhibit 1, a report
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                                                 consist[ing] of preparing a train for                   FRA could address through enforcement of existing      prepared by Oliver Wyman titled ‘‘Assessment of
                                                 departure and occasionally addressing                   requirements (such as those in 49 CFR part 217         Conductor and Engineer In-Cab Work Activities’’
                                                 minor mechanical issues that occur en                   regarding FRA review of a railroad’s operating         (May 15, 2021), FRA–2021–0032–13056,
                                                                                                         rules); by establishing new requirements; or by        informative, but FRA did not find it persuasive
                                                 route.’’ 209 UP’s limited description of                making recommendations in guidance.                    because of its failures by omission or making of
                                                 the conductor’s job failed to address                      214 For instance, during the years 2021 and 2022,   assumptions that FRA did not agree with similar to
                                                                                                         UP reported to FRA that it revoked certification for   those described in FRA’s response to UP’s
                                                   209 FRA–2021–0032–13012 (comment filed by             approximately 252 conductors for violations of         comment.
                                                 UP).                                                    operating rules and practices.                           216 FRA–2021–0032–13184 at 79–80.




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                                                 the safety features of the underlying                   conductor under these circumstances                       Although Class I freight railroad
                                                 operation to which PTC is added will be                 would mean that the Class I freight                    commenters pointed to the success of
                                                 kept’’) 217 to include the conductor.                   railroad industry commenters intend for                the Class II Indiana Rail Road Company
                                                 Indeed, FRA fully addressed this issue                  the PTC systems to act as the sole                     (INRD) as their model for rolling out a
                                                 when requiring the onboard PTC                          backup for any operating mistakes                      one-person train operation, those
                                                 apparatus to be arranged so each                        committed by the locomotive engineer.                  railroad commenters did not explain or
                                                 member of the crew assigned to perform                  Even when a PTC system works as                        demonstrate to FRA that they took, or
                                                 duties in the locomotive can receive the                intended, human error could occur if                   planned to take, any of the steps INRD
                                                 same PTC information displayed in the                   mandatory directive information is                     took when it first implemented its one-
                                                 same manner and execute any functions                   input incorrectly. In effect, a second                 person train crew operations nor did
                                                 necessary to that crewmember’s                          crew member serves as a backup to                      they explain how their operations are
                                                 duties.218 In the section-by-section                    validate the electronically transmitted                comparable to a regional railroad that
                                                 analysis of a final rule on PTC systems,                mandatory directives are accurate.                     largely serves local industries and
                                                 FRA stated that ‘‘[f]or the conductor and                  As FRA noted in response to other                   provides connections between small
                                                 engineer to fulfill the expectations of                 comments, railroads continue to                        railroads and major Class I railroads and
                                                 Congress, it is necessary for both                      experience unplanned outages and                       that is operating on approximately 500
                                                 crewmembers to have sufficient                          planned outages of their PTC systems,                  miles of track in two States.223 For
                                                 information to perform their duties,’’                  in addition to various initialization                  example, the Class I freight railroads’
                                                 and FRA described how ‘‘safety would                    failures, cut outs, and malfunctions. For              comments did not address whether: the
                                                 be materially diminished if the                         example, in March 2023, BNSF and                       communication requirements were
                                                 conductor in freight operations were                    Amtrak experienced unplanned outages                   reviewed and adapted for the one-
                                                 denied access to the same information                                                                          person operation; or mitigation
                                                                                                         of their PTC systems, and NS
                                                 in the same format as the engineer.’’ 219                                                                      measures would be required to protect
                                                                                                         experienced an unplanned outage of its
                                                 Also during that PTC rulemaking, FRA                                                                           the one-person train crew, the public, or
                                                                                                         PTC system in August 2023, impacting
                                                 rejected AAR’s comment that                                                                                    the environment, especially when a
                                                                                                         operations of both the host railroad and
                                                 questioned the need for a conductor to                                                                         ground-based assistant would be unable
                                                                                                         its tenant railroads. Also, during 2023,
                                                 have a PTC display and explained that                                                                          to easily reach the train. Similarly,
                                                                                                         several Class I railroads, commuter
                                                 ‘‘PTC is currently an imperfect                                                                                without a special approval process, a
                                                                                                         railroads, and Amtrak temporarily
                                                 technology fed by databases that can be                                                                        Class I freight railroad, with a more
                                                                                                         disabled their PTC systems to facilitate
                                                 corrupted’’ when the agency determined                                                                         complex operation than a Class II or III
                                                                                                         planned infrastructure upgrades or
                                                 that the conductor or second                                                                                   freight railroad because it employs
                                                 crewmember must have the same PTC                       capital projects. Even three years after
                                                                                                         the December 31, 2023, statutory                       thousands of people in train operations
                                                 information displayed as the locomotive                                                                        and prioritizes long-haul transportation,
                                                 engineer.220 For instance, during one of                deadline for full implementation of PTC
                                                                                                         systems, the railroad industry is                      would not be required to demonstrate
                                                 the PTC systems rulemakings, FRA                                                                               that it considered all the hazards and
                                                 responded to an AAR comment for a                       continuing its efforts to improve the
                                                                                                         reliability and performance of PTC                     mitigated the risks for a one-person train
                                                 study showing that safety is jeopardized                                                                       crew operation before initiating
                                                 by assigning the engineer PTC-related                   technology due, for example, to failures
                                                                                                         (including initialization failures, cut                implementation, which FRA finds
                                                 duties by stating that ‘‘FRA has directly                                                                      concerning given the ground-based
                                                 observed engineers exceeding                            outs, and malfunctions, as defined in
                                                                                                         FRA’s PTC regulations at 49 CFR                        employee plans described in comments
                                                 authorities while attempting to respond                                                                        do not include some hazards or show
                                                 to PTC system requirements . . . and                    236.1003) and temporary planned and
                                                                                                         unplanned outages.                                     plans for mitigating risks that FRA
                                                 [how they were] plainly distracted from                                                                        identified in the NPRM. Thus, the
                                                 safety-critical duties.’’ 221                              Moreover, the safety issues regarding               INRD’s Class II one-person train crew
                                                    Thus, in response to this train crew                 the implementation of one-person train                 operation is not comparable to a
                                                 size safety requirements rulemaking,                    crew operations go beyond what the                     potential Class I railroad operation
                                                 AAR and other freight rail industry                     PTC system can do and include what                     unless a Class I railroad takes
                                                 commenters are rehashing arguments                      additional duties will be shifted from a               substantial steps to make them
                                                 FRA rejected in prior rulemakings, such                 conductor to a one-person crew that                    comparable.
                                                 as the argument that a locomotive                       have the potential to reduce the
                                                 engineer alone can acknowledge                          locomotive engineer’s situational                      b. Train Operations in Other Countries
                                                 electronically transmitted mandatory                    awareness. During the hearing, NS                         AAR and other major freight rail
                                                 directives by simply pressing a button                  commented that it envisions the one-                   industry commenters contend that FRA
                                                 when the train is in motion—an action                   person crew will absorb the added duty                 should not have a two-person train crew
                                                 that does not provide evidence of                       of communications with other trains,                   mandate because rail operations in other
                                                 comprehension.222 Removal of the                        such as communicating a defect                         countries that use one-person crews
                                                                                                         observed on another train, while                       provide sufficient data to support the
                                                   217 75 FR 2598, 2005 (Jan. 15, 2010).
                                                                                                         neglecting to address how the additional
                                                   218 See e.g., 49 CFR 236.1006(d). This requirement
                                                                                                         duty can be done safely, how realistic it                223 87 FR 45568 (footnote 24 which listed the
                                                 was moved from 49 CFR 236.1029(f), a section with
                                                 requirements addressing PTC system use and en           is to expect a one-person crew to look                 characteristics of INRD’s one-person train operation
                                                                                                         for such defects while safely monitoring               that INRD claimed it voluntarily implemented to
                                                 route failures, to its current location because it
                                                                                                                                                                ensure the operation’s safety). At FRA’s public
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                                                 seemed a more intuitive location for a requirement      the progress of its own train, and                     hearing for this rule, INRD stated that its
                                                 related to equipping locomotives. 79 FR 49693,          whether any new hazards are created by                 implementation of a one-person train crew that
                                                 49705 (Aug. 22, 2014).
                                                   219 75 FR 2668.                                       the additional task that may need to be                started in 1997 ‘‘required a lot of research,
                                                                                                         offset by some other action.                           innovation and modern day technology.’’ In
                                                   220 75 FR 2669–70.
                                                                                                                                                                addition, INRD clarified at the hearing that it used
                                                   221 75 FR 2670.
                                                                                                                                                                two types of one-person train crew operations, i.e.,
                                                   222 75 FR 2670–71. In rejecting AAR’s argument        back to the dispatcher over the radio gives the crew   terminal-to-terminal with a single-person crew and
                                                 under a PTC system final rule, FRA explained that       an opportunity to read it and consider its relevance   split crews with one person in a motor vehicle.
                                                 the current practice of reading mandatory directives    to the current situation.                              FRA–2021–0032–13184 at 93.



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                                                 safety of one-person train crew                            For instance, in the NPRM, FRA                        training and fatigue mitigation
                                                 operations, and that data, when                         addressed the subject of train operations                measures.233 Similarly, this same study
                                                 considered with the INRD’s example,                     in other countries by explaining that, for               found that the European Union imposed
                                                 and the fact that ‘‘passenger trains in the             the most part, they are not comparable                   two preconditions on one-person train
                                                 United States typically operate with one                to U.S. train operations due to                          crew operations: (1) a working ‘‘dead-
                                                 person in the cab,’’ should be sufficient               differences in train lengths, territory,                 man control system’’ which is the
                                                 to support the safety of one-person train               and infrastructure.229 AAR’s comment                     equivalent of what FRA refers to as an
                                                 crew operations.224 For instance, one of                included information supporting, or at                   ‘‘alerter’’; and (2) the equivalent of a
                                                 AAR’s sponsored research documents                      least not refuting the accuracy of, FRA’s                U.S. centralized traffic control system
                                                 compared the safety and characteristics                 position in the NPRM. For instance,                      (CTC).234 The study described how in
                                                 of European and U.S. railways.225 In                    AAR’s comment included research                          the United States there are three types
                                                 summary, that 2021 study found that                     supporting that Western European rail                    of signaling control systems (excluding
                                                 the operating complexity of the                         operations are significantly different in                PTC) and, of those systems, CTC affords
                                                 European rail network was based on                      train length when compared to U.S. rail                  the highest level of control, automation,
                                                 high train density.226 This AAR-                        operations, as European freight trains                   and integration of safety logic.235 In the
                                                 sponsored study concluded that the                      are shorter to accommodate shorter                       European signaling control system,
                                                 defining factor in safety was not crew                  block sizes and a greater number of                      dispatchers can remotely operate signals
                                                 size; instead, lower accident rates were                interlockings.230 The Class I comments                   and switches to ensure that trains do not
                                                 attributable to ‘‘the kind of investments               also did not provide further information                 make conflicting movements,236 but
                                                 that mature economies make in                           showing that FRA’s statements in the                     presumably also to limit when or how
                                                 infrastructure and technology—the same                  NPRM were inaccurate regarding how                       often a one-person crewmember would
                                                 kind of investments that U.S. railroads                 foreign, one-person freight train                        need to temporarily climb down from
                                                 have made and continue to make . . .                    operations do not carry out extensive                    the locomotive to throw a switch. In
                                                 each year.’’ 227                                        interlining or switching with other                      contrast, not all U.S. railroads have
                                                    AAR also submitted a study it                        railroads and that many foreign, one-                    dispatchers and not all dispatchers at
                                                 sponsored in 2015, which promoted                       person passenger train operations do not                 U.S. railroads have the capability to
                                                 train crew size reductions on trains                    have to share track with freight                         operate all switches and fixed derails
                                                 operating on high-density lines from an                 operations or operate over highway-rail                  remotely or have a train crewmember
                                                 economic view that would justify the                    grade crossings.231 It was for these                     operate such devices by radio. These are
                                                 expense and use of round-the-clock                      reasons that FRA concluded in the                        the types of safety issues that necessitate
                                                 utility personnel.228 This study                        NPRM that the safety hazards associated                  evaluation through a risk assessment, as
                                                 described one-person train crew                         with those Western European rail                         required under the final rule. In
                                                 operations in North America, Europe,                    operations are not comparable to those                   Germany, devices are installed on
                                                 and in other countries in 2015 and the                  involving U.S. operations.                               locomotives to automatically adjust for
                                                 safety record of those international                       One significant element reflected in                  high-speed braking on curves, and there
                                                 operations.                                             AAR’s 2015 sponsored study                               are requirements for a second
                                                                                                         undermining the Class I railroads’                       crewmember when a dead-man device
                                                 FRA’s Response
                                                                                                         position is that railroads in other                      fails or under other unusual
                                                    FRA found the AAR-sponsored                          countries must sometimes abide by
                                                 studies and major freight railroad                                                                               circumstances.237 Therefore, this final
                                                                                                         operational restrictions that regulating
                                                 comments on rail operations in other                                                                             rule’s requirements for a functioning
                                                                                                         agencies have placed on one-person
                                                 countries generally informative, but                                                                             alerter and related operating rules are
                                                                                                         train crew operations. For example, this
                                                 lacking persuasion that FRA should                                                                               consistent with the restrictions other
                                                                                                         study explained how the Transportation
                                                 forgo regulating the subject matter of                                                                           countries have imposed for one-person
                                                                                                         Safety Board of Canada required the
                                                 train crew size safety. In summary, FRA                                                                          train crew operations.
                                                                                                         implementation of certain safety
                                                 found one-person operations in other                                                                                Another takeaway from the 2015 AAR
                                                                                                         measures after the catastrophic accident
                                                 countries are either not comparable                                                                              study was that it focused on a limited
                                                                                                         at Lac-Mégantic, Quebec, that FRA
                                                 because of different operational factors                                                                         number of accidents that were
                                                                                                         described in the NPRM,232 and that the
                                                 that contrast with U.S. operations or                                                                            considered preventable with a multiple-
                                                                                                         measures range from better tracking of
                                                 because effective government regulation                 those trains to specific dispatcher                      person crew,238 but the data analyzed
                                                 in other countries has established                                                                                  233 FRA–2021–0032–13056, AAR’s Exhibit 3 at 8.
                                                 minimum safety standards in the same                       229 87 FR 45580. As stated above, in response to
                                                                                                                                                                  BLET and SMART–TD’s jointly filed comment
                                                 way this final rule will for U.S.                       the 2016 NPRM, AAR submitted studies it                  noted that some railroad commenters pointed to
                                                 operations.                                             sponsored assessing European railway safety data
                                                                                                                                                                  European rail standards to support use of a one-
                                                                                                         with respect to train crew size and describing one-
                                                                                                                                                                  person train crew while ignoring the Canadian
                                                                                                         person train crew operations in other countries,
                                                   224 FRA–2021–0032–13056, AAR’s Comment at 3.                                                                   safety standards, which BLET and SMART–TD
                                                                                                         including European countries. The 2019
                                                    225 FRA–2021–0032–13056, AAR’s Exhibit 2, a                                                                   stated are far more comparable to U.S. railroading
                                                                                                         withdrawal discussed but did not analyze these
                                                 report prepared by Oliver Wyman titled ‘‘Crew-          studies’ conclusions. 84 FR 24737. For the reasons       but clearly do not support reduction in the size of
                                                 Related Safety and Characteristic Comparison of         explained here, FRA finds these studies generally        train crews.
                                                                                                                                                                     234 FRA–2021–0032–13056, AAR’s Exhibit 3 at
                                                 European and US Railways’’ (Apr. 5, 2021). This         informative but unpersuasive on the matter of
                                                 report appears to be an update of AAR’s Exhibit 4,      regulating train crew size safety, particularly when     11.
                                                                                                                                                                     235 FRA–2021–0032–13056, AAR’s Exhibit 3 at 4.
                                                 another report prepared by Oliver Wyman titled          considered along with the totality of the
                                                 ‘‘Assessment of European Railways: Characteristics      information discussed and analyzed in the 2022              236 FRA–2021–0032–13056, AAR’s Exhibit 3 at
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                                                 and Crew-Related Safety’’ (June 15, 2016).              NPRM and here in the final rule.                         11.
                                                    226 FRA–2021–0032–13056, AAR’s Exhibit 2 at             230 FRA–2021–0032–13056, AAR’s Exhibit 2 at 4,           237 FRA–2021–0032–13056, AAR’s Exhibit 3 at

                                                 16.                                                     13, 66–67 (stating that 40 cars is the average length    12.
                                                    227 FRA–2021–0032–13056, AAR’s Exhibit 2 at          of European freight trains).                                238 FRA–2021–0032–13056, AAR’s Exhibit 3 at 19

                                                 66–67.                                                     231 FRA–2021–0032–13056, AAR’s Exhibit 2 at 13
                                                                                                                                                                  (explaining how the study limited what data it
                                                    228 FRA–2021–0032–13056, AAR’s Exhibit 3, a          (stating that ‘‘the majority of U.S. rail freight does   perceived as relevant to datasets in which the crew
                                                 report prepared by Oliver Wyman titled ‘‘Analysis       not run on mixed lines with high-frequency               has some control and the size of the crew could
                                                 of North American Freight Rail Single-Person            passenger services, unlike in Europe’’).                 arguably make a difference in the outcome of an
                                                 Crews: Safety and Economics.’’ (Feb. 3, 2015).             232 87 FR 45568–69.                                   incident).



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                                                 did not include incidents involving                     described its one-person train crew                        In response to FRA’s proposal, some
                                                 close calls that likely go unrecorded or                operations to FRA as hauling a single                   rail industry commenters asserted that
                                                 the potential for quicker response times                commodity that did not include                          the NPRM is anti-technology, that DOT
                                                 to take mitigation measures that a                      hazardous materials.241 In order to                     has promoted automated operations for
                                                 multiple-person crew on the scene can                   ensure safety in the future, the NPRM                   motor vehicles, including trucks, over
                                                 take in the moments immediately                         explained that the safety record of a few               railroads, and that the NPRM blocks
                                                 following a variety of situations as                    one-person Class II and III train crew                  incentives to innovate. For instance,
                                                 compared with ground-based employees                    operations would not necessarily be                     AAR commented that the NPRM would
                                                 that would first need to be deployed to                 indicative of what the safety record                    cause a modal shift from railroads to
                                                 a scene before engaging in mitigating                   might be on the major Class I freight                   trucks, directly impacting the railroad
                                                 measures. It seems that the industry’s                  railroads, which tend to operate longer                 industry’s competitiveness 245—a
                                                 argument focused on a narrower subset                   trains, with higher tonnage, for longer                 position shared by ASLRRA.246 To
                                                 of situations where a second                            distances, and at higher speeds than a                  support its position, AAR provided a
                                                 crewmember may be beneficial than                       short line or regional railroad                         research paper it had commissioned that
                                                 FRA did in the NPRM. Similarly, the                     operation.242 Further, the analogy is the               concluded the NPRM would have
                                                 Alliance for Innovation and                             same when comparing Class I freight                     profound implications regarding the
                                                 Infrastructure (AII) commented on the                   railroads to Western European rail                      level and nature of freight competition
                                                 NPRM that a second crewmember has                       operations; both may be complex                         between railroads and trucking
                                                 the potential to reduce damage only                     operations, but the factors making them                 companies, particularly in an era of
                                                 based on ‘‘a host of assumptions that                   complex are different. And, as the                      increased vehicle automation.247
                                                 cannot be proven’’ and that,                            NPRM proposed, the final rule will not                  Although AAR’s sponsored research
                                                 ‘‘hypothetical[ly], it is equally likely                prohibit all one-person train crew                      described truck platooning
                                                 that all crewmembers die or are                         operations but allow some under                         technology 248 as ‘‘nascent,’’ and thus
                                                 incapacitated, that the crew members                    specific conditions and others                          just beginning to display signs of future
                                                 are impacted by the bystander effect and                potentially after a petition is filed, a                potential, the research suggested
                                                 do little or no mitigating activity, or that            review process is followed, and an                      substantial future cost savings in the
                                                 the main mitigation [is] by non-rail                    agency special approval is granted.                     mid-range figure of 29 percent for
                                                 personnel.’’ 239 FRA disagrees with AII’s                                                                       trucking companies, thereby impacting
                                                                                                         c. New Technology and Automated
                                                 comment because the comment fails to                                                                            the ability of railroads to compete and
                                                                                                         Operations
                                                 acknowledge that FRA’s central                                                                                  profit.249
                                                 approach, i.e., for each railroad to                       As noted in the NPRM, although
                                                                                                                                                                    AAR’s sponsored research suggested
                                                 conduct a risk assessment, would                        current FRA regulations do not
                                                                                                                                                                 that a shift from rail to truck shipments
                                                 produce an objective risk-based analysis                explicitly require the presence of a
                                                                                                                                                                 may not be true ‘‘where shipment
                                                 that addresses such questions. This final               human operator, FRA’s regulations were
                                                                                                                                                                 characteristics favor rail transportation
                                                 rule will impose reasonable restrictions,               developed and drafted based on a
                                                                                                                                                                 to the exclusion of truck [which] is
                                                 collect data, and address the unique                    general assumption that a train would
                                                                                                                                                                 particularly true of many liquid
                                                 complexities of U.S. railroad operations                be operated by a person, albeit with
                                                                                                                                                                 chemical and petroleum products,
                                                 through a review process. If data or                    assistance from technology.243 For that
                                                                                                                                                                 including plastics.’’ 250 The research and
                                                 analysis later suggests FRA should                      reason, the NPRM proposed a special                     other commenters compared existing
                                                 consider a different approach, any                      approval petition process that would                    safety statistics between the non-
                                                 person could petition FRA for a new                     have required a risk assessment before                  automated truck and rail industries, and
                                                 rulemaking, or FRA could initiate one.                  initiating an operation, and the NPRM’s                 concluded that rail is safer and should
                                                    FRA disagrees with AAR’s comment                     background stated that FRA                              therefore be promoted. The AAR-
                                                 that there is sufficient comparable data                understands that the rail industry is                   sponsored research also suggested that
                                                 on one-person train crew operations to                  anticipating future growth in                           ‘‘[a]n unbalanced program of
                                                 support that such operations are safe.                  automation and is concerned how a                       technological advancement will divert
                                                 For instance, AAR’s comment that the                    train crew staffing rule might impact the               tens of millions of tons of freight from
                                                 data from passenger operations should                   future of rail innovation and                           rail to truck and, in doing so, add
                                                 be used is typically inaccurate as FRA                  automation. Further the NPRM noted
                                                 explained in the NPRM that multiple                                                                             measurably to the degradation of air
                                                                                                         that a railroad, seeking to use rail
                                                 train crewmembers are typically                         automation technology that does not                       245 FRA–2021–0032–13056.
                                                 necessary to meet the requirements of                   comply with FRA’s existing rail safety                    246 FRA–2021–0032–13033.
                                                 FRA’s passenger train emergency                         regulations, may file a petition for                       247 FRA–2021–0032–13056, AAR’s Exhibit 9, a
                                                 preparedness rule so that passenger                     rulemaking under FRA’s regulations, or                  report prepared by Mark Burton, Research Associate
                                                 operations’ data is not comparable to a                 a petition for a waiver of FRA’s safety                 Professor (Retired from The University of
                                                 one-person train crew operation.240                                                                             Tennessee), titled ‘‘Rail-Truck Competition in an
                                                                                                         rules.244                                               Era of Automation Technology’’ (Dec. 2022).
                                                 Class I railroad commenters pointed to                                                                             248 DOT’s Federal Highway Administration
                                                 the 250-mile, Class II, regional railroad                 241 87 FR 45568. In the NPRM, FRA summarized
                                                                                                                                                                 describes truck platooning projects whereby a
                                                 INRD’s one-person train crew operation                  INRD’s public statements describing its operation       convoy of trucks are partially automated, meaning
                                                 as an example for them to follow even                   that were made during FRA’s 2016 train crew             that the vehicles control the coordinated speeds and
                                                                                                         staffing rulemaking.                                    braking with the lead vehicles in the platoons, but
                                                 though their operations are drastically                   242 87 FR 45581. As the NPRM stated, train crews      the drivers maintain steering control and are
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                                                 different because INRD, for instance,                   on major Class I freight railroads must generally       expected to continuously monitor the driving
                                                                                                         contend with more complexities than typically           situation to be ready to assume full control of the
                                                   239 FRA–2021–0032–12313 at 35. Although AII           found on a short line or regional railroad operation,   vehicles at any time. https://highways.dot.gov/
                                                 clearly opposed the NPRM, its analysis seemed           such as more than one type of signal system, more       research/laboratories/saxton-transportation-
                                                 conflicted when it concluded that ‘‘[f]or [accident]    than one set of railroad operating rules and            operations-laboratory/Truck-Platooning.
                                                 mitigation, that [a] conductor being anywhere on        practices that must be followed during the same            249 FRA–2021–0032–13056, AAR’s Exhibit 9 at 6–

                                                 the train would theoretically help reduce damage.’’     tour of duty, or higher train traffic density.          8.
                                                 Id. at 32.                                                243 87 FR 45567.                                         250 FRA–2021–0032–13056, AAR’s Exhibit 9 at
                                                   240 87 FR 45579.                                        244 87 FR 45586.                                      13.



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                                                 quality.’’ 251 Thus, freight rail industry                   For instance, FRA disagrees with                    cross-modal impacts under this final
                                                 commenters projected that the NPRM                        those commenters who pointed to the                    rule. DOT’s mission statement is ‘‘to
                                                 proposing a two-person train crew                         PTC systems as the automated                           deliver the world’s leading
                                                 mandate with exceptions had the                           technology they would use to justify                   transportation system, serving the
                                                 potential to dramatically shift freight                   removal of a second crewmember. FRA                    American people and economy through
                                                 shipments from rail to truck, cause                       is certainly aware that the PTC systems                the safe, efficient, sustainable, and
                                                 railroad revenues to fall, diminish                       are sometimes enhanced, through                        equitable movement of people and
                                                 public safety, increase fuel                              integration of other software that may                 goods.’’ 258 DOT serves its mission
                                                 consumption, and lead to major                            act like an automobile’s cruise control                consistent with the Federal
                                                 increases in the demand for highway                       system; yet, to date, even those                       government’s national standards
                                                 capacity.252                                              enhanced PTC systems do not perform                    strategy for critical and emerging
                                                   The American Consumer Institute                         all the necessary functions in all                     technology.259 And while DOT has
                                                 (ACI), which is described as a non-                       operating environments.256 In addition,                certainly funded research concerning
                                                 partisan, educational, and public policy                  PTC technology is currently governing                  automated motor vehicles and the
                                                 research organization that protects                       rail operations on approximately 42                    trucking industry,260 it is doing the
                                                 consumers’ interests, stated that ‘‘FRA                   percent of the rail network in the United              same by funding research concerning
                                                 should be following the lead of the                       States, and this rule addresses rail                   automation in the rail industry, as
                                                 trucking industry and to allow as much                    operations nationwide.                                 described below.
                                                 automation as possible’’ to lower costs                      While FRA is aware that other rail                     FRA supports technological
                                                 for consumers and take advantage of the                   systems, with various levels of                        advancement through research and
                                                 Class I freight railroads’ $760 billion                   autonomous features, are already                       funding.261 For instance, FRA’s current
                                                 investment in PTC since the 1980s.253                     available or are expected to be built,257              list of approximately 128 projects
                                                 ACI commented that the NPRM would                         freight rail industry commenters largely               includes research on: (1) how
                                                 increase costs for consumers and could                    did not suggest that they would be                     unmanned aerial vehicles known as
                                                 also have a negative impact on the                        relying on a system other than PTC. For                drones would allow railroads to inspect
                                                 environment if companies shift from rail                  these reasons, no U.S. railroad has yet                larger sections of track at one time and
                                                 to truck shipments for their goods. A                     to make a case that it is ready to                     speed up inspections; (2) developing
                                                 similar comment was filed jointly by 19                   implement a reliable system, suitable for              and testing a modular, field-deployable
                                                 non-profit, policy think tanks.254                        the complexity of its operations, and                  system combining edge computing with
                                                                                                           with a high enough level of autonomy                   advanced artificial intelligence
                                                 FRA’s Response                                            that would either: (1) negate the need                 processing to detect and classify track
                                                                                                           for any crewmembers; or (2) negate the                 features from a moving platform in near-
                                                    In the NPRM’s background, FRA
                                                                                                           need for a single crewmember whose                     real-time; (3) developing an artificial-
                                                 explained how historically the roles of
                                                                                                           central operational duty would be to                   intelligence-aided machine vision for
                                                 certain crewmembers were nullified by
                                                                                                           make an emergency brake application in                 grade crossing safety that would provide
                                                 technology and contrasted those
                                                                                                           case of an automated system error or                   real-time alerts for damaged gate arms,
                                                 situations with the current one in which
                                                                                                           otherwise perform duties normally                      flashers, and other critical safety-related
                                                 the rail industry has not made the same
                                                                                                           associated with a conductor, but not be                issues; (4) ensuring that an interoperable
                                                 type of technological breakthrough
                                                                                                           expected to operate the train.                         automated train operation system is
                                                 case.255 The comments and research                           The freight rail industry expressed                 defined to meet industry safety and
                                                 provided by commenters are premised                       concern with competition from the                      automation objectives; and (5)
                                                 on the assumptions that labor-saving                      trucking industry, especially as                       improving rail safety and efficiency
                                                 technologies are already developed and                    automated or partially automated                       objectives when an RCL is used to
                                                 that these technologies advance both                      driving technologies such as truck                     perform switching operations on the
                                                 productivity and operational safety.                      platooning improve, but their concerns                 line-of-road without crew presence in
                                                 However, the commenters’ conclusions                      do not undermine the basis for this                    the cab of the controlling locomotive, an
                                                 incorrectly assume that the labor-saving                  rulemaking which focuses on the rail                   operation known as ‘‘road RCL.’’ 262
                                                 technologies are already developed,                       safety hazards introduced by reducing                  Further, FRA is sponsoring research on
                                                 accepted, and implemented.                                crew size. The commenters also                         the human-automation interaction and
                                                                                                           suggested that the cost of compliance                  teaming to affect the design,
                                                   251 FRA–2021–0032–13056, AAR’s Exhibit 9 at
                                                                                                           with the rule as proposed would be high
                                                 17.
                                                   252 FRA–2021–0032–13056, AAR’s Exhibit 9 at
                                                                                                           enough to shift freight from rail to truck,              258 DOT’s mission statement, https://

                                                                                                           a potentially less safe form of transport.             www.transportation.gov/about, is based on its
                                                 18.                                                                                                              statutory authority. 49 U.S.C. 101.
                                                   253 FRA–2021–0032–10337. The comment cited              However, FRA’s RIA shows that the                        259 The U.S. government will focus standards
                                                 an AAR website for the amount of the investment,          final rule’s costs are lower than the                  development activities and outreach regarding the
                                                 but incorrectly quoted $780 billion when the              commenters’ projections, which were                    application of ‘‘automated, connected, and
                                                 website stated $760 billion. https://www.aar.org/                                                                electrified transportation, including automated and
                                                 campaigns/ptc/.
                                                                                                           based on the NPRM, and both FRA and
                                                                                                                                                                  connected surface vehicles of many types.’’ U.S.
                                                   254 FRA–2021–0032–12300. Rio Grande                     DOT as a whole do not expect such                      Government National Standards Strategy for Critical
                                                 Foundation; Washington Policy Center; Nevada                                                                     and Emerging Technology (May 2023) at 6–7.
                                                 Policy Research Institute; Bluegrass Institute for          256 83 FR 13583, 13584–85 (Mar. 29, 2018) (citing    https://www.whitehouse.gov/briefing-room/
                                                 Public Policy Solutions; Roughrider Policy Center         FRA’s ‘‘Request for Information: Automation in the     statements-releases/2023/05/04/fact-sheet-biden-
                                                 (North Dakota); John Locke Foundation (North              Railroad Industry’’ which included a description of    harris-administration-announces-national-
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                                                 Carolina); Maine Policy Institute; Thomas Jefferson       two different methods for defining levels of           standards-strategy-for-critical-and-emerging-
                                                 Institute for Public Policy; Josiah Bartlett Center for   automation).                                           technology/?utm_source=link.
                                                 Public Policy; Cardinal Institute for West Virginia         257 83 FR 13584 (describing known rail                 260 https://highways.dot.gov/automation.

                                                 Policy; Idaho Freedom Foundation; Alaska Policy           technologies). It has been over five years since FRA     261 https://railroads.dot.gov/research-

                                                 Forum; Maryland Public Policy Institute; Yankee           formally recognized the existence of a fully           development/research-development-and-
                                                 Institute; Mississippi Center for Public Policy; The      autonomous freight railroad system in Australia        technology.
                                                 John K. MacIver Institute for Public Policy; The          operated by a mining company on an approximately         262 https://railroads.dot.gov/elibrary/fra-office-
                                                 Buckeye Institute; and the Garden State Initiative.       62-mile stretch of track in western Australia but no   research-development-and-technology-current-
                                                   255 87 FR 45567–68.                                     U.S. railroad has sought to implement that system.     projects-2023 at 11, 16, 51, 117, and 123.



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                                                 certification, and implementation of                       comply with FRA’s Rules of Practice 268                  determined to pose the highest risk in
                                                 automation and to ensure that safety is                    and would have to follow the                             transportation from both a safety and
                                                 enhanced, not degraded, by new                             Department’s regulatory process in                       security perspective (i.e., trains
                                                 technology and automation.263                              compliance with the Administrative                       transporting 20 or more car loads or
                                                    Similarly, FRA disagrees with                           Procedure Act.269 Alternatively, a                       intermodal portable tank loads of
                                                 commenters claiming that FRA failed to                     railroad could petition FRA for a waiver                 certain hazardous materials, or one or
                                                 consider how the rail industry can use                     from any applicable regulations to use                   more car loads of hazardous materials
                                                 operational innovations or deploy                          technology that does not meet FRA’s                      designated as RSSM as defined by the
                                                 readily available technology to address                    existing regulatory requirements.270                     Department of Homeland Security). FRA
                                                 any safety concerns associated with the                    Similar to a petition for rulemaking, a                  described in the NPRM how DOT must
                                                 operation of a train with fewer than two                   waiver petition would also need to                       balance how hazardous materials are
                                                 crewmembers. FRA addressed this issue                      comply with FRA’s Rules of Practice 271                  essential to the U.S. economy with the
                                                 in the background section titled                           and must include all required                            risks posed by accidental and non-
                                                 ‘‘Automated Operations.’’ 264 As stated                    supporting information, including a                      accidental releases of those materials
                                                 in the NPRM, this rule is not intended                     safety justification. When petitioning for               during transportation.273 The NPRM
                                                 to impede rail innovation nor does this                    a rulemaking or a waiver to use                          explained how FRA coordinates with
                                                 rule regulate autonomous operations.265                    technology that does not meet FRA’s                      PHMSA to regulate and enforce the safe
                                                 The rule simply requires a description                     existing regulatory requirement, a                       and secure transportation of hazardous
                                                 of ‘‘any technology that will be used to                   railroad seeking to use an autonomous                    materials by rail and how FRA also
                                                 perform or support tasks typically                         operation without a minimum of a one-                    coordinates with the Department of
                                                 performed by a second crewmember, or                       person train crew would also be                          Homeland Security and its TSA on rail
                                                 that will prevent or significantly                         required to petition FRA for a waiver                    transportation security issues.
                                                 mitigate the consequences of accidents                     from this final rule, specifically the                      Further, the NPRM explained that
                                                 or incidents’’ in a petition for special                   requirements in § 218.123.                               DOT considers train crewmembers as
                                                 approval.266 Among other things, this                                                                               ‘‘hazmat employees’’ requiring specific
                                                                                                            d. Transportation of Hazardous                           types of training based on the dangers
                                                 information will allow FRA to ensure                       Materials
                                                 that the technology being used to                                                                                   posed by hazardous materials generally
                                                 support a one-person operation has gone                       AAR opposes the NPRM’s proposed                       and the additional dangers of a release
                                                 through the proper waiver or regulatory                    prohibition on one-person train crew                     in transit due to an accident,
                                                 processes, as necessary.267                                operations transporting certain types or                 derailment, theft, or attack.274 The
                                                    If a railroad seeks to use technology                   quantities of hazardous materials by                     background in the NPRM described the
                                                 that does not meet FRA’s existing                          commenting that there is no evidentiary                  various types of training required for
                                                 regulatory requirements, the railroad                      basis for concluding that one-person                     hazmat employees and how the training
                                                 may petition FRA for a rulemaking that                     operations are less safe than two-person                 is required initially and recurrently at
                                                 would revise FRA’s regulations to                          operations and the NPRM did not                          least once every three years. Also, the
                                                 permit the use of the technology to                        explain why any increased risks posed                    NPRM summarized how PHMSA
                                                 fulfill FRA’s regulatory requirements. A                   by the transportation of hazardous                       defined ‘‘high-hazard flammable trains,’’
                                                 rulemaking petition would need to                          materials could not be adequately                        how certain safety and security factors
                                                                                                            addressed through the adoption of                        must be considered in the risk analysis
                                                   263 Id. at 130.                                          safety protocols tailored to those                       that would be used to determine routing
                                                   264 87 FR 45586.                                         risks.272                                                requirements, and how PHMSA only
                                                    265 The 2019 withdrawal stated that a train crew
                                                                                                            FRA’s Response                                           indirectly addressed the human factors
                                                 staffing rule would unnecessarily impede rail                                                                       issues in its rulemaking because
                                                 innovation and automation, 84 FR 24740, without              In the discussion of comments and                      PHMSA understood that FRA initiated a
                                                 providing data to support that position. To the            conclusions above, FRA responded to
                                                 contrary, this final rule does not prohibit any                                                                     separate, key regulatory safety initiative
                                                 specific type of one-person train crew operation or
                                                                                                            comments from short line rail industry                   to address crew size safety.275 For these
                                                 prohibit the use of technology to perform duties           commenters about the proposed two-                       reasons, FRA stated in the NPRM that
                                                 typically performed by a second crewmember.                person train crew mandate with respect                   the proposed train crew size safety
                                                 Rather, this final rule ensures that minimum safety        to the transportation of hazardous
                                                 measures are in place for one-person train crew                                                                     requirements for trains carrying
                                                 operations and that, for certain more complex one-
                                                                                                            materials. Aside from individual citizen                 hazardous materials are complementary
                                                 person train crew operations, the risk of foreseeable      commenters who were generally                            to existing DOT requirements that
                                                 hazards is mitigated. As explained in the 2022             concerned about the safety of hazardous                  highlight the greater risks posed by
                                                 NPRM, in re-evaluating the information and safety          materials being transported by a train
                                                 issues concerning one-person train crew operations,
                                                                                                                                                                     certain types of shipments.
                                                                                                            with a one-person crew or potential                         In response to various rail industry
                                                 FRA concluded that ‘‘a train crew staffing rule
                                                 would not necessarily halt rail innovation or              delays to mitigation measures with only                  commenters, the final rule does not
                                                 automation [n]otwithstanding the statements made           a one-person crew, few comments were                     contain the proposed overarching
                                                 in the 2019 withdrawal [because] . . . a rule              received on this subject.                                prohibition on one-person train crew
                                                 addressing crew size could effectively serve as a            In summary, the NPRM proposed an
                                                 tool to ensure new technologies involving                                                                           operations transporting certain
                                                 automation and other rail innovations are                  overarching prohibition on fewer that                    quantities and types of hazardous
                                                 thoroughly reviewed and shown to be consistent             two-crewmember operations of trains                      materials. Instead, in the final rule,
                                                 with railroad safety before they are implemented.’’        containing certain quantities and types                  railroads that cannot meet any of the
                                                 87 FR 45571. This final rule provides such a               of hazardous materials that have been
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                                                 process.                                                                                                            exceptions are permitted to petition for
                                                    266 § 218.131(b)(11), proposed as § 218.133(b)(11).
                                                                                                                 268 Specifically, 49 CFR part 211, subparts A and     273 87 FR 45576–78.
                                                    267 See 49 CFR part 211, subparts C and E
                                                                                                            B.                                                         274 87 FR 45576, especially footnote 127.
                                                 (providing FRA’s rules of practice for waivers and              269 5 U.S.C. 551–559.
                                                 miscellaneous safety-related proceedings and                                                                           275 87 FR 45577 (citing PHMSA’s rule titled
                                                                                                                 270 See 49 CFR part 211, subpart C.
                                                 inquiries); and see e.g. 49 CFR 236.909 (reflecting                                                                 ‘‘Hazardous Materials: Enhanced Tank Car
                                                                                                                 271 Specifically, 49 CFR part 211, subparts A and
                                                 the minimum performance standards for the                                                                           Standards and Operational Controls for High-
                                                 introduction of new railroad products or changes to        C.                                                       Hazard Flammable Trains’’) at 80 FR 26644, 26654–
                                                 existing railroad products).                                    272 FRA–2021–0032–13056.                            55 (May 8, 2015).



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                                                 special approval to initiate or continue                 highlighted the 2019 withdrawal’s                          safety concerns and the threat they pose
                                                 one-person train crew freight operations                 determinations that ‘‘issuing any                          to public safety.
                                                 transporting hazardous materials.276                     regulation requiring a minimum number                        Second, in reassessing regulation of
                                                 Moreover, as previously addressed in                     of train crewmembers would not be                          safety issues regarding train crew size,
                                                 this discussion of comments and                          justified because such a regulation is                     FRA also considered information not
                                                 conclusions, the final rule provides                     unnecessary for a railroad operation to                    analyzed in the 2019 withdrawal, such
                                                 Class II and III railroads with an                       be conducted safely at this time,’’ and                    as technological trends and operational
                                                 exception to the special approval                        that ‘‘no regulation of train crew staffing                changes on Class I freight railroads since
                                                 process to continue legacy one-person                    is appropriate.’’ 278 In addition, AAR                     2019. Train accidents can impose
                                                 train crew freight operations that have                  pointed to FRA’s statement in the 2016                     enormous and sometimes incalculable
                                                 been established for at least two years                  NPRM that ‘‘FRA cannot provide                             costs on individuals, communities, and
                                                 before the effective date of the final rule,             reliable or conclusive statistical data to                 the environment, and recent industry
                                                 including when the railroad has                          suggest whether one-person crew                            changes, such as utilizing longer trains
                                                 established a legacy operation in which                                                                             than the historical norm, introduce
                                                                                                          operations are generally safer or less
                                                 it wants to continue transporting certain                                                                           variables that may make it challenging
                                                                                                          safe than multiple-person crew
                                                 hazardous materials.                                                                                                for the industry to continue the past two
                                                                                                          operations.’’ 279 In its comment, BNSF
                                                    FRA expects that each railroad filing                                                                            decades general trend of improved
                                                 a petition for special approval will build               stated that the 2019 withdrawal                            safety in rail operations. As stated in the
                                                 upon that foundation of specified safety                 extensively catalogued data and other                      NPRM, freight train length has increased
                                                 requirements and take further mitigation                 evidence and concluded that this                           in recent years, and this trend may have
                                                 measures to address the hazards and                      available information ‘‘did not establish                  cascading safety impacts unless
                                                 reduce the risks involved in                             that one-person crew operations are less                   mitigated by technology, training, or
                                                 transporting hazardous materials by                      safe than multi-person crews.’’ 280 BNSF                   other processes.283 And, as explained
                                                 trains staffed with a one-person train                   asserted that the 2022 NPRM dismisses                      above, the latest rail safety data reflects
                                                 crew. Further, the special approval                      the 2019 withdrawal’s analysis without                     some troubling industry trends that
                                                 procedure in § 218.135 will ensure that                  sufficient explanation or justification.                   suggest heightened caution and
                                                 the public and rail employees are                        FRA’s Response                                             awareness are needed in rail safety and
                                                 provided an opportunity to comment                                                                                  operational planning. Although trains
                                                 and provide FRA with an opportunity to                      After considering all the evidence                      have a relatively strong safety record,
                                                 review and approve the railroad’s                        before it, including comments and data                     the rate for all human factor caused
                                                 operational plans.                                       post-dating the 2019 withdrawal that is                    accidents has increased in recent years,
                                                                                                          discussed in the 2022 NPRM, FRA has                        notably after the 2019 withdrawal.284
                                                 e. FRA Action on Regulating Crew                                                                                    While technological advances in the rail
                                                 Staffing                                                 reassessed its prior positions for two
                                                                                                          independent reasons.281 First, as the                      industry, such as PTC, may decrease
                                                    Class I freight railroad commenters                   NPRM states, the decision of the U.S.                      those accidents in the future,
                                                 stated that FRA failed to adequately                     Court of Appeals for the Ninth Circuit                     uncertainty related to new operating
                                                 explain its reconsideration of its                       to vacate and remand the 2019                              technologies can affect train safety.285
                                                 previous positions on regulating the                     withdrawal left FRA with various                           Furthermore, the research indicates that
                                                 safety issues regarding train crew size.                 options on how, or whether, to address                     PTC implementation should not be
                                                 AAR asserted that FRA ‘‘fail[ed] to                      the matter of crew size safety. In                         presumed to lead to fewer crew tasks.286
                                                 adequately explain its total reversal in                 deciding how to proceed, FRA                               This point was further corroborated by
                                                 position in light of the views and                       reconsidered several of the safety issues                  extensive comments and testimony in
                                                 conclusions it expressed in the 2019                                                                                this rulemaking from train
                                                                                                          discussed in the 2019 withdrawal. FRA
                                                 Withdrawal Order,’’ and that FRA ‘‘does                                                                             crewmembers who work with PTC daily
                                                                                                          determined that the 2019 withdrawal
                                                 not adequately explain its changed                                                                                  and by their representatives.287
                                                                                                          de-emphasized safety concerns raised                         In sum, FRA reconsidered
                                                 position in light of the views it
                                                                                                          by FRA-sponsored research on the                           information previously analyzed by
                                                 expressed in the 2016 NPRM.’’ 277 AAR
                                                                                                          cognitive and collaborate demands of                       FRA on crew size safety and considered
                                                 provided examples of statements from
                                                                                                          crewmembers and by commenters on                           additional relevant information,
                                                 the 2016 NPRM on train crew staffing
                                                                                                          the 2016 NPRM. For example, as the                         including safety data indicating
                                                 and the 2019 withdrawal that, according
                                                                                                          2022 NPRM explains, the research raises                    potentially worsening trends since the
                                                 to AAR, the 2022 NPRM contradicts
                                                                                                          safety concerns regarding one-person                       2019 withdrawal was issued. Based on
                                                 without sufficient explanation for the
                                                                                                          train crews, such as the loss of a second                  this assessment, FRA determined that it
                                                 changed position. For example, AAR
                                                                                                          crewmember to notice and correct                           needed to change its position from the
                                                    276 As explained in the discussion above of the
                                                                                                          errors.282 FRA adheres to that                             2019 withdrawal and concluded that the
                                                 short lines’ comments, Class II and III railroads        reassessment. This final rule is justified                 regulatory requirements in this final
                                                 seeking to initiate a new one-person operation           based on FRA’s reevaluation of those                       rule are necessary to ensure that trains
                                                 transporting hazardous materials of the types or
                                                 quantities described in § 218.123(c) are required
                                                                                                                                                                     are adequately staffed for their intended
                                                                                                             278 84 FR 24741 (May 29, 2019), quoted by FRA–
                                                 under the final rule to petition FRA for special
                                                 approval and conduct a risk assessment. A special        2021–0032–13056 at 10.                                       283 87 FR 45564, 45572.
                                                                                                             279 91 FR 13919 (Mar. 15, 2016), quoted by FRA–
                                                 approval petition is also required for continuing an                                                                  284 See Section I., Executive Summary, for a

                                                 existing operation that has not been established for     2021–0032–13056 at 10.                                     discussion of recent data.
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                                                                                                             280 FRA–2021–0032–12996 at 1–3.
                                                 at least two years before the effective date of the                                                                   285 See 87 FR 45564 at 45572–45573 (citing

                                                 final rule. To initiate other types of one-person crew      281 87 FR 45564, 45571–76 (July 28, 2022) (section      Technology Implications of a Cognitive Task
                                                 operations, Class II and III railroads are only          III.D of the NPRM, titled ‘‘Reconsideration of the         Analysis for Locomotive Engineers—Human Factors
                                                 required to provide notification and comply with         Safety Issues’’).                                          in Railroad Operations, Final Report, dated January
                                                 certain operational requirements. The final rule            282 See, e.g., id. at 45572 (explaining in detail how   2009, DOT/FRA/ORD–09/03).
                                                 requires Class I railroads to petition for special       FRA has ‘‘revisit[ed] the research . . . to explain          286 Id. at 45572–73.

                                                 approval and conduct a risk assessment to initiate       how the safety concerns the research raises helped           287 See, e.g., FRA–2021–0032–13038 at 2, FRA–
                                                 any one-person train crew operation.                     in the development of the proposed requirements            2021–0032–13049 at 9 and 23, FRA–2021–0032–
                                                    277 FRA–2021–0032–13056 at 9–11.                      for this rulemaking’’).                                    13133 at 2, and FRA–2021–0032–0711 at 1–2.



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                                                 operation and railroads have                            existing system safety program                        train crew operation will be as safe or
                                                 appropriate safeguards in place for safe                requirements.290 APTA also had specific               safer than a two-person minimum train
                                                 train operations whenever using a one-                  concerns about FRA’s proposed risk                    crew operation when all mitigations are
                                                 person train crew.                                      assessment methodology and whether a                  in place. FRA expects that some
                                                    FRA further notes that the 2022                      minor event might be classified as                    railroads will favor this objective
                                                 NPRM and this final rule differ in                      catastrophic. Further, APTA’s comment                 approach when conducting a required
                                                 approach from the previous rulemakings                  raised other policy concerns regarding                risk assessment under this final rule.
                                                 addressing train crew size. Instead of                  the proposed risk assessment, including                  In response to comments, the final
                                                 broadly mandating two crew members,                     whether the proposed requirements                     rule also includes changes from the
                                                 the NPRM proposed to require, and this                  could make information compiled or                    NPRM that provide consistency with
                                                 final rule requires, two crew members                   collected for that risk assessment public             existing requirements, specifically,
                                                 for the most complex operations until a                 when, under the existing system safety                consistency with both the System Safety
                                                 railroad analyzes an operation and                      program requirements, similar                         Program requirements in part 270 and
                                                 persuasively demonstrates that risks                    information would receive at least some               the Risk Reduction Program
                                                 associated with eliminating the second                  legal protections.291 CRC’s comment                   requirements in part 271. Parts 270 and
                                                 crew member are reasonably mitigated.                   was also similar to APTA’s in its                     271 require covered railroads to have a
                                                 By allowing railroads to petition for a                 approach to the risk assessment,                      systemwide and ongoing risk-based
                                                 one-person crew, this final rule                        requesting that FRA leverage its existing             hazard management program that
                                                 accommodates the development of new                     system safety requirements. CRC was                   proactively identifies hazards and
                                                 technology while also ensuring the                      concerned with the risk assessment                    mitigates risks resulting from those
                                                 safety of crews and the public by                       burden in the event an approved                       hazards, using a risk-based hazard
                                                 requiring an analysis that shows that                   passenger operation wants to make                     analysis. Accordingly, this final rule
                                                 these innovations will not make trains                  material modifications to the operation.              includes the minimum requirements for
                                                 less safe. FRA’s incremental approach—                    TTD commented that it perceived the                 a risk-based hazard analysis that follows
                                                 that preserves the status quo while                     proposed alternative risk assessment as               similar requirements in § 270.103(p) and
                                                 providing latitude for railroads to                     vague when compared to the detailed                   (q), and § 271.103(b), allowing railroad
                                                 explore benefits from advances in                       and specific proposed risk assessment.                to build upon existing analyses when
                                                 technology—promotes FRA’s statutory                                                                           preparing the required risk-based hazard
                                                 mandate to issue regulations ‘‘as                       FRA’s Response                                        analysis as part of a petition for a one-
                                                 necessary’’ for ‘‘railroad safety.’’ 288                   The NPRM provided background on                    person crew.
                                                 f. Risk Assessments and FRA’s Review                    the risk assessment requirement, how it                  To simplify the risk assessment
                                                 Standard                                                is useful, and how a risk assessment                  process and address perceived potential
                                                                                                         must be conducted in an objective                     quantitative analysis obstacles, the final
                                                    AAR asserted in its written comment                                                                        rule includes the minimum performance
                                                                                                         manner to be effective.292 FRA
                                                 and reiterated in oral testimony at the                                                                       standards used in § 236.909 for the
                                                                                                         explained why it proposed specific
                                                 public hearing that the proposed risk                                                                         introduction of new railroad signaling
                                                                                                         content and methodology requirements
                                                 assessment requirements are flawed.289                                                                        and train control components, products
                                                                                                         for conducting risk assessments and
                                                 In support of its comment, AAR                                                                                or systems, and this standard is also
                                                                                                         why it proposed an option to allow any
                                                 provided several examples                                                                                     required to promote the safe design,
                                                                                                         railroad to seek FRA’s approval to use
                                                 demonstrating how the proposed risk
                                                                                                         an alternative risk assessment                        operation, and maintenance of safety
                                                 assessment might play out using recent
                                                                                                         methodology.293 The NPRM also                         critical locomotive electronic control
                                                 accident/incident data and how Class I
                                                                                                         included background regarding the                     systems, subsystems, and
                                                 railroads could never expect a petition
                                                                                                         expected impact of the rule on the safety             components.295 Specifically, the final
                                                 for special approval to be granted under
                                                                                                         of rail operations.294 FRA considered all             rule makes clear that the introduction of
                                                 the NPRM. AAR also suggested that
                                                                                                         the comments regarding the proposed                   a new product or change cannot result
                                                 because Class I railroads are required to
                                                                                                         risk assessment, and the final rule’s                 in risk that exceeds the previous
                                                 have a risk-reduction program, FRA
                                                                                                         requirements are expected to address                  condition.
                                                 could have allowed these railroads to
                                                                                                         these comments in several overarching                    With respect to commenters’
                                                 follow the risk-reduction approach set
                                                                                                         ways.                                                 information security concerns, FRA
                                                 forth in their approved risk-reduction
                                                                                                            For instance, because FRA did not                  decided to retain the same approach as
                                                 plans rather than the approach in this
                                                                                                         intend to propose requirements that                   proposed. For reasons explained in the
                                                 NPRM regarding crew size safety
                                                                                                         might be viewed as nearly impossible to               NPRM, FRA determines that exercising
                                                 requirements.
                                                    APTA commented that its passenger                    meet statistically, the final rule removed            FRA’s statutory discretion under 49
                                                 rail operation members support risk-                    what commenters perceived as the                      U.S.C. 20118 to protect certain risk
                                                 based approaches that allow railroads to                proposed potential quantitative analysis              analyses from public disclosure
                                                 identify, mitigate, and manage safety                   obstacles. In addition to revisiting                  pursuant to Exemption 3 of the Freedom
                                                 risks in a manner that reflects the scale               aspects of that quantitative risk-based               of Information Act (FOIA), 5 U.S.C.
                                                 and specifics of individual operations.                 hazard analysis, the final rule includes              552(b)(3), would not be consistent with
                                                 However, APTA asked FRA to                              guidance, in Appendix E, on how a                     the final rule’s provisions that make
                                                 reconsider the proposed risk assessment                 railroad may prepare a risk-based                     petitions and the risk analyses they
                                                 requirements as unnecessary for                         hazard analysis and compare the risks to              contain available for public
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                                                 railroads that already follow an                        determine if a proposed one-person                    comment.296 Nevertheless, other FOIA
                                                 established methodology under FRA’s                                                                           exemptions may apply. For example,
                                                                                                           290 FRA–2021–0032–12947, referring to 49 CFR        FRA reminds railroads that information
                                                   288 49 U.S.C. 20103(a).                               part 270.
                                                                                                           291 See 49 CFR 270.105.                               295 49 CFR part 229, subpart E (establishing
                                                   289 FRA–2021–0032–13056, AAR’s comment at
                                                                                                           292 87 FR 45582–84.
                                                 39–45 and AAR’s Exhibit 5, a comment prepared by                                                              minimum railroad locomotive safety standards for
                                                                                                           293 87 FR 45584.                                    locomotive electronics).
                                                 ICF International titled ‘‘Comments on Train Crew
                                                 Size Safety Requirements.’’ (Dec. 12, 2022).              294 Id.                                               296 87 FR 45585.




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                                                 required to be submitted as part of the                    ASLRRA and other short line rail                   fulfills the roles and responsibilities of
                                                 risk-based hazard analysis that a                       industry commenters raised objections                 both the locomotive engineer and
                                                 submitter deems to be trade secrets, or                 to FRA’s proposed exception for a one-                conductor, or by two remote control
                                                 commercial or financial information                     person train operation controlled by a                operators, each with a remote control
                                                 that is privileged or confidential under                remote control operator because they                  transmitter, so that they can alternate
                                                 Exemption 4 of FOIA 5 U.S.C. 552(b)(4),                 claimed it created new burdens that                   controlling the RCL. Although a remote
                                                 should be so labeled in accordance with                 they do not currently comply with or                  control operation could have three or
                                                 the provisions of 49 CFR 209.11. FRA                    that are unnecessary given equipment                  more train crewmembers, that would be
                                                 handles information labeled as such in                  standards for these operations.                       atypical and would likely involve a
                                                 accordance with the provisions of                       ASLRRA’s comment included a                           third crewmember who is training to be
                                                 § 209.11.                                               statement from the Texas and Northern                 a remote control operator. Although an
                                                    Regarding the potential use of risk-                 Railway regarding how it would not                    RCL may remain in a particular rail yard
                                                 based hazard analysis information in                    qualify for the remote control operation              for switching solely within that yard, it
                                                 litigation, FRA decided not to include in               exception because this short line: (1)                is common for a remote control operator
                                                 the final rule information protections                  does not maintain technology or                       to take an RCL from a rail yard to a
                                                 like those adopted in the system safety                 protocols to monitor a train’s real-time              customer’s facility as a local train that
                                                 program and risk reduction program                      progress; (2) does not have a method of               can drop off or pick up rail cars at one
                                                 rules. Congress explicitly authorized                   determining the train’s approximate                   or more customer’s facilities.
                                                                                                         location when communication is lost                      In the NPRM, FRA explained how
                                                 setting forth specific information
                                                                                                         with a one-person train crew; and (3)                 remote control operations that travel
                                                 protection requirements for
                                                                                                         does not utilize a dispatcher.299                     between yards or customers’ facilities,
                                                 implementation of those rules, and FRA
                                                                                                         Similarly aligned commenters pointed                  with or without cars, were trains ‘‘not in
                                                 does not have a similar statutory
                                                                                                         to the proposed requirement that the                  switching service’’ and were thus
                                                 authorization to do so here.297 For
                                                                                                         remote control operator must stay in the              potentially subject to the NPRM’s
                                                 further discussion on this issue, FRA                                                                         proposed requirements if operated with
                                                                                                         locomotive cab except in emergencies, a
                                                 refers readers to the NPRM’s                                                                                  a one-person train crew.300 For this
                                                                                                         condition that the commenters
                                                 explanation of FRA’s statutory authority                                                                      reason, FRA proposed an exception for
                                                                                                         suggested would be unnecessary for that
                                                 to protect certain information from use                                                                       RCL operations with the intention that
                                                                                                         person’s safety, even on main track,
                                                 in litigation.298                                                                                             the proposed general train crew staffing
                                                                                                         given that the remote control operator
                                                    Lastly, in response to comments                      can operate the train safely from the                 requirements would not apply but that
                                                 regarding the risk assessment, the final                ground or other locations on the train.               other conditions would apply. In the
                                                 rule retains the NPRM’s proposed                        Also, commenters objected to a                        NPRM, FRA proposed to address narrow
                                                 alternative standard provision in                       proposed requirement in the NPRM that                 safety concerns involving the use of an
                                                 § 218.133(b). That provision allows a                   a remote control operation be required                RCL by codifying long-standing agency
                                                 railroad the option to submit a petition                to have an alerter when the remote                    guidance for the use of the remote
                                                 for FRA’s approval of the use of                        control technology they use already has               control technology during non-
                                                 alternative methodologies or                            similar safety features.                              switching service. These proposed
                                                 procedures, or both, to assess the risk                                                                       requirements were intended to allow
                                                 associated with a proposed operation.                   FRA’s Response                                        remote control operations with a one-
                                                 Again, this was an option that was                         In proposing the crew size safety                  person train crew as an exception if the
                                                 proposed but seemingly missed by                        requirements as conditions for using a                operation was limited in complexity by
                                                 commenters that acknowledged the                        one-person train crew with a remote                   weight, tonnage, grade, or other factors
                                                 value in a risk assessment but requested                control operation, FRA started with the               that reflected guidance previously
                                                 flexibility in how to conduct it. FRA                   premise that most remote control train                accepted by industry stakeholders.301
                                                 understands that some commenters,                       operations are peripheral to switching                   The NPRM therefore proposed to
                                                 such as TTD, suggested that the                         operations in a yard or at a customer’s               codify FRA’s guidance on accepted
                                                 alternative standard provision for a risk               facility because the remote control                   industry safe practices for remote
                                                 assessment is vague, but FRA does not                   technology was designed with a primary                control operations. However, upon
                                                 agree because approval of alternative                   focus on making switching operations                  further consideration, FRA has
                                                 methodologies or procedures, or both,                   more efficient. Because an RCL is                     determined that addressing this issue in
                                                 would be expected to be based on                        controlled by an operator with a remote               this rulemaking is unnecessary. In
                                                 standards established by leading                        control transmitter strapped to their                 deciding not to adopt the proposed
                                                 governmental or non-governmental                        chest, an operator does not need to stay              remote control operations exception,
                                                 standardization organizations.                          in the locomotive cab and has versatility             FRA determined that the requirements
                                                                                                         to do other safety-related tasks such as              for remote control operations, proposed
                                                 g. Remote Control Operations                                                                                  in the NPRM, would be unnecessary as
                                                                                                         uncouple cars, throw hand-operated
                                                   Several commenters raised concerns                    switches, and determine that track is                 duplicative of existing requirements.
                                                 with the NPRM’s specific freight train                  clear for their train movement. Thus,                 For instance, this final rule will not
                                                 exception to the crew staffing                          when in switching or train service, a                 require an alerter on an RCL to address
                                                 requirements that applied to remote                     remote control operator may be on the                 the incapacitated locomotive engineer
                                                 control operations in proposed                          ground, on the lead locomotive                        scenario because FRA’s existing
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                                                 § 218.129(c)(3). The following is a                     (although not necessarily in the                      locomotive safety standards establish
                                                 summary that is representative of the                   locomotive cab), or on another car or                 minimum equipment standards for an
                                                 comments received.                                      locomotive.                                           RCL that include an operator alertness
                                                                                                            Remote control operations are                      device and a tilt feature that together
                                                   297 49 U.S.C. 20119, 49 CFR 270.105 and 81 FR         typically crewed by one operator, who                 perform the same functions as an
                                                 53850, 53859 (Aug. 12, 2016), and 49 CFR 271.11
                                                 and 85 FR 9262, 9263 (Feb. 18, 2020).                     299 FRA–2021–0032–13033, att. L (statement from       300 87 FR 45594.
                                                   298 87 FR 45585.                                      Transtar LLC/Texas and Northern Railway).               301 87 FR 45594–95.




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                                                 alerter.302 Likewise, there is no need to                safety.305 The comment raised a variety                should prohibit all one-person train
                                                 require enhanced communication or                        of safety concerns as a basis for                      crew operations.308 RWU commented
                                                 train tracking requirements for an RCL                   establishing a more stringent two-                     that there is no safe way in the United
                                                 when FRA’s existing locomotive safety                    crewmember train crew requirement.                     States to run a train with a single crew
                                                 standards establish a prohibition on the                 For instance, this commenter stated that               member and that safety dictates never to
                                                 use of one-person operations with                        there is a great need for crewmembers                  allow a single point of failure.
                                                 remote control locomotive systems that                   to assist rail passengers in a variety of
                                                                                                                                                                 FRA’s Response
                                                 do not automatically notify the railroad                 emergency situations. This local
                                                 in the event a remote control operator                   division of SMART–TD placed                               Although FRA did not adopt all
                                                 becomes incapacitated or the tilt feature                emphasis on two crewmembers assisting                  proposals identified by commenters, the
                                                 is activated.303                                         each other as a team to battle fatigue,                comments raised practical issues or
                                                    However, based on a suggestion from                   provide backup to reduce mistakes, and                 problems with the proposed exceptions
                                                 some labor organizations, FRA may                        improve situational awareness. The                     that led FRA to revise its approach in
                                                 initiate a comprehensive review of every                 commenter raised a concern about                       this final rule. For example, the
                                                 type and aspect of remote control                        hazardous materials traveling by rail                  commenters stated that certain one-
                                                 operations to determine whether the                      through New Jersey’s dense urban areas                 person train crew operations that were
                                                 safety of those operations could be                      with only a one-person train crew and                  proposed for exceptions in the NPRM
                                                 improved through regulation or other                     the potential for a catastrophic accident.             would pose equivalent safety concerns
                                                 actions.                                                 The commenter stated that, with a one-                 to that of other one-person train crew
                                                                                                          person train crew, motor vehicle traffic               operations FRA proposed to prohibit or
                                                 F. Consideration of Requirements More                    could significantly slow a response by                 regulate through the special approval
                                                 Stringent Than Those Proposed                            the railroad’s utility employees                       process. FRA agrees with the comments
                                                    Some of the commenters supporting                     responding to a train breakdown as well                pertaining to the proposed helper
                                                                                                          as local emergency personnel                           service and lite locomotive(s) consist
                                                 the NPRM stated that, in their view, the
                                                                                                          responding to other types of                           exceptions, which were proposed
                                                 NPRM did not go far enough.
                                                                                                          emergencies—situations where a second                  without any conditions attached.
                                                 Specifically, these commenters
                                                                                                          crewmember can more quickly assist                     Because FRA agrees with the
                                                 supported more stringent requirements
                                                                                                          because they are already present. The                  commenters that those two types of one-
                                                 that would permit fewer or no
                                                                                                          commenter also disagreed with FRA’s                    person train crew operations pose the
                                                 exceptions to a two-person train crew,
                                                                                                          proposed criteria for continuing legacy                same safety concerns as the others that
                                                 or include a requirement that the second
                                                                                                          operations and initiating new operations               were proposed with conditions
                                                 crewmember be a person who is a
                                                                                                          and stated that railroads should not be                attached, FRA revisited those
                                                 certified conductor under FRA’s
                                                                                                          allowed to assess their own risks in a                 exceptions in § 218.129(a)(4) and (5) and
                                                 requirements in 49 CFR part 242.                                                                                decided to attach similar conditions.
                                                    TTD supported the proposed annual                     risk assessment. This local division of
                                                                                                          SMART–TD recommended that risk                         FRA’s decision to revise these
                                                 reporting requirements and                                                                                      exceptions and impose requirements in
                                                 recommended more stringent                               assessments be conducted by the
                                                                                                          National Transportation Safety Board                   the final rule that are more stringent
                                                 requirements that, instead of FRA                                                                               than those previously proposed is based
                                                 granting special approval in perpetuity,                 (NTSB) and that FRA should use a
                                                                                                          waiver alternative to the special                      on several considerations. For instance,
                                                 would require each railroad to file a                                                                           FRA considered that railroads with a
                                                 new petition for special approval after                  approval process.
                                                                                                             The Nebraska Public Service                         need for helper service or that regularly
                                                 two years. Similarly, TTD supported a                                                                           move locomotives without cars are
                                                 more stringent requirement to establish                  Commission (NPSC), which oversees
                                                                                                          railroad safety in Nebraska, advocated                 mostly Class I and II operations that
                                                 a process whereby FRA would                                                                                     have newer locomotives, placed into
                                                 periodically review the enumerated                       for FRA to adopt an absolute prohibition
                                                                                                          against train operations with fewer than               service on or after June 10, 2013, or that
                                                 exceptions and seek public input                                                                                would permit the controlling
                                                 whether to retain them.                                  two-person crews.306 NPSC is
                                                                                                          concerned that the safety issues                       locomotives to operate at speeds in
                                                    SMART–TD’s Kansas State Legislative                                                                          excess of 25 mph 309 and, thus, likely
                                                                                                          described in the NPRM would be
                                                 Board commented that railroads should                                                                           have working alerters installed in their
                                                                                                          present in the scenarios proposed as
                                                 be required to maintain a two-person                                                                            locomotives. These operations would
                                                                                                          exceptions. NPSC stated that the
                                                 crew in the control compartment of the                                                                          then need to add operating rules
                                                                                                          railroad industry’s opposition to the
                                                 lead locomotive unit of each train, a                                                                           addressing the communications and
                                                                                                          rule and need for exceptions for
                                                 more stringent requirement than what                                                                            safety of the one-person train crew and
                                                                                                          financial or other reasons should not be
                                                 FRA proposed.304 This comment raised                                                                            addressing how the railroad will take
                                                                                                          given greater weight than the need to
                                                 safety concerns with trains being built                                                                         mitigation measures to address certain
                                                                                                          maintain or improve the safety of the
                                                 too long for available sidings, risk of                                                                         situations that could pose hazards to rail
                                                                                                          crew and the public.307
                                                 sabotage, and how a two-person team                         Railroad Workers United (RWU), a                    employees or the public—a burden, but
                                                 can combat fatigue.                                      group representing railroad workers in                 not a significant one. Because a Class III
                                                    SMART–TD’s New Jersey State                           North America that are not managers or                 railroad would generally own fewer
                                                 Legislative Board raised the concern                     supervisors, commented that FRA                        miles of track than a Class I or II railroad
                                                 that the NPRM’s proposed process of                                                                             and operate fewer trains, these short
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                                                 granting exceptions to new and existing                    305 FRA–2021–0032–10602.                             line railroads typically would provide
                                                 single-person crew operations was                          306 FRA–2021–0032–10121.                             enough locomotive power to traverse
                                                 disconcerting as it seemed to place the                     307 The Chicago Federation of Labor, stating that   the track and would not be expected to
                                                 efficiency of rail operations over                       it represents tens of thousands of railroad workers    use helper service as a regular business
                                                                                                          who support the need for at least two crewmembers
                                                                                                          on all trains. FRA–2021–0032–6837. A similar
                                                                                                                                                                 practice. Similarly, a lite locomotive
                                                   302 49 CFR 229.15, in particular paragraph (a)(13).
                                                                                                          comment was made by the International
                                                   303 Id., in particular paragraphs (a)(15) and (16).                                                            308 FRA–2021–0032–8001.
                                                                                                          Brotherhood of Electrical Workers Local Union 146,
                                                   304 FRA–2021–0032–9397.                                Decatur, IL. FRA–2021–0032–10465.                       309 49 CFR 229.140(a).




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                                                 consist is typically used by Class I and                part 218, subpart F. To prevent having                  as operating with a one-person train
                                                 II railroads to move locomotives from                   two similar definitions to describe the                 crew. In the first scenario, there is only
                                                 one yard to another to optimize their                   same FRA official, this final rule                      one person assigned to the train as the
                                                 availability to move cars; in comparison,               removes the existing definition from                    train crew and that single, assigned
                                                 Class III railroads might not have more                 subpart F and replaces it with the                      person will be performing the duties of
                                                 than one yard or such a complex                         definition as proposed in the NPRM so                   both the locomotive engineer and the
                                                 business model that locomotives would                   that the term ‘‘Associate Administrator                 conductor. Accordingly, in this
                                                 regularly be moved without cars from                    for Safety’’ has the same meaning                       scenario, the sole person assigned as the
                                                 one location to another. With regard to                 throughout part 218.                                    train crew will need to be certified as
                                                 mine load out, plant dumping, and                          This final rule includes two                         both a locomotive engineer and a
                                                 similar operations, FRA does not agree                  definitions not specifically proposed in                conductor so that person can perform
                                                 with the comments that these types of                   the NPRM, but based on descriptions of                  the duties of both of those roles; this
                                                 operation would always have duties                      two types of operations contained in                    scenario would also include alternative
                                                 requiring a second crewmember, and                      proposed requirements. First, the final                 arrangements in which other rail
                                                 thus the final rule retains the exception               rule defines ‘‘helper service train                     employees that are not assigned train
                                                 for those operations as proposed.                       operation’’ to mean a train that is ‘‘a                 crewmembers temporarily assist the
                                                    FRA also did not agree with                          locomotive or group of locomotives                      train.
                                                 commenters who suggested that                           being used to assist another train that                    In the second scenario, two or more
                                                 railroads should be required to maintain                has incurred mechanical failure or lacks                persons are assigned to a train as the
                                                 a two-person crew in the control                        sufficient tractive force necessary to                  train’s crew, but only the locomotive
                                                 compartment of the lead locomotive                      traverse a particular section of track due              engineer travels on the train when the
                                                 unit of each train, as that would apply                 to train tonnage and the grade of the                   train is moving because the remainder
                                                 a more stringent standard than a                        terrain.’’ This definition is similar to the            of the train crew, that would include the
                                                 railroad meeting the current status quo                 NPRM’s definition of ‘‘helper service’’                 conductor if the locomotive engineer is
                                                 of using two-person train crews. FRA is                 in proposed § 218.125(a) but                            not the assigned conductor, is assigned
                                                 concerned that if it created such a                     additionally clarifies that it does not                 to intermittently assist the train’s
                                                 stringent standard, railroads would be                  matter whether the train that the                       movements. In this second scenario, the
                                                 compelled to employ a three-person                      ‘‘helper service operation’’ is assisting is            remainder of the train crew is typically
                                                 train crew to do the job that currently                 on ‘‘difficult terrain.’’ 312 ‘‘Lite                    traveling in a motor vehicle and will be
                                                 only takes two crewmembers. It could                    locomotive train operation’’ is defined                 required to assist the train when
                                                 also create an impossible standard for                  as meaning the train is a locomotive or                 switching cars in a yard or at a
                                                 certain passenger train operations in                   a consist of locomotives not attached to                customer’s facility, as well as assist the
                                                 which the locomotive cab is not large                   any piece of equipment or attached only                 train when necessary to protect a
                                                 enough to accommodate a second                          to a caboose. This definition is the same               crossing with flag protection, throw a
                                                 crewmember.                                             as FRA proposed in § 218.125(b) of the                  switch or derail, or perform other duties
                                                                                                         NPRM within the requirements for the                    associated with the train assigned. This
                                                 III. Section-by-Section Analysis                                                                                second scenario clarifies that when only
                                                                                                         ‘‘lite locomotive’’ exception.
                                                    This section responds to public                         The final rule includes a definition for             one crewmember is traveling with the
                                                 comments and identifies any changes                     ‘‘locomotive, MU’’ to refer to a type of                train, even if there are additional
                                                 made from the provisions as proposed                    locomotive that can transport                           crewmembers intermittently assisting
                                                 in the NPRM. Provisions that received                   passengers. An MU locomotive is a                       and assigned to the train, the train will
                                                 no comment, and are otherwise being                     general term that includes a diesel- or                 be considered a one-person train crew
                                                 finalized as proposed, are not discussed                electric-multiple-unit (DMU or EMU)                     operation.
                                                 again here.310                                                                                                     The second definition FRA is adding
                                                                                                         operation, as proposed in the NPRM,
                                                                                                                                                                 in this final rule is a definition for the
                                                 Section 218.5 Definitions                               and would also include other self-
                                                                                                                                                                 term ‘‘one-person train crewmember.’’
                                                                                                         propelled rail rolling equipment
                                                    This final rule adds 17 definitions to                                                                       This final rule defines ‘‘one-person train
                                                                                                         regardless of the power source. The
                                                 part 218—Railroad Operating                                                                                     crewmember’’ to mean, in the context of
                                                                                                         NPRM only used the terms DMU or
                                                 Procedures. Part 218 prescribes                                                                                 a one-person train crew operation, the
                                                                                                         EMU, which would not be as inclusive,
                                                 minimum requirements for railroad                                                                               single assigned person who is
                                                                                                         as it would only cover diesel or electric
                                                 operating rules and practices. The                                                                              responsible for performing the duty of
                                                                                                         power sources, while steam, liquified                   the locomotive engineer and will be
                                                 analysis in the NPRM is applicable for
                                                                                                         natural gas, hydrogen, or other power                   traveling in the operating cab of the
                                                 this section for the following terms
                                                                                                         sources may be available.                               controlling locomotive when the train is
                                                 which will have the same definitions as                    Based on FRA’s review of the
                                                 proposed: ‘‘FTA,’’ ‘‘hazard,’’ ‘‘mishap,’’                                                                      moving. If there is a second
                                                                                                         comments, there appears to be some
                                                 ‘‘risk,’’ ‘‘tourist train operation,’’                                                                          crewmember traveling in a motor
                                                                                                         confusion about what FRA meant by a                     vehicle, that second crewmember would
                                                 ‘‘tourist train operation that is not part              one-person train crew operation. To
                                                 of the general railroad system of                                                                               not be the one-person train
                                                                                                         remove any ambiguity, in this final rule,               crewmember.
                                                 transportation,’’ ‘‘trailing tons,’’ and                FRA is adding two new definitions.
                                                 ‘‘train.’’ 311 The remaining terms are                                                                             This final rule’s definition for ‘‘risk
                                                                                                         First, FRA is adding a definition for the               assessment’’ differs slightly from the
                                                 described below.                                        term ‘‘one-person train crew.’’ This term               proposed definition in that the NPRM,
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                                                    The NPRM proposed a definition for
                                                                                                         is intended to clarify that, for purposes               which referred to operations with
                                                 ‘‘Associate Administrator’’ that was
                                                                                                         of this final rule, there are two scenarios             ‘‘fewer than two crewmembers.’’ FRA
                                                 similar to the existing definition of
                                                                                                         in which a railroad will be considered                  has not adopted that phrasing in the
                                                 ‘‘Associate Administrator for Safety’’ in
                                                 § 218.93, a definition only applicable to                  312 The statement in proposed § 218.125(a) that
                                                                                                                                                                 final rule. Instead, this final rule refers
                                                                                                         ‘‘helper service includes traveling to or from a
                                                                                                                                                                 to risk assessments related to ‘‘one-
                                                   310 87 FR 45587–45605.
                                                                                                         location where assistance is provided’’ is located in   person train crews,’’ as this rule applies
                                                   311 87 FR 45587.                                      § 218.129(a)(4) of this final rule.                     to one-person train crew operations and


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                                                 does not apply to autonomous                            Section 218.121         Purpose and Scope             rule, FRA is revising the reference to
                                                 operations.                                                Generally, the purpose and scope of                ‘‘train crew staffing’’ in the section
                                                    This final rule defines ‘‘switching                  this final rule remain the same as                    heading and the heading for paragraph
                                                 service or operation’’ in the same way                  proposed—to ensure trains are                         (b) to ‘‘train crew size safety.’’ These
                                                 as the proposed definition did for                      adequately staffed and have appropriate               changes do not change the meaning and
                                                 ‘‘switching service.’’ The change in the                safeguards in place for safe train                    thus the analysis provided in the NPRM
                                                 term’s name will harmonize it with its                  operations under all operating                        is applicable for paragraphs (a) and (b).
                                                 use throughout part 218. ‘‘Switching                                                                             In the NPRM, paragraph (c) proposed
                                                                                                         conditions. Accordingly, FRA is
                                                 service’’ and ‘‘switching operation’’ are                                                                     to mandate, without exception or
                                                                                                         adopting paragraph (a) as proposed,
                                                 used interchangeably throughout part                                                                          special approval eligibility, two
                                                                                                         making minor editorial revisions to
                                                 218 and in this final rule.                                                                                   crewmembers be assigned to trains
                                                                                                         paragraph (b), and adding a new
                                                    In this final rule, FRA has added a                                                                        transporting certain quantities and types
                                                                                                         paragraph (c) which essentially moves                 of hazardous materials that have been
                                                 definition for ‘‘unit freight train.’’ As               the proposed exception for remote
                                                 used in this final rule, ‘‘unit freight                                                                       determined to pose the highest risk for
                                                                                                         control operations, previously found in               transportation from both a safety and
                                                 train’’ means a freight train composed of               proposed § 218.129(c)(3), to a new
                                                 cars carrying a single type of                                                                                security perspective. As explained in
                                                                                                         paragraph (c) of this section. FRA is                 the discussion of comments and
                                                 commodity. In the NPRM, FRA                             modifying paragraph (b) of this section
                                                 proposed an exception for a ‘‘mine load                                                                       conclusions above, however, FRA
                                                                                                         to replace the references to ‘‘train crew             determined that certain exceptions,
                                                 out, plant dumping, or similar                          staffs’’ and ‘‘crew staffing,’’ with the
                                                 operation’’ that included a definition of                                                                     including special approval eligibility,
                                                                                                         terms ‘‘train crews’’ and ‘‘crew size’’               could be permitted while still allowing
                                                 a unit freight train. FRA moved the                     respectively. These revisions are for
                                                 proposed ‘‘unit freight train’’ definition                                                                    for safe operations. Those exceptions
                                                                                                         clarity and readability only. No                      can be found in § 218.129(a)(1) and
                                                 into the definitions section, and the                   substantive change is intended.
                                                 ‘‘mine load out, plant dumping, or                                                                            § 218.131(a)(2). The final rule retains the
                                                                                                         Consistent with the NPRM, paragraph                   two-person requirements for trains
                                                 similar operation’’ exception that was                  (b) further notes that: (1) the minimum
                                                 proposed in § 218.129(a) is in                                                                                transporting the same types and
                                                                                                         crew size requirements in the final rule              quantities of hazardous materials as was
                                                 § 218.127(a) of this final rule.                        reflect the potential safety risks posed to           proposed in the NPRM when these
                                                 Section 218.99       Shoving or Pushing                 railroad employees, the public, and the               exceptions do not apply. The final rule’s
                                                 Movements                                               environment; (2) the final rule                       requirements include a specific
                                                                                                         prescribes minimum requirements for                   reference to a two-person train crew
                                                    This final rule amends this section to               the location of a second train
                                                 remove ambiguity and harmonize three                                                                          requirement for each high-hazard
                                                                                                         crewmember on a moving train and                      flammable train (HHFT) as defined in
                                                 current requirements with terms that                    promotes safe and effective teamwork;                 § 171.8 of this title when an exception
                                                 that will apply to the entirety of part                 and (3) railroads may prescribe                       does not apply. The requirement in
                                                 218.                                                    additional or more stringent                          paragraph (c)(2) of the final rule would
                                                    Paragraph (a)(2) is amended to change                requirements in operating rules,                      cover HHFT as currently defined by
                                                 ‘‘switching activities’’ to ‘‘switching                 timetables, timetable special                         PHMSA, and the requirement in (c)(1)
                                                 service activities,’’ which will thereby                instructions, and other instructions.                 will ensure HHFT will continue to be
                                                 invoke the definition added in § 218.5                     Paragraph (c) of the final rule has                covered if PHMSA amends its current
                                                 for ‘‘switching service or operation.’’                 been added based on comments                          HHFT definition.
                                                 The amendment will not change the                       received. In the discussion of comments
                                                 meaning of the section but may help                     and conclusions, FRA explained                        Section 218.125 Specific Passenger
                                                 clarify what is meant by switching                      commenters’ concerns with the                         and Tourist Train Operation Exceptions
                                                 service as that term will now be defined.               exception for remote control operations               to Crew Size Safety Requirements
                                                    Paragraph (b)(3) will be amended to                  as proposed in § 218.129(c)(3). For the                  This section, proposed as § 218.127 in
                                                 change ‘‘a lite locomotive consist’’ to ‘‘a             reasons explained in FRA’s response to                the NPRM, addresses passenger and
                                                 lite locomotive train with two or more                  those comments, FRA has not adopted                   tourist train operations that are not
                                                 locomotives that is operated from a                     the exception; instead, FRA has added                 subject to the rule’s crew size safety
                                                 single control stand.’’ This revision will              paragraph (c) to clarify that the                     requirements. Although this final rule
                                                 allow FRA to remove the definition of                   requirements in this subpart do not                   adopts, in § 218.125, the general
                                                 ‘‘lite locomotive consist’’ in § 218.93, as             apply to a train operation controlled by              provisions of proposed § 218.127, FRA
                                                 the term is not used elsewhere in part                  a remote control operator as defined in               is making editorial revisions to the
                                                 218. This revision will also allow FRA                  § 229.5(a) of this chapter.                           section heading and paragraph (a) along
                                                 to use the term ‘‘lite locomotive train,’’                                                                    with adding a new paragraph (e) to this
                                                 which is defined in § 218.5. The                        Section 218.123 General Train Crew                    section addressing certain existing one-
                                                 amendment will not change the                           Staffing Requirements                                 person train crew operations.
                                                 meaning of the section.                                    As proposed in the NPRM, this                         Specifically, consistent with the edits
                                                    Paragraph (e)(2) will be amended to                  section sets forth the final rule’s general           made throughout this final rule, FRA
                                                 remove the term ‘‘manned helper                         requirement that trains be operated with              has revised the ‘‘crew staffing’’ reference
                                                 locomotives’’ and replace it with                       a minimum of two crewmembers. This                    in the section heading to ‘‘crew size
                                                 ‘‘helper service train operation’’ which                final rule substantially adopts                       safety.’’ FRA is also rephrasing
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                                                 is defined in § 218.5. A helper service                 paragraphs (a), (b), and (d) as proposed,             paragraph (a) for ease of reading. As
                                                 train operation has the same meaning as                 but revises paragraph (c) to allow                    proposed, paragraph (a) identified
                                                 helper locomotives with a train crew.                   certain exceptions to the requirement                 passenger and tourist operations that
                                                 Thus, rather than using different                       for two crewmembers on trains                         would ‘‘not require’’ a minimum of two
                                                 terminology that has the same meaning                   transporting certain types and quantities             crewmembers. In this final rule, FRA is
                                                 within part 218, this final rule will                   of hazardous materials. Consistent with               rephrasing paragraph (a) to affirmatively
                                                 amend this paragraph.                                   the edits made throughout this final                  state that certain tourist and passenger


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                                                 train operations ‘‘may be’’ operated with               regulatory text, instead of mandating the             the effective date of this final rule, while
                                                 a one-person train crew. This change                    more broadly stated proposed                          ensuring each railroad with such a
                                                 from the proposed rule is intended to                   requirement. The prohibited duties are                legacy operation will have sufficient
                                                 remove any ambiguity regarding the                      operation of a hand-operated switch,                  time to add any necessary, minimum
                                                 type of operations that will be excepted                filling out paperwork, or calling out                 safeguards to protect rail employees, the
                                                 through this section and does not                       signal indications during the loading or              public, or the environment. FRA is
                                                 change the section’s meaning from that                  unloading process. Otherwise, the                     defining a legacy one-person train crew
                                                 proposed. Thus, the analysis provided                   analysis provided in the NPRM is                      freight operation as one that a railroad
                                                 in the NPRM is applicable for                           applicable for this paragraph.314                     established at least two years before the
                                                 paragraphs (a) through (d) of this                         FRA is not adopting paragraph (b) as               effective date of this final rule. Pursuant
                                                 section.313                                             proposed. Instead, FRA is reserving                   to this exception, a legacy operation
                                                    A substantive change from the NPRM                   paragraph (b) of this section for future              may continue transporting hazardous
                                                 is the addition of paragraph (e), which                 use and, as discussed in the analysis of              materials of the types or quantities
                                                 provides an exception for existing                      § 218.129 below, has included some of
                                                                                                                                                               specified in § 218.123(c) if the railroad
                                                 passenger train operations with one-                    the requirements and exceptions from
                                                                                                                                                               can show it had such an established
                                                 person train crews for which FRA has                    proposed paragraph (b) in § 218.129.
                                                                                                                                                               operation for at least two years before
                                                 already approved the operation’s
                                                                                                         Section 218.129 Conditional                           the effective date of the final rule.
                                                 required passenger train emergency
                                                                                                         Exceptions Based on Compliance Dates                  Although this notification requirement
                                                 preparedness plan under part 239.
                                                                                                         for Class II and III Legacy Freight Train             is not an approval process, compliance
                                                 Section 218.127 Specific Freight Train                  Operations, Certain Other Class II and                with the requirement is mandatory to
                                                 Exceptions to Crew Size Safety                          III Freight Railroad Train Operations,                use the legacy one-person train crew
                                                 Requirements                                            Work Train Operations, Helper Service                 freight operation exception. In meeting
                                                    Proposed as § 218.129 in the NPRM,                   Train Operations, and Lite Locomotive                 the written notice requirements in
                                                 this section addresses freight train                    Train Operations Staffed With a One-                  paragraph (b) of this section, the
                                                 exceptions to crew size safety                          Person Train Crew                                     railroad is required to provide the
                                                 requirements. Consistent with edits                        This section of the final rule                     evidence necessary to establish the
                                                 made elsewhere in this final rule, FRA                  consolidates various proposed                         existence for at least two years of such
                                                 has revised the section heading to refer                requirements and exceptions to the two-               a legacy one-person train crew freight
                                                 to ‘‘crew size safety,’’ as opposed to                  person train crew mandate and,                        operation. For example, in paragraph
                                                 ‘‘crew staffing.’’ FRA is also adding an                therefore, includes many of the same or               (b)(2), the final rule requires that the
                                                 introductory sentence to the section and                similar requirements to those proposed                written notice include business records
                                                 moving the substance of proposed                        in §§ 218.125, 218.129, and 218.131 of                or other written documents supporting
                                                 paragraph (b) to § 218.129.                             the NPRM. Consolidating these                         the legacy operation was established for
                                                    As in the NPRM, paragraph (a) lists                  exceptions and requirements in this                   at least two years before the rule’s
                                                 the requirements for an exception for a                 section makes the rule more concise,                  effective date. For a railroad to have an
                                                 unit freight train when it is loading or                eliminating the need to repeat certain                operation ‘‘established at least two years
                                                 unloading as part of a mine load-out,                   requirements shared by each of the                    before,’’ FRA means that during that
                                                 plant dumping, or similar operation. In                 exceptions as it did in the NPRM.                     two-year period, an operation must have
                                                 this final rule, FRA is adopting                        However, because there were changes to                occurred at regular intervals under a set
                                                 paragraph (a) essentially as proposed,                  the requirements for some of the                      of defined procedures or conditions. It
                                                 with the exception of removing the                      proposed exceptions, FRA is not relying               will be acceptable if a railroad’s
                                                 definition of ‘‘unit freight train’’ from               on the analysis in the NPRM for this                  evidence for the one-person train crew
                                                 the paragraph. As discussed above, in                   section.
                                                 this final rule, the definition for that                                                                      operation shows that the railroad
                                                                                                            Paragraph (a) provides that a railroad
                                                 term is found in § 218.5. Further,                                                                            occasionally substituted a multi-person
                                                                                                         is not required to comply with the
                                                 because the proposed requirements for                                                                         train crew; yet, FRA expects the
                                                                                                         requirements in this section for each
                                                 the ‘‘mine load out’’ exception in                      one-person train crew operation that is               evidence will show the railroad
                                                 paragraph (a) were originally in one                    governed by an exception in another                   typically used the one-person train crew
                                                 long paragraph, this final rule places                  section of this subpart. Thus, this                   where circumstances allowed for the
                                                 equivalent requirements in a numbered                   section does not apply to the specific                one-person operation. If a railroad did
                                                 list for ease of use (paragraphs (a)(1)–                passenger and tourist train operation                 not conduct one-person train crew
                                                 (5)). This formatting change does not                   exceptions in § 218.125 or the specific               operations regularly, even where
                                                 affect the paragraph’s meaning except                   freight train exceptions in § 218.127.                circumstances allowed, the existence of
                                                 for paragraph (a)(4), which does not                    The train operation exceptions                        a legacy operation will likely not be
                                                 contain the proposed requirement that a                 described in this section that provide for            considered established, and the railroad
                                                 one-person train crewmember during                      a one-person train crew are listed in                 will need to consider whether another
                                                 mine load out, plant dumping, or                        paragraph (a) along with the                          exception will be applicable or whether
                                                 similar operations must be prohibited                   requirements that will apply depending                it will request special approval.
                                                 from performing any duties that would                   on the exception, as discussed further                Similarly, if a railroad cannot establish
                                                 require a second crewmember, as it                      below.                                                that its legacy one-person train crew
                                                                                                                                                               freight operation was transporting
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                                                 instead specifies the duties that will be                  The purpose of paragraph (a)(1),
                                                 prohibited. Although the NPRM’s                         which is based on the exception                       hazardous materials of the types or
                                                 analysis provided some examples of                      proposed in § 218.131 of the NPRM, is                 quantities specified in § 218.123(c), it
                                                 prohibited duties, FRA decided that                     to provide a way for each Class II and                will not be permitted to initiate such an
                                                 greater clarity could be achieved by                    III railroad to continue a legacy one-                operation under this exception and
                                                 specifying the examples in the                          person train crew freight operation after             must consider whether another
                                                                                                                                                               exception will be applicable or whether
                                                   313 87 FR 45590–91.                                     314 87 FR 45591–92.                                 it will request special approval.


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                                                    Paragraph (a)(1)(i) prohibits a Class II             requirements in paragraph (c) of this                 often travel at restricted speed, which is
                                                 or III railroad from continuing a legacy                section, which will allow the railroad to             a slow speed at which the locomotive
                                                 one-person train crew freight operation                 begin the operation with significant                  engineer must be prepared to stop
                                                 beyond 90 days after the effective date                 safeguards already in place. In contrast,             before colliding with on-track
                                                 of this final rule if the railroad fails to             the other exceptions in paragraph (a) are             equipment or running through
                                                 provide FRA with written notice                         largely directed for existing operations              misaligned switches. For one-person
                                                 meeting the requirements in paragraph                   that are already in wide use and, thus,               train crew work train operations, FRA
                                                 (b). Hence, each railroad that                          requiring immediate implementation                    will permit a railroad to phase in the
                                                 established a legacy one-person train                   upon the effective date of the final rule             additional requirements in paragraph (c)
                                                 crew freight operation for at least two                 for those other exceptions would have                 of this section based on the
                                                 years before the effective date of this                 the potential to be disruptive to normal              implementation schedule provided.
                                                 final rule would need to decide whether                 railroad operations.                                     Paragraph (a)(4), which is based on
                                                 it wants to continue the operation                         Thus, to meet the requirements of this             proposed § 218.125(a), specifies the
                                                 beyond 90 days after the effective date                 exception in paragraph (a)(2), a                      requirements for a helper service train
                                                 of this final rule; if it does, the railroad            railroad’s one-person train crew                      operation exception to the two-person
                                                 will be required to provide FRA with                    operation will be required to use a                   train crew mandate. The exception
                                                 written notice meeting the requirements                 locomotive equipped with alerters and                 applies to helper service train
                                                 in paragraph (b), unless the operation is               comply with any required operating                    operations regardless of whether they
                                                 covered under one of the exceptions in                  rules in paragraph (c) from the first day             are existing or new operations. Each
                                                 §§ 218.125 or 218.127.                                  these operations are initiated. While this            railroad will be able to consider using
                                                    For those legacy one-person train                    exception is based on the small railroad              a helper service train with a one-person
                                                 crew freight operations that provide                    operations exception in proposed                      train crew, including when a helper
                                                 FRA with written notice meeting the                     § 218.129(c)(1) for a freight railroad with           service train is traveling to or from a
                                                 requirements in paragraph (b), the                      fewer than 400,000 total employee work                work site, as long as certain
                                                 railroad will be permitted to continue                  hours annually, the exception in this                 requirements are met. The definition for
                                                 the operation beyond 90 days after the                  final rule has been expanded to include               a ‘‘helper service train operation’’ in the
                                                 effective date of the final rule if the                 more railroads, and it does not include               definitions section of this final rule,
                                                 railroad also complies with the                         the speed, grade, and train length                    § 218.5, means the train is a locomotive
                                                 additional requirements in paragraphs                   requirements proposed in the NPRM.                    or group of locomotives being used to
                                                 (c)(1) and (2) of this section. For these                  Paragraph (a)(3), which is based on                assist another train that has incurred
                                                 legacy one-person train crew freight                    proposed § 218.129(c)(2), specifies the               mechanical failure or lacks sufficient
                                                 operations, FRA will permit a railroad                  requirements for a work train exception               tractive force necessary to traverse a
                                                 to phase in the additional requirements                 to the two-person train crew mandate.                 particular section of track due to train
                                                 in paragraph (c). A railroad with such a                The exception applies to work train                   tonnage and the grade of the terrain.
                                                 legacy operation that does not                          operations regardless of whether they                 Helper service is a common service
                                                 implement all the additional                            are existing or new operations. Each                  performed in the railroad industry as a
                                                 requirements by each deadline will not                  railroad may use a work train with a                  one-person operation. It is typically not
                                                 be permitted to continue the operation.                 one-person train crew, including when                 considered a complex operation, and
                                                 Further, a railroad that allows its legacy              a work train is traveling to or from a                FRA does not expect this type of
                                                 operation to lapse at one of the                        work site, as long as the railroad                    operation will pose a significant risk to
                                                 deadlines will not be permitted to                      complies with the additional                          railroad employees, the public, or the
                                                 utilize this exception if it wants to                   requirements in paragraph (c) according               environment. As with each of these
                                                 restore that legacy operation at a later                to the implementation schedule                        exceptions, a railroad may decide that a
                                                 date.                                                   specified. Paragraph (a)(3)(i) limits the             certain helper service train operation is
                                                    Paragraph (a)(2) will permit each                    work train operation exception to non-                complex and that more than one
                                                 Class II and III freight railroad an                    revenue service trains that do not                    crewmember should be assigned to the
                                                 opportunity to initiate a train operation               exceed 4,000 trailing tons and are used               operation. Moreover, FRA notes that,
                                                 with a one-person crew under certain                    for the administration and upkeep                     while the helper locomotive itself may
                                                 conditions. The operations under this                   service of the railroad. This work train              be operated with a one-person train
                                                 exception will be limited to a train that               requirement, which is the same as the                 crew, the train it is helping may be
                                                 will not be transporting hazardous                      proposed requirement, is based on the                 required to have a two-person crew, and
                                                 materials of the types or quantities                    definition used in 49 CFR 232.407(a)(4)               the fact that a helper locomotive is
                                                 specified in § 218.123(c). Under                        concerning requiring end-of-train                     assisting would not impact the number
                                                 paragraph (a)(2)(i), this exception will                devices; and, as in that rule, the 4,000              of crewmembers required for the train.
                                                 require that a railroad, before                         trailing tons or less threshold will                  For one-person train crew helper service
                                                 commencing the operation, provide                       provide railroads operational flexibility,            operations, FRA will permit a railroad
                                                 FRA with written notice that contains                   especially smaller railroads.315 Work                 to phase in the additional requirements
                                                 the information required by paragraph                   trains mainly haul materials and                      in paragraph (c) according to the
                                                 (b) of this section. Under paragraph                    equipment used to build or maintain the               implementation schedule specified.
                                                 (a)(2)(ii), this exception will require a               right-of-way and signal systems. Work                    Paragraph (a)(5), which is based on
                                                 railroad to comply with the additional                  trains are unlikely to be hauling                     proposed § 218.125(b), provides an
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                                                 requirements in paragraph (c) of this                   hazardous materials (unless extra fuel is             exception from the two-person crew
                                                 section without a phase-in of                           needed to power machinery) and,                       requirement for an existing or new lite
                                                 compliance dates for those additional                   because they operate under their own                  locomotive train operation. Similar to
                                                 requirements. FRA determined that the                   set of safety rules, typically at low                 the safety rationale for the helper
                                                 initiation of a new one-person train                    speeds or restricted speed, they pose                 service exception, when a locomotive or
                                                 crew operation without an FRA review                    fewer risks than long-haul trains. They               a consist of locomotives is not attached
                                                 process should, at a minimum, have                                                                            to any piece of equipment, or attached
                                                 already implemented the additional                        315 62 FR 278, 282 (Jan. 2, 1997).                  only to a caboose, there is not a


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                                                 significant risk to railroad employees,                 when compared to the NPRM’s                           support of the existence and extent of
                                                 the public, or the environment. Lite                    proposed requirements for a special                   the one-person train crew operation.
                                                 locomotive train operations are mainly                  approval, FRA notes that, for                            Paragraphs (b)(3) through (7) and (10)
                                                 used to move locomotives to a location                  compliance, a railroad’s written notice               are sufficiently descriptive that further
                                                 where the locomotives can be better                     must provide complete and accurate                    analysis is generally unnecessary here.
                                                 utilized for revenue trains that are                    information.                                          However, some information that was not
                                                 taking or delivering rail cars to                          Paragraph (b)(1) requires information              proposed in the NPRM has been added
                                                 customers, or to other railroad yards                   about the primary person at the railroad              to develop more fully the overall
                                                 where the locomotives can be used in                    who can be contacted about the petition               description of the one-person train crew
                                                 switching operations. Additionally, lite                for a special approval. The remaining 13              operation. Notably, paragraph (b)(3)
                                                 locomotives may be operating as a train                 numbered items listed under paragraph                 specifies that the description of track,
                                                 to take more than one locomotive to a                   (b) require an accurate description of the            signal and train control systems, and
                                                 repair shop for servicing. The definition               operation, the hazards present, the                   devices and appliances must also
                                                 of ‘‘lite locomotive train operation’’ is               mitigating measures taken to improve                  include a list of all active and passive
                                                 consistent with the definition of ‘‘lite                safety, and the railroad’s description of             highway-rail grade crossings, including
                                                 locomotive’’ in 49 CFR 229.5 of FRA’s                   how it determined the operation was                   crossing numbers. The addition of this
                                                 Railroad Locomotive Safety Standards.                   safe to implement.                                    list should be easy to provide as it
                                                 However, the exception for a lite                          For a railroad required to meet the                should be available to train crews in
                                                 locomotive train operation in this final                written notice requirements, paragraph                timetables, track charts, or other easily
                                                 rule includes a further clarification that              (b)(2) requires the railroad to identify              reproduced documents. For paragraph
                                                 ‘‘excludes an MU locomotive                             the location of the operation with as                 (b)(7), in addition to any maximum
                                                 operation.’’ The reason for this                        much specificity as can be provided as                number of cars and tonnage set for the
                                                 additional clarification is that an MU                  to the characteristics of the geographic              operation, FRA included a requirement
                                                 locomotive is both a locomotive and a                   area through which the trains will                    to provide the number and frequency of
                                                 car that can transport passengers, and                  operate (e.g., population density and                 the trains involved to help fill out the
                                                 this exception will not cover a                         proximity to environmentally sensitive                description of the operation from both a
                                                 passenger train operation containing                    areas), the terrain over which the trains             historical perspective and a frequency of
                                                 either single or multiple MU                            will be operated, industries or                       risk view. The information required in
                                                 locomotives. FRA has further clarified                  communities served, and track                         the written notice will permit FRA to
                                                 the MU locomotive exceptions for                        segments, territories, divisions, or                  identify these operations and evaluate
                                                 passenger trains in § 218.125(c). For                   subdivisions operated over. In addition,              how well each railroad has addressed
                                                                                                         each Class II or III railroad with a legacy           the hazards and risk of the operation.
                                                 one-person train crew lite locomotive
                                                                                                         one-person train crew freight operation                  Paragraph (b)(8) will require a railroad
                                                 train operations, FRA permits a railroad
                                                                                                         will also need to include business                    to state in its written notice whether the
                                                 to phase in the additional requirements
                                                                                                         records or other written documents as                 one-person train crew operation hauls
                                                 in paragraph (c) according to the
                                                                                                         part of the written notice submission to              hazardous materials of any quantity or
                                                 implementation schedule specified.
                                                                                                         show that the legacy operation was                    type, and the approximate percentage of
                                                    Paragraph (b) contains a list of the                 established for at least the two years                carload traffic in the one-person train
                                                 minimum written notice requirements                     before the effective date of this final               crew operation that involves hazardous
                                                 for those operational exceptions in                     rule. For example, documentation could                materials. A one-person train crew
                                                 paragraph (a) that require it, i.e., the                show that a railroad established a legacy             operation that does not haul hazardous
                                                 exceptions for a Class II or III railroad’s             one-person train crew freight operation               materials would present less risk than
                                                 legacy one-person train crew freight                    running 3 days per week for 5 years                   one that does, all else being equal. FRA
                                                 operation and for the Class II or III                   without incident. That kind of                        will require a railroad to approximate
                                                 freight railroad that wants to initiate a               information would show the extent of                  the percentage of carload traffic in the
                                                 train operation staffed with a one-                     the operation and the safety record.                  one-person train crew operation that is
                                                 person train crew that is not                           Further, such a legacy operation must                 hazardous materials in its written
                                                 transporting hazardous materials of the                 identify the current parameters of the                notice, as each railroad should be
                                                 types or quantities specified in                        operation’s location and should not                   considering it as a factor in its business
                                                 § 218.123(c). This notice requirement is                expand the parameters based on plans                  decision to deploy such an operation
                                                 based on the proposed special approval                  for future expansion, as doing so would               under the exceptions to a minimum
                                                 petition requirements in the NPRM for                   be initiating a new operation. FRA                    two-person train crew mandate.
                                                 requesting either the continuance of a                  expects that a Class III railroad is likely           Considering other issues related to the
                                                 legacy one-person train operation in                    to describe its legacy operation as                   operation’s size and scope and
                                                 proposed § 218.131(b) or for requesting                 covering the entire railroad but also                 understanding the quantity and type of
                                                 the initiation of train operations with                 expects some short lines to describe an               hazardous materials hauled will help
                                                 fewer than two crewmembers in                           operation covering only a portion of its              FRA evaluate the risks posed by an
                                                 proposed § 218.133(b). The written                      railroad. In comparison, FRA would                    excepted operation that is required to
                                                 notice requirements in this final rule                  expect a larger Class II regional railroad            file written notice.
                                                 will require each railroad that will be                 to describe an operation that covers only                Paragraph (b)(9) will require each
                                                 using one of these exceptions to provide                a portion of the railroad as it might find            railroad that must file written notice to
                                                 FRA, by email, with largely the same                                                                          include information about whether the
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                                                                                                         only some aspects of their entire
                                                 information as the NPRM proposed for                    operation were conducive to one-person                railroad places any limitations on a
                                                 these operations, while eliminating the                 train crews. A railroad that cannot                   person operating as a one-person train
                                                 proposed special approval process.                      provide records kept in the normal                    crew. FRA expects that some railroads
                                                 While the written notice requirements,                  course of business to support a legacy                will limit a one-person train crew by
                                                 in lieu of a special approval requirement               operation can consider submitting                     establishing a maximum number of
                                                 that includes a risk assessment, will                   affidavits from the railroad’s employees,             miles or hours the person may work
                                                 substantially lessen a railroad’s burden                supervisors or managers, or others, in                during a single tour of duty. It is also


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                                                 possible that a railroad will establish a               certain ‘‘accidents/incidents’’ 317 to                    Paragraph (c) permits FRA to enforce
                                                 fatigue mitigation plan voluntarily and                 FRA, FRA cannot accurately determine                   a violation of an operating rule required
                                                 other railroads will establish such a                   from that reported information which, if               under this paragraph in the same way as
                                                 plan because a Federal requirement                      any, reportable accidents/incidents are                if the person violated the requirements
                                                 specifies that they do so.316 Although                  attributable to a railroad’s one-person                of this section directly. The paragraph
                                                 this final rule does not require a fatigue              train crew operation. FRA expects that                 clarifies that a ‘‘person’’ will not be
                                                 mitigation plan, the written notice                     each railroad will have more                           limited to a railroad employee, and may
                                                 requirement will allow FRA to consider                  information about its own accidents/                   include each railroad, railroad officer, or
                                                 this additional information when                        incidents and can identify the data that               supervisor. Contractors that act in any of
                                                 evaluating how each railroad will                       applies to its legacy operation. The                   those capacities will also be considered
                                                 implement strategies for reducing                       railroad must narrow the requested data                a person subject to FRA’s jurisdiction.
                                                 railroad worker fatigue, such as                        to the location of the legacy operation                   Paragraphs (c)(1) and (2) require each
                                                 improving the predictability of                         that the railroad has identified in its                railroad with an applicable one-person
                                                 schedules, considering the time of day                  written notice and only send additional                train crew operation to adopt and
                                                 the railroad permits one-person train                   accident/incident data that pertains to                comply with operating rules that cover
                                                 crews to operate, and educating workers                 the legacy operation subject to the                    certain safety concerns. These
                                                 about fatigue and sleep disorders. This                 railroad’s written notice.                             additional requirements for the
                                                 information may also permit FRA to                         Paragraph (b)(14) is a catch-all                    adoption of minimum operating rules
                                                 revisit these types of concerns and                     provision that permits a railroad filing               are mostly based on the proposed
                                                 compare mitigating actions across the                   a written notice to submit any other                   requirements in the NPRM for
                                                 industry.                                               information describing protections that                requesting either the continuance of a
                                                    Paragraph (b)(11) will require a                     are or will be implemented to support                  legacy one-person train operation in
                                                 detailed description of any technology                  the safety of the one-person train crew                proposed § 218.131(b)(12) and (13) or
                                                 that is used to perform tasks typically                 operation that the railroad wants to                   the initiation of train operations with
                                                 performed by a second crewmember or                     share with FRA to justify the safety of                fewer than two crewmembers in
                                                 that prevents or mitigates the                          the operation. FRA expects that some                   proposed § 218.133(b)(12) and (13).318
                                                 consequences of accidents or incidents.                 railroads would have completed a risk                     Similar to the proposal in the NPRM,
                                                 The technologies described must be                      assessment, a safety analysis, or                      paragraph (c)(1)(i) requires a railroad
                                                 already installed and operational, with                 compiled a safety data report before                   with a one-person train crew operation
                                                 all FRA approvals as necessary, so that                 implementing a one-person train crew                   to adopt and comply with operating
                                                 the functionality and impact of the                     operation and that the railroad will                   rules that address: (A) a release of any
                                                 technology on the operation is                          share that information to show FRA                     hazardous material; (B) any accident/
                                                 understood and can be effectively                       how the hazards were, and will                         incident regardless of whether it is
                                                 communicated to FRA.                                    continue to be, mitigated, so that                     reportable to FRA under part 225; (C) a
                                                    Paragraph (b)(12) will require that the              operation is as safe or safer than a two-              request from an emergency responder to
                                                 railroad’s mandatory notice include a                   person minimum train crew operation.                   unblock a highway-rail grade crossing in
                                                 copy of any railroad rule or practice that                 Paragraph (c) contains a list of                    response to a potentially life-threatening
                                                 applies to the one-person train crew                    requirements that apply to all five                    situation; (D) a train or on-track
                                                 operation but does not apply to train                   exceptions described in paragraph (a).                 equipment derailment; (E) a disabled
                                                 crew operations with two or more                        FRA encourages each railroad to                        train; and (F) an illness, injury, or other
                                                 crewmembers. Receiving this                             implement these additional                             incapacitation of the one-person train
                                                 information will assist FRA in                          requirements as quickly as possible,                   crewmember. This requirement will
                                                 evaluating the safeguards each railroad                 consistent with the implementation                     ensure that each railroad with a one-
                                                 has voluntarily implemented and to                      schedule in this final rule that phases in             person train crew operation has
                                                 evaluate future effectiveness of these                  requirements for some of the operational               operating rules specifying how the
                                                 types of rules or practices.                            exceptions to the two-person train crew                railroad will respond to these types of
                                                    Paragraph (b)(13) will require each                  mandate. Compliance with the adoption                  events and therefore will be prepared to
                                                 Class II or III railroad, seeking to                    of operating rules that ensure mitigation              take mitigating measures knowing that a
                                                 continue a legacy freight train operation               measures for certain safety-critical                   second crewmember will not be
                                                 staffed with a one-person train crew, to                situations specified, establish radio or               traveling on the train and available to
                                                 include with its written notice five (5)                wireless communications with a one-                    assist in a response. Although similar to
                                                 years of the accident and incident data                 person train crew that is as safe or safer             the proposal in the NPRM, the various
                                                 required by part 225 of this chapter, for               than a two-person train crew for train                 operating rule requirements that applied
                                                 the operation identified and that the                   operations and crewmember safety, and                  only to the proposed continuance of
                                                 railroad can attribute to a one-person                  require that a one-person train crew’s                 legacy train operations staffed with a
                                                 train crew operation. If the operation                  controlling locomotive is equipped with                one-person crew or for the initiation of
                                                 was established between two to five                     a functioning and tested alerter will                  train operations staffed with fewer than
                                                 years before the effective date of the                  improve the immediate safety of the                    two crewmembers raise broadly
                                                 final rule, then the railroad will provide              operation. The establishment of an                     applicable safety concerns for almost all
                                                 the accident and incident data for the                  implementation schedule for the four                   one-person train crew operations;
                                                 operation from the date the operation
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                                                                                                         exceptions covering some existing                      therefore, FRA determined these
                                                 was established. Although current                       operations will allow these operations                 requirements are necessary for all the
                                                 regulations require the railroad to report              time to, as necessary, install alerters,               exceptions permitted by this section,
                                                                                                         adopt operating rules, and/or hire and                 not only the ones similar to the
                                                    316 87 FR 35660 (June 13, 2022) (publishing a
                                                                                                         qualify additional train crewmembers.                  requirements as proposed in the NPRM.
                                                 final rule on ‘‘Fatigue Risk Management Programs
                                                 for Certain Passenger and Freight Railroads’’
                                                 effective July 13, 2022, and codified in 49 CFR part      317 49 CFR 225.5 (defining four different types of     318 87 FR at 45617–19 (citing proposed exceptions

                                                 270, subpart E and 49 CFR part 271, subpart G).         accidents or incidents).                               under §§ 218.127 through 218.131).



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                                                    The requirement that the operating                   requirements specified in paragraph                   railroad will monitor the train’s real-
                                                 rule address a disabled train does not                  (c)(2), and discussed below, will help                time progress, the crewmember must
                                                 depend on the cause, which could                        each railroad with a one-person train                 contact another person who would be
                                                 include a track washout or other severe                 crew operation to keep in close                       expected to act if communication is lost
                                                 weather event, mechanical breakdown,                    communication with a one-person train                 longer than what is specified by the
                                                 accident, or other circumstances that                   crewmember and, under this                            operating rule; 321 and (4) the railroad
                                                 prevent the train from moving. In some                  requirement, the railroad will need to                must establish procedures for when to
                                                 circumstances, a significant operational                specify who will act and how, and plan                initiate search-and-rescue operations if
                                                 issue could disable a one-person crew’s                 out how fast the reaction times will be               all radio or wireless communication is
                                                 train (e.g., if the one crewmember’s                    to ensure the crewmember’s safety.                    lost with a one-person train
                                                 hours of service expired, and the                          Paragraph (c)(1)(i) lists the types of             crewmember because the safety of the
                                                 railroad has not adequately prepared to                 situations that each affected railroad                one-person train crewmember is always
                                                 retrieve and replace the                                must address. The situations listed                   a fundamental safety concern that a
                                                 crewmember).319 A one-person train                      could involve responses requiring                     railroad can plan for and address in an
                                                 crew could also be considered disabled                  protocols for mitigation measures                     operating rule.
                                                 from an operational view if the railroad                because each situation may include                       Paragraph (c)(3) requires each railroad
                                                 assigns a one-person crewmember that                    potential harm to rail employees, the                 with an applicable one-person train
                                                 is unqualified to operate over the                      public, or the environment. It is                     crew operation to equip the operation’s
                                                 territory assigned and the crewmember                   fundamental to rail safety that each                  controlling locomotive with a
                                                 is not provided with a qualified pilot. In              railroad have an unambiguous operating                functioning alerter that is operating as
                                                 that circumstance, the one-person train                 rule addressing such mitigation                       intended and requires that a one-person
                                                 crewmember might not be able to move                    measures and that by doing so the                     train crewmember test the alerter to
                                                 the train or might be operationally                     railroad will demonstrate that it will be             confirm it is working before departure
                                                 limited in how the train can be moved                   prepared to respond as quickly as it                  from each initial terminal, or prior to
                                                 thereby equating to a disabled train                    would if the train were crewed with a                 being coupled as the lead locomotive in
                                                 situation caused by physical                            two-person crew. All of the situations                a locomotive consist. This requirement
                                                 breakdowns in equipment, track, or                      listed are foreseeable events on a                    is therefore consistent with
                                                 signal systems. A railroad would not                    railroad (and a railroad should in any                requirements in § 229.140 of this
                                                 have to adopt or comply with an                         case seek to prevent, and mitigate the                chapter for ensuring that an alerter is
                                                 operating rule to address operational                   impact of, such situations). All railroad             functioning and operating as intended.
                                                 delays typical of normal railroad                       employees and supervisors must have                   Class I and II railroads that generally
                                                 operations, such as one train waiting in                clearly described roles and                           have newer locomotives, placed into
                                                 a siding for another to pass, as that                   responsibilities, and all logistics                   service on or after June 10, 2013, or
                                                 operational activity would not be                       involved and expected response times                  permit the controlling locomotives to
                                                 considered disabling the train; FRA                     must be clearly described. The                        operate at speeds in excess of 25 mph,
                                                 expects that each railroad is trying to                 reasonableness of the logistics and                   will already have locomotives with
                                                 optimize its performance and would                      expected response times of each                       installed alerters that comply with
                                                 avoid unnecessary operational delays                    operation will depend on the scope of                 FRA’s requirements; thus, the issue of
                                                 whenever possible.                                      the operation and the potential impact                adding an alerter and operating rules
                                                    In addition to addressing disabled                   on the public.                                        that address the safety of that alerter
                                                 trains, this final rule requires that the                  Paragraph (c)(2) requires that each                will largely be an issue for Class III
                                                 railroad’s operating rule address, at a                 railroad have an operating rule to ensure             railroads whose locomotives may lack
                                                 minimum, several other types of                         radio or wireless communications with                 such an alerter or have an older style of
                                                 situations. For instance, the operating                 a one-person train crew can provide a                 alerter installed.322 That is, FRA is
                                                 rule must address an accidental or non-                 level of safety for train operations and              aware that some Class II and III freight
                                                 accidental release of any hazardous                     crewmember safety that is as safe or                  railroads have alerters that do not meet,
                                                 material. This means that any release of                safer than a two-person train crew. The               and are excepted from, these
                                                 a hazardous material must be covered                    paragraph specifies that the required                 requirements. FRA also recognizes it
                                                 whether caused by a train collision or a                operating rule must cover four safety                 may be less expensive to install a basic
                                                 non-accidental release (e.g., a release                 concerns: (i) the one-person train crew               alerter that lacks all the functions of an
                                                 caused by an offeror not properly                       must have a working radio or working                  alerter meeting FRA’s current
                                                 preparing a shipment for                                wireless communications on the                        requirements. To address this issue,
                                                 transportation). All derailments,                       controlling locomotive appropriate for                FRA will allow each railroad that limits
                                                 accidents, and incidents must also be                   railroad communications to cover those                the one-person train crew’s operation to
                                                 addressed by operating rule. In addition,                                                                     a maximum authorized speed of 25 mph
                                                                                                         operations, even if the railroad is not
                                                 a railroad’s operating rule must also                                                                         to use a locomotive alerter that does not
                                                                                                         otherwise required to supply them; 320
                                                 address requests from an emergency                                                                            otherwise meet the requirements for
                                                                                                         (ii) the train dispatcher or operator must
                                                 responder to unblock a highway-rail                                                                           alerters in § 229.140, if the alerter has a
                                                                                                         confirm with the one-person train
                                                 grade crossing in response to a                                                                               manual reset and will result in a penalty
                                                                                                         crewmember that the train is stopped
                                                 potentially life-threatening situation.                                                                       brake application that brings the
                                                    Further, as required by paragraph                    before conveying a mandatory directive;
                                                                                                                                                               locomotive or train to a stop if not
                                                                                                         (iii) whenever a one-person train
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                                                 (c)(1)(i)(F), the operating rule will need                                                                    properly acknowledged. Of course, if
                                                 to include mitigation measures to                       crewmember can anticipate that radio or
                                                 ensure the safety of the one-person train               wireless communication will be lost,                    321 The person who would receive such a

                                                 crewmember will be addressed in case                    e.g., when entering a tunnel, unless a                communication would typically be a dispatcher.
                                                                                                                                                               However, for railroads that do not use dispatchers,
                                                 of illness, injury, or another                             320 Although not a requirement, FRA encourages     the person might be a supervisor or manager, an
                                                 incapacitation. The communication                       each railroad to provide a redundant electronic       intermittently assisting crewmember, or another
                                                                                                         device when possible, as FRA’s requirement is only    railroad employee.
                                                   319 87 FR at 45597.                                   a safety minimum.                                       322 49 CFR 229.140(a).




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                                                 the railroad is required to have an                     contact information for the railroad’s                approval for the operation and to
                                                 alerter that complies with § 229.140,                   primary point of contact on the                       comply with the requirements in
                                                 this provision does not provide an                      operation. Second, FRA may identify                   § 218.129(c). The paragraph thus
                                                 alternative to that existing requirement.               existing safety hazards with any aspect               requires those operations to have
                                                                                                         of the one-person train crew operation                operating rules that address taking
                                                 Section 218.131 Special Approval
                                                 Petition Requirements for Train                         and will coordinate with the railroad                 mitigation measures under specified
                                                 Operations Staffed With a One-Person                    about such safety hazards that are                    situations, operating rules addressing
                                                 Train Crew                                              required to be corrected, could be                    the communication and safety concerns
                                                                                                         readily mitigated, or otherwise should                associated with a one-person train crew
                                                    This section, which is based on                      be addressed. For example, if FRA finds               operation, and operating rules requiring
                                                 proposed § 218.133, has a modified                      that the operation is occurring over                  a one-person train crew’s controlling
                                                 section heading to clarify that the                     track or with rolling equipment that                  locomotive to be equipped with a
                                                 section’s requirements regarding the                    does not meet existing Federal                        functioning alerter and the testing of
                                                 special approval petition will cover all                standards, the railroad will need to                  that alerter to determine it is
                                                 special approval petition requirements,                 coordinate with FRA on remedial action                functioning, in addition to requiring a
                                                 thus including requirements for both the                to redress the problems and to provide                special approval petition that includes a
                                                 initiation of new operations and                        assurances that the railroad will prevent             risk assessment.
                                                 potentially the continuation of some                    future occurrences. Similarly, although
                                                 existing operations that are not                                                                                 Paragraph (a)(4) was originally
                                                                                                         a railroad will address safety hazards in
                                                 otherwise exempted; on this issue, the                                                                        proposed as § 218.133(a)(2), and the
                                                                                                         the risk assessment submitted as part of
                                                 proposed section was limited to the                                                                           requirements are the same as proposed.
                                                                                                         a special approval petition, FRA will
                                                 special approval petition requirements                                                                        Accordingly, the analysis provided in
                                                                                                         examine the existing operation for safety
                                                 for only the initiation of train operations                                                                   the NPRM is applicable for this
                                                                                                         concerns to ensure such concerns are
                                                 staffed with fewer than two                                                                                   paragraph.323
                                                                                                         addressed to protect the safety of the
                                                 crewmembers. Also, as changed in other                  one-person train crewmember or the                       Paragraph (b), which is based on
                                                 sections, the ‘‘fewer than two                          communities that the trains pass                      proposed § 218.133(b), contains the
                                                 crewmembers’’ phrase has been                           through. Third, the railroad must submit              minimum petition requirements for a
                                                 replaced for clarity with ‘‘a one-person                its special approval petition meeting all             railroad to request FRA’s special
                                                 train crew,’’ as this final rule only                   the requirements for such a petition no               approval to initiate a train operation
                                                 addresses one-person train crew                                                                               with a one-person train crew that is not
                                                                                                         later than 60 days after the effective date
                                                 operations and does not apply to                                                                              otherwise permitted by one of the
                                                                                                         of the final rule. This deadline is
                                                 autonomous operations.                                                                                        exceptions. FRA expects that a petition
                                                    Similar to the NPRM, paragraph (a)(1)                necessary so that the review and
                                                                                                         decision-making process for these                     meeting these minimum requirements
                                                 prohibits a railroad from operating a
                                                                                                         operations of less than two years can be              will contain sufficient information for
                                                 train with a one-person train crew
                                                                                                         processed quickly. As a practical matter,             FRA to issue a decision. In the NPRM,
                                                 unless it receives special approval for
                                                 the operation as required by this subpart               during the interim 60-day period from                 FRA stated that it would determine
                                                 or the operation complies with one of                   the effective date of the rule until the              whether approving the petition
                                                 the exceptions specified in §§ 218.125                  special approval petition deadline, a                 operation is ‘‘consistent with railroad
                                                 through 218.129. This paragraph has an                  railroad may consider changing its one-               safety.’’ In this final rule, FRA will be
                                                 option that will allow a railroad with an               person train crew operation to avoid                  determining whether approving the
                                                 existing operation that is not otherwise                having to submit a special approval                   operation described in the petition is
                                                 excepted to continue that operation in                  petition by adding a second                           ‘‘as safe or safer’’ than a two-person
                                                 the interim period before it receives                   crewmember or changing aspects of the                 train crew operation. The reason for
                                                 FRA’s decision on a special approval                    operation so that the operation                       changing the standard to ‘‘as safe or
                                                 petition. For example, this option would                otherwise complies with this final rule;              safer’’ is to coincide with the risk
                                                 apply to a Class II or III railroad’s                   in such circumstances, the railroad                   assessment that a railroad must include
                                                 existing one-person train crew freight                  would no longer need to avail itself of               as part of its petition. In the risk
                                                 operation transporting hazardous                        this option. Because the final rule                   assessment, a railroad will compare the
                                                 materials of the types or quantities                    expressly permits a railroad to continue              risks associated with the one-person
                                                 specified in § 218.123(c) that was                      the operation in accordance with the                  train crew operation to those associated
                                                 initiated less than two years before the                requirements in this section ‘‘pending                with the operation if it were performed
                                                 effective date of the final rule (and                   FRA’s decision on the railroad’s special              by a two-person train crew.
                                                 therefore does not qualify for the legacy               approval petition,’’ if FRA requires                  Accordingly, FRA will approve a
                                                 operation exception in § 218.129(a)(1)).                additional information or requests                    petition for a one-person train crew
                                                 As provided in paragraph (a)(2), there                  modifications after receiving the                     operation only where the risk
                                                 are three conditions for continuing that                petition, the railroad will have the                  assessment shows that it will be as safe
                                                 operation during this interim period                    discretion to continue the operation                  or safer than a two-person train crew
                                                 before FRA decides on the special                       until FRA issues a decision on the                    operation.
                                                 approval. First, the railroad must submit               petition.                                                Where the requirements in paragraph
                                                 a written notice by email to FRA no                        As discussed in the response to                    (b) are substantively different than
                                                                                                         comments above, paragraph (a)(3) has
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                                                 later than 15 days after the effective date                                                                   proposed, this analysis will address
                                                 of the final rule. The written notice                   been added to the final rule. Each                    those differences.324 Otherwise, because
                                                 must include a summary of the                           freight railroad seeking to either initiate           the changes from the proposed rule will
                                                 railroad’s operation, which is not                      or continue a train operation with a one-             not change the paragraph’s meaning, the
                                                 expected to be as thorough as the                       person train crew that may transport
                                                 description provided with the special                   hazardous materials of the types or                     323 87 FR 45597.

                                                 approval petition that will be filed later.             quantities specified in § 218.123(c) is                 324 FRA notes that it did not adopt proposed

                                                 The written notice must also include the                required to receive FRA’s special                     paragraph § 218.133(b)(14) in this final rule.



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                                                 analysis provided in the NPRM is                        to minimize or mitigate the risks to an               and description of all functions, duties,
                                                 applicable for this final rule.325                      acceptable level. For this rule, a risk               and tasks associated with the operation
                                                    Paragraph (b)(8) will require a railroad             assessment is the process of                          of a train as proposed, performed by the
                                                 to state in its petition for special                    determining, either quantitatively or                 one-person train crewmember, other
                                                 approval whether the railroad is seeking                qualitatively, or both, whether the level             railroad employee(s), or equipment; (2)
                                                 approval to transport hazardous                         of risk associated with a proposed one-               a description of the allocation of all
                                                 materials of any quantity and type. The                 person train operation, when mitigated,               functions, duties, and tasks to the one-
                                                 term ‘‘hazardous materials’’ is defined                 is as safe or safer than the same                     person train crewmember, other railroad
                                                 by PHMSA in 49 CFR 171.8. The final                     operation operated with a two-person                  employee(s), or equipment; (3) a risk-
                                                 rule differs from the NPRM in that it                   crew minimum.                                         based hazard analysis for the proposed
                                                 contains the additional requirement that                   In this final rule, FRA has modified               train operation’s functions, duties and
                                                 a railroad answer whether it is                         the risk assessment process and                       tasks that will identify new hazards,
                                                 transporting hazardous materials listed                 standard from the NPRM for several                    changes to existing hazards and/or
                                                 in § 218.123(c), because those are the                  reasons described above in the                        changes to the risk of an existing hazard
                                                 materials identified as posing the                      discussion of comments and                            associated with the proposed train
                                                 greatest safety and security risks in                   conclusions and further summarized                    operation, as compared to a two-person
                                                 transportation.                                         here. The overall approach was to                     minimum train crew operation, and
                                                    Paragraph (b)(13) requires a railroad                remove proposed requirements that                     then once mitigated, demonstrate that
                                                 to submit with a special approval                       might be viewed as difficult to meet and              the proposed operation is as safe or safer
                                                 petition a copy of a railroad operating                 to provide railroads with more                        than a train operation with a two-person
                                                 rule that will apply to the proposed                    flexibility in adopting a risk assessment             minimum train crew; and (4) a
                                                 train operation(s) with a one-person                    approach. One major difference from the               mitigation plan that documents the
                                                 train crew, and which complies with the                 NPRM led FRA to revisit aspects of the                design and implementation timeline of
                                                 requirements of § 218.129(c)(1) to                      proposed quantitative risk-based hazard               the sustained mitigation strategies to
                                                 ensure rail employees can take                          analysis and move it to appendix E,                   eliminate or reduce the overall risk to a
                                                 mitigation measures that provide a level                where it has been identified as one risk              level such that the one-person train
                                                 of safety that is as safe or safer than a               assessment approach. Although some                    crew operation is as safe or safer than
                                                 two-person train crew operation to                      commenters objected to the proposed                   a two-person minimum train crew
                                                 address certain situations with the one-                version of this approach, FRA is                      operation considering mitigation design
                                                 person train crew operation. In the                     retaining the overall approach in the                 and human factors, at a minimum.
                                                 NPRM, FRA described a disabled-train/                   rule, so it is readily available to those
                                                 post-accident protocol, which largely                   railroads who may want to apply an                       Using the information gathered in
                                                 proposed the same requirement as in                     objective approach that is already                    response to paragraphs (a)(1) and (2),
                                                 this final rule. The final rule provides                approved by FRA. Similarly, FRA is also               paragraph (a)(3) requires a railroad to
                                                 clarity to the types of situations that will            addressing the concerns raised relating               complete a risk-based hazard analysis
                                                 be required to be addressed in such an                  to a quantitative assessment that                     that involves multiple steps. The first
                                                 operating rule. The final rule also will                calculates a mean time to hazardous                   step, under paragraph (a)(3)(i), will be to
                                                 require the same operating rule for an                  event, noting that not all railroads may              identify any new hazards, changes to
                                                 exception to the two-person train crew                  have the historical safety data to                    existing hazards, and/or changes to the
                                                 mandate under § 218.129(c)(1) as it will                perform the calculations required in the              risk of an existing hazard associated
                                                 for an exception permitted by special                   NPRM with the level of statistical                    with the proposed one-person train
                                                 approval under this section. As                         confidence. Addressing the issue of                   operation, as compared a two-person
                                                 proposed in the NPRM, the final rule                    flexibility in adopting an approach, the              minimum train crew operation. A
                                                 will also permit a passenger train                      risk-based hazard analysis in the final               ‘‘hazard,’’ as defined in § 218.5, is an
                                                 operation, with an approved emergency                   rule provides for a comparison, allowing              existing or potential condition that can
                                                 preparedness plan under part 239, to                    for a qualitative approach as well as a               lead to an unplanned event or series of
                                                 omit this requirement as duplicative.                   quantitative approach, including use of               events (i.e., mishap) that can cause an
                                                    Paragraph (c) did not change from the                both approaches in the overall analysis.              accident or incident; injury, illness, or
                                                 NPRM and provides railroads notice                      These changes are consistent with the                 death; damage to or loss of a system,
                                                 that FRA may request any additional                     system safety program and risk                        equipment, or property; or
                                                 information, beyond what the railroad                   reduction program rules, which require                environmental damage. Identifying
                                                 provided in the petition.                               a risk-based hazard analysis as part of               relevant hazards and preparing a hazard
                                                                                                         the risk-based hazard management                      analysis are fundamental to the process
                                                 Section 218.133 Risk Assessment                                                                               of assessing risk. This hazard analysis
                                                                                                         program. Providing for use of a similar
                                                 Content and Procedures                                                                                        must take account of all aspects of the
                                                                                                         form of analysis will help address
                                                    This section, which was proposed as                  concerns regarding the complexity and                 railroad’s system, including at a
                                                 § 218.135, contains the minimum                         burden of the risk assessment.                        minimum infrastructure, equipment,
                                                 requirements for a railroad’s risk                         Paragraph (a) of this section sets the             technology, work schedules, mode of
                                                 assessment under this subpart. As stated                minimum standards for the risk                        operation, operating rules and practices,
                                                 in the NPRM, the goal of a risk                         assessment’s content and analysis                     training and other areas impacting
                                                 assessment is to assess risk in an                      requirements while paragraph (b) allows               railroad safety. As mentioned with
                                                                                                                                                               regard to paragraph (a)(1), the operating
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                                                 objective manner by following a                         a railroad to use alternative risk
                                                 decision-making process designed to                     assessment methodologies and/or                       environment, as documented in the
                                                 systematically identify hazards, assess                 procedures if approved by the Associate               special approval petition as required by
                                                 the degree of risk associated with those                Administrator for Safety.                             § 218.131(b), must also be considered as
                                                 hazards, and based on those assessed                       Paragraphs (a)(1) through (4) require a            part of the hazard analysis. Next, under
                                                 risks, identify and implement measures                  railroad’s risk assessment to contain: (1)            paragraph (a)(3)(ii), each risk associated
                                                                                                         a complete description of the proposed                with the new or changed hazard must be
                                                   325 87 FR 45597–98.                                   operating environment, including a list               evaluated, either qualitatively or


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                                                 quantitatively, or both, in terms of the                conclusions from its review no later                  Appendix E to Part 218—Recommended
                                                 severity and likelihood of a mishap. The                than March 31 of the following year by                Procedures for Conducting Risk
                                                 third step, under paragraph (a)(3)(iii),                email. The final rule clarifies that the              Assessments
                                                 will be to identify mitigations that will               review and analysis that will be                         This appendix provides a quantitative
                                                 be put in place to minimize or eliminate                required is the annual report and that                risk-based hazard analysis methodology
                                                 any new or changed hazard or any                        the requirements in paragraphs (b) and                that may be used to meeting the
                                                 change to the risk of a hazard, and then                (c) of this section describe the                      requirements of § 218.133(a)(3) and is
                                                 recalculate in terms of severity and                    components of a railroad’s annual                     based upon the proposed requirements
                                                 likelihood the risk of a mishap. The                    report. Because, unlike the proposal in               in § 218.135 of the NPRM. It provides
                                                 fourth and final step, under paragraph                  the NPRM, the final rule will not require             one acceptable approach that may be
                                                 (a)(3)(iv), will require the railroad to                special approval for certain existing                 used by a railroad to prepare a risk-
                                                 provide a statement with supporting                     passenger and freight train operations                based hazard analysis, which is part of
                                                 evidence that the one-person train crew                 staffed with a one-person train crew,                 the risk assessment required by
                                                 operation with a fully implemented                      this section does not contain citations or            § 218.133. A railroad that is required to
                                                 mitigation plan, is as safe or safer than               references that include such operations               obtain FRA’s special approval under
                                                 a two-person minimum operation.                         as requiring an annual report.                        § 218.135 and complete a risk
                                                    The alternative standard in paragraph                                                                      assessment may adopt this approach. A
                                                 (b) has the same meaning as the                            Paragraph (b)(1)(ix) was changed from
                                                                                                         the proposed requirement to provide                   railroad that decides to modify this
                                                 requirement proposed in § 218.135(b),                                                                         approach or to use a completely
                                                 with the only change from the proposal                  clarity. In the NPRM, the proposed
                                                                                                         requirement would have required a                     different approach is required to
                                                 being that the term ‘‘Associate                                                                               petition FRA for approval under
                                                 Administrator’’ is clarified as the                     railroad to report the total number of
                                                                                                         instances where a person certified as                 § 218.133(b).
                                                 ‘‘Associate Administrator for Safety.’’                                                                          The recommended and acceptable
                                                 Thus, the analysis for this paragraph in                both a locomotive engineer and
                                                                                                                                                               approach is a quantitative risk-based
                                                 the NRPM applies the same.326                           conductor had a certification revoked
                                                                                                                                                               hazard analysis. A hazard analysis is
                                                                                                         for violation of an operating rule or
                                                 Section 218.135 Special Approval                                                                              performed to identify new or changed
                                                                                                         practice that occurred when the person
                                                 Procedure                                                                                                     hazards relating to the operation of a
                                                                                                         was in an FRA-approved train operation                one-person train crew, as compared to a
                                                   Other than deleting some cross-                       with fewer than two crewmembers. In                   two-person minimum train crew
                                                 references and updating the standard for                this final rule, a railroad will be                   operation, for purposes of eliminating,
                                                 a petition approval (i.e., as safe or safer),           required to report the total number of                or at least mitigating, those hazards,
                                                 this section is unchanged from proposed                 instances where a one-person train                    thus ensuring that the operation by a
                                                 § 218.137. Paragraph (e) contains the                   crewmember had a certification revoked                one-person train crew is as safe or safer
                                                 same requirements as in the proposed                    for violation of an operating rule or                 than that operating by a two-person
                                                 rule, except that the final rule organized              practice that occurred when the person                crew. Paragraph (a) describes the first
                                                 the requirements in a chronological                     was operating a one-person train crew                 step as identifying all new hazards,
                                                 order. Thus, the analysis provided in                   operation that received special approval              changes to existing hazards, or changes
                                                 the NPRM is applicable for this                         under this subpart. The change from the               to the risk of existing hazards, when
                                                 section.327 FRA encourages railroads to                 proposed rule will clarify that the                   comparing a one-person train crew
                                                 approach FRA should they have any                       annual report will require inclusion of               operation with a two-person minimum
                                                 questions or concerns about                             revocations of a locomotive engineer or               train crew operation. Paragraph (b)
                                                 demonstrating compliance with the                       conductor’s certification of the one-                 describes the quantitative approach to
                                                 requirements for train operations staffed               person train crewmember. The final rule               assessing the severity of each of the
                                                 with a one-person crew.                                 defines the ‘‘one-person train                        hazards identified under paragraph (a)
                                                 Section 218.137 Annual Railroad                         crewmember’’ to mean the single                       and the probability of occurrence.
                                                 Responsibilities After Receipt of Special               assigned person who is performing the                 Paragraph (c) describes the process for
                                                 Approval                                                duty of the locomotive engineer and is                applying sustained mitigation strategies
                                                                                                         traveling in the operating cab of the                 and the requirement to recalculate the
                                                    In the NPRM, this section was
                                                                                                         controlling locomotive when the train is              risk based on the implementation of
                                                 proposed as § 218.139. The changes
                                                                                                         moving as part of a one-person train                  those mitigation strategies. Paragraph
                                                 from the proposed rule are consistent
                                                                                                         crew in § 218.5. Thus, the final rule                 (d) describes how to prepare a risk
                                                 with other changes made in the final
                                                                                                         clarifies that a one-person train                     matrix that classifies the risks calculated
                                                 rule, and the section’s meaning has not
                                                                                                         crewmember can be a locomotive                        in paragraph (c) in terms of severity and
                                                 changed. Thus, the analysis provided in
                                                                                                         engineer alone and does not also need                 likelihood of each new hazard, change
                                                 the NPRM is applicable for this
                                                                                                         to be the train’s assigned conductor. The             to an existing hazard, or change to the
                                                 section.328 The following explanation
                                                                                                         final rule also clarifies that the annual             risk of an existing hazard.
                                                 provides additional information for
                                                                                                         report must capture the total number of                  Paragraph (e) describes how to
                                                 clarity.
                                                    Paragraph (a) requires each railroad                 instances where a one-person train                    prepare a risk report documenting the
                                                 that receives special approval to use an                crewmember’s locomotive engineer or                   basis for acceptability of all hazards not
                                                 operation with a one-person train crew                  conductor certification is revoked for a              eliminated through the risk assessment
                                                                                                         violation of an operating rule or practice            process, i.e., the residual risk associated
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                                                 under this subpart to conduct a formal
                                                 review and analysis each calendar year,                 that occurred when the person was                     with the remaining partially mitigated
                                                 of the one-person train crew operation,                 operating a one-person train crew                     or unmitigated hazards identified in the
                                                 and report to FRA its findings and                      operation receiving special approval                  risk matrix. Paragraph (f) describes that,
                                                                                                         under this subpart, and subtotals for                 for a railroad to exercise this option, it
                                                   326 87 FR 45603.                                      each type of certification revoked; i.e.,             must be able to conclude its risk
                                                   327 87 FR 45603–04.                                   whether it is a locomotive engineer or                assessment by issuing a statement with
                                                   328 87 FR 45604–05.                                   conductor certification revocation.                   supporting evidence, that the one-


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                                                 person operation with a fully                                           person train crews to submit a                                crew’s controlling locomotive with an
                                                 implemented mitigation plan, is as safe                                 notification to FRA and in some cases,                        alerter.
                                                 or safer than a two-person minimum                                      seek FRA approval for such an                                    FRA analyzed the economic impact of
                                                 operation.                                                              operation. The petition process requires                      this final rule. FRA estimated the costs
                                                 IV. Regulatory Impact and Notices                                       the submission of information to                              associated with alerters, operating rules,
                                                                                                                         determine if a proposed one-person                            notification to FRA, risk assessments
                                                 A. Executive Order 12866 as Amended                                     train crew operation will be as safe or                       and special approvals, annual reporting
                                                 by Executive Order 14094                                                safer than a two-person minimum train                         after receipt of special approval, and
                                                   This final rule is a significant                                      crew operation. Class II and Class III
                                                                                                                                                                                       Government administration. FRA
                                                 regulatory action within the meaning of                                 railroads not transporting certain types
                                                                                                                                                                                       qualitatively discusses the benefits but
                                                 Executive Order 12866 as amended by                                     or quantities of hazardous materials are
                                                                                                                                                                                       does not have sufficient data to
                                                 Executive Order 14094, Modernizing                                      required to submit a notification to FRA
                                                                                                                         when commencing one-person train                              monetize those benefits.
                                                 Regulatory Review,329 and DOT Order
                                                 2100.6A (‘‘Rulemaking and Guidance                                      crew operations, adopt and comply with                           FRA estimates the 10-year costs of the
                                                 Procedures’’). Details on the estimated                                 operating rules necessary to ensure the                       final rule to be $6.6 million, discounted
                                                 costs of this final rule can be found in                                one-person train crewmember’s safety                          at 7 percent. The annualized costs are
                                                 the RIA, which FRA has prepared and                                     and ensure the railroad is prepared to                        estimated to be $0.9 million discounted
                                                 placed in the docket (FRA–2021–0032).                                   take appropriate mitigation measures in                       at 7 percent. The following table shows
                                                   The final rule requires railroads                                     response to certain safety-critical                           the total costs of this final rule, over the
                                                 seeking to operate trains with one-                                     situations, and equip a one-person train                      10-year analysis period.

                                                                                                                           TOTAL 10-YEAR DISCOUNTED COSTS
                                                                                                                                                [2022 Dollars] 330

                                                                                                                                                                                                         Annualized    Annualized
                                                                                                                                                                     Total cost,       Total cost,          cost,         cost,
                                                                                                  Category                                                           7 percent         3 percent          7 percent     3 percent
                                                                                                                                                                        ($)               ($)                ($)           ($)

                                                 Alerters (Legacy Operations) ...........................................................................                 2,176,402       2,217,233          309,871       259,927
                                                 Alerters (New Operations) ...............................................................................                2,251,306       2,483,470          320,535       291,138
                                                 Operating Rules (Existing Operations) ............................................................                         119,954         119,954           17,079        14,062
                                                 Operating Rules (New Operations) .................................................................                         280,824         308,591           39,983        36,176
                                                 Notification (Existing Operations) ....................................................................                    185,114         185,114           26,356        21,701
                                                 Notification (New Operations) ..........................................................................                   111,133         122,593           15,823        14,372
                                                 Risk Assessment and Special Approval (Class I) ...........................................                                 560,745         570,571           79,837        66,888
                                                 Risk Assessment and Special Approval (Class II and III) ...............................                                    162,446         164,506           23,129        19,285
                                                 Risk Assessment (Material Modifications) .......................................................                            93,031         111,178           13,246        13,033
                                                 Annual Reporting .............................................................................................             182,821         221,284           26,030        25,941
                                                 Government Administrative Cost .....................................................................                       513,100         579,523           73,054        67,938

                                                       Total Costs ...............................................................................................        6,636,876       7,084,016          944,942       830,463



                                                    The primary benefit of this final rule                               currently verify are addressed by each                        operations by submitting a risk
                                                 is to ensure that each train is adequately                              railroad’s one-person train crew                              assessment to FRA for approval.
                                                 staffed and has appropriate safeguards                                  operations. These include public and                             A second crewmember performs
                                                 in place for safe train operations under                                rail employee concerns with the                               important safety functions that could be
                                                 all operating conditions. This final rule                               operational safety of a train operated by                     lost when reducing crew size to one
                                                 will also ensure that several significant                               a one-person crew, the operational                            person. The safety requirements in this
                                                 operational safety issues with one-                                     safeguards to protect that crewmember                         final rule will allow the rail industry to
                                                 person train crews are addressed and                                    in various situations, and the impact of                      continue, or initiate, train operations
                                                 allow FRA to collect information and                                                                                                  with a one-person train crew by
                                                                                                                         one-person train crew operations that
                                                 data on one-person train crews. For                                                                                                   ensuring that at least minimum safety
                                                                                                                         travel through communities and need to
                                                                                                                                                                                       requirements are met and that more
                                                 instance, FRA will close a safety issue                                 take action to mitigate consequences in                       complex operations make a concerted
                                                 by requiring alerters for Class II and III                              certain safety-critical situations. These                     effort to mitigate the risks of foreseeable
                                                 railroads operating with a one-person                                   are important safety issues when                              hazards.
                                                 train crew that do not already have                                     operating trains with one-person crews.
                                                 these safety devices installed on their                                                                                               B. Regulatory Flexibility Act and
                                                                                                                            For Class I railroads operating with                       Executive Order 13272
                                                 locomotives for that type of operation.                                 one-person train crews and Class II and
                                                 Alerters will ensure that if a                                          III railroads transporting certain types                         The Regulatory Flexibility Act of
                                                 crewmember becomes unresponsive, the                                                                                                  1980 331 and Executive Order 13272 332
                                                                                                                         and quantities of hazardous materials,
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                                                 train will apply emergency brakes—a                                                                                                   require agency review of proposed and
                                                                                                                         this rule will ensure the railroads
                                                 function typically left to a conductor or                                                                                             final rules to assess their impacts on
                                                                                                                         identify, evaluate, and address safety
                                                 other second crewmember. FRA will                                                                                                     small entities. An agency must prepare
                                                                                                                         concerns that may arise from such
                                                 also address issues that it cannot                                                                                                    a Final Regulatory Flexibility Analysis
                                                   329 88 FR 21879 (April 6, 2023) located at https://                      331 5 U.S.C. 601 et seq.

                                                 www.federalregister.gov/documents/2023/04/11/                              332 67 FR 53461 (Aug. 16, 2002).
                                                 2023-07760/modernizing-regulatory-review.



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                                                 (FRFA) unless it determines and                         comments received in response to the                  significant regulatory alternatives, for
                                                 certifies that a rule will not have a                   NPRM. All but two of these legacy                     additional public comment before
                                                 significant economic impact on a                        operations are on small railroads.                    proceeding.
                                                 substantial number of small entities.                   Therefore, FRA estimates there are                       As FRA has made several changes in
                                                 FRA prepared this FRFA to evaluate the                  approximately 73 small railroads                      the final rule from the proposal in the
                                                 impact of the final rule on small entities              currently operating that will be                      NPRM, FRA is publishing this FRFA to
                                                 and describe the effort to minimize the                 impacted by this final rule. FRA has                  aid the public in determining the impact
                                                 adverse impact because FRA did not                      also accounted for the cost for alerters              to small entities. FRA has adjusted the
                                                 make the determination necessary to                     in the final rule’s RIA. Based on                     costs and revised the final rule based on
                                                 avoid it.                                               ASLRRA’s comment, FRA has included                    public comments, including comments
                                                                                                         the estimated cost of $20,000 per alerter.            from small entities and SBA-Advocacy.
                                                 1. Statement of the Need for, and                          Further, FRA has revised the cost for              FRA also provided extra time and
                                                 Objectives of, the Rule                                 preparing risk assessments from the                   various opportunities (including a
                                                    Currently, the majority of trains                    estimates presented in the NPRM.                      public hearing) for interested parties,
                                                 operate with two crewmembers. The                       ASLRRA commented that current one-                    including small entities, to comment.
                                                 final rule helps ensure safe rail                       person operations hauling hazardous
                                                 operations when railroads are using                                                                           4. Description and Estimate of the
                                                                                                         materials would have to hire additional
                                                 one-person train crews, or plan to                                                                            Number of Small Entities to Which the
                                                                                                         employees because such operations
                                                 reduce train crew sizes from two or                                                                           Rule Will Apply
                                                                                                         would not be allowed under the
                                                 more crewmembers to a one-person                        proposed requirements. However, in the                   The Regulatory Flexibility Act of 1980
                                                 train crew, by prohibiting railroads from               final rule, Class III railroads will be               requires a review of proposed and final
                                                 taking on unacceptable levels of safety                 allowed to continue legacy one-person                 rules to assess their impact on small
                                                 risks with the potential to detrimentally               train crew operations that transport                  entities, unless the Secretary certifies
                                                 impact railroad employees, the public,                  hazardous materials of the types or                   that the rule would not have a
                                                 or the environment.                                     quantities specified in § 218.123(c),                 significant economic impact on a
                                                    This final rule requires that railroads              provided that they notify FRA.                        substantial number of small entities.
                                                 have appropriate safeguards in place for                Therefore, small railroads with such                  ‘‘Small entity’’ is defined in 5 U.S.C.
                                                 safe train operations, whenever a                       train operations will be able to continue             601 as a small business concern that is
                                                 railroad is operating with only one                     operating with one-person crews and                   independently owned and operated and
                                                 crewmember that travels on the train.                   will not need to hire additional                      is not dominant in its field of operation.
                                                 Although operations with one-person                     employees if they adhere to the                       The U.S. Small Business Administration
                                                 train crews already exist in the United                 requirements in this final rule. Class III            (SBA) has authority to regulate issues
                                                 States, this final rule will help ensure                railroads that would like to commence                 related to small businesses, and
                                                 consistency from State to State                         new one-person train crew operations                  stipulates in its size standards that a
                                                 regarding the safety of such operations,                transporting certain types and quantities             ‘‘small entity’’ in the railroad industry is
                                                 and it provides several paths forward for               of hazardous materials specified in the               a for profit ‘‘line-haul railroad’’ that has
                                                 railroads that wish to transition to one-               final rule will need to apply for special             fewer than 1,500 employees, a ‘‘short
                                                 person train crew operations.                           approval and conduct a risk assessment                line railroad’’ with fewer than 1,500
                                                 Additionally, the annual reporting                      but should not need to hire additional                employees, a ‘‘commuter rail system’’
                                                 requirement for operations that receive                 crewmembers to transition from a two-                 with annual receipts of less than $47.0
                                                 special approval will provide FRA with                  person train crew operation to a one-                 million dollars, or a contractor that
                                                 information regarding these one-person                  person train crew operation.                          performs support activities for railroads
                                                 train crew operations on a periodic basis                                                                     with annual receipts of less than $34.0
                                                 that is expected to be informative, allow               3. Response to Comments Filed by the                  million.333
                                                 for agency oversight, and lead to                       Chief Counsel for Advocacy of the Small                  Federal agencies may adopt their own
                                                 additional safety improvements.                         Business Administration                               size standards for small entities in
                                                                                                            FRA received a comment from SBA-                   consultation with SBA and in
                                                 2. Significant Issues Raised by Public                  Advocacy, asserting that FRA appears to               conjunction with public comment.
                                                 Comments                                                have significantly understated the cost               Under that authority, FRA has
                                                    FRA received several comments                        and number of small businesses that                   published a proposed statement of
                                                 related to the costs of the proposed rule.              would be impacted by the proposed                     agency policy that formally establishes
                                                 ASLRRA and short line railroads                         rule.                                                 ‘‘small entities’’ or ‘‘small businesses’’
                                                 submitted comments related to the                          As stated above, FRA has revised the               as railroads, contractors, and hazardous
                                                 proposed rule. Issues not concerning the                estimated number of small entities                    materials shippers that meet the revenue
                                                 economics of the rule have been                         impacted to 73 railroads with legacy                  requirements of a Class III railroad as set
                                                 discussed above in the discussion of                    operations, up from the original 7                    forth in 49 CFR part 1201, General
                                                 comments and conclusions. Comments                      estimated in the RIA for the NPRM.                    Instruction 1–1, which is $20 million or
                                                 were received from ASLRRA relating to                   Currently, approximately 75 railroads                 less in inflation-adjusted annual
                                                 the cost estimates and the number of                    operate some trains with one-person                   revenues,334 and commuter railroads or
                                                 small entities impacted by the rule.                    crews. All but two of those operations
                                                                                                                                                                  333 U.S. Small Business Administration, ‘‘Table of
                                                 ASLRRA’s concerns included not                          are small railroads. Therefore, FRA
                                                                                                                                                               Small Business Size Standards Matched to North
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                                                 accounting for the cost of alerters, too                estimates there are approximately 73                  American Industry Classification System Codes,
                                                 low of a cost estimate for risk                         small railroads currently operating that              March 27, 2023. https://www.sba.gov/sites/sbagov/
                                                 assessments, and a higher number of                     will be impacted by this final rule.                  files/2023-06/Table%20of%20Size%20Standards_
                                                 affected entities than what FRA                            SBA-Advocacy also commented that                   Effective%20March%2017%2C
                                                                                                         FRA should revise and republish its                   %202023%20%282%29.pdf.
                                                 estimated in the proposed rule.                                                                                  334 The Class III railroad revenue threshold is
                                                    In response to the affected number of                Initial Regulatory Flexibility Analysis               $46.3 million or less, for 2022. https://
                                                 entities, FRA has increased the estimate                (IRFA), or a Supplemental IRFA,                       www.ecfr.gov/current/title-49/subtitle-B/chapter-X/
                                                 to 75 legacy operations based on                        including further consideration of                    subchapter-C/part-1201.



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                                                 small governmental jurisdictions that                                         would be required to notify FRA and 34                                         special approval and conduct a risk
                                                 serve populations of 50,000 or less.335                                       that would require special approval                                            assessment. Class III railroads
                                                 FRA is using this definition for the final                                    from FRA. The following table shows                                            commencing one-person train crew
                                                 rule.                                                                         the estimated number of new one                                                operations not hauling the types or
                                                    When shaping the final rule, FRA                                           person operations per year on Class III                                        quantities specified in § 218.123(c) will
                                                 considered the impact that the final rule                                     railroads.                                                                     need to notify FRA of the operation but
                                                 would have on small entities. FRA has                                                                                                                        will not need to apply for special
                                                 provided exceptions to the two-person                                                                      Class III                  Class III
                                                                                                                                                                                                              approval. Those railroads will also need
                                                 crew requirement which would limit                                                                                                   railroads,
                                                                                                                                     Year                  railroads,                                         to comply with the requirements for
                                                                                                                                                                                       special
                                                 the impact on small entities. In                                                                         notification                approval                operating rules and alerters in
                                                 addition, tourist train operations that
                                                 are not part of the general system may                                                                                                                       locomotives of one-person train crews.
                                                                                                                               1 ................                         11                             7
                                                 operate with one-person crews.                                                2 ................                         11                             7       FRA estimates 73 one-person train
                                                    The final rule is applicable to all                                        3 ................                          5                             4    crew operations currently exist across
                                                 railroads, although only railroads that                                       4 ................                          5                             4    the Class III railroad industry. The
                                                 operate trains with one crewmember                                            5 ................                          3                             2    following table shows the estimated
                                                 would be affected. FRA estimates there                                        6 ................                          3                             2
                                                                                                                               7 ................                          3                             2    number of new one-person operations
                                                 are 768 Class III railroads, of which 734                                     8 ................                          3                             2    over the 10-year analysis. These
                                                 operate on the general system. These                                          9 ................                          3                             2    estimates are used throughout the
                                                 railroads are of varying size, with                                           10 ..............                           3                             2    analysis to estimate the impact to Class
                                                 approximately 250 Class III railroads                                                                                                                        III railroads.
                                                 belonging to larger holding companies.                                            Total ......                           50                             34
                                                    Many small railroads will qualify for                                                                                                                        Railroads currently operating trains
                                                 an exception under § 218.129, which                                              Some of those railroads may be some                                         with one-person crews that do not have
                                                 allows for one-person operations if a                                         of the same railroads already operating                                        an alerter installed in the locomotive
                                                 railroad is a legacy one-person freight                                       a legacy one-person operation. If a                                            will need to install an alerter in a one-
                                                 train operation, work train operation,                                        railroad is beginning a new operation                                          person train crew’s controlling
                                                 helper service train operation, or lite                                       that does not fall under the parameters                                        locomotive within two years of the
                                                 locomotive train operation staffed with                                       of the legacy operation, it will be                                            effective date of the final rule.
                                                 a one-person train crew. Those railroads                                      required to notify FRA or apply for
                                                                                                                               special approval, depending on the                                                Each alerter is estimated to cost
                                                 will not need to petition FRA for special
                                                                                                                               commodities transported. All new                                               $20,000 and each railroad would
                                                 approval for such an operation, nor will
                                                                                                                               operations will need to adopt and                                              require, on average, 1.5 alerters for one-
                                                 they be required to submit a risk
                                                 assessment. They will be required to                                          comply with operating rules for one-                                           person train crew operations. The
                                                 notify FRA of the operation and ensure                                        person train crew operations and equip                                         following table shows the cost to equip
                                                 that they adopt and comply with                                               a one-person train crew’s controlling                                          locomotives with alerters.
                                                 operating rules for the one-person                                            locomotive with an alerter.                                                       Class III railroads with legacy one-
                                                 operation and equip the one-person                                            5. Description of the Projected                                                person train crew operations required to
                                                 train crew’s controlling locomotive with                                      Reporting, Recordkeeping, and Other                                            install alerters will have up to two years
                                                 an alerter.                                                                   Compliance Requirements of the Rule                                            after the effective date of the final rule
                                                    FRA estimates that there are 73 legacy                                                                                                                    to install alerters. FRA estimates that the
                                                 operations on Class III railroads. Legacy                                        The final rule requires Class III
                                                                                                                                                                                                              cost will be split over the first two years.
                                                 operations will be required to notify                                         railroads to notify FRA of current one-
                                                                                                                                                                                                              The following table shows the 10-year
                                                 FRA of the operation and ensure that                                          person train crew operations. Those
                                                                                                                               operations must have operating rules                                           estimated cost for legacy Class III one-
                                                 they adopt and comply with operating
                                                                                                                               relevant to one-person train crews and                                         person train crew operations to equip
                                                 rules for the one-person operation and
                                                                                                                               equip one-person locomotives with                                              locomotives with alerters. The total
                                                 equip the one-person train crew’s
                                                 controlling locomotive with an alerter.                                       alerters. Class III railroads that                                             estimated 10-year cost will be $2.2
                                                 Over the 10-year analysis, FRA                                                commence one-person train crew                                                 million. The estimated annualized cost
                                                 estimates an additional 84 Class III                                          operations that transport hazardous                                            will be $301,607 (PV, 7%).
                                                 railroads will be impacted by this final                                      materials of the types or quantities
                                                 rule; this includes 50 railroads that                                         specified in § 218.123(c) must apply for

                                                                                TOTAL 10-YEAR COST FOR ALERTERS, CLASS III RAILROADS WITH LEGACY OPERATIONS
                                                                                                                                                                                                                               Present         Present
                                                                                                                                                                                                              Total cost
                                                                                                                       Year                                                                                                   value 7%        value 3%
                                                                                                                                                                                                                 ($)             ($)             ($)

                                                 1 ...................................................................................................................................................          1,095,000       1,095,000       1,095,000
                                                 2 ...................................................................................................................................................          1,095,000       1,023,364       1,063,107
                                                 3 ...................................................................................................................................................                  0               0               0
                                                 4 ...................................................................................................................................................                  0               0               0
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                                                 5 ...................................................................................................................................................                  0               0               0
                                                 6 ...................................................................................................................................................                  0               0               0
                                                 7 ...................................................................................................................................................                  0               0               0
                                                 8 ...................................................................................................................................................                  0               0               0
                                                 9 ...................................................................................................................................................                  0               0               0


                                                   335 See 68 FR 24891 (May 9, 2003) (codified at

                                                 appendix C to 49 CFR part 209).


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                                                                    TOTAL 10-YEAR COST FOR ALERTERS, CLASS III RAILROADS WITH LEGACY OPERATIONS—Continued
                                                                                                                                                                                                                                        Present                    Present
                                                                                                                                                                                                            Total cost
                                                                                                                       Year                                                                                                            value 7%                   value 3%
                                                                                                                                                                                                               ($)                        ($)                        ($)

                                                 10 .................................................................................................................................................                        0                           0                         0

                                                        Total ......................................................................................................................................            2,190,000                  2,118,364                  2,158,107
                                                        Annualized ............................................................................................................................         ........................             301,607                    252,996



                                                   The following table shows the cost for                                      alerters. The total estimated 10-year cost                                   annualized cost will be $296,791 (PV,
                                                 new one-person operations on Class III                                        will be $2.5 million. The estimated                                          7%).
                                                 railroads to equip locomotives with

                                                                                                    TOTAL 10-YEAR COST FOR ALERTERS, NEW CLASS III OPERATIONS
                                                                                                                         Number of
                                                                                                                         new one-                   Number of                   Total cost                                              Present                    Present
                                                                                                                                                                                                           Total cost
                                                                              Year                                         person                   alerters per                per alerter                                            value 7%                   value 3%
                                                                                                                                                                                                              ($)
                                                                                                                         operations                  operation                      ($)                                                   ($)                        ($)
                                                                                                                          per year

                                                                                                                                 a                          b                           c                d=a*b*c

                                                 1 ...............................................................                        18                        1.5                     20,000                540,000                     540,000                   540,000
                                                 2 ...............................................................                        18                        1.5                     20,000                540,000                     504,673                   524,272
                                                 3 ...............................................................                         9                        1.5                     20,000                270,000                     235,828                   254,501
                                                 4 ...............................................................                         9                        1.5                     20,000                270,000                     220,400                   247,088
                                                 5 ...............................................................                         5                        1.5                     20,000                150,000                     114,434                   133,273
                                                 6 ...............................................................                         5                        1.5                     20,000                150,000                     106,948                   129,391
                                                 7 ...............................................................                         5                        1.5                     20,000                150,000                      99,951                   125,623
                                                 8 ...............................................................                         5                        1.5                     20,000                150,000                      93,412                   121,964
                                                 9 ...............................................................                         5                        1.5                     20,000                150,000                      87,301                   118,411
                                                 10 .............................................................                          5                        1.5                     20,000                150,000                      81,590                   114,963

                                                        Total ..................................................      ........................   ........................    ........................           2,520,000                  2,084,539                  2,309,486
                                                        Annualized ........................................           ........................   ........................    ........................   ........................             296,791                    270,742



                                                   The final rule requires each freight                                        the safety of the train and that one-                                        Class III one-person train crew
                                                 railroad with a legacy one-person train                                       person train crewmember’s safety. Each                                       operations. This cost would be incurred
                                                 crew operation to adopt and comply                                            railroad will need approximately 12                                          only in year 1. Therefore, the total
                                                 with operating rules that establish                                           hours to formalize these operating rules.                                    estimated 10-year cost will be $108,106.
                                                 regular and effective communication                                             The following table shows the cost of                                      The estimated annualized cost will be
                                                 with a one-person train crew to ensure                                        formalizing operating rules for legacy                                       $15,392 (PV, 7%).

                                                                                             COST OF FORMALIZING OPERATING RULES, LEGACY CLASS III OPERATIONS
                                                                                                                                                                                                           Total cost                                          Total annual
                                                                                                                                                                               Hourly wage                                            Number of
                                                                                                                                                                                                               per                                             cost across
                                                                                 Type of employee                                                       Hours                     rate                                                  legacy
                                                                                                                                                                                                           notification                                          industry
                                                                                                                                                                                   ($)                                                operations
                                                                                                                                                                                                                ($)                                                 ($)

                                                                                                                                                            a                           b                   c=a*b                            d                    e=c*d

                                                 Senior Managers ..................................................................                                    4                    123.41                        494      ........................   ........................
                                                 Superintendents ...................................................................                                   4                    123.41                        494      ........................   ........................
                                                 Train Masters .......................................................................                                 2                    123.41                        247      ........................   ........................
                                                 Road Foreman .....................................................................                                    2                    123.41                        247      ........................   ........................

                                                        Total ..............................................................................                         12      ........................                  1,481                           73                108,106
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                                                   Class III railroads implementing one-                                       one-person train crew to ensure the                                          Class III one-person train crew
                                                 person train crew operations will be                                          safety of the train and that one-person                                      operations. It is estimated to take 12
                                                 required to adopt and comply with                                             train crewmember’s safety. The                                               hours per railroad for a total cost of
                                                 operating rules that establish regular                                        following table shows the cost of                                            $1,481 per railroad.
                                                 and effective communication with a                                            formalizing operating rules for new




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                                                                                                COST OF FORMALIZING OPERATING RULES, NEW CLASS III OPERATIONS
                                                                                                                                                                                                                                   Hourly wage                  Total cost
                                                                                                            Type of employee                                                                                  Hours                   rate                     per railroad
                                                                                                                                                                                                                                       ($)                          ($)

                                                                                                                                                                                                                 a                          b                    c=a*b

                                                 Senior Managers .........................................................................................................................                                  4                   123.41                         494
                                                 Superintendents ...........................................................................................................................                                4                   123.41                         494
                                                 Train Masters ...............................................................................................................................                              2                   123.41                         247
                                                 Road Foreman .............................................................................................................................                                 2                   123.41                         247

                                                        Total ......................................................................................................................................                      12      ........................                  1,481



                                                   The following table shows the total                                        for communication and emergency                                              year cost is $124,396. The annualized
                                                 10-year costs for Class III railroads to                                     situations specific to one-person train                                      cost is $14,651 (PV, 7%).
                                                 adopt and comply with operating rules                                        crew operations. The total estimated 10-

                                                                                            TOTAL 10-YEAR COSTS OF OPERATING RULES, NEW CLASS III OPERATIONS
                                                                                                                                                    Number of                   Total cost
                                                                                                                                                    new one-                                                                           Present                    Present
                                                                                                                                                                                   per                    Total cost
                                                                                           Year                                                       person                                                                          value 7%                   value 3%
                                                                                                                                                                                operation                    ($)
                                                                                                                                                    operations                                                                           ($)                        ($)
                                                                                                                                                                                   ($)
                                                                                                                                                     per year

                                                                                                                                                           a                           b                   c=a*b

                                                 1 ...........................................................................................                      18                      1,481                    26,656                     26,656                    26,656
                                                 2 ...........................................................................................                      18                      1,481                    26,656                     24,913                    25,880
                                                 3 ...........................................................................................                       9                      1,481                    13,328                     11,641                    12,563
                                                 4 ...........................................................................................                       9                      1,481                    13,328                     10,880                    12,197
                                                 5 ...........................................................................................                       5                      1,481                     7,405                      5,649                     6,579
                                                 6 ...........................................................................................                       5                      1,481                     7,405                      5,279                     6,387
                                                 7 ...........................................................................................                       5                      1,481                     7,405                      4,934                     6,201
                                                 8 ...........................................................................................                       5                      1,481                     7,405                      4,611                     6,021
                                                 9 ...........................................................................................                       5                      1,481                     7,405                      4,310                     5,845
                                                 10 .........................................................................................                        5                      1,481                     7,405                      4,028                     5,675

                                                        Total ..............................................................................     ........................   ........................              124,396                    102,901                   114,005
                                                        Annualized ....................................................................          ........................   ........................   ........................               14,651                    13,365



                                                   The final rule requires each freight                                       approximately 20 hours for each Class                                        make the notification to FRA. This cost
                                                 railroad with a legacy one-person train                                      III railroad to prepare and make the                                         would be incurred only in year 1.
                                                 crew operation to provide certain                                            notification to FRA of its one-person                                        Therefore, the total estimated cost will
                                                 information about the operation in a                                         operations.                                                                  be $180,177. The estimated annualized
                                                 written notification to FRA. It will take                                       The following table shows the cost for                                    cost will be $25,653 (PV, 7%).
                                                                                                                              legacy Class III railroad operations to
                                                                                                               COST OF NOTIFICATION, LEGACY CLASS III OPERATIONS
                                                                                                                                                                                                                                                              Total annual
                                                                                                                                                                              Hourly wage              Total cost per
                                                                                                                                                    Hours per                                                                        Number of                cost across
                                                                                 Type of employee                                                                                rate                   notification
                                                                                                                                                    notification                                                                    notifications               industry
                                                                                                                                                                                  ($)                        ($)                                                   ($)

                                                                                                                                                           a                           b                   c=a*b                            d                    e=c*d

                                                 Senior Managers ..................................................................                                   7                    123.41                       864       ........................   ........................
                                                 Superintendents ...................................................................                                  5                    123.41                       617       ........................   ........................
                                                 Train Masters .......................................................................                                4                    123.41                       494       ........................   ........................
                                                 Road Foreman .....................................................................                                   4                    123.41                       494       ........................   ........................

                                                        Total ..............................................................................                        20      ........................                  2,468                           73                180,177
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                                                    The final rule requires each Class III                                    quantities of hazardous materials that                                       operation. The following table shows
                                                 freight railroad that plans to initiate a                                    have been determined to pose the                                             the cost for Class III railroads to notify
                                                 one-person train crew operation after                                        highest risk in transportation to provide                                    FRA of new one-person operations. It is
                                                 the final rule’s effective date that will                                    FRA with written notification of the                                         estimated to take 20 hours per railroad
                                                 not be transporting certain types or                                         operation before commencing the


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                                                 to prepare and make the notification to
                                                 FRA for a total cost of $2,468.

                                                                                                        COST OF NOTIFICATION, NEW CLASS III RAILROAD OPERATIONS
                                                                                                                                                                                                                                   Hourly wage               Total cost per
                                                                                                                                                                                                          Hours per
                                                                                                            Type of employee                                                                                                          rate                    notification
                                                                                                                                                                                                          notification                 ($)                         ($)

                                                                                                                                                                                                                 a                          b                  c=a*b

                                                 Senior Managers .........................................................................................................................                                  7                   123.41                  864
                                                 Superintendents ...........................................................................................................................                                5                   123.41                  617
                                                 Train Masters ...............................................................................................................................                              4                   123.41                  494
                                                 Road Foreman .............................................................................................................................                                 4                   123.41                  494

                                                        Total ......................................................................................................................................                       20     ........................            2,468



                                                   The following table shows the total                                        was established less than two years                                          estimate. The estimates here are solely
                                                 10-year costs for Class III railroads to                                     before the effective date of the final rule.                                 for operations that only require
                                                 notify FRA when commencing new one-                                          Railroads hauling certain types and                                          notification to FRA. The total estimated
                                                 person train crew operations. This                                           quantities of hazardous materials                                            10-year cost is $133,282. The
                                                 option could also be used by railroads                                       require special approval; hence, those                                       annualized cost is $15,823 (PV, 7%).
                                                 that are continuing an operation that                                        operations are not included in this

                                                                                        TOTAL 10-YEAR COST OF NOTIFICATION, NEW CLASS III RAILROAD OPERATIONS
                                                                                                                                                    Estimated                Total cost per                                            Present                  Present
                                                                                                                                                                                                           Total cost
                                                                                           Year                                                    notifications              notification                                            value 7%                 value 3%
                                                                                                                                                                                                              ($)
                                                                                                                                                     per year                      ($)                                                   ($)                      ($)

                                                                                                                                                           a                           b                   c=a*b

                                                 1 ...........................................................................................                      12                     2,468                     29,618                     29,618               29,618
                                                 2 ...........................................................................................                      12                     2,468                     29,618                     27,681               28,756
                                                 3 ...........................................................................................                       6                     2,468                     14,809                     12,935               13,959
                                                 4 ...........................................................................................                       6                     2,468                     14,809                     12,089               13,552
                                                 5 ...........................................................................................                       3                     2,468                      7,405                      5,649                6,579
                                                 6 ...........................................................................................                       3                     2,468                      7,405                      5,279                6,387
                                                 7 ...........................................................................................                       3                     2,468                      7,405                      4,934                6,201
                                                 8 ...........................................................................................                       3                     2,468                      7,405                      4,611                6,021
                                                 9 ...........................................................................................                       3                     2,468                      7,405                      4,310                5,845
                                                 10 .........................................................................................                        3                     2,468                      7,405                      4,028                5,675

                                                        Total ..............................................................................     ........................   ........................              133,282                    111,133               122,593
                                                        Annualized ....................................................................          ........................   ........................   ........................               15,823                14,372



                                                   The final rule requires Class III freight                                  final rule to petition FRA under a                                              ASLRRA and holding companies will
                                                 railroads that haul certain types or                                         special approval procedure. As part of                                       likely create a model or template
                                                 quantities of hazardous materials that                                       the special approval process, these                                          program that can be used by Class III
                                                 have been determined to pose the                                             railroads will be required to conduct a                                      railroads; therefore, the burden for each
                                                 highest risk in transportation that want                                     risk assessment. The risk assessment                                         Class III railroad is estimated to be six
                                                 to initiate a new operation with a one-                                      must include a description of the final                                      hours per one-person train crew
                                                 person train crew or continue an                                             operation, a hazard analysis, and                                            operation. The estimated cost per
                                                 operation that was established less than                                     discussion of the tasks and functions of                                     railroad is $665 to apply for special
                                                 two years before the effective date of the                                   the one crewmember and equipment.                                            approval and submit a risk assessment.

                                                                                            COST OF SPECIAL APPROVAL AND RISK ASSESSMENT, CLASS III RAILROADS
                                                                                                                                                                                                                                                                Total
                                                                                                                                                                                                           Hourly                    Number of                 cost per
                                                                                                                                                                                                          wage rate                  hours per                 railroad
                                                                                                                                                                                                             ($)                      railroad                    ($)
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                                                                                                                                                                                                                (a)                        (b)               (c) = (a) * (b)

                                                 Chief Safety Officer .....................................................................................................................                          123.41                             4               494
                                                 Administrative Assistant ...............................................................................................................                             85.93                             2               172

                                                        Total per Railroad .................................................................................................................           ........................                        6                665




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                                                    The following table shows the total                                       hauling certain types and quantities of                                      $22,627. The annualized cost is $2,661
                                                 10-year costs for Class III railroads to                                     hazardous materials require special                                          (PV, 7%).
                                                 apply for special approval and conduct                                       approval, including a risk assessment.
                                                 a risk assessment. Only railroads                                            The total estimated 10-year cost is

                                                                           TOTAL 10-YEAR COST FOR SPECIAL APPROVAL AND RISK ASSESSMENT, CLASS III RAILROADS
                                                                                                                                                    Number                     Total cost                                           Present          Present
                                                                                                                                                     of risk                    per risk                  Total costs
                                                                                           Year                                                                                                                                    value 7%         value 3%
                                                                                                                                                  assessments                 assessment                      ($)                     ($)              ($)
                                                                                                                                                    per year                      ($)

                                                                                                                                                           a                          b                    c=a*b

                                                 1 ...........................................................................................                        7                      665                      4,658                4,658             4,658
                                                 2 ...........................................................................................                        7                      665                      4,658                4,354             4,523
                                                 3 ...........................................................................................                        4                      665                      2,662                2,325             2,509
                                                 4 ...........................................................................................                        4                      665                      2,662                2,173             2,436
                                                 5 ...........................................................................................                        2                      665                      1,331                1,015             1,183
                                                 6 ...........................................................................................                        2                      665                      1,331                  949             1,148
                                                 7 ...........................................................................................                        2                      665                      1,331                  887             1,115
                                                 8 ...........................................................................................                        2                      665                      1,331                  829             1,082
                                                 9 ...........................................................................................                        2                      665                      1,331                  775             1,051
                                                 10 .........................................................................................                         2                      665                      1,331                  724             1,020

                                                        Total ..............................................................................     ........................   ........................                22,627                18,689         20,725
                                                        Annualized ....................................................................          ........................   ........................   ........................            2,661          2,430



                                                   Each railroad that receives special                                        The annual report, which will include                                        complete each report. It is estimated to
                                                 approval to use an operation with a one-                                     a railroad’s findings and conclusions                                        require approximately 8 hours of labor
                                                 person train crew must prepare an                                            from its review, shall be submitted no                                       per railroad for a total cost of $687 per
                                                 annual report, which will be a formal                                        later than March 31 of the following                                         year.
                                                 review and analysis each calendar year,                                      year. The following table shows the
                                                 of the one-person train crew operation.                                      annual labor cost per railroad to

                                                                                                                           COST OF ANNUAL REPORT, PER RAILROAD
                                                                                                                                                                                                                                                   Total annual
                                                                                                                                                                                                                                  Hourly wage
                                                                                                                                                                                                          Hours per                                  cost per
                                                                                                            Type of employee                                                                                                         rate
                                                                                                                                                                                                           railroad                                  railroad
                                                                                                                                                                                                                                      ($)               ($)

                                                                                                                                                                                                                 a                    b             c=a*b

                                                 Professional and Administrative ..................................................................................................                              8                   85.93             687



                                                   The following table shows the total                                        estimated 10-year cost is $156,737. The
                                                 10-year costs for Class III railroads to                                     annualized cost is $15,471 (PV, 7%).
                                                 complete the annual report. The total

                                                                                                    TOTAL 10-YEAR COSTS OF ANNUAL REPORT, CLASS III RAILROADS
                                                                                                                                                    Number of                   Cost per                                            Present          Present
                                                                                                                                                                                                          Total cost
                                                                                           Year                                                       reports                    report                                            value 7%         value 3%
                                                                                                                                                                                                             ($)
                                                                                                                                                     per year                      ($)                                                ($)              ($)

                                                                                                                                                           a                          b                    c=a*b

                                                 1 ...........................................................................................                       0                       687                          0                    0              0
                                                 2 ...........................................................................................                      14                       687                      9,624                8,995          9,344
                                                 3 ...........................................................................................                      18                       687                     12,374               10,808         11,664
                                                 4 ...........................................................................................                      22                       687                     15,124               12,346         13,840
                                                 5 ...........................................................................................                      24                       687                     16,499               12,587         14,659
                                                 6 ...........................................................................................                      26                       687                     17,874               12,744         15,418
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                                                 7 ...........................................................................................                      28                       687                     19,248               12,826         16,120
                                                 8 ...........................................................................................                      30                       687                     20,623               12,843         16,769
                                                 9 ...........................................................................................                      32                       687                     21,998               12,803         17,366
                                                 10 .........................................................................................                       34                       687                     23,373               12,713         17,914

                                                        Total ..............................................................................     ........................   ........................              156,737              108,664          133,093
                                                        Annualized ....................................................................          ........................   ........................   ........................         15,471           15,603



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                                                    The following table shows the                                           all Class III railroads is $687,852 (PV,
                                                 annualized costs for all provisions of the                                 7%).
                                                 final rule. The total annualized cost for

                                                                                            ANNUALIZED COSTS FOR CLASS III RAILROADS’ ONE-PERSON OPERATIONS
                                                                                                                                                                                                                                                   Annualized cost,
                                                                                                                                     Cost category                                                                                                    7 percent
                                                                                                                                                                                                                                                         ($)

                                                 Alerters, Legacy Operations ..........................................................................................................................................................                        301,607
                                                 Alerters, New Operations ..............................................................................................................................................................                       296,791
                                                 Operating Rules, Legacy Operations ............................................................................................................................................                                15,392
                                                 Operating Rules, New Operations .................................................................................................................................................                              14,651
                                                 Notification to FRA, Legacy Operations ........................................................................................................................................                                25,653
                                                 Notification to FRA, New Operations ............................................................................................................................................                               15,823
                                                 Special Approval and Risk Assessment ........................................................................................................................................                                   2,661
                                                 Annual Report ................................................................................................................................................................................                 15,471

                                                       Total Annualized Cost for All Class III Railroads ...................................................................................................................                                   688,050



                                                   The industry trade organization                                          Class III railroad is $4.75 million.336 The                                annual cost and revenue for Class III
                                                 representing small railroads, ASLRRA,                                      following table summarizes the average                                     railroads.
                                                 reports the average freight revenue per

                                                                                                                 ANNUAL CLASS III RAILROADS’ COST AND REVENUE
                                                         Total costs for                                                                                Average                                                                                    Average
                                                                                                                                                                                                      Average
                                                           all Class III                                  Number of                                   annual cost                                                                                   annual
                                                                                                                                                                                                      Class III
                                                    railroads, annualized 7                                Class III                                  per Class III                                                                                 cost as
                                                                                                                                                                                                      revenue
                                                             percent                                       railroads                                    railroad                                                                                  percent of
                                                                                                                                                                                                         ($)
                                                                ($)                                                                                        ($)                                                                                     revenue

                                                                    a                                             b                                      c=a÷b                                              d                                     e=c÷d

                                                               688,050                                          157                                        4,382                                     4,750,000                                     0.09%



                                                    The estimated average annual cost for                                   approval and conduct a risk assessment.                                    before the effective date of the final rule
                                                 a Class III railroad that is operating one-                                Class III railroads commencing one-                                        or the Class III railroad decides to
                                                 person train crews will be $4,382. This                                    person operations without certain types                                    initiate a new one-person train crew
                                                 represents a small percentage (0.1%) of                                    and quantities of hazardous materials                                      operation that is not transporting
                                                 the average annual revenue for a Class                                     will not need to petition FRA for special                                  hazardous materials of the types or
                                                 III railroad.                                                              approval or complete a risk assessment.                                    quantities specified in § 218.123(c).
                                                                                                                            Those new one-person train crew
                                                 6. A Description of the Steps the Agency                                   operations will require notification to                                       The final rule reflects relief from the
                                                 Has Taken To Minimize the Economic                                         FRA, installation of alerters, and                                         proposed prohibition on the
                                                 Impact on Small Entities                                                   adoption and compliance with                                               transportation of some hazardous
                                                   This final rule allows Class III freight                                 operating rules specific for one-person                                    materials with a one-person train crew
                                                 railroads to continue operating with                                       crews. The notification requirement                                        set forth in the NPRM to provide for
                                                 one-person train crews for operations                                      provides flexibility for Class III railroads                               these legacy operations and new
                                                 established for at least two years before                                  not hauling certain types and quantities                                   operations subject to conditions to
                                                 the effective date of the final rule as                                    of hazardous materials.                                                    ensure safety.
                                                 long as these railroads notify FRA,                                           Based on comments requesting more
                                                                                                                            time to comply with any new minimum                                        C. Paperwork Reduction Act
                                                 install alerters, and adopt and comply
                                                 with operating rules specific for one-                                     requirements to allow for proper                                             FRA is submitting the information
                                                 person train crews according to the                                        planning, operational changes, or hiring                                   collection requirements in this proposed
                                                 implementation schedule.                                                   and training of additional                                                 rule to the Office of Management and
                                                   In response to comments on the                                           crewmembers, FRA is extending                                              Budget (OMB) for approval under the
                                                 NPRM, FRA has simplified the risk                                          compliance dates for Class III railroads                                   Paperwork Reduction Act of 1995.337
                                                 assessment and reduced the number of                                       for certain exceptions that cannot be
                                                                                                                                                                                                       The sections that contain the new
                                                 operations to which the special                                            used by a Class I railroad, and therefore
                                                                                                                                                                                                       information collection requirements and
                                                 approval requirement will apply.                                           Class III railroads are provided greater
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                                                 Railroads commencing one-person train                                      flexibility in those circumstances such                                    the estimated time to fulfill each
                                                 crew operations with certain types and                                     as when a Class III railroad’s legacy one-                                 requirement are as follows:
                                                 quantities of hazardous materials will be                                  person train crew freight operation has
                                                 required to petition FRA for special                                       been established for at least two years
                                                   336 American Short Line and Regional Railroad                               337 44 U.S.C. 3501 et seq.

                                                 Association, Short Line and Regional Railroad Facts
                                                 and Figures, p. 10 (2017 pamphlet).



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                                                                                                                                                                                                                        Total cost
                                                                                                                                                                                   Average time     Total annual
                                                                       CFR section                             Respondent universe 338                 Total annual responses                                          equivalent in
                                                                                                                                                                                   per response       burden            U.S. dollar

                                                                                                                                                                 (A)                   (B)           (C = A * B)         (D = C
                                                                                                                                                                                                                         * wage
                                                                                                                                                                                                                        rates) 339

                                                 218.123—General crew size staffing requirements—             784 railroads .....................    47 adopted rules and         120 hours (96    816.00 hours          $70,118.88
                                                   Each railroad’s adoption or revision of rules and                                                   practices (27 legacy op-     + 12 +           (288 + 204 +
                                                   practices with the requirement of this subpart G                                                    erations + 3 Class I new     12) 340.         324).
                                                   (New requirement).                                                                                  operations + 17 Class II
                                                                                                                                                       and III new operations).

                                                 —(d)(2) Location of crewmember(s) that is not oper-          Direct communications between train crewmembers during train operations are a usual and customary prac-
                                                  ating the train when the train is moving—Direct             tice. Consequently, there is no burden associated with this requirement.
                                                  communication between train crew members (New
                                                  requirement).

                                                 218.125(c)—Specific passenger and tourist train oper- The estimated paperwork burden for emergency preparedness plans is already included under OMB Control
                                                   ation exceptions to crew size safety requirements— Number 2130–0545. Consequently, there is no additional burden associated with this requirement.
                                                   Passenger railroads’ emergency preparedness plan
                                                   approved under 49 CFR 239.201 (New requirement).

                                                 —(d)(3) Federal Transit Administration (FTA) and des-        The estimated paperwork burden for approved FTA and SSO Public Transportation Agency Safety Plans is
                                                  ignated State Safety Oversight (SSO) Agency ap-             included under OMB Control Number 2132–0558. Consequently, there is no additional burden associated
                                                  proved Public Transportation Agency Safety Plan in          with this requirement.
                                                  accordance with 49 CFR parts 673 and 674 (New
                                                  requirement).

                                                 —(e) Existing passenger train operations one-person          The estimated paperwork burden for emergency preparedness plans is already included under OMB Control
                                                  train crew with an approved emergency prepared-             Number 2130–0545. Consequently, there is no additional burden associated with this requirement.
                                                  ness plan (New requirement).

                                                 218.129(a)–(b)(11)—Conditional exceptions based on           Class II and III railroads ...         35 notices (25 legacy op-    40 hours (20 +   700 hours .......        $86,387
                                                   compliance dates for legacy freight train operations,                                               erations + 10 Class II       20).
                                                   class II and III freight railroad train operations, work                                            and III new operations).
                                                   train operations, helper service train operations, and
                                                   lite locomotive train operations staffed with a one-
                                                   person train crew—Written notice requirements shall
                                                   be submitted by email to FRA (New requirement).

                                                 —(b)(12) Copy of any railroad rule or practice that ap-      The estimated paperwork burden for this requirement is included above under § 218.129(a)–(b)(11).
                                                  plies to the one-person train crew operation (New
                                                  requirement).

                                                 —(b)(13)–(14) Accident and incident data or any other        The estimated paperwork burden for this requirement is included above under § 218.129(b)(1)–(11).
                                                  information describing protections in lieu of a sec-
                                                  ond train crewmember (New requirement).

                                                 —(c) Additional requirements—Adopt and comply with           The estimated paperwork burden of this requirement is included above under § 218.123.
                                                  an operating rule that complies with the require-
                                                  ments of ensuring rail employees can take mitiga-
                                                  tion measures that provide a level of safety that is
                                                  as safe or safer than a two-person train crew oper-
                                                  ation to address certain situations with the one-per-
                                                  son train crew operation (New requirement).

                                                 218.131(a)(2)(i)—Special approval petition require-          The estimated paperwork burden for the special approval petition is included with the risk assessment bur-
                                                   ments for train operations staffed with a one-person       den under § 218.133.
                                                   train crew RR with established one-person train
                                                   crew written notice to continue operations (New re-
                                                   quirement).

                                                 —(a)(2)(iii) RRs with established one-person train           The estimated paperwork burden for the special approval petition is included with the risk assessment bur-
                                                  crew to submit special approval petition.                   den under § 218.133.

                                                 —(a)(3)—Each freight railroad seeking to either initiate     The estimated paperwork burden for special approval petition is included with the risk assessment burden
                                                  or continue a one-person train crew must receive            under § 218.133.
                                                  FRA’s special approval for the operation under this
                                                  subpart and comply with section § 218.129(c) (New
                                                  requirement).

                                                 —(a)(4)—Passenger railroads seeking to initiate train        The estimated paperwork burden for special approval petition is included with the risk assessment burden
                                                  operations with a one-person train crew must re-            under § 218.133.
                                                  ceive FRA’s special approval for the operation (New
                                                  requirement).
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                                                 —(b)(1)–(15) Petition for a train operation staffed with     The estimated paperwork burden for special approval petition is included with the risk assessment burden
                                                  a one-person train crew that is not permitted under         under § 218.133.
                                                  §§ 218.125 through 218.129 must contain sufficient
                                                  information for FRA to determine whether approving
                                                  the operation described in the petition is as safe or
                                                  safer than a two-person minimum train crew oper-
                                                  ation (New requirement).




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                                                                                                                                                                                                                                                              Total cost
                                                                                                                                                                                                                 Average time            Total annual
                                                                              CFR section                                            Respondent universe 338                   Total annual responses            per response              burden            equivalent in
                                                                                                                                                                                                                                                              U.S. dollar

                                                                                                                                                                                           (A)                          (B)               (C = A * B)          (D = C
                                                                                                                                                                                                                                                               * wage
                                                                                                                                                                                                                                                              rates) 339

                                                 218.133(a) Risk assessment content and proce-                                      784 railroads .....................      10.33 risk assessments             586; 580 hours          1,973.40 Hours         171,148.42
                                                   dures—General (Note: The paperwork burden for                                                                               (3.33 Class I/Passenger            + 6 hours.              (1,931.40 +
                                                   special approval petition is included here. The pa-                                                                         operations + 7 Class II                                    42).
                                                   perwork burden for revised risk assessment is in-                                                                           and III operations).
                                                   cluded under § 218.135(e)) (New requirement).

                                                 —(b) Alternative standard—Petition for approval to                                 The estimated paperwork burden for this requirement is included under § 218.133 and § 218.135.
                                                  use alternative methodologies (New requirement).

                                                 218.135(c)—Special approval procedure—Comments                                     Railroad industry and in-                10 petition comments .......       1 hour .............    10 hours .........          859.30
                                                   sent to FRA on petitions for special approval (New                                 terested parties.
                                                   requirement).

                                                 —(d)(1) Disposition of petitions—Hearings on petitions                             The requirements of this provision are exempted from the Paperwork Reduction Act under 5 CFR
                                                  (New requirement).                                                                1320.4(a)(2) because this activity is conducted during an administrative action affecting specific individuals or
                                                                                                                                    entities.

                                                 —(d)(2) Special approval procedure—Disposition of                                  The estimated paperwork burden for this requirement is included under § 218.135.
                                                  petitions—Petitioners’ response to FRA’s special
                                                  conditions to the approval of petition (New require-
                                                  ment).

                                                 —(e) Modifications of operations already approved; re-                             9 railroads .........................    1.33 revised risk assess-          70 hours .........      93.10 hours ....          8,000.08
                                                  vised risk assessments submitted to FRA—All oper-                                                                            ments.
                                                  ations (New requirement).

                                                 218.137—Annual railroad responsibilities after receipt                             784 railroads .....................      23 annual reports .............    8 hours ...........     184 hours .......        15,811.12
                                                   of special approval—Annual review and analysis of
                                                   FRA-approved train operation(s) (New requirement).

                                                 —(d) Railroads’ review of FRA response to their an-                                The paperwork burden for this requirement is included above under § 218.137.
                                                  nual report (New requirement).

                                                     Total 341 ..................................................................   784 railroads .....................      127 responses ..................   N/A .................   3,777 hours ....       352,324.81



                                                    All estimates include the time for                                              Federal Register. Therefore, a comment                                  responsibilities among the various
                                                 reviewing instructions; searching                                                  to OMB is best assured of having its full                               levels of government.’’ Under Executive
                                                 existing data sources; gathering or                                                effect if OMB receives it within 30 days                                Order 13132, to the extent practicable
                                                 maintaining the needed data; and                                                   of publication. FRA is not authorized to                                and permitted by law, the agency may
                                                 reviewing the information. For                                                     impose a penalty on persons for                                         not issue a regulation with federalism
                                                 information or a copy of the paperwork                                             violating information collection                                        implications that imposes substantial
                                                 package submitted to OMB, contact Ms.                                              requirements that do not display a                                      direct compliance costs and that is not
                                                 Arlette Mussington, Information                                                    current OMB control number, if                                          required by statute, unless the Federal
                                                 Collection Clearance Officer, at email:                                            required. FRA intends to obtain current                                 Government provides the funds
                                                 arlette.mussington@dot.gov or                                                      OMB control numbers for any new                                         necessary to pay the direct compliance
                                                 telephone: (571) 609–1285; or Ms.                                                  information collection requirements                                     costs incurred by State and local
                                                 Joanne Swafford, Information Collection                                            resulting from this rulemaking action                                   governments, the agency consults with
                                                 Clearance Officer, at email:                                                       prior to the effective date of the final                                State and local governments, or the
                                                 joanne.swafford@dot.gov or telephone:                                              rule. The current OMB control number                                    agency consults with State and local
                                                 (757) 897–9908.                                                                    for this rule is 2130–0636.                                             government officials early in the process
                                                    OMB is required to decide concerning                                                                                                                    of developing the regulation. National
                                                 the collection of information                                                      D. Federalism Implications
                                                                                                                                                                                                            action limiting the policymaking
                                                 requirements contained in this rule                                                   Executive Order 13132,                                               discretion of the States shall be taken
                                                 between 30 and 60 days after                                                       ‘‘Federalism,’’ 342 requires FRA to                                     only where there is constitutional and
                                                 publication of this document in the                                                develop an accountable process to                                       statutory authority for the action and the
                                                                                                                                    ensure ‘‘meaningful and timely input by                                 national activity is appropriate in light
                                                   338 For purposes of this table, there are 784
                                                                                                                                    State and local officials in the                                        of the presence of a problem of national
                                                 railroads, excluding tourist railroads not on the
                                                 general system, in the respondent universe.                                        development of regulatory policies that                                 significance. Where there are significant
                                                 Additionally, FRA is currently aware of nine one-                                  have federalism implications.’’ ‘‘Policies                              uncertainties as to whether national
                                                 person train crew operations.                                                      that have federalism implications’’ are                                 action is authorized or appropriate,
                                                   339 Throughout the tables in this document, the
                                                                                                                                    defined in the Executive Order to
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                                                                                                                                                                                                            agencies shall consult with appropriate
                                                 dollar equivalent cost is derived from the 2022
                                                 Surface Transportation Board’s Full Year Wage A&B                                  include regulations that have                                           State and local officials to determine
                                                 data series using the appropriate employee group                                   ‘‘substantial direct effects on the States,                             whether Federal objectives can be
                                                 hourly wage rate that includes 75-percent overhead                                 on the relationship between the national                                attained by other means.
                                                 charges.                                                                           government and the States, or on the                                       FRA has analyzed this final rule in
                                                   340 This estimate also includes the burden

                                                 associated with adopting and complying with                                        distribution of power and                                               accordance with the principles and
                                                 operating rules under § 218.123(c).                                                                                                                        criteria contained in Executive Order
                                                   341 Totals may not add due to rounding.                                           342 64 FR 43255 (Aug. 10, 1999).                                       13132. FRA has determined that this


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                                                 final rule has no federalism                            F. Environmental Assessment                             ‘‘Tackling the Climate Crisis at Home
                                                 implications, other than the possible                                                                           and Abroad.’’
                                                 preemption of State laws under 49                          FRA has evaluated this final rule
                                                                                                         consistent with the National                            G. Environmental Justice
                                                 U.S.C. 20106. Therefore, the
                                                 consultation and funding requirements                   Environmental Policy Act 345 (NEPA),                       Executive Order 14096, ‘‘Revitalizing
                                                 of Executive Order 13132 do not apply,                  the Council of Environmental Quality’s                  Our Nation’s Commitment to
                                                 and preparation of a federalism                         NEPA implementing regulations,346 and                   Environmental Justice for All,’’ which
                                                 summary impact statement for the rule                   FRA’s NEPA implementing                                 expands on Executive Order 12898,
                                                 is not required.                                        regulations 347 and determined that it is               ‘‘Federal Actions to Address
                                                                                                         categorically excluded from                             Environmental Justice in Minority
                                                    Further, federalism concerns have                    environmental review and therefore                      Populations and Low-Income
                                                 been considered in the development of                   does not require the preparation of an                  Populations,’’ requires DOT agencies to
                                                 this rule both internally and through                   environmental assessment (EA) or                        achieve environmental justice as part of
                                                 consultation within FRA’s Federal                       environmental impact statement (EIS).                   their mission by identifying and
                                                 advisory committee, RSAC, which has                     Categorical exclusions (CEs) are actions                addressing, as appropriate,
                                                 as permanent voting members two                         identified in an agency’s NEPA                          disproportionate and adverse human
                                                 organizations representing State and                    implementing regulations that do not                    health or environmental effects,
                                                 local interests: the American                           normally have a significant impact on                   including those related to climate
                                                 Association of State Highway and                        the environment and therefore do not                    change and cumulative impacts of
                                                 Transportation Officials (AASHTO) and                   require either an EA or EIS.348                         environmental and other burdens on
                                                 the Association of State Rail Safety                    Specifically, FRA has determined that                   communities with environmental justice
                                                 Managers (ASRSM).343 FRA has also                       this rule is categorically excluded from                concerns. DOT Order 5610.2C (‘‘U.S.
                                                 received input from State and local                     detailed environmental review.349                       Department of Transportation Actions to
                                                 officials through the notice and                                                                                Address Environmental Justice in
                                                                                                            The main purpose of this rulemaking
                                                 comment public participation process                                                                            Minority Populations and Low-Income
                                                                                                         is to ensure that each train is adequately
                                                 and left it to State or local officials to                                                                      Populations’’) instructs DOT agencies to
                                                                                                         staffed and has appropriate safeguards
                                                 decide whether to participate in the                                                                            address compliance with Executive
                                                                                                         in place for safe train operations under
                                                 publicly held hearing, either in person                                                                         Order 12898 and requirements within
                                                                                                         all operating conditions. This final rule
                                                 or virtually. In the discussion of                                                                              the DOT Order 5610.2C in rulemaking
                                                                                                         would not directly or indirectly impact
                                                 comments and FRA’s conclusions, FRA                                                                             activities, as appropriate, and also
                                                                                                         any environmental resources and would
                                                 responded to the comments on                                                                                    requires consideration of the benefits of
                                                                                                         not result in significantly increased
                                                 preemption and further expanded upon                                                                            transportation programs, policies, and
                                                                                                         emissions of air or water pollutants or
                                                 the agency’s explanation of the                                                                                 other activities where minority
                                                                                                         noise. In analyzing the applicability of
                                                 perceived preemption implications of                                                                            populations and low-income
                                                                                                         a CE, FRA must also consider whether
                                                 the final rule.                                                                                                 populations benefit, at a minimum, to
                                                                                                         unusual circumstances are present that
                                                 E. International Trade Impact                           would warrant a more detailed                           the same level as the general population
                                                 Assessment                                              environmental review.350 FRA has                        as a whole when determining impacts
                                                                                                         concluded that no such unusual                          on minority and low-income
                                                    The Trade Agreements Act of 1979 344                 circumstances exist with respect to this                populations.354 FRA has evaluated this
                                                 prohibits Federal agencies from                         regulation and the final rule meets the                 final rule under Executive Orders 14096
                                                 engaging in any standards or related                    requirements for categorical                            and 12898 and DOT Order 5610.2C and
                                                 activities that create unnecessary                      exclusion.351                                           has determined it will not cause
                                                 obstacles to the foreign commerce of the                                                                        disproportionate and adverse human
                                                                                                            Pursuant to Section 106 of the
                                                 United States. Legitimate domestic                                                                              health and environmental effects on
                                                                                                         National Historic Preservation Act and
                                                 objectives, such as safety, are not                                                                             communities with environmental justice
                                                                                                         its implementing regulations, FRA has
                                                 considered unnecessary obstacles. The                                                                           concerns.
                                                                                                         determined this undertaking has no
                                                 statute also requires consideration of
                                                                                                         potential to affect historic properties.352             H. Unfunded Mandates Reform Act of
                                                 international standards and, where
                                                                                                         FRA has also determined that this                       1995
                                                 appropriate, that they be the basis for
                                                                                                         rulemaking does not approve a project                     Under section 201 of the Unfunded
                                                 U.S. standards. This final rule is purely
                                                                                                         resulting in a use of a resource protected              Mandates Reform Act of 1995,355 each
                                                 domestic in nature and is not expected
                                                                                                         by Section 4(f).353 Further, FRA                        Federal agency ‘‘shall, unless otherwise
                                                 to affect trade opportunities for U.S.
                                                                                                         reviewed this rule and found it                         prohibited by law, assess the effects of
                                                 firms doing business overseas or for
                                                                                                         consistent with Executive Order 14008,                  Federal regulatory actions on State,
                                                 foreign firms doing business in the
                                                 United States.                                                                                                  local, and tribal governments, and the
                                                                                                           345 42 U.S.C. 4321 et seq.
                                                                                                                                                                 private sector (other than to the extent
                                                                                                           346 40 CFR parts 1500 through 1508.
                                                   343 In 1996, FRA established RSAC to develop
                                                                                                           347 23 CFR part 771.
                                                                                                                                                                 that such regulations incorporate
                                                 new regulatory standards, through a collaborative         348 40 CFR 1508.4.
                                                                                                                                                                 requirements specifically set forth in
                                                 process, with all segments of the rail community          349 See 23 CFR 771.116(c)(15) (categorically          law).’’ Section 202 of the Act 356 further
                                                 working together to fashion mutually satisfactory
                                                 solutions on safety regulatory issues. Information      excluding ‘‘[p]romulgation of rules, the issuance of    requires that ‘‘before promulgating any
                                                 about RSAC, including background, tasks, and            policy statements, the waiver or modification of        general notice of proposed rulemaking
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                                                 documents, is available at https://rsac.fra.dot.gov/    existing regulatory requirements, or discretionary      that is likely to result in promulgation
                                                 about. Although this rulemaking was not tasked to       approvals that do not result in significantly
                                                                                                         increased emissions of air or water pollutants or       of any rule that includes any Federal
                                                 RSAC, FRA provided a regulatory activity update
                                                 on the rulemaking at two RSAC meetings before the       noise’’).                                               mandate that may result in the
                                                                                                           350 23 CFR 771.116(b).
                                                 NPRM was published and at one meeting during the
                                                                                                           351 23 CFR 771.116(c)(15).                              354 Executive Order 14096 is not currently
                                                 rulemaking’s comment period and encouraged
                                                 interested members of RSAC to submit comments             352 See 54 U.S.C. 306108.                             referenced in DOT Order 5610.2C.
                                                 or participate at the public hearing.                     353 See DOT Act of 1966, as amended (Pub. L. 89–        355 Public Law 104–4, 2 U.S.C. 1531.
                                                   344 19 U.S.C. Ch. 13.                                 670, 80 Stat. 931); 49 U.S.C. 303.                        356 2 U.S.C. 1532.




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                                                 expenditure by State, local, and tribal                 § 218.5    Definitions.                                  Risk means the combination of the
                                                 governments, in the aggregate, or by the                *      *     *     *     *                            expected probability (or frequency of
                                                 private sector, of $100,000,000 or more                    Associate Administrator for Safety                 occurrence) and the consequence (or
                                                 (adjusted annually for inflation) in any                means the Associate Administrator for                 severity) of a hazard.
                                                 1 year, and before promulgating any                     Railroad Safety and Chief Safety Officer                 Risk assessment means the process of
                                                 final rule for which a general notice of                of the Federal Railroad Administration                determining, either quantitatively or
                                                 proposed rulemaking was published,                      or that person’s delegate as designated               qualitatively, or both, the level of risk
                                                 the agency shall prepare a written                      in writing.                                           associated with train operations with a
                                                 statement’’ detailing the effect on State,              *      *     *     *     *                            one-person train crew, compared to
                                                 local, and tribal governments and the                      FTA means the Federal Transit                      operations with a two-person (or larger)
                                                 private sector. This final rule will not                Administration.                                       crew, under all operating conditions.
                                                 result in the expenditure, in the                       *      *     *     *     *                            *     *     *      *     *
                                                 aggregate, of $100,000,000 or more (as                     Hazard means an existing or potential                 Switching service or switching
                                                 adjusted annually for inflation) in any                 condition that could lead to an                       operation means classifying rail cars
                                                 one year, and thus preparation of such                  unplanned event or series of events that              according to commodity or destination;
                                                 a statement is not required.                            can result in an accident or incident                 assembling of cars for train movements;
                                                 I. Energy Impact                                        (i.e., mishap); injury, illness, or death;            changing the position of cars for
                                                                                                         damage to or loss of a system,                        purposes of loading, unloading, or
                                                    Executive Order 13211, ‘‘Actions
                                                                                                         equipment, or property; or damage to                  weighing; placing locomotives and cars
                                                 Concerning Regulations That
                                                                                                         the environment.                                      for repair or storage; or moving of rail
                                                 Significantly Affect Energy Supply,
                                                                                                            Helper service train operation means               equipment in connection with work
                                                 Distribution, or Use,’’ requires Federal
                                                                                                         the train is a locomotive or group of                 service that does not constitute a train
                                                 agencies to prepare a Statement of
                                                                                                         locomotives being used to assist another              movement.
                                                 Energy Effects for any ‘‘significant
                                                                                                         train that has incurred mechanical                       Tourist train operation means a
                                                 energy action.’’ 357 FRA evaluated this
                                                                                                         failure or lacks sufficient tractive force            tourist, scenic, historic, or excursion
                                                 final rule under Executive Order 13211
                                                                                                         necessary to traverse a particular section            train operation.
                                                 and determined that this regulatory                                                                              Tourist train operation that is not part
                                                                                                         of track due to train tonnage and the
                                                 action is not a ‘‘significant energy                                                                          of the general railroad system of
                                                                                                         grade of the terrain.
                                                 action’’ within the meaning of Executive                                                                      transportation means a tourist, scenic,
                                                 Order 13211.                                            *      *     *     *     *
                                                                                                            Lite locomotive train operation means              historic, or excursion train operation
                                                 List of Subjects in 49 CFR Part 218                     the train is a locomotive or a consist of             conducted only on track used
                                                   Occupational safety and health,                       locomotives not attached to any piece of              exclusively for that purpose (i.e., there
                                                 Penalties, Railroad employees, Railroad                 equipment or attached only to a                       is no freight, intercity passenger, or
                                                 safety, Reporting and recordkeeping                     caboose.                                              commuter passenger railroad operation
                                                 requirements.                                           *      *     *     *     *                            on the track).
                                                                                                            Locomotive, MU means rail rolling                     Trailing tons means the sum of the
                                                 The Rule                                                                                                      gross weights—expressed in tons–of the
                                                                                                         equipment self-propelled by any power
                                                   For the reasons discussed in the                      source and intended to provide                        cars and the locomotives in a train that
                                                 preamble, FRA amends chapter II,                        transportation for members of the                     are not providing propelling power to
                                                 subtitle B of title 49 of the Code of                   general public.                                       the train.
                                                 Federal Regulations as follows:                                                                                  Train means one or more locomotives
                                                                                                         *      *     *     *     *                            coupled with or without cars, except
                                                                                                            Mishap means an event or condition                 during switching service.
                                                 PART 218—[AMENDED]
                                                                                                         or series of events or conditions
                                                                                                         resulting in an accident or incident.                 *     *     *      *     *
                                                 ■ 1. The authority citation for part 218
                                                                                                            One-person train crew means either:                   Unit freight train means a freight train
                                                 continues to read as follows:                                                                                 composed of cars carrying a single type
                                                                                                            (1) One railroad employee is assigned
                                                   Authority: 49 U.S.C. 20103, 20107, 20131,             a train as a train crew, and that single              of commodity.
                                                 20138, 20144, 20168; 28 U.S.C. 2461 note;
                                                 and 49 CFR 1.89.                                        assigned person is performing the duties              *     *     *      *     *
                                                                                                         of both the locomotive engineer and the
                                                 Subpart A—General                                       conductor; or                                         Subpart F—Handling Equipment,
                                                                                                            (2) More than one railroad employee                Switches, and Fixed Derails
                                                 ■ 2. Amend § 218.5 by adding                            is assigned a train as a train crew, but              § 218.93    [Amended]
                                                 definitions in alphabetical order for                   only a single assigned person, who is
                                                 ‘‘Associate Administrator for Safety’’,                 performing the duty of the locomotive                 ■ 3. Amend § 218.93 by removing the
                                                 ‘‘FTA’’, ‘‘Hazard’’, ‘‘Helper service train             engineer, is traveling on the train when              definitions for ‘‘Associate Administrator
                                                 operation’’, ‘‘Lite locomotive train                    the train is moving, and the remainder                for Safety’’ and ‘‘Lite locomotive
                                                 operation’’, ‘‘Locomotive, MU’’,                        of the train crew, that would include the             consist’’.
                                                 ‘‘Mishap’’, ‘‘One-person train crew’’,                  conductor if the locomotive engineer is               *     *     *     *      *
                                                 ‘‘One-person train crewmember’’,                        not the assigned conductor, is assigned               ■ 4. Amend § 218.99 by revising
                                                 ‘‘Risk’’, ‘‘Risk assessment’’, ‘‘Switching              to intermittently assist the train’s                  paragraph (a)(2), the introductory text of
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                                                 service or switching operation’’,                       movements.                                            paragraph (b)(3), and paragraph (e)(2) to
                                                 ‘‘Tourist train operation’’, ‘‘Tourist train               One-person train crewmember means,                 read as follows:
                                                 operation that is not part of the general               in the context of a one-person train crew
                                                 railroad system of transportation’’,                    operation, the single assigned person                 § 218.99    Shoving or pushing movements.
                                                 ‘‘Trailing tons’’, ‘‘Train’’ and ‘‘Unit                 who is performing the duty of the                       (a) * * *
                                                 freight train’’ to read as follows:                     locomotive engineer and is traveling in                 (2) The following requirements for
                                                                                                         the operating cab of the controlling                  shoving or pushing movements do not
                                                   357 66 FR 28355 (May 22, 2001).                       locomotive when the train is moving.                  apply to rolling equipment intentionally


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                                                 shoved or pushed to permit the rolling                  the location of a second crewmember on                  (3) The train crewmember can
                                                 equipment to roll without power                         a moving train and promotes safe and                  continue to perform the duties assigned;
                                                 attached, i.e., free rolling equipment,                 effective teamwork. Each railroad may                 and
                                                 during switching service activities                     prescribe additional or more stringent                  (4) The location does not violate any
                                                 known as kicking, humping, or                           requirements in its operating rules,                  Federal railroad safety law, regulation,
                                                 dropping cars.                                          timetables, timetable special                         or order.
                                                    (b) * * *                                            instructions, and other instructions.
                                                                                                                                                               § 218.125 Specific passenger and tourist
                                                    (3) Point protection. When rolling                      (c) The requirements in this subpart               train operation exceptions to crew size
                                                 equipment or a lite locomotive train                    are not applicable to a train operation               safety requirements.
                                                 with two or more locomotives that is                    controlled by a remote control operator
                                                                                                                                                                  The requirements in this subpart are
                                                 operated from a single control stand is                 as defined in § 229.5 of this chapter.
                                                                                                                                                               not applicable to the following
                                                 shoved or pushed, point protection shall                                                                      passenger and tourist train operations
                                                                                                         § 218.123 General train crew size safety
                                                 be provided by a crewmember or other                                                                          that are operated with a one-person
                                                                                                         requirements.
                                                 qualified employee by:                                                                                        train crew:
                                                                                                            (a) General. Each railroad shall
                                                 *      *     *     *      *                             comply with the requirements of this                     (a) The train is a tourist train
                                                    (e) * * *                                                                                                  operation that is not part of the general
                                                                                                         subpart and may adopt its own rules or
                                                    (2) Shoving or pushing operations                                                                          railroad system of transportation;
                                                                                                         practices consistent with the
                                                 with a helper service train operation or                                                                         (b) A tourist train operation that is
                                                                                                         requirements of this subpart. If any
                                                 distributed power locomotives assisting                                                                       part of the general system of
                                                                                                         person, as defined in § 218.9 (including,
                                                 a train when the train is being operated                                                                      transportation or a passenger operation
                                                                                                         but not limited to, each railroad,
                                                 from the leading end in the direction of                                                                      in which:
                                                                                                         railroad officer, supervisor, and
                                                 movement;                                                                                                        (1) The locomotive engineer is moving
                                                                                                         employee), violates any requirement of
                                                 *      *     *     *      *                             a railroad rule or practice implementing              cars empty of passengers; and
                                                 ■ 5. Add subpart G to read as follows:
                                                                                                                                                                  (2) Passengers will not board the
                                                                                                         the requirements of this subpart, that
                                                                                                                                                               train’s cars until the crew conducts a
                                                 Subpart G—Train Crew Size Safety                        person shall be considered to have
                                                                                                                                                               safety briefing on the safe operation and
                                                 Requirements                                            violated the requirements of this
                                                                                                                                                               use of the train’s exterior side doors, in
                                                                                                         subpart.
                                                 Sec.                                                                                                          accordance with § 238.135 of this
                                                 218.121 Purpose and scope.                                 (b) Two-person train crew size safety
                                                                                                                                                               chapter;
                                                 218.123 General train crew size safety                  requirement. Except as provided in this                  (c) A tourist train operation that is
                                                      requirements.                                      subpart, each train shall be assigned a               part of the general system of
                                                 218.125 Specific passenger and tourist train            minimum of two crewmembers.                           transportation or a passenger operation
                                                      operation exceptions to crew size safety              (c) Hazardous materials. For the
                                                      requirements.
                                                                                                                                                               involving a single self-propelled car or
                                                                                                         purposes of this paragraph (c), a tank car
                                                 218.127 Specific freight train exceptions to                                                                  married-pair unit, e.g., an MU
                                                                                                         containing residue of a hazardous
                                                      crew size safety requirements.                                                                           locomotive operation, where the
                                                                                                         material as defined in § 171.8 of this
                                                 218.129 Conditional exceptions for Class II                                                                   locomotive engineer has direct access to
                                                                                                         title is not considered a loaded car. The
                                                      and III legacy freight train operations,                                                                 the passenger seating compartment and
                                                      certain other Class II and III freight
                                                                                                         exceptions in §§ 218.125 and 218.127
                                                                                                                                                               (for passenger railroads subject to part
                                                      railroad train operations, work train              are not applicable, and the exceptions in
                                                                                                                                                               239 of this chapter) the passenger
                                                      operations, helper service train                   § 218.129 apply as specified therein,
                                                                                                                                                               railroad’s emergency preparedness plan
                                                      operations, and lite locomotive train              when any train is:
                                                                                                                                                               for this operation is approved under
                                                      operations staffed with a one-person                  (1) A high-hazard flammable train
                                                                                                                                                               § 239.201 of this chapter;
                                                      train crew.                                        (HHFT) as defined in § 171.8 of this
                                                 218.131 Special approval petition
                                                                                                                                                                  (d) A rapid transit operation in an
                                                                                                         title;
                                                      requirements for train operations staffed                                                                urban area, i.e., an urban rapid transit
                                                                                                            (2) Transporting twenty (20) or more
                                                      with a one-person train crew.                                                                            system that is connected with the
                                                                                                         loaded tank cars or loaded intermodal
                                                 218.133 Risk assessment content and                                                                           general railroad system of transportation
                                                                                                         portable tanks of any one or any
                                                      procedures.                                                                                              under the following conditions:
                                                 218.135 Special approval procedure.
                                                                                                         combination of the hazardous materials                   (1) The operation is temporally
                                                 218.137 Annual railroad responsibilities                identified in § 232.103(n)(6)(i)(B) of this           separated from any conventional
                                                      after receipt of special approval.                 chapter; or                                           railroad operations;
                                                                                                            (3) Transporting one or more car loads                (2) There is an FTA-approved and
                                                 Subpart G—Train Crew Size Safety                        of rail-security sensitive materials                  designated State Safety Oversight (SSO)
                                                 Requirements                                            (RSSM) as defined in § 1580.3 of this                 Agency that is qualified to provide
                                                                                                         title.                                                safety oversight; and
                                                 § 218.121   Purpose and scope.                             (d) Location of crewmember(s) when                    (3) The operator has an FTA/SSO-
                                                    (a) The purpose of this subpart is to                the train is moving. A train crewmember               approved Public Transportation Agency
                                                 ensure that each train is adequately                    that is not operating the train may be                Safety Plan in accordance with parts
                                                 staffed and has appropriate safeguards                  located anywhere outside of the                       673 and 674 of this title; or
                                                 in place for safe train operations under                operating cab of the controlling                         (e) Each passenger train operation
                                                 all operating conditions.                               locomotive when the train is moving if:               with a one-person train crew established
                                                    (b) This subpart prescribes minimum                     (1) The train crewmember is on the                 before June 10, 2024 with an approved
                                                 requirements for the size of different
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                                                                                                         train, except when the train                          passenger train emergency preparedness
                                                 train crews depending on the type of                    crewmember cannot perform the duties                  plan under part 239 of this chapter for
                                                 operation and operating conditions. The                 assigned without temporarily                          the operation.
                                                 minimum crew size requirements reflect                  disembarking from the train;
                                                 the safety risks posed to railroad                         (2) The train crewmember and a                     § 218.127 Specific freight train exceptions
                                                 employees, the public, and the                          locomotive engineer in the cab of the                 to crew size safety requirements.
                                                 environment. This subpart also                          controlling locomotive can directly                     The requirements in this subpart are
                                                 prescribes minimum requirements for                     communicate with each other;                          not applicable to the following freight


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                                                 train operations that are operated with                    (i) Provide FRA with written notice,               served, and track segments, territories,
                                                 a one-person train crew:                                as specified by the requirements in                   divisions, or subdivisions operated over.
                                                    (a) Mine load out, plant dumping, or                 paragraph (b) of this section before                  For each legacy one-person train crew
                                                 similar operation exception. A unit                     commencing the operation; and                         freight operation under paragraph (a)(1)
                                                 freight train:                                             (ii) Comply with the additional                    of this section, the written notice must
                                                    (1) Being loaded or unloaded in an                   requirements in paragraph (c) of this                 include business records or other
                                                 assembly line manner;                                   section.                                              written documents supporting that the
                                                    (2) Located on a track that is                          (3) Each railroad seeking to continue              legacy operation was established for at
                                                 temporarily made inaccessible from the                  or initiate work train operations with a              least two years before June 10, 2024. To
                                                 general railroad system of                              one-person train crew, including                      establish a legacy one-person train crew
                                                 transportation;                                         operations involving a work train                     freight operation, the railroad must
                                                    (3) Moving at a maximum authorized                   traveling to or from a work site, shall:              provide evidence that the operation
                                                 speed of 10 miles per hour or less;                        (i) Limit this type of non-revenue                 occurred at regular intervals under a set
                                                    (4) Not requiring the one-person train               service train that is used for the                    of defined procedures or conditions;
                                                 crewmember to operate a hand-operated                   administration and upkeep service of                     (3) The class(es) of track operated
                                                 switch, fill out paperwork, or call signal              the railroad so that it does not exceed               over, the method of operation, a list of
                                                 indications during the loading or                       4,000 trailing tons;                                  the signal and train control systems,
                                                 unloading process; and                                     (ii) No later than September 6, 2024,              devices, and appliances installed and in
                                                    (5) If the operation is overseen by                  comply with the additional                            operation, and a list of all active and
                                                 another person, typically in a tower or                 requirements in paragraphs (c)(1) and                 passive highway-rail grade crossings,
                                                 on the ground, requiring that person to                 (2) of this section; and                              including crossing numbers;
                                                 have the capability of communicating                       (iii) No later than June 9, 2026,                     (4) The locations of any track where
                                                 with the one-person train crewmember                    comply with the additional                            the average grade of any segment of the
                                                 operating the train.                                    requirements in paragraph (c)(3) of this              track operated over is 1 percent or more
                                                    (b) [Reserved]                                       section.                                              over 3 continuous miles or 2 percent or
                                                                                                            (4) Each railroad seeking to continue              more over 2 continuous miles;
                                                 § 218.129 Conditional exceptions based on
                                                 compliance dates for Class II and III legacy            or initiate helper service train                         (5) The maximum authorized speed of
                                                 freight train operations, certain other Class           operations with a one-person train crew,              the operation;
                                                 II and III freight railroad train operations,           including operations involving a helper                  (6) The approximate average number
                                                 work train operations, helper service train             service train traveling to or from a work             of miles and hours a one-person train
                                                 operations, and lite locomotive train                   site, shall:                                          crew will operate in a single tour of
                                                 operations staffed with a one-person train                 (i) No later than September 6, 2024,               duty;
                                                 crew.                                                   comply with the additional                               (7) The number and frequency of the
                                                    (a) Application of this section. A                   requirements in paragraphs (c)(1) and                 trains involved, and the maximum
                                                 railroad is not required to comply with                 (2) of this section; and                              number of cars and tonnage set for the
                                                 the requirements in this section for each                  (ii) No later than June 9, 2026, comply            operation, if any;
                                                 one-person train crew operation subject                 with the additional requirements in                      (8) Whether the one-person train crew
                                                 to an exception covered by § 218.125 or                 paragraph (c)(3) of this section.                     operation is permitted to haul
                                                 § 218.127. The following train                             (5) Each railroad seeking to continue              hazardous materials of any quantity and
                                                 operations may be operated with a one-                  or initiate a lite locomotive train                   type, and the approximate percentage of
                                                 person train crew subject to the                        operation staffed with a one-person                   carload traffic in the one-person train
                                                 requirements in this subpart:                           train crew, excluding an MU locomotive                crew operation that is hazardous
                                                    (1) Each Class II or III railroad’s legacy           operation, shall:                                     materials;
                                                 one-person train crew freight operation                    (i) No later than September 6, 2024,                  (9) Whether any limitations are placed
                                                 that has been established for at least two              comply with the additional                            on a person operating as a one-person
                                                 years before June 10, 2024, may                         requirements in paragraphs (c)(1) and                 train crew. Such limitations may
                                                 continue to operate with a one-person                   (2) of this section; and                              include, but are not limited to, a
                                                 train crew, including continuing to                        (ii) No later than June 9, 2026, comply            maximum number of miles or hours
                                                 transport hazardous materials of the                    with the additional requirements in                   during a single tour of duty, or
                                                 types or quantities specified in                        paragraph (c)(3) of this section.                     limitations placed on a person in
                                                 § 218.123(c), if:                                          (b) Written notice requirements. The               coordination with a fatigue mitigation
                                                    (i) No later than September 6, 2024,                 written notice shall be submitted by                  plan;
                                                 the railroad:                                           email to FRAOPCERTPROG@dot.gov                           (10) Information regarding other
                                                    (A) Provides FRA with written notice,                and, at a minimum, include the                        operations traveling on the same track
                                                 as specified by the requirements in                     following:                                            as the one-person train operation or that
                                                 paragraph (b) of this section; and                         (1) The name, title, address, telephone            travel on an adjacent track. Such
                                                    (B) Complies with the additional                     number, and email address of the                      information shall include, but is not
                                                 requirements in paragraphs (c)(1) and                   primary person(s) to be contacted                     limited to, the volume of traffic and the
                                                 (2) of this section; and                                regarding the written notice and the                  types of opposing moves (e.g., passenger
                                                    (ii) No later than June 9, 2026, the                 operation;                                            trains or freight trains hauling
                                                 railroad complies with the additional                      (2) The location of the operation, with            hazardous materials);
                                                                                                         as much specificity as can be provided,
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                                                 requirements in paragraph (c)(3) of this                                                                         (11) A detailed description of any
                                                 section.                                                as to the characteristics of the                      technology that is used to perform tasks
                                                    (2) Each Class II or III freight railroad            geographic area through which the                     typically performed by a second
                                                 seeking to initiate a train operation                   trains will operate (e.g., population                 crewmember, or that prevents or
                                                 staffed with a one-person train crew not                density and proximity to                              mitigates the consequences of accidents
                                                 transporting hazardous materials of the                 environmentally sensitive areas), the                 or incidents;
                                                 types or quantities specified in                        terrain over which the trains will be                    (12) A copy of any railroad rule or
                                                 § 218.123(c) shall:                                     operated, industries or communities                   practice that applies to the one-person


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                                                 train crew operation, but does not apply                safer than a two-person train crew for                   (1) No railroad may operate a train
                                                 to train crew operations with two or                    train operations and crewmember                       with a one-person train crew unless it
                                                 more crewmembers;                                       safety. At a minimum, the operating rule              receives special approval for the
                                                    (13) For each railroad seeking to                    shall require that:                                   operation under this subpart.
                                                 continue a legacy freight train operation                  (i) The one-person train crew have a                  (2) For a railroad that has established
                                                 staffed with a one-person train crew as                 working radio or working wireless                     a one-person train crew operation before
                                                 permitted by paragraph (a)(1) of this                   communications on the controlling                     June 10, 2024, the railroad may continue
                                                 section, five (5) years of accident and                 locomotive appropriate for railroad                   the operation in accordance with this
                                                 incident data, as required by part 225 of               communications as defined in § 220.5 of               section pending FRA’s decision on the
                                                 this chapter, for the operation identified              this chapter, even if not otherwise                   railroad’s special approval petition if:
                                                 or, for operations established less than                required in § 220.9 of this chapter;                     (i) The railroad submits a written
                                                 five (5) years before June 10, 2024,                       (ii) The train dispatcher or operator              notice by email to FRAOPCERTPROG@
                                                 accident and incident data for the                      must confirm with a one-person train                  dot.gov no later than June 24, 2024 that,
                                                 operation from the date the operation                   crewmember that the train is stopped                  at a minimum, provides a summary of
                                                 was established; and                                    before conveying a mandatory directive                the operation and the name, title,
                                                    (14) Any other information describing                by radio transmission as required in                  address, telephone number, and email
                                                 protections provided in lieu of a second                § 220.61 of this chapter;                             address of the primary person(s) to be
                                                 train crewmember, or relevant data or                      (iii) A one-person train crewmember                contacted regarding the written notice
                                                 analysis, or both, that the railroad can                must contact a railroad employee,                     and the operation;
                                                 provide about its one-person train crew                                                                          (ii) The railroad, in coordination with
                                                                                                         typically a dispatcher, a supervisor or
                                                 operation and how that operation is as                                                                        FRA, eliminates, mitigates, or otherwise
                                                                                                         manager, or an intermittently assisting
                                                 safe or safer than a two-person                                                                               addresses any safety hazards related to
                                                                                                         crewmember, whenever it can be
                                                 minimum train crew operation.                                                                                 the one-person train crew operation
                                                                                                         anticipated that radio or wireless
                                                    (c) Additional requirements. Each                                                                          FRA finds in reviewing the railroad’s
                                                                                                         communication could be lost, e.g.,
                                                 railroad with an applicable one-person                                                                        special approval petition; and
                                                                                                         before the train enters a tunnel, unless                 (iii) The railroad submits its special
                                                 train crew operation shall:                             technology or a different protocol is
                                                    (1) Adopt and comply with an                                                                               approval petition, as specified by the
                                                                                                         established to monitor the train’s real-              requirements in paragraph (b) of this
                                                 operating rule that satisfies the
                                                                                                         time progress; and                                    section, no later than August 7, 2024.
                                                 requirements of this paragraph to ensure
                                                 rail employees can take mitigation                         (iv) Procedures that establish when                   (3) Each freight railroad seeking to
                                                 measures that provide a level of safety                 search-and-rescue operations shall be                 either initiate or continue a train
                                                 that is as safe or safer than a two-person              initiated if all radio or wireless                    operation with a one-person train crew
                                                 train crew operation to address certain                 communication is lost with a one-                     must receive FRA’s special approval for
                                                 situations with the one-person train                    person train crewmember.                              the operation under this subpart and
                                                 crew operation.                                            (3) Adopt and comply with an                       shall comply with the requirements in
                                                    (i) At a minimum, the operating rule                 operating rule that satisfies the                     § 218.129(c).
                                                 shall address the following types of                    requirements of this paragraph to                        (4) Each passenger railroad seeking to
                                                 situations:                                             ensure:                                               initiate a train operation with a one-
                                                    (A) An accidental or non-accidental                     (i) A one-person train crew’s                      person train crew must receive FRA’s
                                                 release of any hazardous material;                      controlling locomotive is equipped with               special approval for the operation under
                                                    (B) An accident/incident regardless of               a functioning alerter that is operating as            this subpart and have either:
                                                 whether it is required to be reported to                intended as defined in § 229.5 of this                   (i) An approved passenger train
                                                 FRA under part 225 of this chapter;                     chapter. For each railroad that limits the            emergency preparedness plan under
                                                    (C) A request from an emergency                      one-person train crew’s operation to a                part 239 of this chapter for the
                                                 responder to unblock a highway-rail                     maximum authorized speed of 25 miles                  operation; or
                                                 grade crossing in response to a                         per hour and is not required to have an                  (ii) An approved waiver from the
                                                 potentially life-threatening situation;                 alerter on the locomotive that is                     passenger train emergency preparedness
                                                    (D) A train or on-track equipment                    equipped per the requirements in                      plan requirements as permitted under
                                                 derailment;                                             § 229.140 of this chapter, any                        part 211 of this chapter. A passenger
                                                    (E) A disabled train; and                            functioning alerter that is operating as              railroad may petition FRA for both a
                                                    (F) An illness, injury, or other                     intended will be acceptable if it has a               waiver under part 211 and special
                                                 incapacitation of the one-person train                  manual reset and will result in a penalty             approval for a train operation staffed
                                                 crewmember.                                             brake application that brings the                     with a one-person train crew in the
                                                    (ii) At a minimum, the operating rule                locomotive or train to a stop if not                  same filing.
                                                 shall:                                                  properly acknowledged; and                               (b) Petition for a train operation
                                                    (A) Describe the role and                               (ii) That a one-person train                       staffed with a one-person train crew.
                                                 responsibilities of the one-person train                crewmember must test that alerter to                  Each petition for a train operation with
                                                 crewmember and any other railroad                       confirm it is functioning before                      a one-person train crew that is not
                                                 employees, including supervisors, with                  departure from each initial terminal, or              permitted under §§ 218.125 through
                                                 responsibility to address a situation                   prior to being coupled as the lead                    218.129 must contain sufficient
                                                 described in paragraph (c)(1)(i) of this                locomotive in a locomotive consist.                   information for FRA to determine
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                                                 section; and                                                                                                  whether approving the operation
                                                    (B) Describe any logistics and the                   § 218.131 Special approval petition                   described in the petition is as safe or
                                                 railroad’s expected response time(s).                   requirements for train operations staffed             safer than a two-person minimum train
                                                    (2) Adopt and comply with an                         with a one-person train crew.                         crew operation. At a minimum, a
                                                 operating rule that satisfies the                         (a) General. With the exception of                  petition must include:
                                                 requirements of this paragraph to ensure                operations permitted under §§ 218.125                    (1) The name, title, address, telephone
                                                 radio or wireless communications with                   through 218.129, and as provided in                   number, and email address of the
                                                 a one-person train crew is as safe or                   paragraph (a)(2) of this section:                     primary person to be contacted


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                                                 regarding review of the special approval                   (12) A copy of any railroad rule or                roadway workers, and responding to
                                                 petition;                                               practice that will apply to the proposed              emergencies or unexpected events); and
                                                    (2) The location of the operation, with              train operation(s) with a one-person                     (iii) To ensure safety once a train has
                                                 as much specificity as can be provided,                 train crew, but does not apply to train               stopped moving (e.g., including, but not
                                                 as to the characteristics of the                        crew operations with two or more                      limited to, securing the train).
                                                 geographic area through which the                       crewmembers;                                             (2) Describe the allocation of all
                                                 trains will operate (e.g. population                       (13) A copy of a railroad operating                functions, duties, and tasks to the one-
                                                 density and proximity to                                rule that will apply to the proposed                  person train crewmember, other railroad
                                                 environmentally sensitive areas), the                   train operation(s) with a one-person                  employee(s), or equipment.
                                                 terrain over which the trains will be                   train crew, and which complies with the                  (3) Contain a risk-based hazard
                                                 operated, industries or communities                     requirements of § 218.129(c)(1), to                   analysis for the proposed train
                                                 served, and track segments, territories,                ensure rail employees can take                        operation’s functions, duties, and tasks,
                                                 divisions, or subdivisions operated over;               mitigation measures that provide a level              that shall:
                                                    (3) The class(es) of track to be                     of safety that is as safe or safer than a                (i) Identify any new hazards, changes
                                                 operated over, the method of operation,                 two-person train crew operation to                    to existing hazards and/or changes to
                                                 a list of the signal and train control                  address certain situations with the one-              the risk of an existing hazard associated
                                                 systems, devices, and appliances                        person train crew operation. A                        with the proposed train operation, as
                                                 installed and in operation, and a list of               passenger train operation with an                     compared to a two-person minimum
                                                 all active and passive highway-rail                     approved emergency preparedness plan                  train crew operation, taking account of
                                                 grade crossings, including crossing                     under part 239 of this chapter satisfies              all aspects of the railroad’s system,
                                                 numbers;                                                the requirement in this paragraph                     including, at a minimum, infrastructure,
                                                    (4) The locations of any track where                 (b)(13);                                              equipment, technology, work schedules,
                                                 the average grade of any segment of the                    (14) Five (5) years of accident and                mode of operation, operating rules and
                                                 track operated over is 1 percent or more                incident data, as required by part 225 of             practices, training and other areas
                                                 over 3 continuous miles or 2 percent or                 this chapter, for the operation identified            impacting railroad safety;
                                                 more over 2 continuous miles;                           in paragraph (b)(2) of this section, when                (ii) Calculate and/or update each risk,
                                                                                                         operating with two or more                            quantitatively or qualitatively, or both,
                                                    (5) The maximum authorized speed of
                                                                                                         crewmembers, or, for operations                       by assessing each new hazard, change to
                                                 the operation;
                                                                                                         established less than five (5) years                  an existing hazard and/or change to the
                                                    (6) The approximate average number
                                                                                                         before June 10, 2024, accident and                    risk of a hazard, in terms of the severity
                                                 of miles and hours a person is projected
                                                                                                         incident data for the operation from the              and likelihood of a mishap;
                                                 to operate as a train crewmember in a                                                                            (iii) Recalculate each risk mitigated in
                                                 one-person train crew operation;                        date the operation was established;
                                                                                                            (15) A risk assessment of the proposed             accordance with § 218.131(b)(15),
                                                    (7) The maximum number of cars and                                                                         quantitatively or qualitatively, or both,
                                                 tonnage proposed for the operation, if                  operation that meets the requirements of
                                                                                                         § 218.133;                                            by assessing each new hazard, change to
                                                 any;                                                                                                          an existing hazard and/or change to the
                                                    (8) Whether the railroad is seeking                     (16) Any other information describing
                                                                                                         protections provided in lieu of a second              risk of a hazard and the level of
                                                 approval to transport hazardous                                                                               mitigation (elimination or reduction), in
                                                 materials of the types or quantities                    train crewmember, or other relevant
                                                                                                         data or analysis.                                     terms of the severity and likelihood of
                                                 specified in § 218.123(c) or whether the                                                                      a mishap; and
                                                 railroad is seeking approval to transport                  (c) Additional information. FRA may
                                                                                                         request any additional information,                      (iv) Provide a statement with
                                                 other hazardous materials (as defined by                                                                      supporting evidence that the one-person
                                                 § 171.8 of this title) of any quantity and              beyond what is provided in the petition,
                                                                                                         that it deems necessary.                              train crew operation with a fully
                                                 type;                                                                                                         implemented mitigation plan is as safe
                                                    (9) Whether any limitations will be                  § 218.133 Risk assessment content and                 or safer than a two-person minimum
                                                 placed on a person operating as a one-                  procedures.                                           train crew operation.
                                                 person train crew. Such limitations may                    (a) General. A risk assessment                        (4) Contain a mitigation plan that
                                                 include, but are not limited to, a                      submitted under this subpart must meet                documents the design and
                                                 maximum number of miles or hours                        the following requirements:                           implementation timeline of the
                                                 during a single tour of duty, or                           (1) Contain a list and descriptions of             sustained mitigation strategies to
                                                 limitations placed on a person in                       all functions, duties, and tasks                      eliminate or reduce the overall risk to a
                                                 coordination with a fatigue mitigation                  associated with the proposed operation                level such that the one-person train
                                                 plan;                                                   to be performed by the one-person train               crew operation is as safe or safer than
                                                    (10) Information regarding other                     crewmember, other railroad                            a two-person minimum train crew
                                                 operations that may travel on the same                  employee(s), or equipment, including, at              operation, considering, at a minimum,
                                                 track as, or an adjacent track to, the train            a minimum, any function performed:                    the following:
                                                 operation staffed with a one-person                        (i) To prepare a train for operation                  (i) The design of the system,
                                                 train crew. Such information shall                      (including, but not limited to, pre-                  equipment, and components, including
                                                 include, but is not limited to, the                     departure inspections, obtaining track                equipment reliability and the necessary
                                                 volume of traffic and the types of                      bulletins, orders, or manifests, managing             functions to be performed, in both a
                                                 opposing moves (e.g., passenger or                      the train consist, including train                    normal operation and in a degraded or
                                                 freight trains hauling hazardous
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                                                                                                         makeup, obtaining and ensuring the                    failed state; and
                                                 materials);                                             accuracy of the train consist, arming and                (ii) The human factors associated with
                                                    (11) A detailed description of any                   testing the end-of-train device, and                  the processes and tasks to be performed,
                                                 technology that will be used to perform                 performing brake tests);                              including the required skills and
                                                 or support tasks typically performed by                    (ii) To operate a train (including, but            capabilities, the operating environment,
                                                 a second crewmember, or that will                       not limited to, operating and controlling             and existing or potential impairments.
                                                 prevent or significantly mitigate the                   the train, interacting with non-                         (b) Alternative standard. A railroad
                                                 consequences of accidents or incidents;                 crewmembers such as the dispatcher or                 may petition the Associate


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                                                 Administrator for Safety for approval to                than a two-person minimum train crew                  the following year to
                                                 use alternative methodologies or                        operation, FRA will deny the petition,                FRAOPCERTPROG@dot.gov. The
                                                 procedures, or both, other than those                   normally within 120 days of its receipt.              requirements in paragraphs (b) and (c)
                                                 required by paragraph (a) of this section                 (4) When FRA decides a petition,                    of this section describe the components
                                                 to assess the risk associated with an                   reopens consideration of a petition, or               of a railroad’s annual report.
                                                 operation proposed under this section.                  closes a reopened petition, FRA will                     (b) A railroad’s annual report must
                                                 If, after providing public notice of the                send written notice of the decision to                include the safety data and information
                                                 request for approval and an opportunity                 the petitioner and publish that decision              listed in paragraphs (b)(1) and (2) of this
                                                 for public comment on the request, the                  in the docket.                                        section for any one-person train crew
                                                 Associate Administrator for Safety finds                  (e) Modifications. (1) A railroad that              operation that receives special approval
                                                 that any such petition demonstrates that                intends to materially modify an                       under this subpart.
                                                 the alternative proposed methodology or                 operation subject to an FRA approval                     (1) The total number of:
                                                 procedures, or both, will provide an                    under this section shall submit a                        (i) FRA-reportable accidents/incidents
                                                 accurate assessment of the risk                         description of how it intends to modify               under part 225 of this chapter, including
                                                 associated with the operation, the                      the operation, along with either a new                subtotals for accidents/incidents that
                                                 Associate Administrator for Safety may                  or an updated risk assessment                         occurred at a highway-rail grade
                                                 approve the use of the proposed                         accounting for the identified proposed                crossing and those that did not occur at
                                                 alternative(s).                                         modifications. The new or updated risk                a highway-rail grade crossing, and
                                                                                                         assessment must meet the requirements                 subtotals by State and cause. If an
                                                 § 218.135   Special approval procedure.                 of § 218.133 and be submitted by email                accident/incident was FRA-reportable
                                                    (a) Petition. Each railroad submitting               to FRAOPCERTPROG@dot.gov at least                     for more than one reason (e.g., the
                                                 a petition under § 218.131 shall send the               60 days before the date proposed to                   accident/incident occurred at a
                                                 petition by email to                                    implement any such modification. For                  highway-rail grade crossing and resulted
                                                 FRAOPCERTPROG@dot.gov. FRA will                         the purposes of this paragraph (e), a                 in rail equipment damages higher than
                                                 make the petition publicly available at                 material modification is a change:                    the current reporting threshold), the
                                                 https://www.regulations.gov.                              (i) To a railroad’s operations,                     accident/incident shall only be listed
                                                    (b) Federal Register notice. FRA                     infrastructure, locomotive control                    once in the total calculation;
                                                 will publish a notice in the Federal                    technology, or risk mitigation                           (ii) FRA-reportable employee
                                                 Register concerning each petition under                 technology, that may affect the safety of             fatalities;
                                                 § 218.131.                                              the operation;                                           (iii) FRA-reportable employee
                                                    (c) Comment. Not later than 60 days                    (ii) That would affect the assumptions              injuries;
                                                 from the date of publication of the                     underlying the risk assessment on
                                                 notice in the Federal Register under                                                                             (iv) Trespasser fatalities at a highway-
                                                                                                         which an FRA approval under this                      rail grade crossing;
                                                 paragraph (b) of this section, any person               section is based; or
                                                 may comment on the petition.                                                                                     (v) Trespasser injuries at a highway-
                                                                                                           (iii) That would affect the
                                                    (1) Each comment shall provide all                                                                         rail grade crossing;
                                                                                                         assumptions underlying the risk
                                                 relevant information and data in                                                                                 (vi) Passenger fatalities at a highway-
                                                                                                         assessment’s risk calculations or
                                                 support of the commenter’s position.                                                                          rail grade crossing;
                                                                                                         mitigations on which an FRA approval
                                                    (2) Each comment shall be submitted                                                                           (vii) Passenger injuries at a highway-
                                                                                                         under this section is based.
                                                 to FRA through https://                                   (2) When FRA decides on a material                  rail grade crossing;
                                                 www.regulations.gov to the docket                       modification to a petition, FRA will                     (viii) Instances where a railroad
                                                 identified in the Federal Register                      send written notice of the decision to                employee did not comply with a
                                                 notice.                                                 the petitioner and publish that decision              railroad rule or practice applicable to
                                                    (d) Disposition of petitions. (1) If the             in the same docket created for the                    the one-person train crew operation
                                                 Administrator finds it necessary or                     petition in paragraph (a) of this section.            receiving special approval under this
                                                 desirable, FRA will conduct a hearing                   FRA may reopen consideration of a                     subpart but not applicable to train crew
                                                 on a petition in accordance with its                    petition based on a material                          operations with two or more
                                                 rules of practice in part 211 of this                   modification, deny the material                       crewmembers that travel on the train;
                                                 chapter.                                                modification, or grant the material                      (ix) Instances where a one-person
                                                    (2) A petition must not be                           modification with or without special                  train crewmember had a locomotive
                                                 implemented until approved. If FRA                      conditions to the approval. A material                engineer or conductor certification
                                                 finds that the petition complies with the               modification must not be implemented                  revoked for violation of an operating
                                                 requirements of § 218.131 and that                      until approved. If the material                       rule or practice that occurred when the
                                                 approving the petition is as safe or safer              modification submission is neither                    person was operating a one-person train
                                                 than a two-person minimum train crew                    granted nor denied within 60 days, the                crew operation receiving special
                                                 operation, FRA will grant the petition,                 petition remains pending for decision.                approval under this subpart. In addition
                                                 normally within 120 days of its receipt.                                                                      to the total number of these instances,
                                                 If the petition is neither granted nor                  § 218.137 Annual railroad responsibilities            the railroad must report the subtotals for
                                                 denied within 120 days, the petition                    after receipt of special approval.                    each type of certification revoked;
                                                 remains pending for decision. FRA may                      (a) Each railroad that receives special               (x) Accountable rail equipment
                                                 attach special conditions to the approval               approval to use an operation with a one-              accidents/incidents under part 225 of
                                                                                                                                                               this chapter;
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                                                 of the petition. Following the approval                 person train crew under this subpart
                                                 of a petition, FRA may reopen                           shall prepare an annual report, which                    (xi) Instances when the railroad was
                                                 consideration of the petition for cause                 will be a formal review and analysis                  required to comply with an operating
                                                 stated.                                                 each calendar year, of the one-person                 rule to ensure rail employees can take
                                                    (3) If FRA finds that a petition does                train crew operation. The annual report,              mitigation measures that provide a level
                                                 not comply with the requirements of                     which will include a railroad’s findings              of safety that is as safe or safer than a
                                                 this subpart or that approving the                      and conclusions from its review, shall                two-person train crew operation to
                                                 petition would not be as safe or safer                  be submitted no later than March 31 of                address certain situations with the one-


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                                                 person train crew operation under                           risk assessment when making a material                   analysis that quantitatively and/or
                                                 § 218.131(b)(13);                                           modification to an operation as required                 qualitatively demonstrates that the proposed
                                                    (xii) Instances when a dispatcher,                       in § 218.135.                                            operation using a one-person train crew will
                                                 operator, or other required employee                           (2) Any new or updated risk                           be as safe or safer than an operation using a
                                                 unexpectedly lost communication with                        assessment submitted in accordance                       two-person train crew under normal
                                                 the one-person train crew operation                         with paragraph (c) of this section must                  operation and in a degraded or failed state.
                                                 receiving special approval under this                       include a written plan and schedule for                  This appendix provides one approach that
                                                 subpart;                                                    implementing any mitigations required                    may be used by a railroad to prepare a risk-
                                                                                                                                                                      based hazard analysis and compare the risks
                                                    (xiii) Employee hours worked; and                        to address any newly identified hazards.
                                                                                                                                                                      to determine if a proposed one-person train
                                                    (xiv) Train miles.                                          (d) FRA will review and respond to a
                                                                                                                                                                      crew operation will be as safe or safer than
                                                    (2) For each instance counted in the                     railroad’s annual report submission in
                                                                                                                                                                      a two-person minimum train crew operation,
                                                 totals reported in paragraphs (b)(1)(i)                     accordance with paragraph (a) of this
                                                                                                                                                                      when all mitigations are in place. A railroad
                                                 through (xii) of this section, a railroad’s                 section by September 30 of the year it                   is not restricted to this approach and may use
                                                 annual report must clearly identify each                    is submitted.                                            another formal safety methodology that
                                                 instance by date and location and                              (1) FRA’s response may include                        fulfills the requirements of § 218.133.
                                                 provide a complete factual description                      advice or recommendations; and
                                                 of the event.                                                  (2) For a one-person train crew                       Quantitative Risk-Based Hazard Analysis
                                                    (c) The annual report must also                          operation receiving special approval                        (a) Identify new hazards, changes to
                                                 include written confirmation that the                       under this subpart, FRA may reopen                       existing hazards or changes to the risk of
                                                 risk assessment for operations receiving                    consideration of a petition under                        existing hazards of the one-person train crew
                                                 special approval under this subpart,                        § 218.135 based on a finding that a                      operation, as compared to a two-person
                                                 including all calculations and                              railroad’s annual report submission                      minimum train crew operation, as provided
                                                 assumptions, remains unchanged and                          suggests that the petition does not                      in § 218.133(a)(3)(i).
                                                 that no technology changes have been                        comply with the requirements of this                        (b) Calculate and/or update each risk of the
                                                 implemented or new or additional                                                                                     one-person train crew operation, as
                                                                                                             subpart or that the operation is no
                                                 hazards identified.                                                                                                  compared to a two-person minimum train
                                                                                                             longer as safe or safer than a two-person
                                                                                                                                                                      crew operation, by assessing each new
                                                    (1) If any risk assessment calculation                   train crew operation.                                    hazard, change to an existing hazard and/or
                                                 or assumption changes for an operation                      ■ 6. Add appendix E to part 218 to read                  change to the risk of an existing hazard, in
                                                 receiving special approval under this                       as follows:                                              terms of the severity and likelihood of
                                                 subpart, a new or updated risk                                                                                       potential events using the following
                                                 assessment meeting the requirements of                      Appendix E to Part 218—
                                                                                                                                                                      framework:
                                                 § 218.133 must be prepared and                              Recommended Procedures for                                  (1) The assessment of the severity is
                                                 submitted with the railroad’s annual                        Conducting Risk Assessments                              measured as the worst-credible mishap
                                                 report. This annual reporting                                  A railroad petitioning to operate with a              resulting from the hazard and categorized in
                                                 requirement does not negate the                             one-person train crew in accordance with                 accordance with Table 1 of this paragraph
                                                 requirement to submit a new or updated                      § 218.133 must prepare a risk-based hazard               (b)(1):

                                                                                                                   TABLE 1 TO PARAGRAPH (b)(1)
                                                                                 Severity
                                                                                 ranking
                                                        Category                                                                                         Definition
                                                                               (1 being the
                                                                               most severe)

                                                                                                                        SEVERITY CATEGORIES

                                                 Catastrophic .........                      1   Results in one or more of the following: fatality, irreversible significant environmental damage, or signifi-
                                                                                                   cant monetary loss. Accidents/incidents that must be reported to FRA telephonically under § 225.9 of
                                                                                                   this chapter are considered catastrophic.
                                                 Critical ..................                 2   Results in one or more of the following: significant injury (as defined in § 225.5 of this chapter), reversible
                                                                                                   significant environmental damage, or reportable monetary loss. Accidents/incidents that are not tele-
                                                                                                   phonically reported under § 225.9 of this chapter but are still FRA-reportable under § 225.19 of this
                                                                                                   chapter, are considered critical.
                                                 Marginal ...............                    3   Results in one or more of the following: minor injuries (i.e., injuries that are not significant as defined in
                                                                                                   § 225.5 of this chapter), reversible non-significant environmental damage, or monetary loss. Mishaps
                                                                                                   that are not FRA-reportable accidents/incidents but are considered accountable rail equipment acci-
                                                                                                   dents/incidents as defined in § 225.5 of this chapter, are considered marginal.
                                                 Negligible .............                    4   Results in one or more of the following: no injuries, no environmental damage, or equipment or railroad
                                                                                                   structure damage(s) that do not require repair.
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                                                   (2) The assessment of probability of
                                                 occurrence as defined in Table 2 of this
                                                 paragraph (b)(2):

                                                                                                                               TABLE 2 TO PARAGRAPH (b)(2)
                                                      Description                      Level                     Qualitative characterization of probability                        Quantitative characterization of probability 1

                                                                                                                                        PROBABILITY LEVELS

                                                 FREQUENT ..........            A                        Likely to occur frequently ..........................................   Greater than once every 1,000 operating hours.
                                                 PROBABLE ..........            B                        Likely to occur several times ....................................      Between once every 1,000 hours and once every
                                                                                                                                                                                   100,000 hours.
                                                 OCCASIONAL ......              C                        Likely to occur once, but not several times ..............              Between once every 100,000 hours and once every
                                                                                                                                                                                   10,000,000 hours.
                                                 REMOTE ..............          D                        Unlikely but possible to occur ...................................      Between once every 10,000,000 hours and once
                                                                                                                                                                                   every 1,000,000,000 hours.
                                                 IMPROBABLE ......              E                        So unlikely that it can be assumed the occurrence                       Less than once every 1,000,000,000 hours.
                                                                                                           may not be experienced.
                                                    1 Probability of a hazard occurring per 1,000 operating hours.




                                                    (c) Applying the sustained mitigation                                 (d) Prepare a risk matrix in the format of                   hazard, or change to the risk of an existing
                                                 strategies designed and implemented in                                 Table 3 of this paragraph (d) that classifies                  hazard as follows:
                                                 accordance with § 218.133(a)(4), recalculate                           the risks calculated in paragraph (c) of this
                                                 the risk using the framework documented in                             appendix in terms of severity and likelihood
                                                 paragraph (b) of this appendix.                                        of each new hazard, change to an existing

                                                                                                                                 TABLE 3 TO PARAGRAPH (d)
                                                                                                                                                                                                  Severity
                                                                                               Probability                                                           (1)                 (2)                   (3)           (4)
                                                                                                                                                                 Catastrophic          Critical              Marginal     Negligible

                                                                                                                                                 Risk Matrix

                                                 (A) FREQUENT ..............................................................................................     1A               2A                   3A               4A
                                                 (B) PROBABLE ...............................................................................................    1B               2B                   3B
                                                 (C) OCCASIONAL ..........................................................................................       1C               2C                   3C               4C
                                                 (D) REMOTE ..................................................................................................   1D               2D                   4D
                                                 (E) IMPROBABLE ...........................................................................................      1E               3E                   4E



                                                    (e) Prepare a risk report of the train                              this category as FRA will not approve an                       basis an appropriately categorized acceptable
                                                 operation staffed with a one-person train                              operation with a partially mitigated or                        new hazard, change to existing hazard and/
                                                 crew, as compared to a two-person minimum                              unmitigated hazard that is categorized as                      or change to the risk of an existing hazard if
                                                 train crew operation, documenting the basis                            unacceptable;                                                  the one-person operation is as safe or safer
                                                 for acceptability of all new hazards, changes                             (2) Acceptable under specific conditions.                   than a two-person minimum operation.
                                                 to existing hazards and/or changes to the risk                         Categories 1E, 2D, 3C, 3D, 4B, and 4C are                         (f) Provide a statement with supporting
                                                 of existing hazards identified in the matrix                           acceptable under specific conditions. A
                                                                                                                                                                                       evidence, that the one-person operation with
                                                 required by paragraph (d) of this appendix.                            railroad’s risk report should describe why the
                                                 The risk report should categorize the risk of                          railroad finds the conditions acceptable. A                    a fully implemented mitigation plan, is as
                                                 each new hazard, change to existing hazard                             new hazard, change to existing hazard and/                     safe or safer than a two-person minimum
                                                 and/or change to the risk of an existing                               or change to the risk of an existing hazard                    operation.
                                                 hazard as follows:                                                     will be acceptable under specific conditions
                                                                                                                                                                                       Amitabha Bose,
                                                    (1) Unacceptable. Categories 1A, 1B, 1C,                            if FRA finds that the one-person operation is
                                                 1D, 2A, 2B, 2C, 3A, 3B, and 4A are                                     as safe or safer than a two or more-person                     Administrator.
                                                 unacceptable. A railroad should not file a                             operation; and                                                 [FR Doc. 2024–06625 Filed 4–8–24; 8:45 am]
                                                 petition for special approval with a new                                  (3) Acceptable. Categories 2E, 3E, 4D, and                  BILLING CODE 4910–06–P
                                                 hazard, change to existing hazard and/or                               4E are acceptable. FRA will not deny a
                                                 change to the risk of an existing hazard in                            petition for special approval solely on the
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